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             8
                                                     UNITED STATES DISTRICT COURT
             9
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10
                                                            SAN FRANCISCO DIVISION
           11
           12    BMA LLC, Yaroslav Kolchin, Vitaly                                   Case No. 20-cv-03345-WHO
           13    Dubinin, Dmitry Dolgov and Păun Gabriel-
                 Razvan,                                                             CONSOLIDATED COMPLAINT FOR
           14                                                                        CONSPIRACY TO CONDUCT AND
                                                                                     CONDUCTING ENTERPRISE’S
           15                            Plaintiffs,                                 AFFAIRS THROUGH A PATTERN OF
                                                                                     RACKETEERING ACTIVITY IN
           16                                                                        VIOLATION OF 18 U.S.C. §§ 1962(d)
                                                                                     AND (c) (RICO), CRYPTOCURRENCY
           17                    v.                                                  MARKET MANIPULATION IN
                                                                                     VIOLATION OF 7 U.S.C. § 9(1) (USE
           18                                                                        OF DECEPTIVE OR MANIPULATIVE
                                                                                     DEVICE), 7 U.S.C. §§ 9(3) AND 13(a)(2)
           19    HDR Global Trading Limited (A.K.A.                                  (PRICE MANIPULATION),
                 BitMEX), ABS Global Trading Limited,                                PRINCIPAL AGENT LIABILITY,
           20    Grape Park LLC, Mark Sweep LLC,                                     AIDING AND ABETTING PRICE
                 Unknown Exchange, Arthur Hayes, Ben Delo,                           MANIPULATION IN VIOLATION OF 7
           21    Samuel Reed, Agata Maria Reed (A.K.A.                               U.S.C. § 25(a)(1), NEGLIGENCE,
                 Agata Maria Kasza), Barbara A. Reed and                             FRAUD, CIVIL CONSPIRACY,
           22    Trace L. Reed,                                                      UNFAIR BUSINESS PRACTICES IN
                                                                                     VIOLATION OF CAL. BUS. & PROF.
           23                                                                        CODE §§ 17200 ET SEQ, UNJUST
                                         Defendants.                                 ENRICHMENT (RESTITUTION),
           24                                                                        CONSTRUCTIVE TRUST,
                                                                                     ACCOUNTING, CONVERSION,
           25                                                                        AIDING AND ABETTING
                                                                                     CONVERSION, AIDING AND
           26                                                                        ABETTING FRAUD AND VIOLATION
                                                                                     OF CAL. PEN. CODE § 496
           27                                                                        DEMAND FOR JURY TRIAL
           28
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             1
                                                                          COMPLAINT
             2
                        Plaintiffs, BMA LLC (“BMA”), Yaroslav Kolchin (“Kolchin”), Vitaly Dubinin
             3
                 (“Dubinin”), Dmitry Dolgov (“Dolgov”) and Păun Gabriel-Razvan (“Razvan”), (collectively
             4
                 “Plaintiffs”), by and through their undersigned attorneys, for their Consolidated Complaint
             5
                 against Defendants HDR Global Trading Limited (“HDR”), ABS Global Trading Limited
             6
                 (“ABS”), Grape Park LLC (“Grape Park”), Mark Sweep LLC (“Mark Sweep”), Unknown
             7
                 Exchange (“Unknown Exchange”), Arthur Hayes (“Hayes”), Ben Delo (“Delo”), Samuel Reed
             8
                 (“Reed”), Agata Maria Reed (A.K.A. Agata Maria Kasza) (“Agata Reed”), Barbara A. Reed
             9
                 (“Barbara Reed”) and Trace L. Reed (“Trace Reed”) (collectively “Defendants”) allege as
           10
                 follows. Plaintiffs make the following allegations upon information and belief, except as to their
           11
                 own actions.
           12
                                                        INTRODUCTION
           13          “It just costs more to bribe them.” Defendant Arthur Hayes (about U.S. authorities).
           14           1.         Plaintiffs are informed and believe and thereon allege that popular cryptocurrency
           15    derivatives exchange platform called Bitcoin Mercantile Exchange or BitMEX (“BitMEX” or
           16    “BitMEX platform”) owned and operated from within this District by Defendants ABS, HDR,
           17    Hayes, Delo and Reed, and each of them, in a brazenly lawless manner, was deliberately designed
           18    from ground up with the purpose to engage in, facilitate, aid, abet, counsel, induce and/or procure
           19    a myriad of illegal activities including, without limitation, racketeering in violation of 18 U.S.C.
           20    §§ 1962(d) and (c) (RICO), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
           21    violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
           22    specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
           23    supervising, directing, or owning all or part of an unlicensed money transmitting business in
           24    violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           25    U.S.C. § 2314 and cryptocurrency market manipulation in violation of the Commodity Exchange
           26    Act (the “CEA”), 7 U.S.C. §§ 1 et seq. (2018) and Commodity Futures Trading Commission
           27    (“CFTC”) Regulations (“Regulations”) promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2019).
           28
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             1
                 Defendants, and each of them, specifically designed BitMEX to financially benefit from the
             2
                 alleged racketeering activity and other unlawful conduct, earning Defendants billions of dollars in
             3
                 illicit profits, Ex. 1, 2, 3.
             4
                         2.         Defendants Hayes, Delo and Reed are notorious fraudsters, who have been
             5
                 criminally charged with felony money laundering related offenses by the U.S. Department of
             6
                 Justice and two of whom are currently fugitives from the U.S. law enforcement. Defendant
             7
                 Hayes publicly admitted to bribery of foreign government officials and bank fraud and even
             8
                 expressed pride in his criminal actions. Ex. 17 and 18 are true and correct copies of two sworn
             9
                 declarations by two of the defrauded victims of the Defendants, Frank Amato and Elfio Guido
           10
                 Capone, attesting, under oath, how Defendants defrauded them out of millions of dollars.
           11
                         3.         On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by United
           12
                 States Department of Justice on felony charges of violating the Bank Secrecy Act and conspiring
           13
                 to violate the Bank Secrecy Act, by willfully failing to establish, implement, and maintain an
           14
                 adequate anti-money laundering (“AML”) program at BitMEX. In announcing the indictment,
           15
                 Ex. 4, FBI Assistant Director William F. Sweeney Jr. said: “As we allege here today, the four
           16
                 defendants, through their company’s BitMEX crypto-currency trading platform, willfully violated
           17
                 the Bank Secrecy Act by evading U.S. anti-money laundering requirements. One defendant went
           18
                 as far as to brag the company incorporated in a jurisdiction outside the U.S. because bribing
           19
                 regulators in that jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents,
           20
                 analysts, and partners with the CFTC, they will soon learn the price of their alleged crimes will
           21
                 not be paid with tropical fruit, but rather could result in fines, restitution, and federal prison time."
           22
                 Defendant Reed was apprehended by the FBI in Boston, Massachusetts. Defendants Hayes and
           23
                 Delo remain at large and are currently fugitives wanted by the U.S. Government.
           24
                         4.         On the same day, the CFTC announced the filing of a civil enforcement action in
           25
                 the U.S. District Court for the Southern District of New York charging Defendants HDR, ABS,
           26
                 Hayes, Delo and Reed with operating an unregistered trading platform and violating multiple
           27
                 CFTC Regulations, including failing to implement required anti-money laundering procedures.
           28
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             1
                 The CFTC complaint is attached hereto as Ex. 5 and all allegations therein are made part hereof.
             2
                        5.         Among those charged were company owners Defendants Hayes, Delo, and Reed,
             3
                 who operate BitMEX’s platform through a maze of corporate entities, including Defendants HDR
             4
                 and ABS. BitMEX’s platform has received more than $11 billion in bitcoin deposits and made
             5
                 more than $1 billion in fees, while conducting significant aspects of its business from the U.S.
             6
                 and accepting orders and funds from U.S. customers.
             7
                        6.         The key facts of the racketeering scheme run by Defendants are rather simple and
             8
                 easy to understand. In 2014, Defendants launched the bitcoin derivatives trading platform
             9
                 BitMEX, which enables traders to place bets on direction of cryptocurrency prices. In designing
           10
                 their platform, Defendants decided to sidestep any financial controls mandated by the traditional
           11
                 banking system by transacting only in bitcoin and refused to implement any know your customer
           12
                 (KYC) or anti-money laundering (AML) checks what so ever, Ex. 1. In other words, Defendants
           13
                 would open account and accept unlimited funds from anyone, without a single question asked.
           14
                        7.         In fact, one can open an account, deposit unlimited funds and start trading without
           15
                 furnishing a single document, all is required is a user name and email address, which are not
           16
                 verified by BitMEX in any way. The entire account registration and funding process takes about
           17
                 10 minutes and no documents are even looked at. Understandably, because of total lack of
           18
                 controls of any kind, hackers, tax evaders, money launderers, smugglers, drug dealers all flocked
           19
                 to BitMEX flooding the platform with hot money, Ex. 1. A recent and very telling example is the
           20
                 infamous Twitter hacker, who turned out to be a BitMEX trader, Ex. 6.
           21
                        8.         Having a large pool of hot money at their disposal, Defendants designed the
           22
                 internal workings of their trading platform to enable, encourage and benefit from money
           23
                 laundering and market manipulation. It all has to do with anonymity, lack of trading limits, high
           24
                 leverage and how the index price for bitcoin derivatives is calculated. Defendants deliberately
           25
                 designed this index price to be based on bitcoin spot price on two or three illiquid bitcoin spot
           26
                 exchanges. Illiquid in this context means that, to precipitously move bitcoin price on those
           27
                 exchanges, relatively small market orders will suffice. Therefore, a relatively small market order
           28
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             1
                 on a spot exchange results in a relatively large bitcoin index price move on the very liquid
             2
                 BitMEX.
             3
                        9.         A money launderer (Defendant) would open two exchange accounts – a helper
             4
                 account on one or more exchanges used by BitMEX to calculate its index price (Coinbase Pro,
             5
                 Kraken and BitStamp) and a winner account on BitMEX. The money launderer would then enter
             6
                 into a large leveraged derivatives position on BitMEX and immediately execute market orders
             7
                 from the helper account with maximum slippage to move the index price in a favorable direction,
             8
                 Ex. 2, 3, 7, 16. Due to disparity in liquidity between BitMEX and the spot exchanges, the
             9
                 aforesaid deliberate design of the index price by Defendants, and the cascading liquidations of
           10
                 leveraged trader positions on BitMEX, the amount spent from the helper account is multiplied
           11
                 greatly and translates into outsized profit in the winner account on BitMEX, Ex. 2, 3, 7, 16.
           12
                 Because BitMEX accounts are by design anonymous, the laundered money cannot be traced from
           13
                 the helper account to the winner account. Thus, the money laundering proceeds in the winner
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             1
                 account on BitMEX appear as legitimate trading gains and the money laundering scheme
             2
                 achieves its purpose. The described money laundering and other nefarious acts are well
             3
                 documented and take place on BitMEX almost daily, Ex. 2, 3, 7, 16. Moreover, to exacerbate the
             4
                 described price manipulations, BitMEX intentionally locks users out of their accounts during
             5
                 manipulation times, falsely telling the users that their “system is overloaded”.
             6
                         10.       In the described money laundering scheme, the market manipulation gains realized
             7
                 by the launderer in the winner account and the funds confiscated by BitMEX as the result of
             8
                 liquidations induced by the launderer are generated at the expense of Plaintiffs and other
             9
                 cryptocurrency traders like Plaintiffs. Notably, BitMEX deposits proceeds from the user account
           10
                 liquidations into its so called “Insurance Fund,” which has steadily grown over the years and now
           11
                 amounts to over 36,830 bitcoins, valued over $681,355,000 dollars, all misappropriated from
           12
                 traders, including Plaintiffs.
           13
                         11.       Defendants’ own Leaderboard, which lists the most profitable trading accounts on
           14
                 BitMEX, is replete with evidence of market manipulation and money laundering. For example,
           15
                 BitMEX’s Leaderboard account under assumed name Quick-Grove-Mind shows multimillion-
           16
                 dollar profit spikes, which exactly match known market manipulation events, while entirely
           17
                 avoiding any and all trading losses. Notably, Defendants’ own data shows that this market
           18
                 manipulator generated over $30,000,000 in profit during three market manipulation events that
           19
                 took place on September 24, 2019, November 18-19, 2019 and March 11-12, 2020, at the expense
           20
                 of retail traders, including Plaintiffs. In view of the fact that to generate $30,000,000 in profit, the
           21
                 manipulator would need to open at least $100,000,000 leveraged position on the BitMEX
           22
                 platform and know the exact position sizes and liquidation price points as well as parameters of
           23
                 stop loss orders of all the other traders on BitMEX, the information available only to BitMEX
           24
                 insiders, Plaintiffs are informed and believe and thereon allege that the Leaderboard account
           25
                 under the assumed name Quick-Grove-Mind was a market manipulation winner account used by
           26
                 one of the individual Defendants Hayes, Delo or Reed, who traded on BitMEX despite having a
           27
                 clear conflict of interest.
           28
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           17
                        12.        BitMEX directly participates in and financially benefits from the market
           18
                 manipulation and money laundering through its internal trading desk and indirectly, by collecting
           19
                 increased trading fees and also by liquidating users’ accounts. Notably, because profit from
           20
                 liquidating traders like Plaintiffs amounts to up to a half of BitMEX revenue, Defendants are the
           21
                 primary financial beneficiaries of the described illegal market manipulation and money
           22
                 laundering activities. In addition to trader liquidations, BitMEX knowingly collects high trading
           23
                 fees for the above money laundering transactions, which constitute “proceeds” of money
           24
                 laundering under 18 U.S.C. §§ 1956 and 1957 and which are deposited into its general account
           25
                 (bitcoin wallet), from which it pays all its employees and even its attorneys (after currency
           26
                 conversion). Thus, the salaries of all BitMEX employees as well as legal fees paid to its lawyers
           27
                 are tainted with the proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
           28
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             1

             2
                 Manipulation            Manipulative Conduct Involved                           Place of Manipulative Conduct
             3   Component

             4   Helper               Defendants deliberately moved        BitStamp, Coinbase Pro and Kraken, all
                 Component            BitMEX’s .BXBT index price by        located in the United States
             5                        placing large market orders with
                                      maximum slippage from helper
             6
                                      accounts on three illiquid exchanges
             7                        that are used by BitMEX to calculate
                                      .BXBT index
             8
                 The deliberate BitMEX’s .BXBT index price move                            BitMEX, having the majority of cloud
             9   by Defendants directly and proximately caused                             service providers (Paragraph 90),
                 liquidation cascades on Kraken and BitMEX that                            employees, engineering and software
           10
                 resulted in Plaintiff’s swap positions on those                           development team and the nerve center
           11    exchanges to be liquidated, resulting in monetary                         of operations in this District and Kraken,
                 damages as alleged herein.                                                also located in this District.
           12
           13
           14    Winner               Defendants capturing multiplied                      BitMEX, having the majority of cloud
                 Component            (due to disparity in liquidity)                      service providers (Paragraph 90),
           15
                                      manipulation profits caused by the                   employees, engineering and software
           16                         deliberate .BXBT index price move                    development team and the nerve center
                                      using winner account(s) on BitMEX.                   of operations in this District.
           17
                 Facilitation         Defendants freezing BitMEX                           This District, where all three site
           18    Component            servers and accepting orders on only                 reliability engineers Jerry Aldrich, Scott
                                      one side of the market to exacerbate                 H. and Armando Cerna of BitMEX, who
           19
                                      the price moves during manipulation                  are responsible for the trading platform
           20                         times                                                uptime and server freezes, are located
                                                                                           and who personally perpetrated the
           21                                                                              BitMEX server freezes.
           22           13.        Moreover, BitMEX has been recently caught red-handed doing at least
           23    $70,000,000 of business in New York and California without obtaining a money transmitting
           24    license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
           25    § 1960(a), see Paragraphs 115, 116, Ex. 8. This violation has been conclusively proven using
           26    BitMEX’s own Leaderboard, see Paragraph 116. Even Defendants themselves acknowledged this
           27    fact by hastily instituting a “User Verification Programme” less than 48 hours after being caught
           28
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             1
                 doing unlicensed business in the United States, Ex. 9. In total, BitMEX has 65 individual and 14
             2
                 institutional United States traders that Plaintiffs are aware of, without having any benefit of
             3
                 discovery, see Paragraphs 100, 101 and 106. The amount of $70,000,000 of unlicensed United
             4
                 States business exceeds any possible threshold for the obligation to obtain the money transmitting
             5
                 license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F. Supp. 3d 544
             6
                 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was $1,000,000 in
             7
                 unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.Mo. 2017), the
             8
                 threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed bitcoin
             9
                 transmissions. Based on these cases, Defendants have exceeded the legal threshold for triggering
           10
                 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty three
           11
                 times). Consequently, all the funds that BitMEX collected from its trading operations and
           12
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           13
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           14
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained above).
           15
                        14.        Awash with large amounts of tainted cash and encouraged by perceived lack of
           16
                 any accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to
           17
                 bribery and bank fraud, Ex. 10, 11. Despite the fact that the vast majority of personnel and
           18
                 managers are located in this District (Paragraph 107), to avoid being subject to United States
           19
                 laws, regulations and taxes, Defendants established 14 false shell companies, including Defendant
           20
                 ABS, with intent to create an appearance that Defendant HDR has no presence, operations or
           21
                 investors in regulated jurisdictions such as the United States. Some of the fraudulent shell
           22
                 companies used by Defendants are listed in the table below:
           23
           24
                                    Company Name                          Jurisdiction of        Company              Company Formation
           25                                                             Incorporation          Registry                   Date
                                                                                                 Number
           26
                 1.         HDR Global Trading                          Seychelles              148707
           27               Limited
           28
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             1
                  2.         HDR Virtual Assets                          Seychelles               C8422837
             2               Trading LTD

             3    3.         BITMEX Securities                           Seychelles               C8423247
                             Facility LTD
             4
                  4.         BITMEX Securities                           Seychelles               C8423255
             5               Exchange LTD
             6
                  5.         BITMEX Clearing Agency                      Seychelles               C8423256
             7               LTD

             8    6.         ABS Global Trading                          Delaware, US             6393256               April 27, 2017
                             Limited
             9
                  7.         Shine Effort Inc Limited                    Hong Kong                2129744               August 6, 2014
           10
           11     8.         HDR Total proprietary                       Hong Kong                2661339               March 5, 2018
                             trading limited
           12
                  9.         HDR BMEX limited                            Hong Kong                2668623               March 20, 2018
           13
                  10.        ABS Global trading limited                  Hong Kong                2614000               November 27, 2017
           14
                  11.        ABS Group (HK) Limited                      Hong Kong                2614515               November 28, 2017
           15
                  12.        HDR Global Services                         Bermuda                  53775                 July 3, 2018
           16
                             (Bermuda) Limited
           17
                  13.        HDR Capital Limited                         Bermuda                  54557                 April 9, 2019
           18
                  14.        100x Holdings Limited                       Bermuda                  55678                 June 30, 2020
           19
                         15.        The sheer magnitude of Defendants’ unlawful activity is truly staggering. In
           20
                  addition to being recently caught red-handed doing at least $70,000,000 of business in New York
           21
                  and California without obtaining a money transmitting license, see Paragraphs 115 and 116
           22
                  below, which by itself conclusively establishes the violation of 18 U.S.C. § 1960(a) by Defendant
           23
                  HDR1, “[s]everal sources close to the company” have disclosed to media sources that nearly 15
           24
           25
                  1
           26       In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                  U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27     Klein, 6:17-cr-03056 (W.D.Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less
                  than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants exceeded the
           28     legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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             1
                  percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is attributable to
             2
                  traders located in the United States. Moreover, Defendant HDR’s high volume business with
             3
                  numerous residents of the United States and this District as alleged in detail below is vast and
             4
                  pervasive. Accordingly, Defendants were unquestionably on notice of the need to obtain a money
             5
                  transmission license in the United States, which Defendants willfully and deliberately failed to
             6
                  do. Therefore, according to Defendants’ own data, Defendant HDR’s unlicensed money
             7
                  transmitting business admittedly processed, on average, $3 billion of illegal and unlicensed
             8
                  money transfers each day, all in violation of United States federal statute 18 U.S.C. § 1960(a),
             9
                  which is the record volume for such unlawful activity in the entire history of the monetary
           10
                  regulation in the United States.
           11
                            16.     Being keenly aware of the CFTC and DOJ investigations and imminently
           12
                  forthcoming civil and criminal charges, and while preparing to go on a lam from the U.S.
           13
                  authorities, Defendants Hayes, Delo and Reed siphoned about $440,308,400 of proceeds of
           14
                  various nefarious activities that took place on the BitMEX platform, from accounts of Defendant
           15
                  HDR. The looted funds were divided among Defendants and their associate substantially in
           16
                  accordance with the following table, prepared on information and belief of Plaintiffs:
           17
           18                        Shareholder of HDR Global                             Equity Ownership                      Amount of
                                          Trading Limited                                     Percentage                         Distribution
           19
                  1.              Arthur Hayes                                          31.67%                              $139,430,993.33
           20
                  2.              Benjamin Delo                                         31.67%                              $139,430,993.33
           21
                  3.              Samuel Reed                                           31.67%                              $139,430,993.33
           22
           23     4.              Sean O’Sullivan Ventures (SOSV)                       5%                                  $22,015,420.01

           24                                                                                                 Total: $440,308,400.00

           25     These distributions of money laundering proceeds were made on the following dates, after
           26     Defendants learned about government investigations and after receiving a draft complaint in this
           27     action:
           28
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             1

             2
                                                                      Distribution Date
             3
                                                    1.                October 15, 2019
             4
             5                                      2.                November 19, 2019

             6                                      3.                January 2020

             7    Plaintiffs are informed and believe and thereon allege that Defendants are actively looting HDR
             8    and trying to make funds unavailable for the collection of future judgments against it.
             9    Specifically, the profit distributions at a rate of $440,308,400.00 in just three months were clearly
           10     not performed in the ordinary course of business, as they represent $1,761,233,600 annual profit
           11     distribution rate, which money HDR simply does not generate. Therefore, these extraordinarily
           12     large distributions were clearly designed to deprive Defendant HDR of its assets. Furthermore,
           13     such a remarkable surge in profit distribution may also indicate that Defendants are siphoning the
           14     BitMEX Insurance Fund.
           15            17.        As soon as Plaintiffs became aware of the evidence of siphoning of $440,308,400
           16     of funds from Defendant HDR by other Defendants, which appeared in public court filings in
           17     another civil action against Defendants, filed in San Francisco Superior Court Case No:
           18     CGC19581267, Defendants urgently moved the Court to strike or seal the discovered evidence of

           19     asset dissipation telling the San Francisco Superior Court that the relevant documents were
           20     publicly filed in violation of a protective order in that case and that the revelations caused great
           21     damage to Defendants.
           22            18.        A combination of providing traders with extremely high trading leverage (up to
           23     100x), using .BXBT index price for highly liquid perpetual swap contracts calculated based on
           24     prices of two or three illiquid spot exchanges, enabling manipulators and money launderers to
           25     avoid detection by providing them with the ability to open unlimited number of anonymous
           26     document check-free trading accounts without any KYC and AML compliance checks and
           27     without any trading and withdrawal limits, intentionally taking BitMEX platform offline during
           28
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             1
                  market manipulation events to exacerbate retail trader losses, weaponizing deliberate server
             2
                  freezes, using fraudulent “system overload” events to accept some trading orders and reject others
             3
                  during large market moves to exacerbate price fluctuations and cause the most liquidations as
             4
                  well as systematic deletion of evidence of manipulators’ identities and trading records by
             5
                  Defendants, all make BitMEX an exquisite “designer” tool for unsavory actors to launder funds
             6
                  and manipulate cryptocurrency markets. Because of the very high derivatives trading volume on
             7
                  BitMEX, the artificial prices caused by the BitMEX manipulations spread, like forest fires, from
             8
                  BitMEX to other exchanges wreaking havoc on the entire cryptocurrency ecosystem, costing
             9
                  traders and investors billions of dollars in losses and resulting in a domestic injury in the United
           10
                  States (“Domestic Injury”).
           11
                         19.        Moreover, on April 30, 2018, after repeated denials, Defendants finally admitted
           12
                  that BitMEX operates its own for-profit trading desk operated by an employee of Defendant
           13
                  HDR, a Ukrainian national Nick Andrianov (“Andrianov”), who, at all times relevant herein, was
           14
                  an agent and employee of Defendant HDR and who acted within the scope of his agency and
           15
                  employment with Defendant HDR. This desk trades against BitMEX’s own customers on their
           16
                  own exchange, using BitMEX’s inside information about its customers’ existing trading
           17
                  positions, stop loss orders, liquidation prices and open orders and enjoys many other unfair
           18
                  advantages not available to other users of the BitMEX platform. While making money trading
           19
                  against BitMEX’s own customers, this operation, which Defendants refer to as “anchor market
           20
                  maker,” receives many special trading privileges that are not available to other exchange users.
           21
                  This creates even greater financial incentive for Defendants to manipulate cryptocurrency markets
           22
                  and financially benefit from the manipulations through the aforesaid for-profit trading desk
           23
                  operation.
           24
                         20.        A substantial portion of the bitcoin-denominated proceeds of market manipulation,
           25
                  money laundering, operating unlicensed money transmitting business and multitude of various
           26
                  other nefarious acts taking place on the BitMEX platform were subsequently laundered and
           27
                  continue to be laundered, by all Defendants, through the Defendant Unknown Exchange, by
           28
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             1
                  means of converting bitcoins into various traditional (“fiat”) currencies, including United States
             2
                  dollars and Hong Kong dollars, and by Defendants Reed, Agata Reed, Barbara Reed and Trace
             3
                  Reed, through a real estate investment scheme that they set up in Wisconsin and Massachusetts.
             4
                  For this purpose, the aforesaid Defendants employed fraudulent nominee shell companies
             5
                  Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true illegal nature of
             6
                  the funds in the Defendants’ general account (bitcoin wallet), which were ultimately used to
             7
                  acquire the corresponding real estate properties and the acquired real estate’s true ownership or
             8
                  control, Ex. 12, 13. Defendants Agata Reed, Barbara Reed and Trace Reed are in possession of
             9
                  two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, with
           10
                  the aggregate market value of over $2,500,000, acquired using funds misappropriated from
           11
                  Plaintiffs and laundered by Defendants through the Defendant Unknown Exchange and their real
           12
                  estate investment scheme.
           13
                         21.        Despite all the claims to the contrary, Defendants HDR, Hayes, Delo and Reed
           14
                  maintain numerous close connections with the United States and this District. Defendant HDR’s
           15
                  own website BitMEX.com lists San Francisco as the location of one of Defendant HDR’s offices,
           16
                  where all the technology behind BitMEX has been and continues to be developed. Defendants
           17
                  use United States – based Amazon, Inc. AWS infrastructure, with offices in northern California,
           18
                  for storing all of its customer and trading data and for executing its order matching system and its
           19
                  liquidation engine. Moreover, Defendants use Redwood City, California – based SendGrid, Inc.
           20
                  for handling all their bulk email communications with its customers. Finally, Defendants’
           21
                  website BitMEX.com is a commercial website, enabling traders to enter into binding derivative
           22
                  purchase and sale contracts, through which Defendants HDR, Hayes, Delo and Reed conduct
           23
                  high-volume derivatives trading business with numerous individuals and companies residing in
           24
                  the United States, State of California and this District and which by itself is sufficient for
           25
                  subjecting Defendants to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com,
           26
                  Inc., 952 F. Supp. 1119 (W.D. Pa. 1997).
           27
           28                                                       NATURE OF ACTION
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             1
                          22.       This is an action for conspiracy to conduct and conducting enterprise’s affairs
             2
                  through a pattern of racketeering activity, arising under Racketeer Influenced and Corrupt
             3
                  Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for cryptocurrency market
             4
                  manipulation arising under the CEA, 7 U.S.C. §§ 1 et seq. (2018).
             5
             6                                                                 PARTIES
                          23.        Plaintiffs incorporate the allegations set forth in Paragraphs 1-22 above as if fully
             7
                  set forth herein.
             8
                          24.       Plaintiff BMA is a limited liability company duly formed and existing under the
             9
                  laws of the United States territory of Puerto Rico. Plaintiff BMA is co-owned by multiple
           10
                  individual cryptocurrency traders and it holds the title to, and ownership in, any and all claims,
           11
                  causes of action and demands of whatever kind and nature (whether sounding in tort, contract,
           12
                  securities laws, or otherwise) that its owner traders had against Defendants HDR, ABS, Hayes,
           13
                  Delo and Reed throughout the world. Plaintiff BMA is the real party in interest and seeks to
           14
                  vindicate its own rights by way of this Consolidated Complaint.
           15
                          25.       Plaintiff Kolchin is an individual, who is a citizen of Russian Federation, and who
           16
                  also presently resides in Russian Federation. Plaintiff Kolchin is the real party in interest and
           17
                  seeks to vindicate his own rights by way of this Consolidated Complaint.
           18
                          26.       Plaintiff Dubinin is an individual, who is a citizen of Russian Federation, and who
           19
                  also presently resides in Russian Federation. Plaintiff Dubinin is the real party in interest and
           20
                  seeks to vindicate his own rights by way of this Consolidated Complaint.
           21
                          27.       Plaintiff Dolgov is an individual, who is a citizen of Russian Federation, and who
           22
                  also presently resides in Russian Federation. Plaintiff Dolgov is the real party in interest and
           23
                  seeks to vindicate his own rights by way of this Consolidated Complaint.
           24
                          28.       Plaintiff Razvan is an individual, who is a citizen of European Union, and who
           25
                  also presently resides in Bucuresti, Romania. Plaintiff Razvan is the real party in interest and
           26
                  seeks to vindicate his own rights by way of this Consolidated Complaint.
           27
                          29.       Defendant HDR was created by individual Defendants in order to perpetrate fraud
           28
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             1
                  and dodge regulation and taxes and purports to be a Republic of Seychelles International Business
             2
                  Company, company number 148707, with a registered office at Suite 23, 1st Floor, Eden Plaza,
             3
                  Vistra Corporate Services Centre, Eden Island, Mahe, Seychelles. Defendant HDR was
             4
                  organized by Defendants Hayes, Delo and Reed, who are the three primary ultimate owners of
             5
                  HDR and its various subsidiaries, each holding approximately a one-third ownership interest in
             6
                  Defendant HDR, in or about 2014. Despite being incorporated in the Seychelles, Defendant HDR
             7
                  does not have, and never has had, any operations or employees in the Seychelles. Defendant HDR
             8
                  operates, or has operated during the Relevant Period, out of various locations and offices
             9
                  throughout the world, including in New York, San Francisco, Milwaukee, Hong Kong,
           10
                  Singapore, and Bermuda. When asked about the reasons for incorporating Defendant HDR in the
           11
                  Republic of Seychelles, Defendant HDR’s Chief Executive Officer (CEO) Defendant Hayes has
           12
                  publicly claimed, in July of 2019, that the government of Seychelles was cheaper to bribe than the
           13
                  government of the United States and when asked how much he had to pay Seychelles to bribe
           14
                  them, Defendant Hayes answered “a coconut”, Ex. 11.
           15
                         30.        When, in July of 2019, an early investor in BitMEX Elfio Guido Capone asked
           16
                  Defendants Hayes, Delo and Reed about a status of his investment in the BitMEX platform,
           17
                  Defendant Delo responded with a meme image, cynically suggesting that BitMEX could dodge
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27
           28
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             1
                  its legal obligations to its own investors simply by using a shell company incorporated in the
             2
                  Seychelles to defeat personal jurisdiction of the United States Courts.
             3
                         31.        In addition to publicly admitting to bribery of foreign government officials as
             4
                  alleged in the preceding Paragraphs, Defendant Hayes has publicly admitted to perpetrating bank
             5
                  fraud by falsifying his residence address on bank account application documents with the purpose
             6
                  of opening a bank account in China, to which he, as a resident of Hong Kong, was not entitled,
             7
                  Ex. 10. The Chinese bank account was admittedly opened by Defendant Hayes using a fake
             8
                  Chinese residence address, which he personally falsified, in order to enrich himself on 40%
             9
                  premium in the price of bitcoin in China compared to the rest of the world, Ex. 10. In
           10
                  perpetrating the admitted bank fraud, Defendant Hayes was motivated by personal greed.
           11
                         32.        Admissions of multiple instances of personal greed-motivated illegal conduct as
           12
                  alleged in the previous Paragraphs, attempting to dodge legitimate legal obligations to its own
           13
                  investors using sham offshore companies as well as the alleged patently illegal manner in which
           14
                  BitMEX platform operates, all establish a clear pattern of brazen lawlessness on part of all
           15
                  Defendants.
           16
                         33.        Defendant HDR is controlled by Defendants Hayes, Delo and Reed, who all hold
           17
                  themselves out as co-founders of BitMEX. In fact, name “HDR” is an abbreviation composed of
           18
                  first letters of last names of Defendants Hayes, Delo and Reed. Defendant Hayes serves as the
           19
                  CEO of Defendant HDR. Defendant Reed serves as the Chief Technology Officer (CTO) of
           20
                  Defendant HDR.
           21
                         34.        According to BitMEX’s website (https://www.BitMEX.com) (“BitMEX
           22
           23
           24
           25
           26
           27
           28     website”), its owner HDR Global Trading Limited maintains three offices throughout the world,
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             1
                  located in San Francisco, Hong Kong and Singapore. BitMEX’s Terms of Service (“Terms of
             2
                  Service”), posted on the BitMEX website, provide that: “BitMEX (website:
             3
                  https://www.BitMEX.com) is a Bitcoin-based trading platform that is wholly owned by HDR
             4
                  Global Trading Limited.”
             5
                         35.        The San Francisco office of Defendant HDR is the largest of all three by both the
             6
                  employee headcount and technical staff headcount. Its addresses are 301 Battery Street, 4th
             7
                  Floor, San Francisco, California 94111, 340 Brannan Street, 2nd Floor, San Francisco, California
             8
                  94107 and/or 2 Embarcadero Center, 8th Floor, San Francisco, California 94111. Defendant
             9
                  HDR closed its other United States offices and consolidated all of its United States personnel into
           10
                  an office location in San Francisco sometime in April of 2019, as confirmed by Defendant Hayes
           11
                  in an email to Defendant HDR’s early investor Mr. Elfio Guido Capone stating, “Consolidation of
           12
                  people in one office in SF.”
           13
                         36.        Hong Kong office of Defendant HDR is located at 45/F, Cheung Kong Centre, 2
           14
                  Queen's Road Central, Hong Kong Central, Hong Kong Island, Hong Kong Special
           15
                  Administrative Region of the People’s Republic of China. The employee headcount in the Hong
           16
                  Kong office of Defendant HDR is about half of the headcount in Defendant HDR’s San Francisco
           17
                  office. Singapore office of Defendant HDR is the smallest of all three.
           18
                         37.        Defendant HDR’s affiliates and subsidiaries, including Defendant HDR’s wholly-
           19
                  owned subsidiary and alter ego Defendant ABS, are so organized and controlled, and their affairs
           20
                  are so conducted, as to make them merely an instrumentality, agency, conduit, or adjunct of a
           21
                  single unitary BitMEX enterprise. See Las Palmas Assoc. v. Las Palmas Ctr. Assoc., 235
           22
                  Cal.App. 3d 1220, 1249 (1991). Each Defendant HDR affiliate or subsidiary is so dominated in
           23
                  its finances, policies, and practices that these controlled corporations have no separate mind, will,
           24
                  or existence of their own, and are but business conduits for their principal, Defendant HDR, such
           25
                  that all of the affiliated corporations may be deemed to be a single business enterprise. See Toho-
           26
                  Towa Co., Ltd. v. Morgan Creek Prods., Inc., 217 Cal.App.4th 1096, 1107 (2013); Greenspan v.
           27
                  LADT LLC 191 Cal.App.4th 486, 514 (2010).
           28
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             1
                         38.        On information and belief, each entity in the BitMEX enterprise functions solely to
             2
                  contribute to and develop the BitMEX.com commercial website, which revenues then flow solely
             3
                  to Defendant HDR and its owners. These entities are analogous to departments within a single
             4
                  corporation and are run as such. On information and belief, each sub-entity in the BitMEX
             5
                  enterprise is funded solely by revenues provided by Defendant HDR.
             6
                         39.        Further, as Defendant Hayes has explained in a publicly filed sworn declaration, as
             7
                  CEO of Defendant HDR, he is “advised by an advisory body currently comprised of twelve
             8
                  individuals responsible for different departments within the HDR Group.” (emphasis added).
             9
                  Hayes labels Defendant HDR and its affiliates collectively as the “HDR Group” as opposed to the
           10
                  BitMEX enterprise, but in function the entities operate as a single corporate enterprise, and they
           11
                  may be properly held to account for each other’s wrongdoing.
           12
                         40.        Defendant Hayes himself has also admitted that the BitMEX enterprise entities are
           13
                  really a single entity. In a Monthly Report circulated on March 2, 2018, Defendant Hayes wrote
           14
                  “Ben [Delo], Sam [Reed], and myself are very excited to host the entire company at our Hong
           15
                  Kong office from March 12th – 25th. Given the rapid and continued growth in terms of headcount
           16
                  in 2017 and 2018, this offsite is our first chance to bond as a company.” (emphasis added).
           17
                         41.        All of this notwithstanding that Defendant HDR has submitted in multiple public
           18
                  filings that its only offices are in the Seychelles. It claims the offices in Hong Kong belong to
           19
                  another BitMEX-affiliated entity.
           20
                         42.        On April 11, 2018, Defendant Hayes wrote again to say that the Hong Kong
           21
                  “company offsite was a resounding success. Ben, Sam, and I were delighted to meet many of you
           22
                  for the first time. We continue to be amazed at the quality of people that work for the
           23
                  organization. BitMEX is a collection of individuals who are all interesting.” On information and
           24
                  belief, employees from all of the BitMEX enterprise’s entities were present at the March 2, 2018
           25
                  company-wide offsite, including those from San Francisco-based Defendant ABS.
           26
                         43.        Defendants’ casual disregard of corporate form and their regular usage of shell
           27
                  companies is also apparent through their latest corporate conduct: on July 15, 2020, Defendant
           28
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             1
                  Hayes announced that a new entity, “100x,”2 “will become the new holding structure for HDR
             2
                  Global Trading Limited” and all of BitMEX’s other assets, “including the BitMEX platform.” In
             3
                  turn, the “HDR Group” was also rebranded as the “100x Group.” This re-labeling makes little
             4
                  difference to the continued functioning of the entities as a single enterprise, however; Defendant
             5
                  Hayes explained that “[t]he BitMEX platform, brand and legal structure remain entirely
             6
                  unchanged.”
             7
                         44.        This further demonstrates that the unitary BitMEX enterprise consists of the
             8
                  various affiliates and subsidiaries worldwide, and that the enterprise and each of its constituent
             9
                  parts are fully dominated and controlled by Defendants Hayes, Delo, Reed and the other
           10
                  stakeholders as a single enterprise.
           11
                         45.        Defendant ABS is a California-based wholly owned subsidiary and alter ego of
           12
                  Defendant HDR, which designs, develops, implements, operates and supports the online
           13
                  derivatives trading platform BitMEX from within this District. Defendant ABS purports to be a
           14
                  Delaware corporation, Delaware Secretary of State file number 6393256, with registered office at
           15
                  3411 Silverside Road Tatnall Building, Ste 104, Wilmington, DE 19810. Defendant ABS was
           16
                  organized by Defendants Hayes, Delo and Reed on or about April 27, 2017. Name “ABS” is an
           17
                  abbreviation constructed of first letters of first names (Arthur, Ben and Samuel) of individual
           18
                  Defendants Hayes, Delo and Reed, who ultimately own and control Defendant ABS. Defendant
           19
                  Hayes asserted that Defendant HDR owns the entire issued share capital of Defendant ABS, and
           20
                  that Defendant ABS has an office in San Francisco, California.
           21
                         46.        Specifically, Defendant ABS, which is a United State-based alter ego of Defendant
           22
                  HDR, has two offices: 301 Battery St., 4th Fl., San Francisco, CA, 94111 and 340 Brannan Street,
           23
                  2nd Floor, San Francisco, California. Defendants Hayes, Delo and Reed continue to control
           24
                  Defendant ABS with Defendant Hayes serving as the President, CEO, Secretary and Chief
           25
                  Financial Officer thereof and Defendant Reed serving as a Chief Technology Officer of
           26
           27
                  2
                    The name 100x is a reference to traders’ ability on the BitMEX platform to trade at 100 times
           28     the leverage of their deposited bitcoin.
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             1
                  Defendant ABS.
             2
                         47.        Plaintiffs are informed and believe and thereon allege that Defendant HDR
             3
                  dominates and controls every aspect of Defendant ABS’ operations and uses its San Francisco
             4
                  offices to manage BitMEX’s engineering, security and back-office operations, such that
             5
                  Defendant ABS is a mere instrumentality of the BitMEX enterprise. In particular, all its
             6
                  operations are controlled by its principal and alter ego, Defendant HDR, wherein Defendant ABS
             7
                  provides development, software engineering, containerized application deployment, site
             8
                  reliability and digital security services, including development of the interface of the BitMEX
             9
                  Platform, through which all trading transactions take place. Thus, Defendants ABS and HDR
           10
                  operate as a single business enterprise for the purpose of operating the BitMEX derivatives
           11
                  trading platform.
           12
                         48.         Plaintiffs are informed and believe and thereon allege that Defendant HDR funds
           13
                  all of Defendant ABS operations, including paying for all of its employees, overhead, and lease
           14
                  and rent obligations, and is Defendant ABS’ sole source of income.
           15
                         49.        Defendants Hayes, Delo and Reed, collectively own a controlling interest in
           16
                  Defendant ABS through their ownership of Defendant HDR, which wholly owns Defendant ABS.
           17
                  Defendant Hayes is the sole director, president, secretary, and treasurer of Defendant ABS, and
           18
                  executes agreements on its behalf. Defendant Hayes runs Defendant ABS’s activities without
           19
                  regard to its corporate form and for the sole benefit of Defendant HDR.
           20
                         50.        Defendants Hayes, Delo and Reed have created Defendant ABS as a false “shell”
           21
                  company as part of a broader United State federal and state law, regulation and tax dodge
           22
                  designed to tell regulators and tax authorities that BitMEX has no California or United States
           23
                  operations or investors.
           24
                         51.        However, in reality, California is where most or all of its technology and services
           25
                  are managed and developed, and where almost all of the key personnel who perform those
           26
                  functions live, work and run BitMEX’s operations. Specifically, Defendant ABS handles the
           27
                  majority of the development of the BitMEX Platform, and it is both the heart of the BitMEX
           28
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             1
                  enterprise and its nerve center.
             2
                         52.        Plaintiffs are informed and believe and thereon allege that Defendants
             3
                  intentionally and specifically targeted California when locating and developing the nerve center
             4
                  of the operations of the BitMEX enterprise. This is because, from the beginning of BitMEX’s
             5
                  existence, traders based in the United States accounted for the vast majority of the enterprise’s
             6
                  revenues, and even presently United States and California traders, as described below, are the
             7
                  most active and lucrative traders on the BitMEX Platform. This is also due to the fact that
             8
                  California’s Silicon Valley has some of the world’s best engineers and developers, and as such,
             9
                  Defendant ABS houses the most engineering personnel out of any BitMEX entity.
           10
                         53.        Defendant ABS aided and abetted, authorized, ratified and controlled Defendant
           11
                  HDR illegal acts described herein.
           12
                         54.        Defendants HDR and Hayes relied upon their domestic agents, employees and
           13
                  affiliates, including without limitation ABS, to help implement and conceal the illegal acts
           14
                  alleged herein. The agency relationships formed among the Defendants with respect to the acts,
           15
                  violations, and common course of conduct alleged herein were consensually formed.
           16
                         55.        Defendant ABS acted in the United States and abroad within the scope of its
           17
                  agency with the full knowledge, consent, permission, authorization and ratification, either express
           18
                  or implied, of each of the other Defendants in carrying out the acts alleged herein.
           19
                         56.        Defendants are individually sued as principals, participants, agents, aiders and
           20
                  abettors, and co-conspirators in the wrongful conduct complained of and the liability of each
           21
                  arises from each Defendant’s engagement in all or part of the illegal acts alleged herein.
           22
                         57.        Additional and other facts regarding Defendants’ joint action, alter ego status and
           23
                  aiding and abetting of one another regarding the misconduct against Defendants is hidden from
           24
                  Plaintiffs at this time. Such information is uniquely within Defendants’ possession, custody and
           25
                  control. Plaintiffs accordingly reserve the right to supplement and amend these allegations if
           26
                  appropriate or necessary following completion of relevant fact discovery.
           27
                         58.        Defendant HDR is the sole and exclusive owner of BitMEX brand, as evidenced,
           28
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             1
                  for example, by the Terms of Service and by numerous trademark filings for the protection of this
             2
                  brand made by Defendant HDR in the United States and throughout the world.
             3
                         59.        Defendant Grape Park is a State of Delaware limited liability company, Delaware
             4
                  Secretary of State file number 7554178, with registered office at 3411 Silverside Road Tatnall
             5
                  Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
             6
                  funds derived from money laundering, market manipulation, operating unlicensed money
             7
                  transmitting business and other nefarious acts taking place on the BitMEX platform through
             8
                  investments into United States real estate, Ex. 12. Defendant Reed dominates and controls every
             9
                  aspect of business of Defendant Grape Park and funds its operations. Defendant Grape Park is an
           10
                  alter ego of Defendant Reed.
           11
                         60.        Defendant Mark Sweep is a State of Delaware limited liability company, Delaware
           12
                  Secretary of State file number 7449568, with registered office at 3411 Silverside Road Tatnall
           13
                  Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
           14
                  funds derived from money laundering, market manipulation, operating unlicensed money
           15
                  transmitting business and other nefarious acts taking place on the BitMEX platform through
           16
                  investments into United States real estate, Ex. 13. Defendant Reed dominates and controls every
           17
                  aspect of business of Defendant Mark Sweep and funds its operations. Defendant Mark Sweep is
           18
                  an alter ego of Defendant Reed. It should be noted that Defendants ABS, Grape Park and Mark
           19
                  Sweep share the same registered office address in the State of Delaware.
           20
                         61.        Defendant Unknown Exchange is a cryptocurrency-to-fiat off-ramp exchange
           21
                  (over-the-counter exchange services provider). Defendant Unknown Exchange was and is being
           22
                  used by Defendants to launder funds derived from money laundering, market manipulation,
           23
                  operating unlicensed money transmitting business and other nefarious acts taking place on the
           24
                  BitMEX platform through converting the illegally obtained bitcoins into various fiat currencies,
           25
                  including United States dollars and Hong Kong dollars. Plaintiffs will amend this Complaint
           26
                  when they ascertain the identity of the Defendant Unknown Exchange based on discovery
           27
                  propounded on Defendants.
           28
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             1
                         62.        Defendant Hayes is an individual, who is a United States citizen. On papers filed
             2
                  with California Secretary of State, Defendant Hayes claimed to have resided in Kennedy Town,
             3
                  Hong Kong Special Administrative Region of the People’s Republic of China. However,
             4
                  Plaintiffs are informed and believes and thereon allege that Defendant Hayes also resides in
             5
                  Buffalo, NY 14221-1840 and was last seen at his residence there on August 18, 2020. Defendant
             6
                  Hayes owns property in the U.S., and files U.S. income tax returns. During the Relevant Period,
             7
                  Defendant Hayes held his ownership interest in the BitMEX entities through a Delaware limited
             8
                  liability company that maintains bank accounts at financial institutions in the U.S. and owns
             9
                  property in the U.S. Defendant Hayes is sued as sui juris.
           10
                         63.        Defendant Delo is an individual, who is a citizen of United Kingdom, and who
           11
                  resides in Hong Kong Special Administrative Region of the People’s Republic of China.
           12
                  Defendant Delo is sued as sui juris.
           13
                         64.        Defendant Reed is an individual, who is a United States citizen and who resides in
           14
                  Milwaukee, WI 53202. Defendant Reed is sued as sui juris. United States residence of
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             1
                  Defendant Reed is further evidenced by his own professional profile on LinkedIn professional
             2
                  network, where he lists the United States as his country of residence. Defendant Reed maintains
             3
                  an office in and conducts business from Milwaukee, Wisconsin.
             4
                          65.       Defendant Agata Reed is an individual, who is a citizen of the United States, and
             5
                  who resides in Norwell, MA 02061. Defendant Agata Reed is sued as sui juris.
             6
                          66.       Defendant Barbara Reed is an individual, who is a citizen of the United States, and
             7
                  who resides in Lake Tomahawk, WI 54539. Defendant Barbara Reed is sued as sui juris.
             8
                          67.       Defendant Trace Reed is an individual, who is a citizen of United States, and who
             9
                  resides in Lake Tomahawk, WI 54539. Defendant Trace Reed is sued as sui juris.
           10
                          68.       Plaintiffs are informed and believe and thereon allege that each of the individual
           11
                  Defendants sued herein was the agent and employee of each of the remaining Defendants and was
           12
                  at all times acting within the purpose and scope of such agency.
           13
           14              DEFENDANTS’ EXTENSIVE CONTACTS WITH THE UNITED STATES
                                             AND THIS DISTRICT
           15
                          69.       Plaintiffs incorporate the allegations set forth in Paragraphs 1-68 above as if fully
           16
                  set forth herein.
           17
                          70.       Defendant ABS is qualified to do business in California and has appointed an
           18
                  agent for service of process in this State. Despite all the claims to the contrary, Defendants HDR,
           19
                  Hayes, Delo and Reed maintain numerous close connections with the United States, State of
           20
                  California and this District.
           21
                          71.       Corporate Defendants HDR and ABS were established by individual Defendants
           22
                  Hayes, Delo and Reed due to seed funding provided by at least two United States-based entities –
           23
                  Ohio-based RGB COIN LTD. and a startup accelerator SOSV with offices in San Francisco and
           24
                  New York.
           25
                          72.       Defendant HDR is managed by Defendants Hayes, Delo and Reed with advice of
           26
                  an advisory board consisting of 12 members, three of which are located in the United States.
           27
                          73.       Due to his role as the President, CEO, Secretary and Chief Financial Officer of
           28
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             1
                  Defendant ABS and his CEO position with Defendant HDR, Defendant Hayes manages and
             2
                  directs operations of both Defendants HDR and ABS in the United States and in this District.
             3
                         74.        On the most recent California Secretary of State Statement of Information form
             4
                  filed by Defendant ABS with the State of California on or about August 22, 2019, Defendant
             5
                  Hayes’s address in the State of California is listed as: 340 Brannan Street, 2nd Floor, San
             6
                  Francisco, California 94107.
             7
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           10
                         75.        Due to his role as the CTO of both Defendants HDR and ABS and his supervisory
           11
                  involvement in the software development of the BitMEX platform, Defendant Reed, who resides
           12
                  in Wisconsin, manages and directs operations of both Defendants HDR and ABS in the United
           13
                  States and in this District, where the majority of the software developers and engineers working
           14
                  on the BitMEX platform are located.
           15
                         76.        As evidenced by BitMEX website, on or about April 27, 2018, Defendant Reed
           16
                  stated: “We serve customers all over the world, in five languages, and have become the premier
           17
                  platform for Bitcoin price discovery and liquidity” (emphasis added). This statement constitutes
           18
                  an admission that Defendants knowingly serve customers in the United States and the State of
           19
                  California.
           20

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             1
                         77.        BitMEX website www.BitMEX.com/careers/ lists San Francisco as the location of
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           16
           17     one of the Defendant HDR’s offices, where all the technology behind BitMEX is being

           18     developed. Defendant HDR actively recruited individuals for this office using recruiting websites

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           20

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           22
           23
                  such as GlassDoor.com, Angel.co and LinkedIn.com. According to professional network
           24
                  LinkedIn, BitMEX’s owner Defendants HDR has at least 74 current and former employees in the
           25
                  United States, most of which are residents of this District.
           26
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             1
                         78.        In a publicly released and publicly available video first aired on CNBC news
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                  channel, Defendant Hayes can be seen broadcasting from the San Francisco office of CNBC, on
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           12
           13     or about July 19, 2018.
           14            79.        United States residents can freely trade on BitMEX platform from the United
           15     States because, as Defendant Hayes concedes and journalists and other commentators have
           16     explained, and BitMEX’s marketing of itself in the United States demonstrates, accessing
           17     BitMEX is trivially easy from the United States using widely available and inexpensive virtual
           18     private network (VPN) software that masks trader’s geographical location. This is because
           19     Defendants purport to restrict access to the BitMEX Platform for residents in the United States
           20     and California, by using an impotent IP-address check mechanism. Defendants, however,
           21     knowingly allow United States and California residents to circumvent the IP-address check
           22     mechanism via simple, inexpensive, and widely available software tools such as by using a VPN.
           23     Defendants have exploited this loophole to avail themselves of United States and California
           24     markets. Defendant Hayes stated in a January 2019 interview that BitMEX users can mask their
           25     location using VPNs to assign their computer an IP address from other countries, bypassing filters
           26     put in place. In fact, all web pages on BitMEX.com commercial website, except for a user
           27     account page, are freely accessible from the United States without any VPN. This is done
           28
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             1
                  purposefully in order to entice United States persons to trade on the BitMEX platform. If
             2
                  Defendants truly wanted to exclude United States traders from their platform, they would have
             3
                  blocked access to all web pages on the BitMEX.com commercial website from the United States.
             4
                         80.        In fact, in an interview in January of 2019, Defendant Hayes himself publicly
             5
                  taunted the fact that users from banned jurisdictions like the United States can easily bypass the
             6
                  cryptocurrency exchange’s geoblock by using the VPN service, thereby directly encouraging
             7
                  United States traders to trade on the BitMEX platform in violation of its own Terms of Service.3
             8
                         81.        Defendant HDR uses United States based Amazon, Inc.’s Amazon Elastic
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           21     Kubernetes Service (“Amazon EKS”), which combines Amazon Web Services (“Amazon AWS”)

           22     with managed high-availability Kubernetes infrastructure for containerized deployment of all of

           23
                  3
           24       To the extent Defendants are attempting to rely on the provisions of BitMEX Terms of Service
                  to absolve themselves from liability for fraudulent, willful and negligent acts directed at their U.S.
           25     and California customers, all such attempts are precluded by Cal. Civ. Code § 1668, which
           26     provides that "[a]ll contracts which have for their object, directly or indirectly, to exempt anyone
                  from responsibility for his own fraud, or willful injury to the person or property of another, or
           27     violation of law; whether willful or negligent, are against the policy of the law." Therefore, to the
                  extent BitMEX Terms of Service are used to exempt Defendants of liability for fraudulent, willful
           28     and negligent acts, they are null and void as being against the policy of the law.
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             1
                  its order matching and liquidation engines and for storing all of its customer and trading data.
             2
                  Amazon AWS has offices in San Francisco, California. San Francisco office of Defendant HDR
             3
                  employs at least five Kubernetes engineers who interact with Amazon AWS in this District on a
             4
                  daily basis.
             5
                          82.       Moreover, the recent email data leak of BitMEX has shown that Defendant HDR
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           19
                  uses San Francisco, California – based Twilio Inc. and its subsidiary SendGrid, Inc., with offices
           20
                  at 889 Winslow St., Redwood City, California 94063, United States, for handling all of its bulk
           21
                  email communications with its customers. Twilio Inc. and its subsidiary SendGrid, Inc. as well as
           22
                  Intercom, Inc. store a database of all BitMEX users in this District, including email addresses and
           23
                  all other contact information of all users, which BitMEX uses for all its customer
           24
                  communications.
           25
                          83.       Defendants use ReCAPTCHA service provided by Google, Inc., headquartered in
           26
                  this District to provide human verification for the users of the BitMEX’s platform.
           27
           28
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           20            84.        Defendants further use YubiKey device and YubiCloud service provided by Palo

           21     Alto-based YubiKey, located in this District, to provide 2-factor authentication capability to the

           22     users of BitMEX’s platform.

           23            85.        Defendants further use service operated by Jumio Netverify, based in Palo Alto,

           24     California, through which Jumio collects personal data from BitMEX users directly, including

           25     photos of user’s faces and ID documents and performs identity verification of the users for

           26     BitMEX platform.

           27            86.        Defendants further use Freshdesk service provided by Palo Alto-based

           28     FreshWorks, headquartered in this District, for handling all customer support queries, notes and
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             1
                  replies associated with the BitMEX platform.
             2
                         87.        Defendants further use segment.io service provided by San-Francisco based
             3
                  Segment.io, Inc., and Google Analytics service provided by Google, Inc., both of which are
             4
                  headquartered in this District, for gathering data collected on BitMEX.com servers and generating
             5
                  visitor statistics for BitMEX platform.
             6
                         88.        Defendants further use services provided by San Francisco-based Functional
             7
                  Software, Inc. (Sentry.io), San Francisco-based Pagerduty and Austin, Texas-based Solarwinds
             8
                  (Papertrail) to monitor all site and service issues associated with the BitMEX platform.
             9
                         89.        Defendants further use services provided by Google Firebase and Amazon SNS
           10
                  platforms, operated by Google, Inc. and Amazon Web Services, Inc., respectively, both of which
           11
                  are headquartered in this District, to deliver mobile push notifications to all user devices.
           12
                         90.        The above-alleged facts clearly show that the vast majority of the vital services
           13
                  used by BitMEX platform are provided by United States vendors located in this District and that
           14
                  without such services of United States and California origin, BitMEX platform would not have
           15
                  existed in its present form. Therefore, BitMEX is able to operate its platform only due to its
           16
                  connections with the service providers located in the United States and this District.
           17
                             Service Provider to                                                                         Service Provider
           18                                                       Services Provided to BitMEX
                                     BitMEX                                                                                    Location
           19
                  1.      Amazon Web Services                     Kubernetes infrastructure for                   San Francisco, California
           20
                                                                  containerized deployment of all
           21
                                                                  of its order matching and
           22
                                                                  liquidation engines and for
           23
                                                                  storing all of its customer and
           24
                                                                  trading data
           25
                  2.      Twilio, Inc.                            Communications with all                         San Francisco, California
           26
                                                                  BitMEX users
           27
                  3.      SendGrid, Inc.                          Email communications with all                   Redwood City, California
           28
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             1
                                                                  BitMEX users
             2
                  4.      Google, Inc.                            Human verification for the users,               Mountain View,
             3
                                                                  and generating visitor statistics               California
             4
                  5.      YubiKey, Inc.                           2-factor authentication capability              Palo Alto, California
             5
                  6.      Jumio, Inc.                             Identity verification of the users              San Francisco, California
             6
                  7.      FreshWorks                              Customer support queries, notes                 Palo Alto, California
             7
                                                                  and replies
             8
                  8.      Segment.io, Inc.                        Generating visitor statistics                   San Francisco, California
             9
                  9.      Functional Software,                    Monitor all site and service issues             San Francisco, California
           10
                          Inc.                                    for BitMEX platform
           11
                  10.     Intercom, Inc.                          Electronic communications with                  San Francisco, California
           12
                                                                  all BitMEX users
           13
                  11.     ProofPoint, Inc.                        Hosting of BitMEX’s internal                    Sunnyvale, California
           14
                                                                  corporate email accounts,
           15
                                                                  outbound data loss prevention,
           16
                                                                  social media, mobile devices,
           17
                                                                  digital risk, email encryption,
           18
                                                                  electronic discovery, and email
           19
                                                                  archiving.
           20

           21
                         91.        Furthermore, Plaintiffs are informed and believe and thereon allege that San
           22
                  Francisco, California-based quant trading firm Galois Capital freely trades on BitMEX from this
           23
                  District generating millions of dollars of business for Defendant HDR. This trading is done with
           24
                  the knowledge, permission, approval, assistance and encouragement of Defendants.
           25
                         92.        Defendants knowingly and willfully permitted United States citizens and residents
           26
                  of this District as well as United States based companies to freely trade on the BitMEX exchange
           27
                  because of the lucrative business relationships between Defendants and the aforesaid individuals
           28
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             1
                  and companies, which financially benefitted Defendants.
             2
                           93.      Moreover, Defendant’s HDR website BitMEX.com is a commercial website, in
             3
                  English language, enabling traders to enter into binding derivative purchase and sale contracts,
             4
                  through which Defendants conduct substantial business with the residents of the United States,
             5
                  the State of California and this District and which by itself is sufficient for subjecting Defendants
             6
                  to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp.
             7
                  1119 (W.D. Pa. 1997). Instead of performing a proper document check before allowing users to
             8
                  open an account on BitMEX.com, Defendants deliberately and knowingly use utterly ineffective
             9
                  IP address check, which they all well know is uniformly subverted by very simple, inexpensive
           10
                  and widely available software tools. Using the aforesaid commercial website operated by
           11
                  Defendants, residents of the United States, the State of California and this District are able to
           12
                  place binding trading orders of virtually unlimited monetary size, enter into binding derivative
           13
                  purchase and sale contracts, and transfer virtually unlimited amount of funds anywhere in the
           14
                  world.
           15
                           94.      Moreover, Defendants deliberately made their commercial website BitMEX.com
           16
                  accessible from the United States even without using VPN software in violation of BitMEX’s
           17
                  own Terms of Service (“Terms of Service”) in order to entice United States residents to trade on
           18
                  the BitMEX’s platform. Specifically, BitMEX’s Terms of Service provide: ”[y]ou are not
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           20

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           26
           27     allowed to access or use the Services or the Trading Platform if you are located, incorporated or
           28
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             1
                  otherwise established in, or a citizen or resident of: (i) the United States of America… ‘Services’
             2
                  means websites, applications and any services provided by any member of the HDR Group,
             3
                  including: a) … the BitMEX Testnet Platform.” However, BitMEX.com website specifically
             4
                  induces United States resident users to try BitMEX Testnet Platform, by clearly stating: “please
             5
                  try our BitMEX Testnet.” This is not an innocent mistake, it is intentionally done by Defendants
             6
                  in order to entice United States traders to subsequently trade on the BitMEX Trading Platform in
             7
                  direct violation of the prohibition contained in its own Terms of Service. In fact, all web pages
             8
                  on BitMEX.com commercial website, except for a user account page, are freely accessible from
             9
                  the United States without any VPN. This is purposefully done to entice United States persons to
           10
                  trade on the BitMEX platform. If Defendants truly wanted to exclude United States traders from
           11
                  their platform, they would have blocked access to all web pages on the BitMEX.com commercial
           12
                  website from the United States.
           13
                         95.        Therefore, any and all provisions contained in the Terms of Service prohibiting
           14
                  United States users from using the BitMEX’s platform were in fact sham provisions and lacked
           15
                  any meaningful enforcement by Defendants. In fact, Defendants’ own actions clearly
           16
                  demonstrated complete disregard of the provisions of their own Terms of Service. Moreover,
           17
                  Defendants willfully and deliberately used IP country blocking, which has been proven utterly
           18
                  ineffective for its intended purpose and easily subverted, to leave a back door for the United
           19
                  States residents to trade on the BitMEX platform.
           20
                         96.        Furthermore, Defendants purposefully invoked the benefits and protections of the
           21
                  United States Federal laws when they filed for and obtained from the United States government
           22
                  official Notices of Allowance for seven (7) United States trademark applications all relating to
           23
                  BitMEX’s platform that is the subject of this Complaint.
           24
                         97.        For example, trademark applications serial Nos. 87856272 and 87607952, both for
           25
                  mark “BITMEX” were filed by Defendants in connection with “[d]ownloadable software for
           26
                  trading crypto-products and providing crypto-currency information” and “exchanging money,
           27
                  financial management, futures brokerage, capital investment, electronic funds transfer, providing
           28
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             8    financial information via a website, financing services, investment of funds, business liquidation
             9    services, financial services, namely, operation and management of hedge funds, commodity pools
           10     and other collective investment vehicles, and trading for others of cryptocurrency, decentralized
           11     application tokens and protocol tokens, blockchain based assets and other cryptofinance and
           12     digital assets, securities, options, futures, derivatives, debt instruments and commodities,”
           13     respectively, which are BitMEX’s core services. Invoking benefits and protections of the United
           14     States Federal laws clearly made it foreseeable for Defendants that they would end up in a United
           15     States Court.
           16            98.        In the aforesaid trademark filings with the United States Patent and Trademark
           17     Office, Defendant HDR swore, under penalty of perjury, that it “has a continued bona fide
           18     intention, and is entitled, to use the mark[s] in commerce [in the United States] on or in
           19     connection with all of the goods/services listed in the Notice of Allowance or as subsequently
           20     modified for this specific class.”
           21            99.        In a recent legal filing, Defendant Hayes swore that: “[i]n my capacity as CEO, I
           22     am advised by an advisory body currently comprised of twelve individuals responsible for
           23     different departments within the HDR Group. A majority of the HDR Group’s advisory
           24     committee has always been located in Hong Kong, and nine of the twelve members currently on
           25     the committee are located outside of the United States.” Therefore, three out of 12 members of
           26     the advisory committee of Defendant HDR are located in the United States.
           27            100.       Professional network LinkedIn, as well as other information available on the
           28
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             1
                  Internet, provides publicly available evidence of dozens individuals, who reside in the United
             2
                  States and in this District and who identify themselves as cryptocurrency derivative traders on the
             3
                  BitMEX platform. Forty three examples of the Unites States resident BitMEX traders, who trade
             4
                  on BitMEX through the aforesaid commercial website BitMEX.com, are provided in the below
             5
                  table:
             6
             7                                    BitMEX Trader Name                                            BitMEX Trader Residence
             8    1.                                      Scrembo Paul                                             Los Angeles, California
             9                                                                                                 Greater San Diego, California,
                  2.                                      Aaron Aloyan
           10                                                                                                                     Area
                  3.                              Christopher Smitherman                                                   Atlanta, Georgia
           11
                  4.                                      Daniel Spivak                                              Greater Chicago Area
           12
                  5.                                     Harrison Davis                                         Greater New York City Area
           13
                  6.                                          Vesko P.                                            Greater Los Angeles Area
           14
                  7.                                   Matthew Wellman                                               Lexington, Kentucky
           15     8.                                        Uriel Scott                                                    Chicago, Illinois
           16     9.                                     Sahand Akbari                                          Sacramento, California Area
           17     10.                                     Malik Crypto                                               Orlando, Florida Area

           18     11.                                        Saif Amer                                               Greater Chicago Area
                  12.                                      Nelson Riley                                                    Aspen, Colorado
           19
                  13.                                      John Roberts                                         Greater New York City Area
           20
                  14.                                    Andres Santana                                         Greater New York City Area
           21
                  15.                                     Thomas Chen                                                      Evanston, Illinois
           22     16.                                     Alex Sherman                                                San Jose, California
           23     17.                                     Phillip James                                          St. Cloud, Minnesota Area
           24     18.                                    David Siddiqui                                                La Jolla, California

           25     19.                                     Zach Brodsky                                                      Talent, Oregon

           26     20.                            Philip Dustin Du Amarell                                         Laguna Beach, California
                  21.                                    Jiale (Etta) Qin                                            Cupertino, California
           27
                  22.                                    Bokmoon Jung                                                        Boise, Idaho
           28
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             1    23.                                 Lionel Girardin                                               Greater Chicago Area
             2    24.                                   Arijit Santra                                                Berkeley, California

             3    25.                                Sankha Banerjee                                           Greater New York City Area
                  26.                              Connor Van Dorpe                                                  Madison, Wisconsin
             4
                  27.                                     Ryan Rim                                                San Francisco Bay Area
             5
                  28.                                Gianny R. Banda                                                       Miami, Florida
             6
                  29.                               Michael Peterson                                             Syracuse, New York Area
             7
                  30.                                 Anthony Agrait                                                      Tempe, Arizona
             8    31.                                     Dustin G.                                              Burlington, Vermont Area
             9    32.                                 Kevin Cotugno                                                       Phoenix, Arizona
           10     33.                                  Calvin Leung                                              Santa Monica, California

           11     34.                             Anthony Wittemann                                              Santa Monica, California
                                                                                                              Greater New York City Area,
           12     35.                                Catherine Wood
                                                                                                                             New York
           13
                  36.                                     Ryan Gill                                                        Delaware, Ohio
           14
                  37.                              Eric J. Waidergorn                                         Greater Chicago Area, Illinois
           15
                  38.                                    Eric Crown                                                       Hillsboro, Oregon
           16     39.                       Like Martin (Venturecoinist)                                        Knoxville, Tennessee Area
           17     40.                                Edward Ornelas                                             Albuquerque, New Mexico
           18     41.                                   Richard Bae                                                         United States

           19     42                                      Roger Xu                                                    Brooklyn, New York
                  43.                                     Wen Hou                                                         Irvine, California
           20

           21
           22            101.        Professional network LinkedIn as well as other Internet resources further provide

           23     evidence of at least fourteen companies, which are incorporated and based in the United States

           24     and which trade derivatives using Defendant’s HDR commercial website BitMEX.com:

           25
                         Name of U.S. Company Trading on
           26                                                                                            Company Address
                                              BitMEX
           27
                  1.          CMT Capital Markets Trading                                  156 N Jefferson St., Suite 102, Chicago, IL
           28
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             1                                                                                                    60661
             2                   Eastmore Group / Eastmore                                 40 Wall Street, Suite 1700, New York, NY
                  2.
             3                         Management, LLC                                                            10005
                                                                                       90 State Street Ste 700, Office 40, Albany, NY
             4    3.      Clerkenwell Asset Management LLC
                                                                                                                  12207
             5
                                                                                        150 Post Street, Suite 442, San Francisco, CA
             6    4.                      Galois Capital
                                                                                                                  94108
             7    5.                  Adaptive Fund I, LP                                   16192 Coastal Hwy, Lewes, DE 19958
             8    6.                    Swing Trade Pros                                    1600 S. Indiana Ave, Chicago, IL 60616
             9    7.                           FalconX                                     66 Bovet Rd #380, San Mateo, CA 94402

           10     8.                   Cumberland DRW                                        540 W Madison St Chicago, IL 60661
                                                                                                1395 Brickel Avenue, Suite 913
           11     9.                      Circle Partners
                                                                                                          Miami, FL 33131
           12
                  10.          Fund3 Capital LP/Fund3 LLC                               11244 Huntley Place, Culver City, CA 90230
           13
                                                                                                         82 W Highway 50,
           14     11.               South Lake Computers
                                                                                                        Clermont, FL 34711
           15                                                                                     3 East 28th Street, 7th Floor,
                  12.      ARK Investment Management LLC
           16                                                                                         New York, NY 10016

           17     13.                  Coincident Capital                              310 Lake Street, Huntington Beach, CA 92648
                                                                                        250W 50th Street, Apt. 3d2, New York, NY
           18     14.                    Leotank Capital
                                                                                                                  10019
           19
           20            102.       Adaptive Fund I, LP, which is a Delaware limited partnership, funded primarily by

           21     investors who are United States residents, as the result of market manipulation which took place

           22     on BitMEX’s platform on or about March 13, 2020, lost 60% of its equity, or roughly

           23     $12,000,000. These catastrophic monetary losses were suffered by numerous Unites States

           24     residents who invested in that fund. In communications to investors following the losses, fund

           25     manager Murad Mahmudov admitted to personally executing trades on BitMEX’s platform with

           26     United States investors’ money. Due to the high profile of the fund and fund managers involved,

           27     Defendants clearly knew of the United States origin of the money that the Adaptive Fund I, LP

           28     was trading on BitMEX platform and Defendants deliberately and willfully allowed such trading
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             1
                  to proceed.
             2
                         103.       Internet video portal YouTube is replete with video evidence of traders residing in
             3
                  the United States and in this District freely placing high dollar bets through Defendant’s HDR
             4
                  commercial website BitMEX.com. The following table identifies just 40 examples of such video
             5
                  evidence:
             6
                        BitMEX Trader’s
             7                                              Trader                Video
                        YouTube Account                                                                            Video Title
             8                                           Residence                 Date
                              User Name
             9                                              Florida,                            How Wales Manipulate Bitcoin Using
           10     1.       Jacob Canfield                   United            02/25/2020         Spoofing on Bitmex (Live $400,000
           11                                                States                                               Short Trade)

           12                                               United                                     Bitmex Leveraging Tutorial
                  2.      Edward Ornelas                                      08/21/2018
                                                             States                                      Introduction for Beginner
           13
                                                                                                    Bitmex, Deribit, & Bybit Bitcoin
           14                                               United
                  3.       Crypto Gnome                                       06/03/2019       Leverage Trading - Afternoon Trading
           15                                                States
                                                                                                                        Session
           16             Bitcoin Trading                   United                              Copy-Trading with Bitmex Trollbox +
                  4.                                                          05/24/2019
           17                 Challenge                      States                                       New Trading Challenge
           18                                                                                      WATCH ME TURN $350 INTO
                                                            United
           19     5.        Crypto Corny                                      01/14/2019          $35,000! 0.1 to 10 Bitcoin Trading
                                                             States
                                                                                                                    Challenge
           20
                                                            United                              Bitmex Leverage Trading Tutorial For
           21     6.       Scrembo Paul                                       08/27/2018
                                                             States                                           Beginners Bitcoin
           22
                                                                                               Weekly Trading Bot Update - Binance
           23                                               United
                  7.       Crypto Gnome                                       04/03/2020         Futures, Bybit, & Bitmex Bitcoin &
                                                             States
           24                                                                                                           Crypto
           25                                               United                                 How to Automate Your Trades on
                  8.       Crypto Gnome                                       05/14/2019
           26                                                States                                            Bitmex & Deribit
                                                            United                                 Goat Alerts - TradingView Bot &
           27     9.       Crypto Gnome                                       09/25/2019
                                                             States                              Shadow Trading for Bybit & Bitmex
           28
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             1                                              United
                  10.      Crypto Gnome                                       08/12/2018       How to Set a STOP LOSS on BitMEX
             2                                               States

             3                                              United                            How to use a Trailing Stop on BitMEX -
                  11.      Crypto Gnome                                       11/29/2018
                                                             States                                           MORE PROFITS!
             4
                                                            United
             5    12.      Crypto Gnome                                       07/25/2018            How to Short Bitcoin on Bitmex
                                                             States
             6
                                                            United                             How to Save on Fees When Trading on
             7    13.      Crypto Gnome                                       08/11/2018
                                                             States                                                     BitMEX
             8                                              United                             How to SHORT/LONG Bitcoin Futures
                  14.      Crypto Gnome                                       07/25/2018
             9                                               States                                         on BITMEX Tutorial

           10                                               United                               Free Profit Tracking Spreadsheet for
                  15.      Crypto Gnome                                       07/30/2018
                                                             States                                           Trading on Bitmex
           11
                                                            United                               Bitmex & Deribit Pivot Point Robot
           12     16.      Crypto Gnome                                       01/04/2019
                                                             States                                                     Trading
           13
                                                                                                Get rich trading crypto? Secret tips on
                                                            United
           14     17.      Richard Heart                                      08/14/2018           Bitcoin & Ethereum 100x margin
                                                             States
           15                                                                                           trading on Bitmex, futures
           16                                               United
                  18.          Lazy MF                                        07/02/2018                     Bitmex LiveTrading
           17                                                States
                                                            United
           18     19.          Lazy MF                                        03/12/2019            Bitmex Live trading BitcoinMF
                                                             States
           19
                                                                                                       Trading BitMEX Bitcoin On
           20                                               United
                  20.    Slingshot Futures                                    02/05/2018                          NinjaTrader;
                                                             States
           21                                                                                          www.SlingshotFutures.com
           22                                               United                             BITMEX trading during Crash-Buying
                  21.       CryptoSailor                                      01/22/2018
           23                                                States                                        the Dip with Leverage

           24                                               United                               BEST TIME TO SHORT BITCOIN!
                  22.       CryptoSailor                                      03/07/2018
                                                             States                                                     BITMEX
           25
                          Bitcoin Trading                   United
           26     23.                                                         01/08/2019              Scalping Bitmex Liquidations
                              Challenge                      States
           27     24.   Digital Millionaire                 United            10/31/2019       BitMEX Tutorial For Beginners - How
           28
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             1                                               States                            To LONG AND SHORT Bitcoin With
             2                                                                                                   LEVERAGE!

             3                                                                                    Beginner Method: $100-$1000/Day
                                                            United
                  25.     Patrick Corsino                                     01/13/2020       Passive Cryptocurrency Trading 2020!
             4                                               States
                                                                                                     Bitcoin Bitmex, Binance, Bybit
             5
                                                                                                   WATCH ME TURN $350 INTO
             6                                              United
                  26.       Crypto Corny                                      01/14/2019          $35,000! 0.1 to 10 Bitcoin Trading
                                                             States
             7                                                                                                      Challenge
             8                                                                                  70% DOWN, 9930% TO GO... 0.1 To
                                                            United
             9    27.       Crypto Corny                                      01/31/2019      10 BITCOIN TRADING CHALLENGE
                                                             States
           10                                                                                                           – Bitmex
                                                                                                 My Algorithmic Trading BOT trades
           11                                               United
                  28.      MiningTrades                                       01/23/2018       $XBT Bitcoin Futures LIVE! | BitMex
           12                                                States
                                                                                                                 Jan 23rd 2018
           13
                                                            United                                How to Long and Short Bitcoin and
                  29.      Crypto Minds                                       09/07/2018
           14                                                States                                          Altcoins on Bitmex
           15                                            California,
                           Jaydn's Crypto                                                     How to get a Bitmex account in the U.S.
           16     30.                                       United            05/06/2018
                                Channel                                                        + Bitmex Cryptocurrency Walkthrough
                                                             States
           17
                                                          Michigan,
           18                                                                                    Live BitMEX trading!!! 1 to 100 btc
                  31.       Crypt0W1SE                      United            12/30/2018
           19                                                                                                       challenge!
                                                             States
           20                                                                                 $100,000 1 DAY PROFIT LEVERAGE
                        ORACLE CRYPTO                       United
           21     32.                                                         02/08/2020            TRADING BITSEVEN BYBIT
                            AVENGER!                         States
           22                                                                                                           BITMEX

           23           ORACLE CRYPTO                       United                             BITMEX WATCH A SHORT TRADE
                  33.                                                         10/15/2018
                            AVENGER!                         States                                THE ENDED OVER 103% WIN!
           24
                                                                                                50X BITMEX LIKE A BOSS OVER
           25           ORACLE CRYPTO                       United
                  34.                                                         01/23/2018          98% ROI -WHY YOU CAN'T DO
           26               AVENGER!                         States
                                                                                                                         THIS.
           27     35. ORACLE CRYPTO                         United            11/07/2018        BCH MARKET MANIPULATION -
           28
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             1              AVENGER!                         States                            MANIPULATE BITMEX TO PROFIT!
             2                                          Gainesville,

             3    36. Alexander Lorenzo                  FL, United           01/26/2019               Scavenger Bot Bitmex SCAM
                                                             States
             4
                                                            1600 S.
             5
                                                            Indiana
             6                                                                                   Live Bitcoin Trading on Bitmex with
                  37.    Swing Trade Pros                     Ave.            03/09/2020
                                                                                                       Swing Trade Pros Indicators!
             7                                           Chicago, IL
             8                                               60616
             9                                           Burlington,
                                                                                                 How to use a TRAILING STOPLOSS
           10     38.      Sell The Spike                  Vermont            07/03/2019
                                                                                                                     on Bitmex
                                                              Area
           11
                                                         Burlington,                                Bitmex Tutorial - Placing Orders,
           12
                  39.      Sell The Spike                  Vermont            06/09/2018              Setting Stoplosses and Targets,
           13                                                 Area                                Leverage and Margin, Walkthrough
           14                 Bitcoin for                   United                                How To Use BitMEX Exchange For
                  40.                                                         12/22/2018
           15                 Beginners                      States                                   Beginners! (BitMEX Tutorial)

           16
           17            104.       “Several sources close to the company” have disclosed to media sources that
           18     nearly 15 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is
           19     attributable to traders located in the United States. This number is consistent with the evidence
           20     available on YouTube and LinkedIn.
           21            105.       YouTube is also replete with dozens of videos teaching how to access Defendant’s
           22     HDR commercial website BitMEX.com from the United States using inexpensive and widely
           23     available VPN software to avoid Internet protocol (IP) address blocking. Below are 11 examples
           24     of such videos:
           25
           26            BitMEX Trader’s                     Trader                Video
                                                                                                                     Video Title
           27           YouTube User Name Residence                                    Date
                  1.        Crypto Gnome                      United           08/09/2018        How to Sign Up for BitMEX in the US
           28
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             1                                                States
             2                                               Atlanta

             3    2.         Bot Mentality                    United           03/22/2018      How to use Bitmex in the United States
                                                              States
             4
                                                           California                              How to get a Bitmex account in the
             5              Jaydn's Crypto
                  3.                                          United           05/06/2018             U.S. + Bitmex Cryptocurrency
             6                   Channel
                                                              States                                               Walkthrough
             7                                                United
                  4.         CryptoJunkies                                     08/15/2019          How To Trade Bitmex In America!
             8                                                States
             9                                                United                            How to Trade on Bitmex for USA and
                  5.          Crypto Guru                                      03/16/2019
           10                                                 States                             Canada Residents | Bitcoin Generator
                                                                                                How to trade on BITMEX in the USA
           11
                                                              United                               100X LEVERAGE ‼ Bitcoin BTC
           12     6.      Crypto Kam Kam                                       01/08/2020
                                                              States                               ETH LTC EOS XRP TRX BCH &
           13
                                                                                                                         ADA
           14                                                                                    Crypto VPN - Do I Need A VPN For
                                                              United
           15     7.      Crypto Renegade                                      06/24/2019          Crypto Transactions? | Best Crypto
                                                              States
           16                                                                                          VPN's For Bitcoin Exchanges

           17                                                 United                            BitMex Bitcoin Trading - How to setup
                  8.       RChrisFord.com                                      10/31/2017
                                                              States                                              a U.S. account
           18
                                                              United
           19     9.        Casey Watkins                                      08/23/2018          Bitmex - Signing up from the USA
                                                              States
           20                                                                                             ***MEX Millionaire***
                                                              United
           21     10.   Krown's Crypto Cave                                    05/07/2018          EVERYTHING You Must Know!-
                                                              States
           22                                                                                             ***BITMEX Tutorial***

           23                                                 United                                  Como Usar Bitmex desde USA
                  11.   CRYPTOCASH 305                                         02/01/2019
                                                              States                                    (Bitmex Tutorial). [Spanish]
           24
           25
           26            106.       Defendant HDR assigns a six-symbol alphanumeric affiliate codes to all BitMEX

           27     account holders and uses these affiliate codes to pay compensation to its users for enticing other

           28     users, including United States residents, to open accounts on BitMEX.com commercial website
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             1
                  by posting a URL pointing to the BitMEX registration page and incorporating the aforesaid
             2
                  assigned affiliate code. The so assigned affiliate code uniquely identifies the corresponding
             3
                  account holder and its BitMEX account. Thus, presence of the affiliate code indicates that a
             4
                  person who invites others to register with Defendant’s HDR commercial website by way of an
             5
                  affiliate link himself has a BitMEX account. Table below provides 22 examples of BitMEX
             6
                  affiliate codes being assigned to the United States residents for receiving compensation for
             7
                  enticing other United States residents to join the BitMEX platform:
             8
                          BitMEX Trader’s                            Trader                   BitMEX Assigned Affiliate Code
             9
                             Name or Alias                        Residence                 (identifies trader’s BitMEX account)
           10
                  1.            Tone Vays                       United States                                    cMvHXg
           11     2.                Flood                       United States                                      ir2Xqa
           12     3.          Crypto Corny                      United States                                      0rsCIx
           13                                                      Hillsboro,

           14                                                  Oregon, United
                  4.     Krown's Crypto Cave                                                                       ou4vcl
                                                                States, United
           15
                                                                      States
           16
                  5.    Crypto Hippo Trading                    United States                                     gZ0Y10
           17
                                                                Albuquerque,
           18     6.         Edward Ornelas                     New Mexico,                                       kpdzGl
           19                                                   United States
           20     7.           CryptoSailor                     United States                                     AOIyp0

           21     8.          MiningTrades                      United States                                     i110zC
                  9.          Crypto Minds                      United States                                     OIv1fe
           22
                  10.          Moonin Papa                      United States                                     GG2kor
           23
                                                              Washington DC-
           24
                  11.        Josh Olszewicz                   Baltimore Area,                                     s7sqNI
           25                                                   United States
           26     12.      Digital Millionaire                  United States                                     P2DBFt
           27     13.        Patrick Corsino                  New York, New                                       TD6yks

           28
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             1                                                   York, United
             2                                                        States

             3                                                     Michigan
                  14.          Crypt0W1SE                                                          rLMJ0, DYBmFQ, rLMJ0L
                                                                United States
             4
                  15.        Casey Watkins                      United States                                      lf9P89
             5
                         ORACLE CRYPTO
             6    16.                                           United States                                    WXNej9
                               AVENGER!
             7                                                New York, New
             8    17.      Swing Trade Pros                      York, United                                    G4cfM4
             9                                                        States

           10     18. Bitcoin for Beginners                     United States                                     5i7rOb
                  19.        Crypto Gnome                       United States                                    EOsLBm
           11
                                                                  Burlington,
           12     20.         Sell The Spike                                                                     KO33NC
                                                                Vermont Area
           13
                                                                 Los Angeles,
           14     21.         Scrembo Paul                                                                        BlQzsA
                                                                   California
           15                   Like Martin                       Knoxville,
                  22.                                                                                              9e4hqj
           16               (Venturecoinist)                   Tennessee Area

           17
           18            107.       Professional network LinkedIn provides publicly available evidence of 74
           19     individuals, who are United States residents and who identify themselves as present and former
           20     employees of Defendant HDR, located in the United States and in this District:
           21
           22           LinkedIn Member Name                                 Position at BitMEX                                Residence
                  1.              Max Shapiro                        Associate at BitMEX Ventures                       New York, New York
           23
                  2.          Kumar Dandapani                           Head of BitMEX Ventures                         San Francisco Bay Area
           24
                                                                       Senior Software Engineer at
           25     3.          Alena Gilevskaya                                                                      San Francisco, California
                                                                                       BitMEX
           26                                                          Senior Frontend Engineer at
                  4.              Alex Manusu                                                                       San Francisco, California
           27                                                                          BitMEX
           28
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             1                                                            Former Head of Venture
                  5.           Maxim Wheatley                                                                        San Francisco, California
             2                                                            Development at BitMEX

             3                                                          Former CMO Operations at                         Greater New York City
                  6.                Lisa Loud
                                                                                       BitMEX                                       Area
             4
                                                                       Senior Software Engineer at
             5    7.             Lucky Odisetti                                                                          Menlo Park, California
                                                                                       BitMEX
             6
                  8.          Niroj Shankhadev                          Web Developer at BitMEX                      San Francisco, California
             7                                                            Co-Founder and CTO at
                  9.              Samuel Reed                                                                                 United States
             8                                                                         BitMEX
             9    10.             Eric Zinnikas                       Security Engineer at BitMEX                    San Francisco, California

           10                                                        Talent Acquisition Specialist at                San Francisco Bay Area,
                  11.            Molly Lubow
                                                                                       BitMEX                                    California
           11
                                                                       Senior Software Engineer at
           12     12.            Evan Ricketts                                                                           Milwaukee, Wisconsin
                                                                                       BitMEX
           13
                                                                     Security Engineering Manager,
           14     13.          Michael Carlson                                                                       San Francisco, California
                                                                    Application Security at BitMEX
           15                                                          Technical Program Manager
                  14.         Monzer Aldimassi                                                                            Campbell, California
           16                                                                  (TPM) at BitMEX

           17                                                         Vice President Of Engineering                  San Francisco Bay Area,
                  15.            Patrick Fiscina
                                                                                       at BitMEX                                 California
           18
                                                                                                                     San Francisco Bay Area,
           19     16.          Allison Sommers                        Security Engineer at BitMEX
                                                                                                                                 California
           20
                  17.        Conner McNicholas                         Data Engineering at BitMEX                    San Francisco, California
           21                                                             Engineering Manager at
                  18.        Brandon Schlenker                                                                       San Francisco, California
           22                                                                          BitMEX
           23     19.          Riley Hutchinson                         Director, People at BitMEX                   San Francisco, California

           24                                                         Senior IT Support Engineer at
                  20.            Benson Wong                                                                             San Carlos, California
                                                                                       BitMEX
           25
                  21.                Peter M.                         Security Engineer at BitMEX                    San Francisco, California
           26
                                                                        Site Reliability Engineer at
           27     22.             Jerry Aldrich                                                                           Seattle, Washington
                                                                                       BitMEX
           28
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             1    23.            Emilio Rivera                       Technical Recruiter at BitMEX                   San Francisco, California
             2                                                          Senior Product Manager at
                  24.          Tom Dimopoulos                                                                        San Francisco, California
             3                                                                         BitMEX
                                                                      Head of Security Assurance at
             4    25.            Mahmoud Ali                                                                         San Francisco, California
                                                                                       BitMEX
             5
                                                                       Head of DevOps at BitMEX
             6
                                                                      (Powering the world’s largest
             7                                                       cryptocurrency trading platform
             8                                                       with Kubernetes, at the edge of
             9                                                          financial and infrastructure

           10     26.           Quentin Machu                       technologies. Scaling BitMEX’s                   San Francisco, California
                                                                         infrastructure, culture and
           11
                                                                     practices from 10 employees to
           12
                                                                       150 employees, from $1B to
           13                                                          $11B traded daily, and 150x
           14                                                                     more trades.)
           15                                                         Security Engineering Manager
                  27.             Maus Stearns                                                                       San Francisco, California
           16                                                                          at BitMEX
                                                                      Security Engineer - Detection
           17     28.       Andrew MacPherson                                                                        San Francisco, California
                                                                         and Response at BitMEX
           18
                                                                    Director of Offensive Security at                    Washington, DC Metro
           19     29.              Chris Gates
                                                                                       BitMEX                                       Area
           20                                                        Software Engineer - Kubernetes
           21                                                             at BitMEX (Working on
           22                                                                building Kubernetes

           23                                                          Infrastructure that can handle
                  30.        Supriya Premkumar                                                                       San Francisco, California
                                                                    tens of thousands of low latency
           24
                                                                    transactions per second at one of
           25
                                                                          the world's largest crypto
           26                                                                      exchanges.)
           27     31.             David Vidal                         Security Engineer at BitMEX                    San Francisco, California
           28
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             1                                                          Site Reliability Engineering
                  32.                Scott H.                                                                       San Francisco, California
             2                                                                  Lead at BitMEX

             3                                                              Vice President, Chief
                                                                     Information Security Officer at
             4
                                                                     BitMEX (Leading the Security
             5
                                                                          & IT organizations at the
             6
                                                                           world’s highest volume
                  33.            Chris McCann                                                                            Palo Alto, California
             7                                                                   Cryptocurrency
             8                                                         exchange. Building a world
             9                                                         class Security team to protect
                                                                          our customers, assets and
           10
                                                                                       brand.)
           11
                                                                         Staff Security Engineer at
           12     34.     Javier Marcos de Prado                                                                    San Francisco, California
                                                                                       BitMEX
           13                                                             Senior Manager Security
                  35.             Shivali Singh                                                                     San Francisco, California
           14                                                               Assurance at BitMEX
           15     36.      Felipe Loyola Andrade                      Software Engineer at BitMEX                   San Francisco, California

           16                                                          Senior Software Engineer at
                  37.              Felix Böhm                           BitMEX (Tech lead for the                   San Francisco, California
           17
                                                                       institutional side of BitMEX)
           18
                                                                     Engineering Leader, Lead Data
           19     38.               Neel Patel                                                                          Burlingame, California
                                                                             Engineer at BitMEX
           20                                                          Senior Software Engineer at
                  39.        Taylor Hesselgrave                                                                     San Francisco, California
           21                                                                          BitMEX
           22                                                         Product Manager at Bitmex at
                  40.              Alisa Isovic                                                                     San Francisco, California
           23                                                                          BitMEX
                                                                        Site Reliability Engineer at
           24
                                                                      BitMEX (Primary on call in a
           25     41.           Armando Cerna                                                                       San Francisco, California
                                                                            high traffic production
           26
                                                                                  environment.)
           27     42.          Miguel Bernadin                      Kubernetes Engineer at BitMEX                   San Francisco, California
           28
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             1                                                       Senior Software Engineer - API
                  43.                Elliot S.                                                                       San Francisco, California
             2                                                          Technical Lead at BitMEX

             3                                                      Security Investigations Manager
                  44.               Bernard S.                                                                               United States
                                                                                       at BitMEX
             4
                                                                        HR Operations Specialist at
             5    45.             Josie Pappas                                                                      San Francisco, California
                                                                                       BitMEX
             6
                  46.              Jinny Wong                          Product Designer at BitMEX                   San Francisco, California
             7                                                            Information Technology
                  47.                Claire F.                                                                      San Francisco, California
             8                                                            Management at BitMEX
             9                                                         Senior Software Engineer at
                  48.               Can Selcik                                                                      San Francisco, California
           10                                                                          BitMEX
                                                                        Threat Intelligence, Insider
           11
                  49.           Eoghan McKee                           Threat, Incident Response at                 San Francisco, California
           12
                                                                                       BitMEX
           13
                                                                        Head of User Experience at
                  50.            Lawson Kight                                                                       San Francisco, California
           14                                                                          BitMEX
           15     51.              Shawhin M.                          Project Manager at BitMEX                    San Francisco, California
           16                                                         Platform Security Engineer at
                  52.                 Ladi D.                                                                       San Francisco, California
           17                                                                          BitMEX
                                                                          Quality Assurance (QA)
           18     53.               Neil Eads                                                                       San Francisco, California
                                                                             Manager at BitMEX
           19
                                                                    Vice President, Head of Product
           20     54.            Michael Curry                                                                      Oakland, California
                                                                                       at BitMEX
           21                                                        Principal Visual Designer, User
                  55.           Joshua Philippe                                                                     San Francisco, California
           22                                                              Experience at BitMEX
           23                                                          IT Infrastructure Engineer at
                  56.                 Tim L.                                                                        San Francisco, California
           24                                                                          BitMEX
                                                                       Communication Director and
           25     57.             Hunter Shaw                                                                       San Francisco, California
                                                                                       BitMEX
           26
                                                                          Senior Security Program
           27     58.             Brian Rankin                                                                      San Francisco, California
                                                                             Manager at BitMEX
           28
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             1                                                          Senior Product Manager at
                  59.            Bradley Cruce                                                                       San Francisco, California
             2                                                                         BitMEX

             3                                                         Senior Software Engineer at
                  60.         Simone Bottecchia                                                                      San Francisco, California
                                                                                       BitMEX
             4
                  61.                Julia Zhu                      Former Head of Data at BitMEX San Francisco, California
             5
                  62.                Yifan Gu                       Kubernetes Engineer at BitMEX San Francisco, California
             6
                                                                       Product Manager at BitMEX
             7                                                        (My average week at BitMEX
             8                                                           involves product research,
             9                                                        market research, data analysis,

           10                                                       scouring through support tickets,
                                                                       watching social channels for
           11
                                                                       opportunities in terms of new
           12
                                                                      features and improvements to
           13                                                         existing features collaborating
           14                                                       with Engineering, Program, QA,
           15     63.            Uday Shankar                        Security, Legal and Compliance                  San Francisco, California

           16                                                          teams. I manage expectations
                                                                     across Design, Engineering and
           17
                                                                     Management orgs and ensuring
           18
                                                                     the product ideas and solutions
           19
                                                                     are communicated, wireframed
           20                                                        and pitched in the right fidelity
           21                                                         to get all stakeholders onboard
           22                                                          and scope our short term and
                                                                       long term roadmaps for each
           23
                                                                                       projects.)
           24
                                                                     Principal / Lead senior software
           25
                                                                    engineer at BitMEX focused on
           26     64.          Victor Levasseur                                                                      San Francisco, California
                                                                      a product driven approach and
           27                                                                 with great business
           28
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             1                                                             Former Executive Vice
             2                                                            President of Product and

             3                                                       Engineering ( Built and led the
                                                                         North American arm of an
             4
                                                                          overseas cryptocurrency
             5
                                                                      derivatives exchange, hiring a
             6
                                                                       team of 40 during a period of
             7                                                      100x growth. (BitMEX was then
             8                                                        and remains the largest crypto

             9                                                         exchange, by volume, in the
                                                                                       world.)
           10
                                                                     • Grew product and engineering
           11
                                                                         team from 1 to 40 across 5
           12
                                                                     operational groups, and hired or
           13                                                         developed hiring managers for
           14     65.          Jason Bond Pratt                                   each of them.                    San Francisco, California
           15                                                            • Established a culture that
                                                                          valued diversity, respect,
           16
                                                                        inclusion and appreciation,
           17
                                                                           emphasizing team-first
           18
                                                                    principles and a humble, servant
           19                                                        leadership ethic throughout our
           20                                                                      organization.
           21                                                           • Hired or developed global

           22                                                           leads for Security, DevOps,
                                                                    Recruiting, IT, UX, Mobile, and
           23
                                                                      API/Web Engineering, and led
           24
                                                                       the first D&I initiatives at the
           25                                                          company. Secured long term
           26                                                            Class A space in the FiDi.
           27                                                       • Served on the global exec team

           28
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             1                                                        and coordinated regularly with
             2                                                          peers and founders in Hong

             3                                                           Kong, London, and NYC.
                                                                     Managed a budget of $15mm.)
             4
                                                                     Former Project Office Manager
             5
                                                                           – Global Marketing and
             6    66.    Ska Ska Morales-Murray                                                                         New York, New York
                                                                          Business Development at
             7                                                                         BitMEX
             8                                                         Head of Security at BitMEX
             9    67.              Tim Tickel                            (Securing cryptocurrency                       San Mateo, California

           10                                                             exchange infrastructure)
                                                                          Data Science Manager at
           11     68.         Chenqi 'Ashley' X.                                                                    San Francisco, California
                                                                                       BitMEX
           12
                                                                          Former Senior Software
           13     69.              Kev Zettler                                                                           Oakland, California
                                                                             Engineer at BitMEX
           14                                                        Former Art Director at BitMEX
           15                                                        (Led a cross-functional rebrand

           16                                                       project with Marketing, Product,
                                                                    and Brand collaborators to build
           17
                                                                            the BitMEX brand for
           18
                  70.               Cynthia P.                              institutional and retail                    New York, New York
           19
                                                                    audiences. Deliverables included
           20                                                           brand and style guidelines,
           21                                                         visual assets, content strategy,
           22                                                             digital and print editorial

           23                                                                      campaigns.)
                  71.             Natalie Case                         Technical Writer at BitMEX                   Walnut Creek, California
           24
                                                                        Former Content Manager at
           25     72.              Deb Baratz                                                                           New York, New York
                                                                                       BitMEX
           26
                                                                    Former Operations Supervisor at
                  73.             Robbin Kyle                                                                           Livingston, New Jersey
           27                                                                          BitMEX
           28
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             1                                                      Former Senior DevOps Engineer
             2                                                         at BitMEX (Migrated legacy

             3                                                             services to Kubernetes,
                                                                    Established effective CI patterns
             4
                                                                        and provisioning strategies,
             5    74.                Jacob H.                                                                           Indianapolis, Indiana
                                                                      Worked with security team to
             6
                                                                         integrate auth/sso into dev
             7                                                       workflows, Created tooling for
             8                                                          use by DevOps and Product

             9                                                                         Teams)

           10            108.       Based on the publicly available LinkedIn data, while 74 of Defendant HDR
           11     employees are located in the United States, only 34 are located in Hong Kong, which is the home
           12     for second largest Defendant HDR office. Therefore, more than two thirds of Defendant HDR
           13     employees worldwide are residing in the United States and in this District. Moreover, the vast
           14     majority of the 74 United States employees of Defendant HDR are engaged in software
           15     development and engineering, while in Hong Kong, there are only six software developers and
           16     engineers employed by Defendant HDR. Moreover, all three Site Reliability Engineers Jerry
           17     Aldrich, Scott H. and Armando Cerna, personally responsible for the fraudulent system overloads
           18     and server freezes, are located in this District. Therefore, the United States and, specifically, this
           19     District is unquestionably the central location where all the technology behind the BitMEX
           20     platform has been and continues to be developed, from which the BitMEX platform is operated
           21     and managed by Defendants and where the illegal acts alleged in this Complaint took place.
           22            109.       In addition, BitMEX website lists 17 job openings for Defendant HDR San
           23     Francisco office. For comparison, the other two offices of Defendant HDR – Hong Kong and
           24     Singapore list 14 and two job openings, respectively. Furthermore, out of 17 advertised job
           25     openings in Defendant HDR San Francisco office, 15 are openings in engineering and software
           26     development. On the other hand, in Hong Kong office, only four job openings are in software
           27     development and engineering. This fact further supports the conclusion that the United States
           28
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             1
                  and, specifically, this District is unquestionably the central location where all the technology
             2
                  behind the BitMEX platform has been and continues to be developed, from which the BitMEX
             3
                  platform is operated and managed and where the illegal acts alleged in this Complaint took place.
             4
                         110.       BitMEX conducts offsites for the entire company hosted at its San Francisco office
             5
                  location, at least one of which occurred in November of 2017, in which Defendant Hayes and the
             6
                  rest of BitMEX’s employees globally came to San Francisco and the San Francisco office.
             7
                         111.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
             8
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers Jerry
             9
                  Aldrich, Scott H. and Armando Cerna, as alleged in Paragraph 108, and almost all vital external
           10
                  service providers to BitMEX, as alleged in Paragraph 90, are located in this District, and because
           11
                  Defendant ABS, which develops, operates, enables, supports and services BitMEX platform is
           12
                  located in this District, this District is the home base of the largest operation of Defendant DHR,
           13
                  the nerve center of the operation of the BitMEX platform, and it is the location where the illegal
           14
                  acts alleged in this complaint took place, including, without limitation, racketeering in violation
           15
                  of 18 U.S.C. §§ 1962(d) and (c), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
           16
                  violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
           17
                  specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
           18
                  supervising, directing, or owning all or part of an unlicensed money transmitting business in
           19
                  violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           20
                  U.S.C. § 2314 and cryptocurrency market manipulation in violation of the CEA, 7 U.S.C. §§ 1 et
           21
                  seq. (2018) and CFTC Regulations promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2019).
           22
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           23
                  and operated by United States based Amazon EKS. Furthermore, the illegal acts alleged herein
           24
                  were all perpetrated by Defendants through their commercial website BitMEX.com, accessible,
           25
                  via widely available and inexpensive VPN software, by users located in the United States and this
           26
                  District. Defendants knew that users located in the United States and this District were accessing
           27
                  their commercial website BitMEX.com.
           28
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             1
                          112.      Numerous citizens and residents of the United States and this District conducted
             2
                  and continue to conduct a high volume derivatives trading on the BitMEX platform using
             3
                  Defendants’ commercial website BitMEX.com.
             4
                          113.      The same commercial website BitMEX.com was used by Defendants to perpetrate
             5
                  all the illegal acts alleged in Paragraph 111, resulting in injuries to Plaintiffs, for which Plaintiffs
             6
                  seek redress in this Complaint. Accordingly, Defendants’ connections with the United States and
             7
                  this District through the commercial website BitMEX.com, used by the United States residents
             8
                  and residents of this District, are directly related to the causes of action asserted by Plaintiffs in
             9
                  this Complaint.
           10
                          114.      For the reasons stated in the previous Paragraphs of this Complaint, BitMEX is a
           11
                  domestic United States cryptocurrency exchange.
           12
                                                U.S. TRADERS ON BITMEX LEADERBOARD
           13
                          115.      While Defendants and their counsel are busy disingenuously swearing to Courts
           14
                  that “U.S. persons are expressly prohibited from trading on BitMEX platform,” Defendants’ own
           15
                  public Leaderboard posted on Defendants’ website (https://www.bitmex.com/app/leaderboard)
           16
                  reveals that just four U.S.-based traders who decided to reveal their real names (evidently in an
           17
                  effort to assist with fundraising): Roger Xu of Leotank Capital Inc. and Bryce Gilleland, Wen
           18
                  Hou and Sunil Shah of Coincident Capital (Ex. 8) generated almost $70,000,000 in trading profits
           19
                  on Defendants’ BitMEX platform. As attached Ex. 8 clearly shows, Bryce Gilleland, Wen Hou
           20
                  and Sunil Shah reside in California, while Roger Xu resides in New York.
           21
           22
           23
           24
           25
           26
           27
           28
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             1
                         116.       Moreover, the above staggering amount of business was conducted by Defendants
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18     in the United States and the State of California without obtaining a money transmission license
           19     and without complying with the mandatory FinCEN regulations in violation of 18 U.S.C.
           20     § 1960(a). Notably, all the above evidence was obtained from Defendants’ own public website
           21     without any benefit of discovery. Plaintiffs are informed and believe that this is a mere tip of the
           22     iceberg and that up to third of all traders on the BitMEX Leaderboard generating half a billion
           23     dollars of profits are U.S. persons.
           24
                                         ATTEMPTS TO MISLEAD COURTS REGARDING
           25                                             MATERIAL FACTS
                                   “U.S. persons are expressly prohibited from accessing and trading on
           26                           the BitMEX platform.” Mr. Hibbard, Defendants’ counsel.

           27            117.       It is simply inconceivable that Defendants and their litigation counsel somehow

           28     did not know that some of their top traders who generated almost $70,000,000 in profits on
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             1
                  Defendants’ own platform were U.S. persons, Ex. 8. Obviously, such high profile traders are
             2
                  universally known by name. Yet, with full knowledge that some of BitMEX’s top trading
             3
                  accounts which generated almost $70,000,000 in trading gains were in fact operated by U.S.
             4
                  persons, Defendant Hayes, with the assistance and encouragement of Defendants’ counsel,
             5
                  nevertheless disingenuously swore under the penalty of perjury in a California Superior Court
             6
                  proceeding, in a motion challenging Court’s jurisdiction that “U.S. persons are expressly
             7
                  prohibited from accessing or trading on the BitMEX platform.” Defendants’ counsel, not to be
             8
                  outdone, repeated this travesty thirteen (!) more times throughout his various motions and
             9
                  oppositions. Various representations of material facts made by Defendant Hayes and his counsel
           10
                  Stephen D. Hibbard to various Courts as well as the true facts are summarized in the table below:
           11
                   Court Name,
                                                       Defendant Hayes’                 Defendants counsel’s               The True Facts and
           12        Case and             Date
                                                        Representations                   Representations                       Exhibits
                    Document
           13     N.D. Cal. 3:20-       6/12/20                                     “No further time and              “Contrary to requirements
                  cv-3345-WHO,                                                      attention of this Court is        imposed on DCMs and
           14     Defendants’                                                       warranted as there is no          SEFs, BitMEX has failed
                  Opposition to                                                     need for a court to order         to maintain required
           15     Ex Parte                                                          someone to do what they           records, and in fact has
                  Application for                                                   are already doing.”               actively deleted required
           16     Evidence                                                                                            records including critical
                  Preservation                                                      “Our clients understand           customer identification
           17     Order [Dkt.                                                       their document                    information.” Ex. 5, p. 16,
                  No. 26, p. 3, 5].                                                 preservation                      ¶ 49.
           18                                                                       responsibilities and have
                                                                                    acted responsibly to              Defendants also falsified
           19                                                                       fulfill them. As such,            records: “Delo altered a
                                                                                    there is no dispute, and          U.S. resident’s (and
           20                                                                       there is no need for a            prominent BitMEX user)
                                                                                    document preservation             account location to Canada
           21                                                                       order.”                           for a user that brought in
                                                                                                                      1,336 user accounts
           22                                                                                                         through BitMEX’s affiliate
                                                                                                                      program.” Ex. 5, p. 24, ¶
           23                                                                                                         90.
                  San Francisco         2/27/20       “U.S. persons are                                               “BitMEX operated its
           24     County                              expressly                                                       trading platform in large
                  Superior Court,                     prohibited from                                                 part from the United States,
           25     CGC19581267,                        accessing or trading                                            and engaged in transactions
                  Declaration in                      on the BitMEX                                                   with thousands of U.S.
           26     Support of                          platform under the                                              persons. BitMEX accepted
                  Motion to                           terms of service.”                                              bitcoin deposits worth
           27     Quash                                                                                               more than $11 billion from
                  San Francisco         2/27/20                                     “HDR is a holding                 at least 85,000 user
           28
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             1    County                                                           company that                     accounts with a U.S.
                  Superior Court,                                                  ultimately owns the              nexus.” Ex. 5, p. 3, ¶ 3.
             2    CGC19581267,                                                     BitMEX-branded trading
                  MPA in                                                           platform that allows the         “BitMEX even maintained
             3    Support of                                                       trading of digital assets        an internal dashboard of
                  Motion to                                                        (such as cryptocurrency          open accounts from
             4    Quash                                                            derivatives) by certain          supposedly restricted
                                                                                   non-U.S. persons.”               jurisdictions… Delo
             5    San Francisco        2/27/20                                     “Further, U.S. persons           altered a U.S. resident’s
                  County                                                           are prohibited                   (and prominent BitMEX
             6    Superior Court,                                                  from accessing and               user) account location to
                  CGC19581267,                                                     trading on the BitMEX            Canada for a user that
             7    MPA in                                                           platform.”                       brought in 1,336 user
                  Support of                                                                                        accounts through
             8    Motion to                                                                                         BitMEX’s affiliate
                  Quash                                                                                             program… Hayes, Delo,
             9    San Francisco        2/27/20                                     “U.S. persons are                and Reed received or had
                  County                                                           prohibited from trading          access to spreadsheets and
           10     Superior Court,                                                  on the BitMEX                    reports that showed the
                  CGC19581267,                                                     platform.”                       trading volume, revenue to
           11     MPA in                                                                                            BitMEX, and other account
                  Support of                                                                                        and transactional
           12     Motion to                                                                                         information for U.S. based
                  Quash                                                                                             traders. For example,
           13     San Francisco        6/16/20       “U.S. persons are                                              BitMEX country revenue
                  County                             expressly                                                      reports from October 2018
           14     Superior Court,                    prohibited from                                                contain information about
                  CGC19581267,                       accessing or trading                                           the number of U.S traders
           15     Declaration in                     on the BitMEX                                                  on its platform.” Ex. 5, p.
                  Support of                         platform under the                                             24, ¶ 91.
           16     Motion to                          terms of service.”
                  Quash                                                                                             In addition, some of
           17     San Francisco        6/16/20                                     “HDR is a holding                BitMEX’s most profitable
                  County                                                           company that                     trading accounts openly
           18     Superior Court,                                                  ultimately owns the              listed on BitMEX’s public
                  CGC19581267,                                                     BitMEX-branded trading           Leaderboard, which
           19     MPA in                                                           platform that allows the         generated almost
                  Support of                                                       trading of digital assets        $70,000,000 in trading
           20     Motion to                                                        (such as cryptocurrency          profits, were and continue
                  Quash                                                            derivatives) by certain          to be operated by four U.S.
           21                                                                      non-U.S. persons.”               persons Bryce Gilleland,
                  San Francisco        6/16/20                                     “U.S. persons are                Wen Hou, Sunil Shah and
           22     County                                                           expressly prohibited             Roger Xu.
                  Superior Court,                                                  from accessing and
           23     CGC19581267,                                                     trading on                       Bryce Gilleland resides at:
                  MPA in                                                           the BitMEX platform.”            1400 Calle De Las Flores,
           24     Support of                                                                                        San Dimas, CA 91773, Ex.
                  Motion to                                                                                         8.
           25     Quash
                  San Francisco        6/16/20                                     “Plaintiffs allege that …        Wen Hou resides at: 2253
           26     County                                                           U.S. persons trade on the        Martin Ct. Apt. 113, Irvine,
                  Superior Court,                                                  BitMEX platform despite          CA 92612, Ex. 8.
           27     CGC19581267,                                                     being prohibited from
                  MPA in                                                           doing so.                        Sunil Shah resides at: 310
           28
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             1    Support of                                                       Regardless of the truth of       Lake St., Unit #310,
                  Motion to                                                        these allegations—most           Huntington Beach, CA
             2    Quash                                                            of which are false               92648, Ex. 8.
                                                                                   or otherwise
             3                                                                     misleading…”                     Roger Xu resides at: 250W
                  San Francisco        6/16/20                                     “Further, U.S. persons           50th Street, Apt. 3d2, New
             4    County                                                           are prohibited                   York, NY 10019, Ex. 8.
                  Superior Court,                                                  from trading on the
             5    CGC19581267,                                                     BitMEX platform.”                Due to the enormous sizes
                  MPA in                                                                                            of the trading gains
             6    Support of                                                                                        involved and the high
                  Motion to                                                                                         profile of the traders, it is
             7    Quash                                                                                             absolutely inconceivable
                  San Francisco        6/16/20                                     “U.S. persons are                for Defendants and their
             8    County                                                           prohibited from trading          counsel not to have known
                  Superior Court,                                                  on the BitMEX                    this fact at the time
             9    CGC19581267,                                                     platform.”                       Defendants and their
                  MPA in                                                                                            counsel made the material
           10     Support of                                                                                        representations to the
                  Motion to                                                                                         courts regarding
           11     Quash                                                                                             jurisdictional facts.
                  San Francisco        6/23/20                                     “U.S. persons are
           12     County                                                           expressly prohibited
                  Superior Court,                                                  from accessing and
           13     CGC19581267,                                                     trading on the BitMEX
                  Opposition to                                                    platform.”
           14     Motion to
                  Compel
           15     San Francisco        6/23/20                                     “Plaintiffs allege that …
                  County                                                           some U.S. persons trade
           16     Superior Court,                                                  on the BitMEX platform
                  CGC19581267,                                                     despite being prohibited
           17     Opposition to                                                    from doing so.
                  Motion to                                                        Regardless of the truth of
           18     Compel                                                           these allegations—most
                                                                                   of which are false or
           19                                                                      otherwise misleading.”
                  San Francisco        6/25/20                                     “U.S. persons are
           20     County                                                           expressly prohibited
                  Superior Court,                                                  from accessing and
           21     CGC19581267,                                                     trading on the BitMEX
                  MPA in                                                           platform.”
           22     Support of
                  Motion for
           23     Protective
                  Order
           24     San Francisco        6/25/20                                     “Plaintiffs allege that …
                  County                                                           some U.S. persons trade
           25     Superior Court,                                                  on the BitMEX platform
                  CGC19581267,                                                     despite being prohibited
           26     MPA in                                                           from doing so.
                  Support of                                                       Regardless of the truth of
           27     Motion for                                                       these allegations—most
                  Protective                                                       of which are false or
           28
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             1    Order                                                              otherwise misleading.”

             2
                  THE LEADERBOARD FIASCO AND HASTY “USER VERIFICATION PROGRAMME”
             3
                           118.       Defendants’ initial strategy to deal with a mounting number of civil cases against
             4
                  them in the United States was to argue to Courts that Defendants were not subject to personal
             5
                  jurisdiction in this country due to a lack of minimum contacts with the U.S. and, specifically, due
             6
                  to “U.S. persons [being] expressly prohibited from trading on BitMEX platform.”
             7
                           119.       That defense strategy spectacularly imploded when, in early August 2020,
             8
                  Plaintiffs’ counsel Pavel Pogodin stumbled upon Defendants’ Leaderboard
             9
                  (https://www.bitmex.com/app/leaderboard, Ex. 8) and discovered that, contrary to Defendants’
           10
                  denials, among top three Leaderboard traders, who meaningfully revealed their real names, all
           11
                  three turned out to be United States persons, generating over $70,000,000 in trading profits on
           12
                  Defendants’ BitMEX platform. Plaintiffs’ attorney put this stunning discovery into a CMC
           13
                  Statement, filed on August 11, 2020, Dkt. No. 33, which caused an angry response from
           14
                  Defendants’ counsel. Defendants’ counsel first demanded that Plaintiffs remove this very
           15
                  damaging information from the CMC statement using a CMC statement page limit as an excuse.
           16
                  After receiving a negative response, Defendants’ counsel bitterly refused to file Plaintiffs’
           17
                  exhibits to the CMC statement. Moreover, in a phone call, which took place shortly thereafter,
           18
                  conspicuously shaken Mr. Stephen D. Hibbard uncontrollably screamed at Plaintiffs’ counsel in a
           19
                  grossly unprofessional manner, shouting over the phone “shut your mouth.”
           20
                           120.       After Defendants and their counsel finally came to their senses and realized that
           21
                  the jurisdictional genie was out of the bottle and their plot to mislead U.S. Courts has been
           22
                  exposed, they hastily waived jurisdictional challenges in three United States civil cases against
           23
                  them and instituted a “User Verification Programme”4, designed to create an appearance that
           24
                  Defendants somehow did not know before that most of their leaderboard was filled with U.S.
           25
           26
                  4
           27       BitMEX operated for more than 5 years without any user verification what so ever. The “User
                  Verification Programme” was instituted less than 48 hours after Plaintiffs’ counsel put discovered
           28     jurisdictional evidence into CMC statement, Dkt. No. 33.
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             1
                  traders,5
             2
                    DEFENDANT REED’S PERJURY AT CFTC DEPOSITION AND MR. HIBBARD’S
             3    UNTRUTHFUL STATEMENTS TO COURTS WITH RESPECT TO THE SAME FACTS

             4            121.      As stated above, Defendants’ strategy (or, more accurately, plot) to deal with civil
             5    litigation against them in the U.S. was to falsely claim to Courts that, despite having more that
             6    85,000 trader accounts with the U.S. nexus6, Defendants were not subject to personal jurisdiction
             7    in this country due to a lack of minimum contacts with the U.S. In furtherance of this plot to
             8    defraud U.S. and California Courts, Defendant Reed went as far as to commit perjury during his
             9    2019 deposition before CFTC, by denying that BitMEX maintained reports identifying U.S.
           10     customers on its trading platform, see Indictment, Ex. 4, p. 13, ¶ 27. In reality, in December of
           11     2018, Defendant Reed received a report showing trading revenue attributable to U.S. customers,
           12     see Indictment, Ex. 4, p. 13, ¶ 27.
           13             122.      Pursuant to the same plot, Defendants’ counsel Mr. Stephen D. Hibbard repeatedly
           14     untruthfully told San Francisco Superior Court Judge Schulman that BitMEX serves only non-
           15     U.S. traders and, therefore, California Courts lack jurisdiction over it, see Paragraph 117 above.
           16             123.      All these misrepresentations are parts of the same scheme to mislead U.S. and
           17     California Courts, which Defendants and their counsel continue to pursue even today.
           18                         ACCEPTANCE OF TAINTED FUNDS AS PAYMENT FOR
           19                         MISLEADING COURTS BY DEFENDANTS’ ATTORNEYS
                          124.      Not only was Defendants’ counsel eagerly willing to mislead Courts regarding
           20
                  material jurisdictional facts to get Defendants off the hook no matter the cost, he also gladly
           21
                  accepted funds tainted with proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and
           22
                  1957 and proceeds of operating an unlicensed money transmitting business in violation of 18
           23
                  U.S.C. § 1960(a) as his fee for doing so.
           24
                          125.      As alleged above, BitMEX knowingly collects hundreds of millions of dollars in
           25
           26     5
                    The “User Verification Programme” was apparently instituted in order to avoid civil and
           27     criminal liability for knowingly operating an unlicensed money transmission business in the U.S.
                  in violation of 18 U.S.C. § 1960(a).
           28     6
                    CFTC Complaint, Ex. 5, p. 2-3, ¶ 3.
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             1
                  trading fees from the money laundering transactions taking place on its platform on a daily basis,
             2
                  including during each of the specific Manipulation Times alleged in Paragraph 372 below, which
             3
                  constitute “proceeds” of money laundering under 18 U.S.C. §§ 1956 and 1957 and which are
             4
                  deposited into its general account (bitcoin wallet), from which all legal fees of BitMEX attorneys
             5
                  are paid (after currency conversion). Thus, BitMEX’s employee salaries, office rents and even
             6
                  legal fees that BitMEX attorneys collect are tainted with the proceeds of money laundering in
             7
                  violation of 18 U.S.C. §§ 1956 and 1957.
             8
                         126.       Moreover, BitMEX has been recently caught red-handed doing at least
             9
                  $70,000,000 of business in New York and California without obtaining a money transmitting
           10
                  license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
           11
                  § 1960(a), Ex. 8. This violation has been conclusively proven using BitMEX’s own Leaderboard,
           12
                  Ex. 8. Even Defendants themselves acknowledged this fact by hastily instituting a “User
           13
                  Verification Programme” less than 48 hours after being caught doing unlicensed business in the
           14
                  United States, Ex. 9. In total, BitMEX has 65 individual and 14 institutional United States traders
           15
                  that Plaintiffs are aware of, see Paragraphs 100, 101, 106. The amount of $70,000,000 of
           16
                  unlicensed United States business exceeds any possible threshold for the obligation to obtain the
           17
                  money transmitting license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella,
           18
                  39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was
           19
                  $1,000,000 in unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.
           20
                  Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed
           21
                  bitcoin transmissions. Based on these cases, Defendants have exceeded the legal threshold for
           22
                  triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty
           23
                  three times).
           24
                         127.       Consequently, all the fees that BitMEX collected from its trading operations and
           25
                  deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           26
                  business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           27
                  in violation of 18 U.S.C. §§ 1956 and 1957, as explained in Paragraph 9 above). Legal fees for
           28
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             1
                  Defendants’ counsel’s “services” aimed at misleading Courts were paid from the same general
             2
                  account, which contained the tainted funds.
             3
                          128.      It should be further noted that the Safe Harbor Provision of 18 U.S.C. § 1957(f)(1)
             4
                  applies to criminal matters only, while Defendants’ counsel received tainted funds for
             5
                  representing Defendants in civil cases. Therefore, the Safe Harbor Provision of 18 U.S.C. §
             6
                  1957(f)(1) does not apply and the acceptance of tainted funds for counsel’s efforts to mislead
             7
                  Courts, itself constitutes money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
             8
                          129.      Thus, all the fees paid to Defendants’ legal counsel in this and other civil matters
             9
                  by Defendants, including fees paid for misleading Courts regarding material jurisdictional facts as
           10
                  alleged in Paragraphs 115 and 116, were tainted with proceeds of money laundering in violation
           11
                  of 18 U.S.C. §§ 1956 and 1957 and proceeds of operating an unlicensed money transmitting
           12
                  business in violation of 18 U.S.C. § 1960(a). Moreover, Defendants’ counsel was clearly on
           13
                  notice of very serious issues with Defendant Hayes, as Mr. Hayes has previously publicly
           14
                  admitted to bribery of foreign government officials and bank fraud, Ex. 10, 11, of which
           15
                  Defendants’ counsel was specifically informed. Thus, Defendants’ counsel’s conduct of
           16
                  misleading Courts about material facts and accepting tainted money as fees for doing so was
           17
                  clearly intentional. Notably, some of the Defendants used the same tainted funds from their
           18
                  general account to acquire real state in Wisconsin and Massachusetts as alleged in Paragraph 20.
           19
                                                              JURISDICTION AND VENUE
           20
                          130.      Plaintiffs incorporate the allegations set forth in Paragraphs 129 above as if fully
           21
                  set forth herein.
           22
                          131.      This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
           23
                  1964 as well as 28 U.S.C. §§ 1331 and 1332(a). Specifically, this action arises under RICO and
           24
                  CEA, both of which present a federal question.
           25
                          132.      This Court has jurisdiction over the statutory and common law claims of violations
           26
                  under California law pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. §
           27
                  1367(a).
           28
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             1
                         133.       This Court has personal jurisdiction over Defendants, and each of them, pursuant
             2
                  to California long arm statute codified in Cal. Code Civ. Proc. § 410.10 as well as RICO personal
             3
                  jurisdiction provisions of 18 U.S.C. § 1965(a) and (b).
             4
                         134.       Defendant HDR conducts and has conducted a substantial, systematic, and
             5
                  continuous business in the State of California as alleged hereinabove.
             6
                         135.       Defendant ABS conducts and has conducted a substantial, systematic, and
             7
                  continuous business in the State of California as alleged hereinabove.
             8
                         136.       Defendant Hayes conducts and has conducted a substantial, systematic, and
             9
                  continuous business in the State of California as alleged hereinabove. Moreover, Defendant
           10
                  Hayes transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least
           11
                  through his alter ego Defendant ABS, headquartered in this District, of which is he a founder,
           12
                  CEO, CFO, secretary and director. As alleged in Paragraph 45, name “ABS” is an abbreviation
           13
                  constructed of first letters of first names (Arthur, Ben and Samuel) of individual Defendants
           14
                  Hayes, Delo and Reed.
           15
                         137.       Defendant Delo conducts and has conducted a substantial, systematic, and
           16
                  continuous business in the State of California as alleged hereinabove. Moreover, Defendant Delo
           17
                  transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           18
                  alter ego Defendant ABS, headquartered in this District, of which is he a founder. As alleged in
           19
                  Paragraph 45, name “ABS” is an abbreviation constructed of first letters of first names (Arthur,
           20
                  Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
           21
                         138.       Defendant Reed conducts and has conducted a substantial, systematic, and
           22
                  continuous business in the State of California as alleged hereinabove. Moreover, Defendant Reed
           23
                  transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           24
                  alter ego Defendant ABS, headquartered in this District, of which is he a founder and CTO. As
           25
                  alleged in Paragraph 45, name “ABS” is an abbreviation constructed of first letters of first names
           26
                  (Arthur, Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
           27
                         139.       This Court clearly has personal jurisdiction over at least one of the participants in
           28
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             1
                  the alleged multi-district RICO conspiracy – Defendant ABS, which is headquartered in this
             2
                  District. In fact, this Court also has personal jurisdiction over Defendant HDR as well as other
             3
                  Defendants. In a San Francisco County Superior Court case CGC19581267, Judge Schulman
             4
                  flatly rejected some of the same Defendants’ fraudulent shell games and held that Defendants
             5
                  operated as a single enterprise for California law purposes. Therefore, Defendant HDR as well its
             6
                  California alter ego Defendant ABS is a single enterprise with extensive presence in this district
             7
                  (over 70 employees). See Systems Div., Inc. v. Teknek Elect., Ltd. 253 F. App’x 31, 37 (Fed.
             8
                  Cir. 2007) (“The exercise of jurisdiction over an alter ego is compatible with due process because
             9
                  a corporation and its alter ego are the same entity—thus, the jurisdictional contacts of one are the
           10
                  jurisdictional contacts of the other for purposes of the International Shoe due process analysis.”).
           11
                  Defendant ABS, which is an alter ego of Defendant HDR, has its headquarters and over 70
           12
                  employees in California. Attributing these contacts to Defendants HDR clearly subjects it to the
           13
                  personal jurisdiction of this Court. Moreover, Defendants and their counsels’ failed attempts to
           14
                  hide the fact that BitMEX’s top traders generating almost $70,000,000 in trading profits are U.S.
           15
                  persons clearly supports holding Defendants accountable for their actions in a United States
           16
                  District Court.
           17
                         140.       There is no other District within the United States in which a Court would have a
           18
                  personal jurisdiction over all of the alleged RICO co-conspirators. Defendants Reed, Barbara
           19
                  Reed and Trace Reed reside in Wisconsin. Defendant Agata Reed resides in Massachusetts.
           20
                  Defendants Grape Park and Mark Sweep are incorporated in Delaware. Therefore, it is in the
           21
                  interests of justice to bring all the remaining Defendants before this Court pursuant to RICO's
           22
                  nationwide jurisdiction provision of 18 U.S.C. § 1965(b).
           23
                         141.       Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
           24
                  1391(b)(1). Venue is similarly proper pursuant to 7 U.S.C. § 25(c) in that this is a District
           25
                  wherein a defendant is found, resides, or transacts business, or wherein any act or transaction
           26
                  constituting the violation occurred.
           27
           28
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             1
                                                           INTRADISTRICT ASSIGNMENT
             2
                           142.     Pursuant to Civil Local Rule 3-5 of the United States District Court for the
             3
                  Northern District of California, the San Francisco division is the proper venue because substantial
             4
                  part of the events or omissions, which give rise to this action has occurred in San Francisco
             5
                  county, where Defendants’ HDR and ABS principal offices are located.
             6
                                                                BACKGROUND - BITCOIN
             7
                           143.     Plaintiffs incorporate the allegations set forth in Paragraphs 1-142 above as if fully
             8
                  set forth herein.
             9
                           144.     Bitcoin is form of cryptocurrency. It is a trustless, decentralized digital currency
           10
                  without a central bank or single centralized administrator that can be sent from user to user on the
           11
                  peer-to-peer bitcoin network without the need for intermediaries or a trusted central authority.
           12
                           145.     Bitcoin was invented in or about 2008 and described in a whitepaper entitled
           13
                  “Bitcoin: A Peer-to-Peer Electronic Cash System” authored by an unknown person or group of
           14
                  people using the name Satoshi Nakamoto and started in 2009 when its source code was released
           15
                  as an open-source software. Bitcoins are created as a reward for a process known as mining.
           16
                  They can be exchanged for other currencies, products, and services.
           17
                           146.     Bitcoin transactions are verified by a network of nodes through cryptography and
           18
                  recorded in a public distributed ledger called a blockchain, which is maintained by multiple
           19
                  bitcoin network nodes through the use of a consensus protocol. Every bitcoin transaction starting
           20
                  from the very first one may be viewed and verified using the blockchain. The blockchain consists
           21
                  of a chronologically ordered sequence of blocks holding records of bitcoin network transactions.
           22
                  A new block is generated by miners every 10 minutes. The integrity of the blockchain is
           23
                  maintained by including a hash of each block in to the subsequent block. This way, if any block
           24
                  is altered (forged) after its creation, all the subsequent blocks would have to be also modified or
           25
                  the hash discrepancy caused by the modification will be immediately detected by all the network
           26
                  nodes.
           27
                           147.     Bitcoins are traded for United States dollars, Euros and other fiat currencies and
           28
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             1
                  cryptocurrencies on centralized online marketplaces called exchanges. Usually, transactions
             2
                  taking place inside exchanges, such as executions of buy and sell orders are not recorded on the
             3
                  public blockchain and, therefore, it is hard to independently verify them using the blockchain.
             4
                  Most exchanges do not have internal protections against bitcoin price manipulation as well as
             5
                  other fraudulent behavior, which is rampant due to low trading liquidity of the bitcoin market.
             6
                          148.      Stablecoins are cryptocurrencies designed to minimize the volatility of the price of
             7
                  the stablecoin, relative to some "stable" asset or basket of assets. The value of a stablecoin can be
             8
                  pegged to a cryptocurrency, fiat money, or to exchange-traded commodities (such as precious
             9
                  metals or industrial metals). Most frequently used stablecoins are those pegged to United States
           10
                  dollar, including, without limitation, Tether (USDT), USDC and the like.
           11
                          149.      Since at least 2015, the CFTC has maintained that bitcoin, and other virtual
           12
                  currencies, fit the definition of a commodity primarily through administrative actions. In re
           13
                  Coinflip, Inc., CFTC Docket No. 15-29, 2015 WL 5535736 at *3 (Sept. 17, 2015). CFTC v.
           14
                  McDonnell, 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) was the first time the CFTC’s position
           15
                  was given judicial approval. The court noted that “[v]irtual currencies can be regulated by the
           16
                  CFTC as a commodity,” because virtual currencies can be exchanged in a market for a uniform
           17
                  quality and value. The Court’s reasoning makes clear that bitcoin and other virtual currencies fall
           18
                  within both the common law definition of commodity and the CEA’s definition of a commodity.
           19
           20                               BITCOIN PRICE MANIPULATION TECHNIQUES
                          150.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-149 above as if fully
           21
                  set forth herein.
           22
                          151.      On or about September 9, 2019, Chairman of the United States Security Exchange
           23
                  Commission (“SEC”) Jay Clayton stated: “[i]n the trading area, it troubles me that people look on
           24
                  these venues and think it has got the same level of protection that you’d have on an equity market
           25
                  in the US NASDAQ and MYSZ. Nothing could be further from the truth, we have lengthy
           26
                  rulebooks, all sorts of protections to make sure that prices are not manipulated in the equity
           27
                  markets, I don’t see those in the Crypto asset markets.”
           28
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             1
                          152.      Bitcoin derivatives and especially spot markets remain thinly traded making them
             2
                  particularly susceptible to pumps-and-dumps, Barts, stop loss hunts, liquidation cascades,
             3
                  spoofing, as well as other forms of market manipulation. The primary beneficiaries of such
             4
                  illegal manipulation are the perpetrators, who are able to fill their orders at better than market
             5
                  prices at the expense of other traders, as well as cryptocurrency exchanges, such as BitMEX,
             6
                  which benefit through increased trading volumes as well as trader position liquidations. This
             7
                  provides very strong financial incentive for exchanges to manipulate cryptocurrency markets.
             8
                          153.      Pump-and-dump is the fraudulent practice of perpetrators encouraging unwitting
             9
                  investors to buy an asset, such as bitcoin, to inflate its price artificially, and then selling it when
           10
           11
           12
           13
           14
           15
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           18
           19
                  the price reaches a predetermined threshold. Pumps-and-dumps are designed to deceive the
           20
                  inventors as to the state of market supply and demand for the asset by means of artificially
           21
                  increasing the price and trading volume of the asset that is designed to entice unwitting investors
           22
                  to join the hype, and to buy the asset at an artificially inflated price, which they would not have
           23
                  done otherwise. When the perpetrators behind the scheme sell (dump) their bitcoins and stop
           24
                  pumping it, the price plummets, and other investors are left holding the asset that is worth
           25
                  significantly less than they paid for it. As the result, traders who bought the bitcoin on margin,
           26
                  may be subject to execution of stop losses as well as liquidations.
           27
                          154.      Bart patterns or simply “Barts” are a variety of pumps-and-dumps involving
           28
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             1
                  intense pumps or dumps occurring within a very short time frame causing price action to find a
             2
                  new high or low for a very short period, followed by equally violent return to the previous level.
             3
                  Perpetrators using this manipulation tactic benefit by having their sell/buy orders filled, and
             4
                  causing the unwitting investors to open positions against the trend.
             5
                         155.       Barts are created by perpetrators using Momentum Ignition Algorithms, which
             6
                  work by creating a sharp spike in buy or sell action within a market with the purpose of deceiving
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
                  the market participants as to market-based forces of supply and demand for an asset and enticing
           21
                  unsuspecting traders, or other trading algorithms, to follow the trade and place orders that they
           22
                  would not have otherwise placed. Barts are intended to trick other market participants into
           23
                  reacting to an apparent change and imbalance of supply and demand by buying and selling bitcoin
           24
                  derivatives at times, prices and quantities that they otherwise would likely not have traded.
           25
                  Additionally, unsuspecting traders will place buy orders above significant zones, to catch up
           26
                  trends, and short sellers will place stops losses in similar areas, these are effectively buy orders. In
           27
                  order for the malicious algorithm to be most effective it has to push price into these liquidity
           28
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             1
                  zones, triggering buys, and from there it can disengage. Sometimes, several hours later, a floor of
             2
                  buy orders is removed, and a momentum ignition may be activated in the opposite direction
             3
                  causing a dump.
             4
                         156.       Stop loss hunting is a type of market manipulation, when the perpetrators attempt
             5
                  to artificially move the price for an asset to a predetermined price value to force other market
             6
                  participants out of their positions. This type of manipulation is performed by executing one or
             7
                  more buy or sell orders with the purpose to drive the price of an asset to a level where many
             8
                  market players have chosen to set their stop-loss orders. Stop loss orders are orders that get
             9
                  automatically executed at market price should the price of bitcoin reach a predetermined price
           10
                  threshold. The perpetrator buys or sells spot bitcoin or bitcoin derivative until the price threshold
           11
                  is reached. When the stop loss orders are triggered due to a stop loss hunt manipulation, the
           12
                  trader’s asset holdings are sold at prevailing market prices causing the market to be filled with a
           13
                  large number of market orders, which has the ability to move the asset price even further
           14
                  triggering more stop loss orders and can even result in liquidations. The result is a cascading
           15
                  execution of a large number of market orders. The perpetrators place their buy or sell orders such
           16
                  as to have them filled at the bottom or at the top of the resulting stop loss execution cascade at
           17
                  artificially below or artificially above market prices, respectively. After the initial market move,
           18
                  the price of the asset sometimes recovers and perpetrators generate a profit due to their illicit
           19
                  actions.
           20
                         157.       Liquidation cascade is an extreme case of the stop loss hunt, when the perpetrator
           21
                  pushes the price of the asset or derivative to reach position liquidations levels for multiple traders
           22
                  and the resulting multiple market liquidations take place in a very short time interval moving the
           23
                  price even further. This triggers additional liquidations causing a cascading execution of a large
           24
                  number of liquidation orders. Similarly to the stop loss hunt, the perpetrators place their buy or
           25
                  sell orders such as to have them filled at the bottom or at the top of the resulting liquidations
           26
                  cascade, at artificially below or artificially above market prices, respectively.
           27
                         158.       The manipulative price actions alleged hereinabove perpetrated by culprits on one
           28
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             1
                  cryptocurrency spot or derivatives exchange quickly propagate to all other exchanges due to the
             2
                  widespread use of arbitrage bots, which are algorithms coded in software that take advantage of
             3
                  the price discrepancy between exchanges by buying or selling an asset in one market and
             4
                  simultaneously selling or buying it in another market at a more favorable price. Thus, a
             5
                  manipulative price action on one cryptocurrency exchange results in a substantially similar price
             6
                  action on all other exchanges.
             7
                         159.       Because cryptocurrency derivatives exchanges contracts are based heavily on
             8
                  bitcoin spot index price on a handful of relatively illiquid spot exchanges, a large bitcoin spot
             9
                  price move may be accomplished by executing relatively small market orders on the illiquid spot
           10
                  exchanges. For example, .BXBT index price used by Defendants for BitMEX’s XBTUSD
           11
                  Perpetual Swap contract is based substantially on bitcoin prices on United States based exchanges
           12
                  BitStamp USA Inc., which owns and operates cryptocurrency exchange online platform
           13
                  BitStamp.net (“BitStamp”), see Ex. 14; Coinbase Inc. (“Coinbase Pro”) and Kraken7 (“Kraken”),
           14
                  which are much less liquid than BitMEX itself.
           15
                         160.       Once initiated using helper accounts on BitStamp, Coinbase Pro and/or Kraken,
           16
                  the aforesaid price move spreads, through the aforesaid index, to order books of very liquid
           17
                  derivatives exchanges, such as BitMEX and causes massive, multimillion dollar instant
           18
                  liquidations of derivatives positions of retail traders like Plaintiffs. Such liquidations provide a
           19
                  financial windfall to derivatives exchanges such as BitMEX due to the increased trading volume
           20
                  as well as confiscation by the exchanges of the residual collateral of the liquidated retail traders, if
           21
                  the exchange is able to close the traders’ positions at prices better than bankruptcy price. In
           22
                  BitMEX, the amount of funds so confiscated from liquidated traders exceeded, as of November
           23
                  22, 2020, 36,830 bitcoins valued at over $681,355,000, which amount is stored in a winner
           24
                  account on the BitMEX exchange.
           25
                         161.       Pumps-and-dumps, Barts, stop loss hunts and liquidation cascades may be utilized
           26
           27
                  7
                   Kraken is owned and operated by Payward, Inc. with offices at 237 Kearny Street Suite 102,
           28     San Francisco, CA 94108 United States.
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             1
                  by perpetrators for purposes of money laundering, especially when exchanges do not require any
             2
                  documents to open an account. For example, in case of a liquidation cascade, a first person or
             3
                  entity may execute a relatively small market order to trigger the liquidation cascade and a second,
             4
                  separate, person or entity, acting from a separate exchange account, opened on the same or
             5
                  different exchange, may place large buy or sell orders, respectively, to have them filled at the
             6
                  artificially low or high (below or above market) prices caused by the liquidation cascade triggered
             7
                  by the actions of the first person or entity. The first entity generally would book a loss, while the
             8
                  second entity would book a profit. The first entity may be officially located in a high tax
             9
                  jurisdiction, such as California, while the second entity may be incorporated in a tax-heaven
           10
                  jurisdiction, such as British Virgin Islands. Furthermore, the first entity may execute the order on
           11
                  an illiquid spot exchange, such as BitStamp, to amplify the effect of the initiating market order
           12
                  while the second entity may operate on a high liquidity derivatives exchange such as BitMEX,
           13
                  which uses the price of the spot exchange in calculating its index.
           14
                         162.       In a criminal commodity derivatives market manipulation case USA v. Smith et al.
           15
                  (N.D. IL 2019), the United States Department of Justice (DOJ) took a position that placing orders
           16
                  for commodity derivatives contracts in a manner that was intended to deliberately trigger or
           17
                  deliberately avoid triggering a specific price-based event, such an option execution, is unlawful.
           18
                  Consistent with that position, the all above alleged price manipulation actions are also unlawful.
           19
                         163.       In SEC v. Shuang Chen et. al. Civil Action: 1:19-cv-12127-WGY (D. MA 2019)
           20
                  “[t]he Defendants generally used at least two brokerage accounts when manipulating the price of
           21
                  a particular publicly traded stock. The Defendants first typically used at least one account to place
           22
                  multiple small purchase or sale orders to create upward or downward pressure on the stock price
           23
                  (hereinafter referred to as a “helper” account). Then, the Defendants typically used at least one
           24
                  other account (hereinafter referred to as a “winner” account) to purchase or sell larger quantities
           25
                  of stock at prices that had been affected by the manipulative orders placed by the helper
           26
                  account(s). The Defendants often held the winner and helper accounts at different brokerage firms
           27
                  to conceal from each brokerage firm the coordination between the two types of accounts.” The
           28
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             1
                  illegal stock price manipulation technique alleged by SEC is identical to the techniques alleged
             2
                  hereinabove and used as well as aided and abetted by Defendants on a daily basis during the time
             3
                  period starting on January 1, 2017 and until now (“Relevant Period”) to manipulate the prices of
             4
                  cryptocurrencies. According to SEC, all those techniques are illegal.
             5
                          164.      Spoofing is an unlawful practice of making buy or sell orders, called deceptive
             6
                  orders, with an intent to cancel them before execution. The deceptive orders are used by
             7
                  perpetrators to inject false and misleading information about genuine supply and demand for
             8
                  bitcoin or bitcoin derivatives into the markets and to deceive other participants in the market into
             9
                  believing something untrue, namely that the visible order book accurately reflected market-based
           10
                  forces of supply and demand. This false and misleading information was intended to trick other
           11
                  market participants into reacting to an apparent change and imbalance of supply and demand by
           12
                  buying and selling bitcoin derivatives at times, prices and quantities that they otherwise would
           13
                  likely not have traded.
           14
                          165.      Bitcoin price manipulation such as pumps-and-dumps, Barts, stop hunts,
           15
                  liquidation cascades, and spoofing, as well as numerous other forms of illicit market manipulation
           16
                  are generally believed to be the abuses that prevent SEC from approving numerous bitcoin
           17
                  Exchange Traded Fund (ETF) applications that have been filed throughout the years by various
           18
                  cryptocurrency industry players.
           19
                                            BITMEX WAS DESIGNED FROM GROUND UP TO
           20                                       BENEFIT FROM MANIPULATION
           21                                “Regulatory agencies can be bought.” Defendant Arthur Hayes
                          166.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-165 above as if fully
           22
                  set forth herein.
           23
                          167.      BitMEX was launched in 2014 by Defendants Hayes, Delo and Reed. BitMEX
           24
                  was one of the first cryptocurrency exchanges that offered derivative products based on the price
           25
                  of bitcoin. At its inception, as Defendant Hayes described it, BitMEX was to serve Wall Street
           26
                  institutional investors “who were going to want the same type of products” they were used to
           27
                  trading at sophisticated multinational banks. Yet for the first six months after BitMEX went live
           28
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             1
                  in late 2014, “no one came” to the trading platform, including traders from Wall Street.
             2
                  Therefore, BitMEX changed its business model to “focus[] on degenerate gamblers; [also known
             3
                  as] retail investors” by offering “100X leverage” trades. Since then, its first-mover advantage has
             4
                  paid off: it is consistently among the largest cryptocurrency derivatives traders by volume and has
             5
                  been for years. It now frequently trades over $3 billion worth of transaction in a single day.
             6
                         168.       In allowing retail customers to leverage their bets at the extraordinary ratio of
             7
                  100:1—about twenty times higher than the common ratio in derivatives trading — BitMEX
             8
                  positioned itself to benefit consistently, significantly, and predictably from the combination of
             9
                  attracting overly hopeful investors and small price fluctuations on other exchanges. This structure
           10
                  creates substantial incentives for Defendants to surreptitiously cause such fluctuations.
           11
                         169.       Implementing its business approach, Defendants deliberately based the index price
           12
                  of their Perpetual Swaps on spot-market exchanges that have limited liquidity and are thus
           13
                  relatively easy to manipulate. BitMEX would then engage in manipulative trading on those
           14
                  exchanges to change the price of bitcoin or ether. Even if only temporary, these price changes
           15
                  would then affect the prices of the Perpetual Swaps offered on BitMEX in a way that benefitted
           16
                  BitMEX by allowing it to make margin calls and liquidate its highly leveraged traders.
           17
                         170.       Automatically liquidating contracts that were out of the money, BitMEX would
           18
                  cover the trader’s losses but would also take all of the trader’s collateral. By setting the
           19
                  liquidation point higher than necessary to protect against the risk of a loss greater than the trader’s
           20
                  collateral, BitMEX consistently profited from these liquidations. BitMEX would place these
           21
                  profits in its insurance fund (“Insurance Fund”), marketed as a way to ensure that BitMEX has
           22
                  cash on hand for the rare occasions where the losses exceeded the collateral. Despite its name, the
           23
                  Insurance Fund is almost never drawn upon and instead has grown consistently such that it now
           24
                  contains assets worth hundreds of millions of dollars.
           25
                         171.       BitMEX also acted on similar financial incentives by trading against its customers,
           26
                  a secret BitMEX kept as long as it could. BitMEX employed an undisclosed trading desk with
           27
                  special privileges and insights that allowed BitMEX to take favorable positions opposite its own
           28
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             1
                  customers. BitMEX only revealed the existence of the desk in 2018, under pressure from an
             2
                  independent analyst armed with trade data reflecting its existence. As a desk with access to
             3
                  otherwise-hidden information, it was in a perfect position to enhance BitMEX’s manipulation.
             4
                          172.      BitMEX has compounded the effect of these manipulative schemes by routinely
             5
             6
             7
             8
             9    freezing its servers—which BitMEX blames on technical glitches and limitations—to profit
           10     during moments of high volatility. During these freezes, customers are unable to change their
           11     positions, but the market continues to operate and BitMEX trades. BitMEX would thus prevent its
           12     customers from escaping positions until they fell to a level at which BitMEX could liquidate
           13     those positions at a profit to itself.
           14             173.      BitMEX’s operations on March 13, 2020, are a recent and good example. During a
           15     period in the day with high market volatility and crashing bitcoin prices (from nearly $8,000 to
           16     $4,000 per bitcoin), resulting in a substantial sell-off, BitMEX’s trading platform went offline for
           17     twenty-five minutes. As a result of the outage, BitMEX did not dip into its Insurance Fund, but
           18     rather liquated $800 million of its customers’ highly leveraged positions for its own profit. This
           19     server outage, in short, effectively protected BitMEX and the Insurance Fund from the cascading
           20     effects of sell-offs of BitMEX’s highly leveraged and volatile products. It should be noted that
           21
           22
           23
           24
           25
           26
           27
           28
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             1
                  BitMEX’ three Site Reliability Engineers, responsible for the bitMEX trading platform uptime,
             2
                  are all located in this District and the deliberated and fraudulent outage on March 13, 2020 was
             3
                  perpetrated by them from this District. To cover up their fraud, Defendants first concocted a
             4
                  story of a hardware failure that allegedly caused the BitMEX platform outage.
             5
                         174.       However, Defendants soon realized that all hardware used by BitMEX platform
             6
                  was managed by Amazon EKS and not Defendants themselves and that such a fake excuse would
             7
             8
             9
           10
           11
           12
           13
           14     clearly not hold up if Amazon is asked to investigate the alleged hardware issue. Therefore,
           15     Defendants quickly changed their story and invented a fake distributed denial-of-service attack
           16     (“DDoS Attack”) as an excuse for deliberately shutting down their own trading platform to avoid
           17     severe financial losses to themselves.
           18            175.       Even if the alleged DDoS Attack did in fact take place, Defendants were at least
           19     negligent in failing to prevent it, as proven industrial-grade solutions for prevending DDoS
           20     Attack are widely available in the marketplace, including one from Amazon AWS itself, which is
           21     provided free of charge to all AWS customers, including BitMEX. Specifically, Amazon AWS
           22     website explains with respect to AWS Shield and AWS Shield Advanced:
           23
           24            AWS Shield is a managed Distributed Denial of Service (DDoS) protection service that
                         safeguards applications running on AWS. AWS Shield provides always-on detection and
           25            automatic inline mitigations that minimize application downtime and latency, so there is
                         no need to engage AWS Support to benefit from DDoS protection. There are two tiers of
           26            AWS Shield - Standard and Advanced.
           27
                         All AWS customers benefit from the automatic protections of AWS Shield Standard, at no
           28            additional charge. AWS Shield Standard defends against most common, frequently
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             1           occurring network and transport layer DDoS attacks that target your web site or
                         applications. When you use AWS Shield Standard with Amazon CloudFront and Amazon
             2           Route 53, you receive comprehensive availability protection against all known
             3           infrastructure (Layer 3 and 4) attacks.

             4           For higher levels of protection against attacks targeting your applications running on
                         Amazon Elastic Compute Cloud (EC2), Elastic Load Balancing (ELB), Amazon
             5           CloudFront, AWS Global Accelerator and Amazon Route 53 resources, you can subscribe
                         to AWS Shield Advanced. In addition to the network and transport layer protections that
             6           come with Standard, AWS Shield Advanced provides additional detection and mitigation
             7           against large and sophisticated DDoS attacks, near real-time visibility into attacks, and
                         integration with AWS WAF, a web application firewall. AWS Shield Advanced also gives
             8           you 24x7 access to the AWS DDoS Response Team (DRT) and protection against DDoS
                         related spikes in your Amazon Elastic Compute Cloud (EC2), Elastic Load Balancing
             9           (ELB), Amazon CloudFront, AWS Global Accelerator and Amazon Route 53 charges.
           10
                         AWS Shield Advanced is available globally on all Amazon CloudFront, AWS Global
           11            Accelerator, and Amazon Route 53 edge locations. You can protect your web applications
                         hosted anywhere in the world by deploying Amazon CloudFront in front of your
           12            application. Your origin servers can be Amazon S3, Amazon Elastic Compute Cloud
                         (EC2), Elastic Load Balancing (ELB), or a custom server outside of AWS. You can also
           13            enable AWS Shield Advanced directly on an Elastic IP or Elastic Load Balancing (ELB)
                         in the following AWS Regions - Northern Virginia, Ohio, Oregon, Northern California,
           14
                         Montreal, São Paulo, Ireland, Frankfurt, London, Paris, Stockholm, Singapore, Tokyo,
           15            Sydney, Seoul, and Mumbai.

           16
           17            176.       Moreover, CloudFlare DDoS protection is very inexpensive, readily available and

           18     widely used on the market. This protection secures websites, applications, and entire networks

           19     while ensuring the performance of legitimate traffic is not compromised. According to

           20     CloudFlare website, CloudFlare’s 51 Tbps network blocks an average of 72 billion threats per

           21     day, including some of the largest DDoS attacks in history.

           22            177.       The fact of wide availability of proven and low cost solutioins for DDoS Attack

           23     prevention makes DDoS Attack against BitMEX on March 13, 2020 very unlikely and, if the

           24     DDoS Attack did in fact occur, establishes that Defendants were at least negligent in not using the

           25     available solutions to safeguard trading on the BitMEX platform by their customers, which

           26     Defendants had a clear duty to do.

           27            178.       Defendants and each of them have thus manipulated the price of bitcoin and ether,

           28     harming Plaintiffs and other traders who had their positions liquidated, in violation of the
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             1
                  Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2018).
             2
                         179.       BitMEX’s founder and CEO, Defendant Hayes, is cryptocurrency’s P.T. Barnum.
             3
                  Describing trading on cryptocurrency as “the entertainment business,” he has embraced a role as
             4
                  showman and promoter for the “degenerate gamblers” he solicits, and encourages speculative
             5
                  trading by flaunting his lavish lifestyle and making bold predictions designed to elicit responses
             6
                  and move the market in a way that is profitable for BitMEX.
             7
                         180.       Defendant Hayes repeatedly flaunts his wealth like this to followers of the
             8
                  BitMEX platform, while also sharing his positions and profits he makes by betting on the price of
             9
                  bitcoin and other cryptocurrencies. The implication of these types of promotion is clear: you too
           10
                  could live like this, if you trade on my platform.
           11
                         181.       For example, when promoting BitMEX at a large conference in New York, Hayes
           12
                  flaunted his arrival in an exotic Lamborghini car.
           13
                         182.       The BitMEX platform also has casino features built in. It promotes “winners” with
           14
                  a leaderboard of successful traders, just like casinos showcase their successful players. All these
           15
                  features are designed to serve only one purpose - entice more gamblers to place even riskier bets.
           16
                         183.       BitMEX also runs promotions for its products to promote gambling, providing
           17
                  prizes to “[t]he trader who continuously quotes the largest two-sided volume within a 0.5 percent
           18
                  spread” or “[t]he trader who has the largest profit (in XBT) from trading the NEO (NEOG18)
           19
                  contract gets the third prize.”
           20
                         184.       These promotions attract numerous retail investors and distract them from the fact
           21
                  that BitMEX created an exchange that facilitates its own manipulative and fraudulent behavior.
           22
                         185.       Since its inception, BitMEX has flouted financial regulators worldwide for
           23
                  operating as an unregistered exchange, hiding behind its offshore status.
           24
                         186.       In 2018, the financial regulator for the province of Quebec, Canada, ordered
           25
                  BitMEX to close accounts linked to customers in Quebec because it was operating as an
           26
                  unregistered exchange.
           27
                         187.       In July 2019, according to reports, the CFTC opened an investigation to determine
           28
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             1
                  whether the exchange is targeting and allowing United States traders to use the platform, after
             2
                  numerous press reports detailed the lack of any “know your customer” practices at BitMEX and
             3
                  the ease with which users can access the site from the United States - indeed one New York
             4
                  journalist has detailed his use of BitMEX.
             5
                         188.       Most recently, on March 3, 2020, the United Kingdom’s Financial Conduct
             6
                  Authority (FCA) issued a notice that BitMEX “is not authorised by us and is targeting people in
             7
                  the UK. Based upon information we hold, we believe it is carrying on regulated activities which
             8
                  require authorisation.”
             9
                         189.       BitMEX’s flouting of financial regulators is consistent with the attitude of its
           10
                  founders, as Defendant Hayes has freely admitted to falsifying banking documentation in China
           11
                  in order to take advantage of arbitrage opportunities in the price of bitcoin.
           12
                         190.       BitMEX is not the only entity that offers swaps and futures products on bitcoin.
           13
                  BitMEX, however, structures its products and operations with features more akin to a casino,
           14
                  focusing on products that expose customers to greater volatility and an increased risk of loss.
           15
                         191.       One of BitMEX’s earliest and still most popular products is the XBTUSD
           16
                  Perpetual XBTUSD Leveraged Swap (“Perpetual Swap”).
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26            192.       This product allows traders to buy or sell a contract that tracks the price of the
           27     exchange rate between bitcoin and the U.S. Dollar. If you buy the contract, you will make a profit
           28
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             1
                  if the price of bitcoin goes up in U.S. Dollars. Conversely, if you sell the contract, you will make
             2
                  a profit if the price of bitcoin goes down in U.S. Dollars—effectively a short sale on the price of
             3
                  bitcoin.
             4
                          193.      Unlike a typical futures contract, XBTUSD Perpetual Swap has no set expiry date.
             5
                  Further, unlike a traditional futures product, the XBTUSD Perpetual Swap price closely tracks the
             6
                  price of the underlying asset, bitcoin. Put differently, in a traditional futures market, there are
             7
                  separate prices for the futures product and for the underlying asset. If ACME Corp. is trading at
             8
                  $100 a share today, the contract to buy one share of ACME Corp. at $120 in three months might
             9
                  trade for $5. Instead, XBTUSD Perpetual Swap tracks the price of bitcoin by exchanging among
           10
                  contract holders that are long (or short) a “funding rate” every eight hours if the price of bitcoin is
           11
                  higher (or lower) than what the contract is trading for on BitMEX. These mechanics incentivize
           12
                  buying the contract when the price of the contract is lower than the price of bitcoin, thus raising
           13
                  the contract’s price, and vice- versa. The “funding rate” amount depends on the spread between
           14
                  the XBTUSD contract price and the referenced exchange rate. The funding rate is exchanged
           15
                  directly peer-to-peer among contract holders. BitMEX does not charge a fee for it.
           16
                          194.      Because BitMEX does not list bitcoin itself, it must look to other exchanges that
           17
                  do trade bitcoin to determine the price of bitcoin for products like XBTUSD. For BitMEX to
           18
                  function properly, the data from the other exchanges must be trustworthy. If the spot market for
           19
                  the underlying cryptocurrencies listed on those exchanges is thinly traded and illiquid, then the
           20
                  price of the cryptocurrency becomes susceptible to price manipulation, which in turn could affect
           21
                  the price of the products on BitMEX. BitMEX knows this. BitMEX’s products are particularly
           22
                  sensitive to price manipulation because BitMEX allows traders to operate on substantial amounts
           23
                  of leverage. BitMEX allows traders to leverage their position up to 100 times the amount of
           24
                  collateral, or “margin,” they post. Put differently, traders can buy or sell 100 bitcoin worth of
           25
                  XBTUSD contracts for only 1 bitcoin of collateral. This leverage magnifies both gains and losses:
           26
                  if the price of the XBTUSD goes up, a buyer who is 100x leveraged will experience 100 times the
           27
                  profit, but if the price declines even 1 percent, the buyer will have lost all his collateral. In this
           28
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             1
                  way, BitMEX structures its products to offer the allure of large, lottery-ticket payoffs for very
             2
                  limited money.
             3
                         195.       BitMEX’s fees, however, are calculated based on the leveraged position, not on
             4
                  the underlying collateral. Thus, where BitMEX advertises a fee of 0.075 percent for bitcoin
             5
                  Perpetual Swaps, that percentage refers to the amount of the unleveraged position. For a 100x
             6
                  leveraged Perpetual Swap, BitMEX is effectively charging a fee of 7.5 percent.
             7
                         196.       In a leveraged trade, BitMEX limits a trader’s loss to solely the posted margin. In
             8
                  contrast, major derivatives exchanges, such as the Chicago Mercantile Exchange, expose traders
             9
                  to unlimited risk. When the unrealized loss of their position exceeds the posted margins, those
           10
                  exchanges will ask traders to post additional collateral to supplement their margin. This is known
           11
                  as a margin call. For example, if you had a $10,000 position supported by $100 of margin, and
           12
                  the position fell 1 percent to $9,900, it would trigger a margin call.
           13
                         197.       To limit traders’ losses to the posted margin, BitMEX uses a liquidation engine to
           14
                  close positions with unrealized losses close to the amount of the posted collateral and prevent
           15
                  losses greater than the collateral posted by the trader while ensuring that the winner receives their
           16
                  full profits. While the promise that a trader can only lose the minimal margin put up for a highly
           17
                  leveraged bet may be alluring to retail investors, in reality BitMEX uses this promise to lure them
           18
                  into a false sense of security. BitMEX’s system encourages traders to place highly leveraged bets
           19
                  under this pseudo-protection but takes their money in liquidations. Put differently, when BitMEX
           20
                  liquidates a position, there is going to be a winning trader and a losing trader, but even beyond
           21
                  receiving the transaction fees, BitMEX almost always takes a large part of one trader’s collateral,
           22
                  allowing it to profit from the liquidation.
           23
                         198.       BitMEX’s model of encouraging its users to experience volatility disproportionate
           24
                  to their collateral through substantial leveraging requires a mechanism that prevents those users
           25
                  from experiencing losses greater than they can handle—there is, after all, someone on the other
           26
                  end of the transaction that expects to get paid. BitMEX achieves this through the use of an
           27
                  automatic liquidation system. This system, however, does more than liquidate positions with
           28
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             1
                  insufficient collateral—it also creates substantial profits for BitMEX at the expense of its
             2
                  customers.
             3
                          199.      Because BitMEX allows traders to make purchases with large amounts of
             4
                  leverage, there is a risk that that a trader may not be able to pay the winner for his position. In
             5
                  order to prevent winners from being adversely affected by the lack of a counterparty’s collateral,
             6
                  BitMEX agrees to cover their winnings. In exchange, it automatically takes the loser’s collateral.
             7
                  It then seeks to sell the position on the market at the best price available, with the purchaser
             8
                  stepping into the shoes of the liquidated party with responsibility for covering the counterparty’s
             9
                  profits after sale.4 This process of taking the loser’s collateral in exchange for covering the
           10
                  winner’s profits until a counterparty is found is the automatic-liquidation system. BitMEX,
           11
                  however, does not wait to liquidate until the collateral can no longer cover the losses. Instead, it
           12
                  liquidates when the collateral is worth approximately twice the losses incurred, even though the
           13
                  trader has half of the initial collateral remaining. Even if the system is able to find a price for the
           14
                  position after the liquidation that would have allowed the trader to recoup some his losses,
           15
                  however, the trader receives nothing. Instead, BitMEX keeps that recovery for itself and puts it
           16
                  into the Insurance Fund.
           17
                          200.      To use an example from BitMEX’s own website, consider a trader who has taken a
           18
                  long position on 100 ether using only 1 bitcoin as collateral while bitcoin and ether are each
           19
                  trading at $4,000. This trader is 100x leveraged, such that a rise in the price of ether by $10 will
           20
                  cause the trader to gain $1,000. Because of this level of leverage, the trader runs a substantial risk
           21
                  of not being able to pay off an unsuccessful contract; his collateral can absorb only a $40 decrease
           22
                  in the price of ether. The price at which the trader’s collateral can no longer cover the losses on
           23
                  the position is the “bankruptcy price.” In this example, the bankruptcy price is slightly over
           24
                  $3,960, as ether falling to that price would mean that the 1 bitcoin used as collateral would
           25
                  exactly cover the losses. Rather than using this bankruptcy price as the liquidation point, BitMEX
           26
                  imposes a 0.5 percent “maintenance margin,” such that the position will automatically be
           27
                  liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
           28
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             1
                  the amount of leverage in the position, as a change of less than 1 percent in the price of bitcoin
             2
                  can result in an automatic liquidation. If the price hits $3,980 and this liquidation occurs, BitMEX
             3
                  will seize the collateral and then seek to sell the 100-bitcoin position to another customer, while
             4
                  covering the gains of and without terminating the contract of the original counterparty. If this sale
             5
                  occurs at a price of $3,978, reflecting a $2 bid-ask spread, the purchase as a whole will have
             6
                  incurred a loss of $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x
             7
                  leverage. BitMEX, which takes the full collateral, has accordingly profited $1,800 from the
             8
                  liquidation of its customers’ position and places this profit in the Insurance Fund. The trader,
             9
                  meanwhile, loses the full $4,000.
           10
                         201.       It is possible for BitMEX to lose money in a liquidation if the market lacks
           11
                  sufficient liquidity to allow BitMEX to sell the liquidated position at the bankruptcy price. If, for
           12
                  example, the price of ether hits $3,980 but BitMEX is not able to find a purchaser to take over
           13
                  Perpetual Swap at a price above $3,920, the 1 bitcoin used as collateral will not cover BitMEX’s
           14
                  losses. Hypothetically, the Insurance Fund would be used to cover BitMEX’s losses in this
           15
                  scenario.
           16
                         202.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           17
                  as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           18
                  bid-ask is smaller than the maintenance margin.
           19
                         203.       Despite being described as a mechanism intended “to help ensure winners receive
           20
                  their expected profits, while still limiting the downside liability for losing traders” by making sure
           21
                  that BitMEX always has cash on hand to pay off losing trades, BitMEX’s Insurance Fund shows
           22
                  substantial overall profit from these liquidations. As their own data shows, the Insurance Fund
           23
                  has grown every year, as BitMEX takes in far more from liquidating its customers’ positions than
           24
                  it pays out to cover contracts it cannot close quickly enough. Despite its role as an insurance
           25
                  backstop, it grows in value nearly every day: over the last 100 (volatile) days, it has begun only
           26
                  five of them with a balance less than it began with the day before. Its largest posted one-day loss
           27
                  in the last 100 days has been around 20 bitcoin. In fact, on August 24, 2020, the Insurance Fund
           28
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             1
                  contained over 36,830 bitcoins, representing 0.2 percent of the total bitcoin in circulation and
             2
                  valued over $681,355,000. Moreover, BitMEX partitions the fund by contract type, and, when no
             3
                  more contracts of a given type remain (because, for example, the contract was tied to a time
             4
                  period that expired) the portion of the Insurance Fund for that contract type is given to BitMEX as
             5
                  profit.
             6
                            204.    BitMEX has thus profited from the vast majority of the automatic liquidations it
             7
                  conducts on behalf of its customers. Even independent of how these automatic liquidations can be
             8
                  used with market manipulation, the structure of BitMEX’s automatic liquidations creates an
             9
                  incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
           10
                  that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
           11
                  present, BitMEX profits when it causes its customers’ positions to automatically liquidate.
           12
                  Defendants’ ability to manipulate the prices on BitMEX for their own profit and at the expense of
           13
                  Plaintiffs and other cryptocurrency traders was protected and enhanced by persistent issues
           14
                  BitMEX maintained in its server that locked out users at crucial times that enabled BitMEX to
           15
                  profit.
           16
                            205.    BitMEX’s risk-management process, which performs the system’s automatic
           17
                  liquidations, must check the entire system whenever the price of a Perpetual Swap changes. This
           18
                  process, although sometimes completed quickly, supposedly causes BitMEX’s servers to freeze
           19
                  on average between two and three times a day. During these server freezes, customers lose the
           20
                  ability to trade until the servers unfreeze.
           21
                            206.    These server issues are not present in other exchanges that regularly handle far
           22
                  more transactions per second. While BitMEX has purposefully not made all of the data about its
           23
                  server capacity public, it has indicated that, as of May 2019, it was processing around
           24
                  200,000,000 trades a week, purportedly taxing its system and leading to server shutdowns. This
           25
                  works out to an average load of around 330 trades a second. BitMEX has indicated that its peak
           26
                  transactions can reach 30 times the average, for a peak of just under 10,000 trades a second.
           27
                  ByBit, which also transacts primarily in swaps and derivatives, can process 100,000 transactions
           28
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             1
                  a second. Binance, another large exchange, can process 1.4 million transactions a second, more
             2
                  than 100 times the peaks that purportedly cause BitMEX’s servers to freeze.
             3
                         207.       When BitMEX’s servers are frozen, preventing customers from executing any
             4
                  trades, the prices of the Perpetual Swap contracts are not frozen. Instead, they continue to move,
             5
                  processing some transactions while refusing to accept transactions from others. This means that a
             6
                  BitMEX trader can be prevented from executing a trade by a server freeze only to find, once the
             7
                  server reopens, that the price at which they wished to transact is no longer available. They can
             8
                  also find that an offer they had made before the freeze but wished to retract during it has since
             9
                  been accepted. Any trader with the ability to have its transactions prioritized over others during
           10
                  this period could reap substantial profits. The digital assets on which the BitMEX Perpetual
           11
                  Swaps are based, such as bitcoin or the Tokens, continued to trade on other exchanges with
           12
                  functioning servers while BitMEX’s remained frozen to most users. A privileged trader—such as
           13
                  those that operate BitMEX’s internal trading desk—could see that the price of bitcoin had risen
           14
                  during a freeze and arbitrage on that information before the regular traders had the ability to react.
           15
                  Additionally, because most traders are unable to operate during these freezes, a trader who is able
           16
                  to act could survey all of the items on offer during the freeze and cherry-pick whichever seemed
           17
                  most appealing in light of the market’s movements.
           18
                         208.       The limitations of BitMEX’s server also helps enable profitable automatic
           19
                  liquidations, because these liquidations continue to occur during the freeze. A customer who has a
           20
                  100x leveraged position on one bitcoin that will liquidate if the price of bitcoin falls from $4,000
           21
                  to $3,980, for example, would be heavily incentivized to sell when the price hits $3,985,
           22
                  accepting a loss of $1,500 but retaining the capital. If the frozen servers prevent this sale from
           23
                  transpiring, however, the customer will lose all of their capital when the price hits $3,980. Such a
           24
                  scenario profits BitMEX, which collects the capital.
           25
                         209.       The timing of these freezes is not random. The most important and profitable time
           26
                  for BitMEX to freeze is during a period of high volatility. BitMEX’s automatic liquidations
           27
                  exacerbate the volatility of the derivatives that BitMEX markets, particularly in periods of high
           28
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             1
                  volatility. Specifically, by automatically executing sell orders in response to a market decline,
             2
                  BitMEX pushes prices even lower. This response could result in catastrophically cascading sell
             3
                  orders during a period of a rapid decline—that is, a “flash crash.” BitMEX does not disclose those
             4
                  risks to retail investors and, instead, uses server freezes to protect its Insurance Fund and its
             5
                  derivatives market as a form of undisclosed “circuit breaker.”
             6
                          210.      Moreover, high volatility and rapidly changing prices allow more customers to be
             7
                  liquidated. Indeed, an expert statistical analysis conducted of freeze periods reported on
             8
                  BitMEX’s website has revealed that these server freezes occur 80 percent more often during
             9
                  periods of high volatility in bitcoin prices. This result is statistically significant at a 95 percent
           10
                  confidence level. Moreover, the statistical analysis reveals that compared to periods without a
           11
                  server incident, the volatility is 130 percent higher when there is a server incident. This result is
           12
                  also statistically significant at 95 percent confidence level.
           13
                          211.      BitMEX server freezes most often occurred during the highest periods of volatility
           14
                  when BitMEX could effectively liquidate traders’ positions.
           15
                          212.      These server freezes are not justifiably caused by transaction volume, which would
           16
                  approximate server load. For example, on May 12, 2019, BitMEX announced a new record of
           17
                  over $10 billion in transaction volume, with no server incidents reported that day.
           18
                          213.      The interaction between BitMEX’s server problems and its liquidation policy was
           19
                  recently demonstrated on March 13, 2020, when the price of bitcoin fell from $7,200 to a 10-
           20
                  month low of $5,678 in just 15 minutes. This sort of event is precisely why BitMEX claims to
           21
                  maintain the Insurance Fund—a series of cascading liquidations in the face of such a rapid fall
           22
                  could prevent BitMEX from selling the liquidated positions above their bankruptcy price, causing
           23
                  losses that are designed to be covered by the Insurance Fund. Yet BitMEX’s servers shut down in
           24
                  the middle of the crash. BitMEX first blamed the server shut down on “a hardware issue with our
           25
                  cloud service provider,” before later claiming, without any support, that the server failure was the
           26
                  result of an attack by a “botnet.”
           27
                          214.      When the servers were restored, bitcoin’s price had stabilized, preventing the need
           28
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             1
                  for BitMEX to dip into its Insurance Fund. The traders who had hit their margins during the
             2
                  crash, however, were liquidated nonetheless. In short, a conveniently timed server outage turned a
             3
                  potentially catastrophic loss for BitMEX’s Insurance Fund into a profit-item.
             4
                          215.      BitMEX could remove the potential for these manipulative actions and prevent
             5
                  users from suffering from periods of denied access to a moving market by prohibiting its system
             6
                  from accepting any transactions during these freezes. Instead, BitMEX profits from the system it
             7
                  employs, either by having its for-profit trading desk manipulate the markets in such freezes, by
             8
                  selling the right to do so, or by profiting from liquidations that occur while customers are unable
             9
                  to escape increasingly unfavorable positions.
           10
                                               BITMEX TRADES AGAINST ITS CUSTOMERS
           11
                          216.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-215 above as if fully
           12
                  set forth herein.
           13
                          217.      On April 28, 2018, an independent researcher requested comment from BitMEX
           14
                  regarding “information on record about insider accounts (possibly friends / acquittances of
           15
                  Bitmex staff) having special advantages over other Bitmex users.” BitMEX responded the same
           16
                  day, denying that it gave “preferential treatment” to any “customers.” This proved to be false, and
           17
                  that its prior statements had been materially misleading.
           18
                          218.      On April 30, 2018, BitMEX updated its terms of service and for the first time
           19
                  revealed that “BitMEX has a for-profit trading business that, among other things, transacts in
           20
                  products traded on the BitMEX platform.” BitMEX also revealed that its trading desk had the
           21
                  monopoly on making a market in its bitcoin options product. BitMEX hid the role of its trading
           22
                  desk by labeling the employee in charge of the desk as part of “Risk Management.” Prior to April
           23
                  30, 2018, BitMEX had never disclosed that it played a role on its exchange that extended beyond
           24
                  the management and administration of the exchange itself.
           25
                          219.      BitMEX had never indicated that it took direct positions on the assets it was
           26
                  trading. Traders, when traded on the BitMEX platform, had done so on the belief that the other
           27
                  participants were on similar footing to them. If traders knew that its counterparty could be
           28
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             1
                  BitMEX itself, equipped with proprietary knowledge, they would have recognized the possibility
             2
                  that they were participating in an unfair game.
             3
                          220.      As an inside entity trading against its own customers, the BitMEX trading desk
             4
                  enjoys a number of advantages. First, an internal BitMEX desk could have a higher trade priority
             5
                  than other traders, allowing its trades to be processed first when the total number of trades
             6
                  exceeds BitMEX’s server capacity. Second, an internal BitMEX trading desk could potentially
             7
                  view the leverage amounts for previously created positions and the price at which its liquidation
             8
                  will be triggered. This information would make it easy to profitably manipulate the market. If, for
             9
                  example, the trading desk sees that a number of short bitcoin Perpetual Swaps are near their
           10
                  liquidation point, it could enter a large buy order. This order would cause the price of bitcoin on
           11
                  the BitMEX exchange to rise, triggering the liquidation of these Perpetual Swaps. The liquidation
           12
                  would create a buy order for the liquidated contract, further increasing the price. Once this chain
           13
                  of liquidations had caused the price to rise far beyond the price at which the internal desk made
           14
                  its initial purchase, it could sell bitcoin at this higher price to fulfill the forced buy orders.
           15
                  Because these trades are automatic, an inside desk could execute this trade very quickly and with
           16
                  a high confidence of success.
           17
                          221.      Even without placing trades that cause cascading liquidations, however, the
           18
                  BitMEX desk helps create the liquidity that keeps the forced liquidations profitable, including
           19
                  those that occur during server freezes. As BitMEX has admitted, it profits from each liquidation
           20
                  as long as the bid-ask is smaller than the maintenance margin. By creating liquidity through
           21
                  market-making, and freed from the possibility of being liquidated itself, BitMEX’s desk helps
           22
                  maintain an environment that keeps the liquidations profitable.
           23
                          222.      The interaction between the Insurance Fund and the trading desk creates a
           24
                  pernicious result when the desk serves as the purchaser of a liquidated position. When a customer
           25
                  stakes $4,000 on a position only to have BitMEX liquidate it, sell it to its own desk at a price that
           26
                  recovers $3,500 of that $4,000, and then keep the $3,500, the customer has essentially been
           27
                  robbed. BitMEX has walked away with both the position and the initial capital, leaving the
           28
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             1
                  customer with nothing.
             2
                         223.       Nor is the trading desk the only inside entity trading on BitMEX. Defendant Hayes
             3
                  has admitted that he himself trades on the platform, against BitMEX’s customers. The customers
             4
                  on the other side of Hayes’s contracts have no way of knowing that they are trading against an
             5
                  insider with access to non-public information about their trades, including their liquidation limits.
             6
                  Hayes has even gloated about the possibility of such misconduct, stating that “[t]he digital token
             7
                  trading markets like traditional forex markets are not regulated, and will struggle to be. Therefore,
             8
                  if you can’t stomach insider trading, then don’t take on short-term positions.”
             9
                         224.       On information and belief, BitMEX has manipulated the price of the assets
           10
                  underlying the derivatives on the exchange in order to force liquidations of traders for the benefit
           11
                  of its Insurance Fund.
           12
                         225.       Through 2019, BitMEX looked to a relatively limited number of exchanges to
           13
                  price bitcoin and ether for its derivative products. This made the exchange susceptible to price
           14
                  manipulation. In part of mid-2019, for example, BitMEX determined the price of ether by
           15
                  referring to just three exchanges: BitStamp, Coinbase Pro, and Kraken.
           16
                         226.       Any swaps trader would have an incentive to manipulate the price of bitcoin or
           17
                  ether on those exchanges to cash in on their leverage trade. For example, a trader who was short
           18
                  bitcoin on BitMEX would be incentivized to go to BitStamp and suddenly drive down the price of
           19
                  bitcoin by selling it, making the Perpetual Swap position more valuable. The trader’s profitability
           20
                  would depend on the liquidity available at BitStamp for bitcoin and the details of the Perpetual
           21
                  Swap positions on BitMEX. Lower liquidity in bitcoin trading would make it easy for the trader
           22
                  to move the price on BitStamp quickly and cheaply. A large, highly leveraged position at
           23
                  BitMEX would justify a large selloff of bitcoin below prevailing market prices. Moreover, this
           24
                  could be an ongoing process: as the price of bitcoin falls and the Perpetual Swap positions
           25
                  become profitable, the trader could cash out some existing Perpetual Swap positions for more
           26
                  bitcoin and then continue to sell that new bitcoin on BitStamp while opening additional Perpetual
           27
                  Swap short positions.
           28
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             1
                         227.       Structurally, however, this kind of manipulation is more likely to succeed on short
             2
                  positions rather than long, because BitMEX settles all of its Perpetual Swaps in bitcoin. If the
             3
                  trader attempts to manipulate the price of bitcoin up because of outstanding long positions, she
             4
                  would be unable to continue the process after the initial “pump” because her Perpetual Swap
             5
                  contracts are all paid out in bitcoin. She would have no way to buy additional bitcoin with those
             6
                  proceeds without selling the proceeds—thus defeating the purpose of the pump. Thus, to pull off
             7
                  a manipulation scheme when long on bitcoin, the trader would need a large reservoir of
             8
                  traditional currency with which to buy bitcoin, and could not use any proceeds from the
             9
                  manipulation itself to continue driving up the price of bitcoin. Nonetheless, throughout 2019,
           10
                  BitStamp was subject to numerous pumps and dumps of bitcoin and ether including on days when
           11
                  Kraken was down for maintenance and unavailable for pricing derivatives on BitMEX. For
           12
                  example, on April 2, 2019, there was a massive pump on BitStamp’s bitcoin price by nearly 20
           13
                  percent. Then on May 17, 2019, bitcoin lost 20 percent of its value on BitStamp for about thirty
           14
                  minutes before recovering. Later, on July 14, 2019 when Kraken was down for maintenance—
           15
                  thus increasing the weight of BitStamp on BitMEX’s Perpetual Swaps products—the price of
           16
                  ether dropped dramatically due to the sell order on BitStamp by a single user that accounted for
           17
                  over 15 percent of BitStamp’s entire volume for the day, causing $164 million worth of
           18
                  liquidations on BitMEX.
           19
                         228.       Of the possible manipulators, BitMEX is the best positioned to take advantage of
           20
                  the consequences of these schemes. First, BitMEX operates its own proprietary trading desk that
           21
                  can take long and short positions and engage in a pump and dump scheme, like the hypothetical
           22
                  trader described above. Second, beyond profiting from any positions it takes, BitMEX alone
           23
                  profits greatly from liquidations, even during severe price movements. Third, BitMEX alone
           24
                  knows the trading positions of its users and can precisely tailor its manipulation to generate mass
           25
                  liquidations with minimal effort and risk. Fourth, as a large institution, BitMEX would be one of
           26
                  the entities with sufficient resources to engage in pump schemes that require a lot of capital in
           27
                  traditional currency to buy the underlying commodity.
           28
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             1
                         229.       Unsurprisingly, for these reasons numerous commentators, including a tenured
             2
                  professor at NYU’s Stern Business School, point to BitMEX as the culprit behind these price
             3
                  movements.
             4
                         230.       On or about 11:00PM EDT on May 16, 2019 (May 17, 2019 3:00AM UTC), one
             5
                  or more perpetrators launched a trading software algorithm configured to sell about 3600 bitcoin,
             6
                  valued at the time at about $28 million on a United States based bitcoin spot exchange BitStamp8.
             7
                  The trading algorithm wiped the buy order book of BitStamp from $7,838 all the way down to
             8
                  $6,178, sitting on the ask side of the aforesaid order book the entire time. The artificial price
             9
                  move that resulted from the execution of the aforesaid malicious trading software algorithm
           10
                  brought bitcoin price on BitStamp from $7,838 all the way down to $6,178.
           11
                         231.       The hereinabove alleged artificial bitcoin price decline on BitStamp, in turn, led to
           12
                  a liquidation of $250 million (about 10x times the size of the BitStamp sell order) long positions
           13
                  on the BitMEX derivatives exchange, which further resulted in significant price declines on all
           14
                  other crypto exchanges throughout the world, including multiple exchanges in the United States,
           15
                  costing bitcoin traders and investors hundreds of millions of dollars.
           16
                         232.       The above-alleged manipulation was repeated, almost perfectly, on Sunday, July
           17
                  14, 2019, when a perpetrator or group of perpetrators collectively acted to crash the market by
           18
                  putting in a massive sell order of 15,000 ETH, valued a $4 million, on BitStamp. This made up
           19
                  15% of its entire trading volume of BitStamp on that Sunday – all in one trade. This giant sell
           20
                  order immediately plunged the price of ETH on BitStamp from $270 to $190, which is otherwise
           21
                  known as a “flash crash”.
           22
                         233.       Like a disease, the alleged flash crash spread to ETH Perpetual Swap contracts
           23
                  traded on BitMEX, which bases the Perpetual Swap contracts’ price 33% on the Bitstmap’s price.
           24
                  As the result of the crash, $164 million of long Perpetual Swap contracts were liquidated on
           25
                  8
           26      Bitstamp USA Inc. is incorporated in Delaware, maintains its headquarters at 27 Union Square
                  West, Suite 205, New York, NY 10003, United States and owns the
           27     cryptocurrency exchange online platform BitStamp.net, used in the alleged manipulation, see Ex.
                  14, p. 2, item 6. BitStamp.net cryptocurrency exchange online platform used in the alleged
           28     manipulation was hosted on Amazon AWS servers located in Denver, Colorado.
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             1
                  BitMEX in the blink of an eye and spread to bitcoin Perpetual Swaps traded on BitMEX, again
             2
                  causing significant price declines on all other crypto exchanges throughout the world, including
             3
                  multiple exchanges in the United States, costing bitcoin traders and investors hundreds of
             4
                  millions of dollars.
             5
                         234.       Plaintiffs are informed and believe and thereon allege that the alleged devastating
             6
                  manipulations were deliberately enabled by BitMEX. Specifically, the aforesaid artificial price
             7
                  action were made possible by the fact that BitMEX deliberately designed its indexes based on
             8
                  price data for cryptocurrencies from just three exchanges – BitStamp, Kraken and Coinbase Pro,
             9
                  all three of which have way lower liquidity than BitMEX. This design was specifically intended
           10
                  to amplify any large price moves to increase the amount of liquidated traders on BitMEX.
           11
                         235.       Plaintiffs are informed and believe and thereon allege that the reason why
           12
                  BitMEX, the most liquid exchange, calculates its contracts index price based on other exchanges
           13
                  with way less liquidity is because BitMEX is the major financial benefactor of the catastrophic
           14
                  market manipulation events, such as May 17, 2019 and July 14, 2019 events alleged hereinabove.
           15
                         236.       Plaintiffs are informed and believe and thereon allege that, at times, trader
           16
                  liquidations account for up to half of BitMEX entire revenue. When Defendants liquidate a
           17
                  trader, they take the remainder of funds left after paying the trade counterparty and deposit it into
           18
                  the Insurance Fund. The Insurance Fund has been steadily growing throughout the years.
           19
                         237.       Plaintiffs are informed and believe and thereon allege that BitMEX’s internal
           20
                  trading desk is the second major financial benefactor of the catastrophic market manipulation
           21
                  events, such as May 17, 2019 and July 14, 2019 events, alleged hereinabove, which were in fact
           22
                  perpetrated by Defendants Hayes, Delo and Reed in order to achieve financial gain for
           23
                  themselves.
           24
                         238.       BitMEX enables the perpetrators of the alleged market manipulations to avoid
           25
                  detection by authorities by providing the perpetrators with the ability to open an unlimited
           26
                  number of anonymous document check-free trading accounts on BitMEX without any trading and
           27
                  withdrawal limits.
           28
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             1
                          239.      Plaintiffs are informed and believe and thereon allege that BitMEX further
             2
                  facilitates the market manipulation by using fraudulent “system overloads” excuse to accept some
             3
                  trading orders and reject others during large market moves in order to exacerbate the artificial
             4
                  prices and increase the number of liquidations with the purpose to financially benefit therefrom.
             5
                  The aforesaid fraudulent “system overloads” were orchestrated from San Francisco offices of
             6
                  Defendant HDR, where BitMEX’s three Site Reliability Engineers are all located. Additionally,
             7
                  the aforesaid fraudulent “system overloads” were all perpetrated by Defendants through the same
             8
                  commercial website BitMEX.com, which is accessible and is extensively used, via widely
             9
                  available and inexpensive VPN software, by users located in the United States and this District.
           10
                  Therefore, these illegal acts resulting in injuries, for which Plaintiffs seek redress in this
           11
                  Complaint are directly related to Defendants’ connections to the United States and this District
           12
                  through their commercial website BitMEX.com.
           13
                          240.      Plaintiffs are informed and believe and thereon allege that BitMEX further
           14
                  facilitates the market manipulation by using fraudulent and deliberate server freezes to lock at
           15
                  least some traders out of their accounts during large market moves in order to exacerbate the
           16
                  artificial prices and increase the number of liquidations with the purpose to financially benefit
           17
                  therefrom. The aforesaid fraudulent and deliberate server freezes are orchestrated from San
           18
                  Francisco offices of Defendant HDR, where BitMEX’s three Site Reliability Engineers are all
           19
                  located. In addition, Defendants’ servers and other IT infrastructure that were involved in the
           20
                  alleged deliberate freezing are deployed on United States based Amazon EKS with offices in this
           21
                  District. Yet additionally, the fraudulent and deliberate server freezes were all perpetrated by
           22
                  Defendants through the same commercial website BitMEX.com, which is accessible and is
           23
                  extensively used, via widely available and inexpensive VPN software, by users located in the
           24
                  United States and this District. Therefore, these illegal acts resulting in injuries, for which
           25
                  Plaintiffs seek redress in this Complaint are directly related to Defendants’ connections to the
           26
                  United States and this District through their commercial website BitMEX.com.
           27
                          241.      Plaintiffs are informed and believe and thereon allege that the various specific acts
           28
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             1
                  perpetrated by Defendants to manipulate the prices of cryptocurrencies or to aid and abet such
             2
                  manipulation by other perpetrators, with the purpose to financially benefit from it, violate a
             3
                  number of United States federal criminal statutes, including, without limitation, 18 U.S.C. § 1343
             4
                  (wire fraud); 18 U.S.C. § 1956(a) (money laundering); 18 U.S.C. § 1957(a) (engaging in
             5
                  monetary transactions in property derived from specified unlawful activity); 18 U.S.C. § 1960(a)
             6
                  (conducting, controlling, managing, supervising, directing, or owning all or part of an unlicensed
             7
                  money transmitting business) and 18 U.S.C. § 2314 (interstate transportation of stolen property).
             8
                  These specific criminal acts alleged hereinbelow constitute predicate acts for purposes of RICO
             9
                  and were perpetrated by Defendants in course of conducting or conspiring to conduct affairs of an
           10
                  enterprise through a pattern of racketeering activity in violation of 18 U.S.C. §§ 1962(d) and (c).
           11
                          242.      As a direct result of Defendants’ manipulation of the market for their derivative
           12
                  products, including through the use of the server freezes and a (formerly concealed) internal
           13
                  trading desk to create profitable liquidations, Plaintiffs have suffered significant damages in an
           14
                  amount to be proven at trial.
           15
                          243.      While the precise measurement of the harm caused to Plaintiffs by Defendants’
           16
                  actions is not calculable at this stage, an approximation can be found in the value of the Insurance
           17
                  Fund, which is filled with the profits of Defendants’ liquidations. As of November 22, 2020, the
           18
                  Insurance Fund contained over 36,830 bitcoins valued at over $681,355,000.
           19
                                                   DERIVATIVES TRADED BY PLAINTIFFS
           20
                          244.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-243 above as if fully
           21
                  set forth herein.
           22
                          245.      On May 13, 2016, BitMEX launched its first swap product, a “perpetual bitcoin
           23
                  U.S. dollar leveraged swap product,” which it has described generally as “the XBTUSD perpetual
           24
                  swap” (“XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract”). BitMEX claims its
           25
                  XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract is “the most traded cryptocurrency
           26
                  product of all time.”
           27
                          246.      Between November 22, 2014 and February 9, 2020, BitMEX has had over 2.5
           28
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             1
                  trillion contracts traded on its platform. Most of that volume—more than two trillion contracts—
             2
                  has been in the XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract.
             3
                         247.       During Relevant Period, Plaintiffs BMA, Kolchin, Dolgov and Razvan directly
             4
                  traded (bought, sold and owned) the Bitcoin/US Dollar Perpetual Inverse Swap Contract with
             5
                  ticker symbol XBTUSD on both U.S. based Kraken and U.S. based BitMEX exchanges.
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15     Bitcoin/U.S. Dollar Swap Contract with ticker symbol XBTUSD traded by Plaintiffs BMA,

           16     Kolchin, Dolgov and Razvan on BitMEX is priced based on the underlying price is the XBT/USD

           17     exchange rate as recorded in the .BXBT Index, which Defendants manipulated using helper

           18     accounts on U.S. based exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this

           19     Complaint. Both the underlying .BXBT index and the swap contract XBTUSD are quoted in

           20     USD. Margin and PNL are denominated in Bitcoin. The XBTUSD Bitcoin/U.S. Dollar Swap

           21     Contract traded by Plaintiffs BMA and Dubinin on Kraken is priced based on bitcoin spot price

           22     on that exchange, which was manipulated by Defendants by placing large market orders from

           23     helper accounts in that exchange. Both of the above derivative contracts meet the definition of a

           24     "swap" under CEA, 7 U.S.C. § 1a(47)(a)(IV), which defines "Swap" as: "(iv) … an agreement,

           25     contract, or transaction that is, or in the future becomes, commonly known to the trade as a

           26     swap." For example, TradingView, with 15 million monthly active site users and over 40,000

           27     publishers, brokerages, and fintechs utilizing its investing tools, is the industry standard used by

           28     about every trader out there. It lists both aforesaid XBTUSD contracts from BitMEX and Kraken
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             1
                  as "Swaps" (https://www.tradingview.com/symbols/XBTUSD/).
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
                         248.       Therefore, the traded Bitcoin/US Dollar Perpetual Inverse Swap Contract with
           12
                  ticker symbol XBTUSD is a swap under CEA 7 U.S.C. § 1a(47)(a)(iv) (agreement, contract, or
           13
                  transaction that is, or in the future becomes, commonly known to the trade as a swap).
           14
                         249.       Defendant HDR itself specifically admitted that its XBTUSD contract is known to
           15
                  the trade as a "swap," thus meeting definition under CEA:
           16
                         250.       In addition, Plaintiff Kolchin traded Ether/U.S. Dollar Swap Contract with ticker
           17
                  symbol ETHUSD on BitMEX, which is also a “swap” under CEA, 7 U.S.C. § 1a(47)(a)(iv).
           18
                  Ether/U.S. Dollar Swap Contract with ticker symbol ETHUSD traded by Plaintiff Kolchin uses
           19
                  the .BETH index price, which Defendants manipulated using helper accounts on U.S. based
           20
                  exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this Complaint.
           21
                         251.       Moreover, both aforesaid XBTUSD contracts that Plaintiffs traded on BitMEX and
           22
                  Kraken are also "swaps" to 7 U.S.C. § 1a(47)(a)(iii)(XXII), which defines a “swap” as a “a
           23
                  commodity swap.” Because bitcoin is commodity, both XBTUSD contracts on Kraken and
           24
                  BitMEX are “commodity swaps” under 7 U.S.C. § 1a(47)(a)(iii)(XXII).
           25
                         252.       Yet, furthermore, according to CFTC Complaint, ¶ 125, “products that have traded
           26
                  on BitMEX, including “perpetual swaps” or “perpetual contracts” on bitcoin, ether, and litecoin,
           27
                  are swaps as defined by 7 U.S.C. § 1a(47).” Therefore, Plaintiffs can pursue his claims under
           28
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             1
                  CEA, 7 USC § 25(a)(1)(D), which specifically covers “swaps.”
             2
                           253.     Plaintiffs were enticed to trade on BitMEX through BitMEX’s own advertisements
             3
                  specifically directed at Plaintiffs and traders like Plaintiffs.
             4
                           254.     Some exemplary specific money losing trades of Plaintiffs BMA, Kolchin,
             5
                  Dubinin, Dolgov and Razvan and their respective amounts and causes (triggering events) are
             6
                  summarized in the table below, which was prepared based on information and belief of Plaintiffs:
             7
             8   Plaintiff     Date         Exchange              Order                Trade           Order              Loss         Causation of
                                                                  Book                 Type                               Amt.            Loss
             9                                                                                                                       Defendant
                 Kolchin      07/14/        BitMEX             XBTUSD             Liquidation SELL                        1.18       Reed executing
           10
                              2019                             Swap                                 MARKET                BTC        a large SELL
           11                                                                                                                        market order
                                                                                                    ALL                              from helper
           12                                                                                                                        account on
                                                                                                                                     Kraken’s
           13
                                                                                                                                     XBTUSD/BTC
           14                                                                                                                        order book,
                                                                                                                                     causing
           15                                                                                                                        artificial
                                                                                                                                     downward
           16                                                                                                                        price move on
                                                                                                                                     XBTUSD
           17
                                                                                                                                     order book,
           18                                                                                                                        which
                                                                                                                                     propagated,
           19                                                                                                                        through the
                                                                                                                                     .BXBT index,
           20                                                                                                                        to XBTUSD
           21                                                                                                                        order book of
                                                                                                                                     BitMEX and
           22                                                                                                                        triggered
                                                                                                                                     liquidation of
           23                                                                                                                        Plaintiff’s long
                                                                                                                                     XBTUSD
           24                                                                                                                        position
           25                                                                                                                        Defendant
                 Kolchin      07/14/        BitMEX             ETHUSD             Liquidation SELL                        2.81       Reed executing
           26                 2019                             Swap                                 MARKET                BTC        a large SELL
                                                                                                                                     market order
           27                                                                                       ALL                              from helper
                                                                                                                                     account on
           28
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             1                                                                                                                   BitStamp ETH
                                                                                                                                 order book,
             2                                                                                                                   causing
             3                                                                                                                   artificial price
                                                                                                                                 move, which
             4                                                                                                                   propagated,
                                                                                                                                 through the
             5                                                                                                                   .BETH index,
                                                                                                                                 to ETHUSD
             6
                                                                                                                                 order book of
             7                                                                                                                   BitMEX and
                                                                                                                                 triggered
             8                                                                                                                   liquidation of
                                                                                                                                 Plaintiff’s long
             9                                                                                                                   ETHUSD
                                                                                                                                 position
           10
                                                                                                                                 Defendant
                 Dolgov     11/25/        BitMEX             XBTUSD             Liquidation SELL                      3.93       Reed executing
           11
                            2018                             Swap                               MARKET                BTC        a large SELL
           12                                                                                                                    market order
                                                                                                ALL                              from helper
           13                                                                                                                    account on
           14                                                                                                                    Kraken’s
                                                                                                                                 XBTUSD/BTC
           15                                                                                                                    order book,
                                                                                                                                 causing
           16                                                                                                                    artificial price
                                                                                                                                 move, which
           17                                                                                                                    propagated,
           18                                                                                                                    through the
                                                                                                                                 .BXBT index,
           19                                                                                                                    to XBTUSD
                                                                                                                                 order book of
           20                                                                                                                    BitMEX and
                                                                                                                                 triggered
           21                                                                                                                    liquidation of
           22                                                                                                                    Plaintiff’s long
                                                                                                                                 XBTUSD
           23                                                                                                                    position
                                                                                                                                 Defendant
           24    Dolgov     11/15/        BitMEX             XBTUSD             Liquidation SELL                      0.27       Reed executing
                            2018                             Swap                               MARKET                BTC        a large SELL
           25
                                                                                                                                 market order
           26                                                                                   ALL                              from helper
                                                                                                                                 account on
           27                                                                                                                    Kraken’s
                                                                                                                                 XBTUSD/BTC
           28
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             1                                                                                                                     order book,
                                                                                                                                   causing
             2                                                                                                                     artificial price
             3                                                                                                                     move, which
                                                                                                                                   propagated,
             4                                                                                                                     through the
                                                                                                                                   .BXBT index,
             5                                                                                                                     to XBTUSD
                                                                                                                                   order book of
             6
                                                                                                                                   BitMEX and
             7                                                                                                                     triggered
                                                                                                                                   liquidation of
             8                                                                                                                     Plaintiff’s long
                                                                                                                                   XBTUSD
             9                                                                                                                     position
                                                                                                                                   Defendant
           10     Dubinin    11/15/        Kraken             XBTUSD             Liquidation SELL                       97.73      Reed executing
           11                2018                             Swap               /Position        MARKET                BTC        a large market
                                                                                                                                   order (SELL
           12                                                                    Closing          ALL                              MARKET
                                                                                                                                   NN) from
           13                                                                                                                      helper account
           14                                                                                                                      on Kraken’s
                                                                                                                                   XBTUSD/BTC
           15                                                                                                                      order book,
                                                                                                                                   causing
           16                                                                                                                      artificial price
                                                                                                                                   move resulting
           17                                                                                                                      in liquidation
           18                                                                                                                      of Plaintiff’s
                                                                                                                                   XBTUSD long
           19                                                                                                                      position
                                                                                                                                   Defendant
           20     Dubinin    12/23/        Kraken             XBTUSD             Liquidation SELL                       $1882      Reed executing
                             2018                             Swap               /Position        MARKET                7 USD      a large market
           21                                                                                                                      order (SELL
           22                                                                    Closing          ALL                              MARKET
                                                                                                                                   NN) from
           23                                                                                                                      helper account
                                                                                                                                   on Kraken’s
           24                                                                                                                      XBTUSD/BTC
                                                                                                                                   order book,
           25
                                                                                                                                   causing
           26                                                                                                                      artificial price
                                                                                                                                   move resulting
           27                                                                                                                      in liquidation
                                                                                                                                   of Plaintiff’s
           28
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             1                                                                                                                    long XBTUSD
                                                                                                                                  position
             2                                                                                                                    Defendant
                  Razvan     11/14/        BitMEX             XBTUSD             Liquidation SELL                      226.16     Reed executing
             3
                             2018                             Swap               9
                                                                                                 MARKET                BTC        a large SELL
             4                                                                                                                    market order
                                                                                                 ALL                              from helper
             5                                                                                                                    account on
                                                                                                                                  Kraken’s
             6
                                                                                                                                  XBTUSD/BTC
             7                                                                                                                    order book,
                                                                                                                                  causing
             8                                                                                                                    artificial price
                                                                                                                                  move, which
             9                                                                                                                    propagated,
                                                                                                                                  through the
           10
                                                                                                                                  .BXBT index,
           11                                                                                                                     to ETHUSD
                                                                                                                                  order book of
           12                                                                                                                     BitMEX and
                                                                                                                                  triggered
           13                                                                                                                     liquidation of
           14                                                                                                                     Plaintiff’s long
                                                                                                                                  XBTUSD
           15                                                                                                                     position
                                                                                                                                  Defendant
           16     Razvan     11/19/        BitMEX             XBTUSD             Liquidation SELL                      21.78      Reed executing
                             2018                             Swap                               MARKET                BTC        a large SELL
           17                                                                                                                     market order
           18                                                                                    ALL                              from helper
                                                                                                                                  account on
           19                                                                                                                     Kraken’s
                                                                                                                                  XBTUSD/BTC
           20                                                                                                                     order book,
                                                                                                                                  causing
           21                                                                                                                     artificial price
           22                                                                                                                     move, which
                                                                                                                                  propagated,
           23                                                                                                                     through the
                                                                                                                                  .BXBT index,
           24                                                                                                                     to ETHUSD
                                                                                                                                  order book of
           25
           26     9
                   Nov 14, 2018, 6:29:23 PM XBTUSD Trade Sell 7170497 5680 1,322.9566 XBT 0.0750%
           27     0.99221752 XBT Liquidation 7170497 0 5680 Liquidation
                  Nov 19, 2018, 11:44:50 AM XBTUSD Trade Sell 431795 5195.5 83.5221 XBT 0.0750%
           28     0.06264158 XBT Liquidation 431795 0 5195.5 Liquidation
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             1                                                                                                                     BitMEX and
                                                                                                                                   triggered
             2                                                                                                                     liquidation of
             3                                                                                                                     Plaintiff’s long
                                                                                                                                   XBTUSD
             4                                                                                                                     position
                                                                                                                                   Defendant
             5    BMA         05/17/        BitMEX             XBTUSD             Liquidation SELL                      10         Reed executing
                              2019                             Swap                               MARKET                BTC        a large SELL
             6
                                                                                                                                   market order
             7                                                                                    ALL                              from helper
                                                                                                                                   account on
             8                                                                                                                     Kraken’s
                                                                                                                                   XBTUSD/BTC
             9                                                                                                                     order book,
                                                                                                                                   causing
           10
                                                                                                                                   artificial price
           11                                                                                                                      move, which
                                                                                                                                   propagated,
           12                                                                                                                      through the
                                                                                                                                   .BXBT index,
           13                                                                                                                      to XBTUSD
           14                                                                                                                      order book of
                                                                                                                                   BitMEX and
           15                                                                                                                      triggered
                                                                                                                                   liquidation of
           16                                                                                                                      Plaintiff’s long
                                                                                                                                   XBTUSD
           17                                                                                                                      position
           18                                                                                                                      Defendant
                  BMA         06/26/        Kraken             XBTUSD             Liquidation SELL                      10         Reed executing
           19                 2019                             Swap                               MARKET                BTC        a large market
                                                                                                                                   order (SELL
           20                                                                                     ALL                              MARKET
                                                                                                                                   NN) from
           21                                                                                                                      helper account
           22                                                                                                                      on Kraken’s
                                                                                                                                   XBTUSD/BTC
           23                                                                                                                      order book,
                                                                                                                                   causing
           24                                                                                                                      artificial price
                                                                                                                                   move resulting
           25
                                                                                                                                   in liquidation
           26                                                                                                                      of Plaintiff’s
                                                                                                                                   long XBTUSD
           27                                                                                                                      position
           28
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             1
                  BMA         03/12/        BitMEX             XBTUSD             Position        BUY                   3 BTC     Defendants
             2                2020                             Swap               Closure         MARKET                          intentionally
                                                                                                                                  taking BitMEX
             3                                                                                    ALL                             platform off-
                                                                                                                                  line to prevent
             4                                                                                                                    tapping
             5                                                                                                                    Insurance Fund
                                                                                                                                  and,
             6                                                                                                                    additionally or
                                                                                                                                  alternatively,
             7                                                                                                                    negligently
                                                                                                                                  failing to
             8                                                                                                                    prevent DDoS
             9                                                                                                                    Attack by
                                                                                                                                  failing to
           10                                                                                                                     utilize widely
                                                                                                                                  available
           11                                                                                                                     industrial
                                                                                                                                  solutions,
           12
                                                                                                                                  which resulted
           13                                                                                                                     in Plaintiff’s
                                                                                                                                  inability to
           14                                                                                                                     timely close
                                                                                                                                  short position
           15                                                                                                                     on XBTUSD
                                                                                                                                  swap order
           16
                                                                                                                                  book
           17
           18           CAUSATION CHAIN OF PLAINTIFFS’ LOSSES ON KRAKEN EXCHANGE

           19            255.       The causation chain for Plaintiffs’ BMA and Dubinin losses on Kraken is very

           20     straight forward. Specifically, when Defendant Reed executed a large SELL market order from

           21     helper account on Kraken’s XBTUSD/BTC order book (step 1 in the diagram), with intent of

           22     moving the .BXBT index price in a favorable direction, this large market SELL order caused an

           23     artificial downward price move on the Kraken’s spot order book (step 2 in the diagram),

           24     triggering a liquidation cascade and directly resulting in liquidation of Plaintiffs’ BMA and

           25     Dubinin XBTUSD long positions on that exchange (step 3 in the diagram). This sequence

           26     repeated during each and all of the Manipulation Times, alleged in Paragraph 372 below.

           27            256.       If Defendant Reed did not execute a large SELL market order from helper account

           28     on Kraken’s XBTUSD/BTC order book, the above sequence would not have taken place and the
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             1
                  Plaintiffs’ BMA and Dubinin XBTUSD long positions on Kraken exchange would not have been
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20     liquidated. Moreover, liquidation of Plaintiffs’ BMA and Dubinin XBTUSD long positions on

           21     Kraken exchange was foreseeable consequence of the execution of the large SELL market order

           22     from helper account on Kraken’s XBTUSD/BTC order book. In fact, Defendant Reed’s

           23     execution of the aforesaid large market order was specifically intended to cause liquidation of

           24     Plaintiffs’ BMA and Dubinin XBTUSD long positions on Kraken exchange.

           25            CAUSATION CHAIN OF PLAINTIFFS’ LOSSES ON BitMEX EXCHANGE
           26            257.       Compared to causation chain for Plaintiffs’ BMA and Dubinin losses on Kraken,
           27     the causation chain of Plaintiffs’ BMA, Kolchin, Dolgov and Razvan losses on BitMEX includes
           28
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             1
                  one more link – the .BXBT price index10 used by Defendants to price the XBTUSD Perpetual
             2
                  Swap on BitMEX. Specifically, when Defendant Reed executed a large SELL market order from
             3
                  helper account on Kraken’s XBTUSD/BTC order book (step 1 in the diagram), causing artificial
             4
                  downward price move on spot order book of that exchange (step 2 in the diagram), the aforesaid
             5
                  artificial price move propagated, through the .BXBT index, to the XBTUSD Perpetual Swap
             6
                  order book of BitMEX, causing the corresponding downward price more (step 4 in the diagram)
             7
                  and triggered liquidation of Plaintiffs’ BMA, Kolchin, Dolgov and Razvan XBTUSD long
             8
                  positions there (step 5 in the diagram).11 This sequence repeated during each and all of the
             9
                  Manipulation Times, alleged in Paragraph 372 below. The same causation chain resulted when
           10
                  Defendant Reed executed a large SELL market order from helper account on BitStamp’s ETH
           11
                  order book, which propagated through BitMEX’s .BETH index to ETHUSD order book of
           12
                  BitMEX and caused Plaintiff’s Kolchin long ETHUSD positions there to be liquidated.
           13
                         258.       If Defendant Reed did not execute a large SELL market order from helper account
           14
                  on Kraken’s XBTUSD/BTC order book, the above sequence would not have taken place and the
           15
                  Plaintiffs’ BMA, Kolchin, Dolgov and Razvan long positions on BitMEX exchange would not
           16
                  have been liquidated. Moreover, liquidation of Plaintiffs’ BMA, Kolchin, Dolgov and Razvan
           17
                  XBTUSD long positions on BitMEX exchange was foreseeable consequence of the execution of
           18
                  the large SELL market order from helper account on Kraken’s XBTUSD/BTC order book, which
           19
                  is linked to the BitMEX’s XBTUSD order book via the .BXBT index. In fact, Defendant Reed’s
           20
                  execution of the aforesaid large market order on Kraken was specifically intended to cause
           21
                  liquidation of Plaintiffs’ BMA and Dubinin XBTUSD long positions on BitMEX exchange, due
           22
                  to the deliberate design of the .BXBT index by Defendants.
           23
           24
           25
                  10
           26        As of May 20, 2019, .BXBT index was calculated as (⅓ * Bitstamp + ⅓ * Coinbase Pro + ⅓ *
                  Kraken) and .BETH index was calculated as (⅓ * Bitstamp + ⅓ * Coinbase Pro + ⅓ * Kraken).
                  11
           27        In addition to propagating from the three spot exchanges to BitMEX, the price moves also
                  propagate between spot exchanges themselves, due to the widespread use of arbitrage bots, as
           28     alleged in Paragraph 158.
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             1

             2                                          THE RAKETEERING ENTERPRISE
                          259.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-258 above as if fully
             3
                  set forth herein.
             4
                          260.      Each of the Defendants HDR, ABS, Defendant Unknown Exchange, Grape Park,
             5
                  Mark Sweep, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed are respective
             6
                  persons or entities capable of holding a legal or beneficial interest in property.
             7
                          261.      From at least January 2017 and until present, Defendants HDR, ABS, Defendant
             8
                  Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo, Reed, Agata Reed, Barbara Reed
             9
                  and Trace Reed have been a union or group of entities and individuals associated in fact
           10
                  collectively constituting a continuing “enterprise” (“Enterprise”) within the meaning of RICO as
           11
                  defined in 18 U.S.C. § 1961. Since at least January of 2017, each of HDR, ABS, Defendant
           12
                  Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo and Reed, Agata Reed, Barbara
           13
                  Reed and Trace Reed has been a person separate and distinct from the Enterprise itself, while, at
           14
                  the same time, being a member of the Enterprise. The purposes of the Enterprise included,
           15
                  among others: (1) maximizing profits and minimizing trading losses for the Defendants, and each
           16
                  of them, and their co-conspirators, through unlawful trading practices; (2) concealing trading
           17
                  gains obtained through unlawful practices from regulatory and tax authorities; (3) generating
           18
                  illicit income from unlicensed money transmissions; (4) promoting and enhancing the
           19
                  racketeering conspiracy and the activities of the Defendants, and each of them, and their co-
           20
                  conspirators; (5) concealing the unlawful activities of the Defendants, and each of them, and their
           21
                  co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and concealing
           22
                  or disguising the nature, the location, the source, the ownership, or the control of the proceeds of
           23
                  unlawful activities by investing said proceeds into United States real estate using nominee entities.
           24
                          262.      The activity of the Enterprise and the predicate acts of racketeering alleged
           25
                  hereinbelow affect interstate or foreign commerce. Specifically, the Enterprise directly engaged
           26
                  in the production, distribution, or acquisition of goods and services in interstate commerce,
           27
                  including, without limitation, cryptocurrency derivatives trading services.
           28
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             1
                          263.      At various times during the Relevant Period each of the Defendants HDR, ABS,
             2
                  Hayes, Delo and Reed was employed in or associated with the Enterprise as alleged hereinabove.
             3
             4                               ROLES OF DEFENDANTS IN THE ENTERPRISE
                          264.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-263 above as if fully
             5
                  set forth herein.
             6
                          265.      Plaintiffs are informed and believe and thereon allege that individual Defendants
             7
                  Hayes, Delo and Reed were the masterminds behind the alleged Enterprise and the predicate
             8
                  criminal acts alleged hereinbelow. Specifically, Plaintiffs are informed and believe and thereon
             9
                  allege that Defendant Hayes was responsible for, among other things, conducting overall planning,
           10
                  oversight and supervision of the affairs of the Enterprise and coordination between the remaining
           11
                  co-conspirators as well as controlling bank accounts and financial flows within the Enterprise.
           12
                  Plaintiffs are informed and believe and thereon allege that Defendant Reed was responsible for,
           13
                  among other things, planning and initiating the deliberate server freezes and fraudulent system
           14
                  overloads on BitMEX as alleged herein as well as effective transfers of market manipulation
           15
                  winnings from helper accounts on United States based exchanges Kraken, Coinbase and BitStamp
           16
                  to winner accounts on BitMEX, by placing large market orders on those exchanges with
           17
                  maximum slippage to cause large artificial moves in the .BXBT and index price and .BETH index
           18
                  price on a daily basis, including during each of the specific Manipulation Times alleged in
           19
                  Paragraph 372 below, and performance of other illegal acts conducted by the Enterprise, by
           20
                  issuing electronic wire transmissions containing trading orders and other computer system
           21
                  commands and writing, deploying and remotely executing software scripts from his office located
           22
                  in Milwaukee, WI 53202. Defendant Reed was further responsible, together with each of
           23
                  Defendants Agata Reed, Barbara Reed and Trace Reed, for laundering a substantial portion of the
           24
                  tainted bitcoin-denominated proceeds of the illegal activities on the BitMEX platform from
           25
                  Defendants’ general account (bitcoin wallet) through the Defendant Unknown Exchange and a
           26
                  real estate investment scheme involving multiple real estate properties in Wisconsin and
           27
                  Massachusetts with the purpose to conceal or disguise the nature, the location, the source, the
           28
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             1
                  ownership, or the control of the proceeds of the unlawful activities taking place on the BitMEX
             2
                  platform. Defendants Grape Park and Mark Sweep are nominee shell entities that were used by
             3
                  the Enterprise to conceal or disguise the true source of funds used for acquiring the real estate
             4
                  properties and their true ownership and control, Ex. 12, 13.
             5
                         266.       Plaintiffs are informed and believe and thereon allege that Defendant ABS
             6
                  designs, develops, implements, operates and supports the online derivatives trading platform
             7
                  BitMEX from within this District. Defendant ABS was responsible for, among other things, day
             8
                  to day operations of the BitMEX platform and for effectuating the market manipulation, including,
             9
                  without limitation deliberate server freezes and fraudulent system overloads alleged herein as
           10
                  well as effective transfers of market manipulation winnings from helper accounts to winner
           11
                  accounts and performance of other illegal acts conducted by the Enterprise. Plaintiffs are
           12
                  informed and believe and thereon allege that Defendant HDR was responsible for, among other
           13
                  things, planning the overall operation of the BitMEX platform to effectuate the market
           14
                  manipulation, including, without limitation deliberate server freezes and fraudulent system
           15
                  overloads alleged herein as well as effective transfers of market manipulation winnings from
           16
                  helper accounts to winner accounts and performance of other illegal acts conducted by the
           17
                  Enterprise. Finally, Plaintiffs are informed and believe and thereon allege that Defendant Delo
           18
                  was responsible for performing liquidations of user positions to rip the benefits of the market
           19
                  manipulation and other illegal acts conducted by the Enterprise and depositing the liquidation
           20
                  proceeds into Insurance Fund.
           21
                         267.       The individual roles of all Defendants within the Enterprise are summarized in the
           22
                  below table, prepared according to information and belief of Plaintiffs BMA, Kolchin, Dubinin,
           23
                  Dolgov and Razvan:
           24
           25
                    Defendant                                                          Role of Defendant
           26
                                         Defendant HDR is a holding company. Despite being incorporated in the
           27     HDR
                                         Seychelles, Defendant HDR does not have, and never has had, any operations
           28
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             1
                                         or employees in the Seychelles. Defendant HDR operates, or has operated
             2
                                         during the Relevant Period, primarily from San Francisco office of Defendant
             3
                                         ABS and Milwaukee office of Defendant Reed. Defendant HDR was
             4
                                         responsible for, among other things, the planning of the operation of the
             5
                                         BitMEX platform to effectuate the market manipulation, including, without
             6
                                         limitation deliberate server freezes and fraudulent system overloads alleged
             7
                                         herein as well as effective transfers of market manipulation winnings from
             8
                                         helper accounts to winner accounts and performance of other illegal acts
             9
                                         conducted by the Enterprise.
           10
                                         Defendant ABS designs, develops, implements, operates and supports the
           11
                                         online derivatives trading platform BitMEX from within this District.
           12
                                         Defendant ABS was responsible for, among other things, day to day operations
           13
                                         of the BitMEX platform and effectuating the market manipulation, including,
           14
                  ABS                    without limitation deliberate server freezes and fraudulent system overloads
           15
                                         alleged herein as well as effective transfers of market manipulation winnings
           16
                                         from helper accounts to winner accounts and performance of other illegal acts
           17
                                         conducted by the Enterprise, as well as creating custom software programs and
           18
                                         scripts for performing market manipulation and implementing server freezes.
           19
                                         Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           20
                                         or disguise the true source of funds used for acquiring the real estate properties
           21
                  Grape Park             and their true ownership and control. Defendant Reed dominates and controls
           22
                                         every aspect of business of Defendant Grape Park and funds its operations.
           23
                                         Defendant Grape Park is an alter ego of Defendant Reed.
           24
                                         Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           25
                                         or disguise the true source of funds used for acquiring the real estate properties
           26     Mark Sweep
                                         and their true ownership and control. Defendant Reed dominates and controls
           27
                                         every aspect of business of Defendant Mark Sweep and funds its operations.
           28
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             1
                                          Defendant Mark Sweep is an alter ego of Defendant Reed.
             2
                                          Defendant Unknown Exchange was responsible for knowingly, willfully and
             3
                                          deliberately laundering a substantial portion of the bitcoin-denominated
             4
                                          proceeds of market manipulation, money laundering, operating unlicensed
             5    Unknown
                                          money transmitting business and multitude of various other nefarious acts
             6    Exchange
                                          taking place on the BitMEX platform, by means of converting bitcoins into
             7
                                          various traditional (“fiat”) currencies, including United States dollars and Hong
             8
                                          Kong dollars.
             9
                                          Defendant Hayes was responsible for, among other things, conducting overall
           10
                                          planning, oversight and supervision of the affairs of the Enterprise and
           11
                                          coordination between the remaining co-conspirators, as well as controlling bank
           12
                                          accounts and financial flows within the Enterprise. In addition, Defendant
           13
                                          Hayes gave directions to other members of the Enterprise, occupied the top
           14
                                          position in the "chain of command" of the Enterprise through which the affairs
           15
                                          of the Enterprise are conducted and was indispensable to the achievement of the
           16
                                          Enterprise’s goals of maximizing profits and minimizing trading losses for the
           17
                  Hayes                   Defendants, and each of them, and their co-conspirators, through unlawful
           18
                                          trading practices, including market manipulation, concealing trading gains
           19
                                          obtained through unlawful practices from regulatory and tax authorities using,
           20
                                          without limitation, money laundering, generating illicit income from unlicensed
           21
                                          money transmissions, promoting and enhancing the racketeering conspiracy and
           22
                                          the activities of the Defendants, and each of them, and their co-conspirators and
           23
                                          concealing the unlawful activities of the Defendants, and each of them, and
           24
                                          their co-conspirators from scrutiny by cryptocurrency exchanges and law
           25
                                          enforcement.
           26
                                          Defendant Delo was responsible for performing liquidations of user positions to
           27     Delo
                                          rip the benefits of the market manipulation and other illegal acts conducted by
           28
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             1
                                          the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
             2
                                          addition, Defendant Delo gave directions to other members and took directions
             3
                                          from Defendant Hayes, occupied a second position in the "chain of command"
             4
                                          through which the affairs of the Enterprise are conducted, knowingly and
             5
                                          eagerly implemented decisions of Defendant Hayes and was indispensable to
             6
                                          the achievement of the Enterprise’s goals of maximizing profits and minimizing
             7
                                          trading losses for the Defendants, and each of them, and their co-conspirators,
             8
                                          through unlawful trading practices, including market manipulation, concealing
             9
                                          trading gains obtained through unlawful practices from regulatory and tax
           10
                                          authorities using, without limitation, money laundering, generating illicit
           11
                                          income from unlicensed money transmissions, promoting and enhancing the
           12
                                          racketeering conspiracy and the activities of the Defendants, and each of them,
           13
                                          and their co-conspirators and concealing the unlawful activities of the
           14
                                          Defendants, and each of them, and their co-conspirators from scrutiny by
           15
                                          cryptocurrency exchanges and law enforcement.
           16
                                          Defendant Reed was responsible for, among other things, planning and
           17
                                          initiating the deliberate server freezes and fraudulent system overloads on
           18
                                          BitMEX as alleged herein as well as effective transfers of market manipulation
           19
                                          winnings from helper accounts on United States based exchanges Kraken,
           20
                                          Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           21
                                          market orders on those exchanges with maximum slippage to cause large
           22     Reed
                                          artificial moves in the .BXBT and index price and .BETH index price on a daily
           23
                                          basis and performance of other illegal acts conducted by the Enterprise, by
           24
                                          issuing electronic wire transmissions containing trading orders and other
           25
                                          computer system commands and writing, deploying and remotely executing
           26
                                          software scripts from his office located in Milwaukee, WI 53202. Defendant
           27
                                          Reed was further responsible for laundering a substantial portion of the tainted
           28
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             1
                                        proceeds of the illegal activities on the BitMEX platform from Defendants’
             2
                                        general account (bitcoin wallet) through a real estate investment scheme
             3
                                        involving multiple real estate properties in Wisconsin and Massachusetts, by
             4
                                        concealing the nature of the funds used in acquisition of said properties and the
             5
                                        true state of ownership and control thereof. In addition, Defendant Reed gave
             6
                                        directions to other members and took directions from Defendant Hayes,
             7
                                        occupied a third position in the "chain of command" through which the affairs
             8
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             9
                                        of Defendants Hayes and Delo and was indispensable to the achievement of the
           10
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           11
                                        Defendants, and each of them, and their co-conspirators, through unlawful
           12
                                        trading practices, including market manipulation, concealing trading gains
           13
                                        obtained through unlawful practices from regulatory and tax authorities using,
           14
                                        without limitation, money laundering, generating illicit income from unlicensed
           15
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           16
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           17
                                        concealing the unlawful activities of the Defendants, and each of them, and
           18
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
           19
                                        enforcement.
           20
                                        Defendant Agata Reed was responsible for laundering a substantial portion of
           21
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           22
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           23
                                        scheme involving real estate properties in Massachusetts with the purpose to
           24     Agata Reed
                                        conceal or disguise the nature, the location, the source, the ownership, or the
           25
                                        control of the proceeds of the alleged unlawful activity taking place on the
           26
                                        BitMEX platform. In addition, Defendant Agata Reed gave directions to other
           27
                                        members and took directions from Defendant Reed, occupied a fourth position
           28
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             1
                                        in the "chain of command" through which the affairs of the Enterprise are
             2
                                        conducted, knowingly and eagerly implemented decisions of Defendants
             3
                                        Hayes, Delo and Reed and was indispensable to the achievement of the
             4
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
             5
                                        Defendants, and each of them, and their co-conspirators, through unlawful
             6
                                        trading practices, including market manipulation, concealing trading gains
             7
                                        obtained through unlawful practices from regulatory and tax authorities using,
             8
                                        without limitation, money laundering, generating illicit income from unlicensed
             9
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           10
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           11
                                        concealing the unlawful activities of the Defendants, and each of them, and
           12
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
           13
                                        enforcement.
           14
                                        Defendant Barbara Reed was responsible for laundering a substantial portion of
           15
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           16
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           17
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           18
                                        of the funds used in acquisition of said properties and the true state of
           19
                                        ownership and control thereof.                  In addition, Defendant Barbara Reed gave
           20
                                        directions to other members and took directions from Defendant Reed,
           21     Barbara Reed
                                        occupied a fifth position in the "chain of command" through which the affairs
           22
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           23
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           24
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           25
                                        for the Defendants, and each of them, and their co-conspirators, through
           26
                                        unlawful trading practices, including market manipulation, concealing trading
           27
                                        gains obtained through unlawful practices from regulatory and tax authorities
           28
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             1
                                        using, without limitation, money laundering, generating illicit income from
             2
                                        unlicensed money transmissions, promoting and enhancing the racketeering
             3
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
             4
                                        conspirators and concealing the unlawful activities of the Defendants, and each
             5
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             6
                                        and law enforcement.
             7
                                        Defendant Trace Reed was responsible for laundering a substantial portion of
             8
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
             9
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           10
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           11
                                        of the funds used in acquisition of said properties and the true state of
           12
                                        ownership and control thereof. In addition, Defendant Trace Reed gave
           13
                                        directions to other members and took directions from Defendant Reed,
           14
                                        occupied a sixth position in the "chain of command" through which the affairs
           15
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           16
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           17     Trace Reed
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           18
                                        for the Defendants, and each of them, and their co-conspirators, through
           19
                                        unlawful trading practices, including market manipulation, concealing trading
           20
                                        gains obtained through unlawful practices from regulatory and tax authorities
           21
                                        using, without limitation, money laundering, generating illicit income from
           22
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           23
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           24
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           25
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           26
                                        and law enforcement.
           27
                        268.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
           28
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             1
                  from Plaintiffs at this time. Such information is uniquely within Defendants’ possession, custody
             2
                  and control. To date, Defendants provided absolutely no discovery to Plaintiffs what so ever,
             3
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiffs
             4
                  accordingly reserve the right to supplement and amend these allegations, if appropriate or
             5
                  necessary, following completion of relevant fact discovery.
             6
             7            THE RAKETEERING CONSPIRACY AND RACKETEERING ACTIVITY
                          269.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-268 above as if fully
             8
                  set forth herein.
             9
                          270.      Pursuant to 18 U.S.C. § 1961, “racketeering activity” for purposes of RICO means
           10
                  “any act which is indictable under any of the following provisions of title 18, United States
           11
                  Code: … section 1343 (relating to wire fraud) … section 1956 (relating to the laundering of
           12
                  monetary instruments), section 1957 (relating to engaging in monetary transactions in property
           13
                  derived from specified unlawful activity), … section 1960 (relating to illegal money
           14
                  transmitters), … sections 2314 and 2315 (relating to interstate transportation of stolen property).”
           15
                          271.      During the Relevant Period, the Defendants, and each of them, solely or together
           16
                  with other individuals, being persons employed by and associated with Enterprise they engaged in,
           17
                  and the activities of which affected interstate and foreign commerce, knowingly and intentionally,
           18
                  conspired to conduct and participate, directly and indirectly, and actually participated in conduct
           19
                  of the Enterprise’s affairs through a pattern of racketeering activity, as that terms is defined in 18
           20
                  U.S.C. § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.
           21
                  § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960(a) and 18 U.S.C. § 2314.
           22
                          272.      It was a part of the conspiracy that each Defendant agreed that a conspirator would
           23
                  commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.
           24
                          273.      The purposes of the alleged racketeering conspiracy of the Defendants, and each of
           25
                  them, included the following, among others: (1) maximizing profits and minimizing trading
           26
                  losses for the Defendants, and each of them, and their co-conspirators, through unlawful trading
           27
                  practices, including market manipulation; (2) concealing trading gains obtained through unlawful
           28
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             1
                  practices from regulatory and tax authorities, including, without limitation, by means of money
             2
                  laundering; (3) generating illicit income from unlicensed money transmissions; (4) promoting and
             3
                  enhancing the racketeering conspiracy and the activities of the Defendants, and each of them, and
             4
                  their co-conspirators; (5) concealing the unlawful activities of the Defendants, and each of them,
             5
                  and their co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and (6)
             6
                  laundering the bitcoin denominated proceeds of the market manipulation on the BitMEX platform
             7
                  by first converting them into fiat currencies such as United States dollars using Defendant
             8
                  Unknown Exchange and then reinvesting the converted fiat currency proceeds into real estate
             9
                  properties in Wisconsin and Massachusetts using nominee entities Grape Park and Mark Sweep
           10
                  (collectively “Purposes”).
           11
           12               OVERT ACTS IN FURTHERANCE OF RAKETEERING CONSPIRACY
                          274.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-273 above as if fully
           13
                  set forth herein.
           14
                          275.      In furtherance of the racketeering conspiracy, and to achieve its purposes, the
           15
                  Defendants committed and caused to be committed the following acts, among others, alleged in
           16
                  this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           17
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           18
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           19
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           20
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
           21
                  4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           22
                  some trading orders and reject others during large market moves to exacerbate price fluctuations
           23
                  and cause the most liquidations; 5) regularly manipulating price of cryptocurrencies including,
           24
                  without limitation, bitcoin, by executing large market orders from helper accounts on illiquid spot
           25
                  exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive liquidations of traders’
           26
                  derivatives positions on BitMEX and capture resulting market manipulation profits using winner
           27
                  accounts on that exchange; 6) knowingly, willfully and deliberately effectively transmitting
           28
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             1
                  market manipulation winnings from the helper accounts to the winner accounts in violation of 18
             2
                  U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314; and 7)
             3
                  knowingly, willfully and deliberately transmitting a portion of the money from the winner
             4
                  accounts back to the helper accounts in order to replenish them before next manipulation in
             5
                  violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. §
             6
                  2314. For example, Ex. 3, p. 4 describes how a helper account on BitStamp was used on May 17,
             7
                  2019 to effectively transmit 80 times of the amount money spent from that helper account to a
             8
                  winner account on BitMEX. See also Ex. 2, pp. 2-3 describing a similar scheme that used helper
             9
                  accounts on BitStamp to artificially induce massive liquidations of traders, like Plaintiffs, on
           10
                  BitMEX on July 14, 2019, resulting in effective transmission of manipulation winnings from
           11
                  helper accounts on BitStamp to winner accounts on BitMEX. Plaintiffs are informed and believe
           12
                  and thereon allege that Defendants use this unlawful scheme on a regular basis using helper
           13
                  accounts operated on United States based cryptocurrency exchanges BitStamp, Kraken and
           14
                  Coinbase Pro. Additionally, the aforesaid illegal acts of effectively transmitting market
           15
                  manipulation winnings from helper accounts to winner accounts were all perpetrated by
           16
                  Defendants through the same commercial website BitMEX.com, which is accessible and is
           17
                  extensively used, via widely available and inexpensive VPN software, by users located in the
           18
                  United States and this District. Therefore, these illegal acts for which Plaintiffs seek redress in
           19
                  this Complaint were directly related to Defendants’ connections to the United States and this
           20
                  District through their commercial website BitMEX.com. Moreover, BitMEX platform is
           21
                  operated from this District, which also houses the three site reliability engineers of BitMEX who
           22
                  personally caused the BitMEX servers to freeze during Manipulation Times, alleged in Paragraph
           23
                  372 below.
           24
                         276.       In addition, in furtherance of the racketeering conspiracy, and to achieve its
           25
                  purposes, the Defendants committed and caused to be committed, in this District and elsewhere,
           26
                  the acts, among others, as alleged in this Complaint.
           27
                         277.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan were injured in their
           28
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             1
                  property by one or more of the foregoing and other overt acts in furtherance of the alleged
             2
                  racketeering conspiracy. For example, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
             3
                  were financially injured when Defendants effectively transmitted funds, which was perpetrated
             4
                  willfully and deliberately by Defendants through their commercial website BitMEX.com, and
             5
                  with full knowledge of the nature and purpose of the funds involved in the transfer, in violation of
             6
                  18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314 between
             7
                  helper and winner accounts by way of using the helper accounts to perpetrate manipulation by
             8
                  pumping or dumping the cryptocurrency market, thereby causing a liquidation cascade affecting
             9
                  Plaintiffs’ accounts, and using the winner accounts to capture the financial benefits of the
           10
                  aforesaid manipulation. As the result of the actions of the Defendants alleged in this Paragraph,
           11
                  the positions of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan were liquidated.
           12
                          278.      Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
           13
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           14
                  alleged in Paragraph 108, and almost all vital external service providers to BitMEX, as alleged in
           15
                  Paragraph 90, are located in this District, and because Defendant ABS, which formally employs
           16
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           17
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           18
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           19
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           20
                  and operated by United States based Amazon EKS with offices in this District.
           21
                          279.      Moreover, the aforesaid illegal acts of effectively transmitting market
           22
                  manipulation winnings from helper accounts to winner accounts, which resulted in the injury to
           23
                  Plaintiffs, were all perpetrated by Defendants through the same commercial website
           24
                  BitMEX.com, which is accessible and is extensively used, via widely available and inexpensive
           25
                  VPN software, by users located in the United States and this District. Therefore, Defendants’
           26
                  illegal acts resulting in injuries to Plaintiffs, for which Plaintiffs seek redress in this Complaint,
           27
                  were directly related to Defendants’ connections to the United States and this District through
           28
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             1
                  their commercial website BitMEX.com.
             2
                      DEFENDANTS OPERATED AND CONTINUE TO OPERATE AN UNLICENSED
             3         MONEY TRANSMITTING BUSINESS IN VIOLATION OF 18 U.S.C. § 1960(a)
             4            280.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-279 above as if fully
             5    set forth herein.
             6            281.      Bitcoins and other cryptocurrencies are funds. United States v. Murgio, No. 15-cr-
             7    769, 2016 WL 5107128, at *4 (S.D.N.Y. Sep. 19, 2016); United States v. Budovsky, No. 15-cr-
             8    368, 2015 WL 5602853 (S.D.N.Y. Sep. 23, 2015); United States v. Faiella, 39 F. Supp. 3d 544
             9    (S.D.N.Y. 2014). Therefore, bitcoins are subject to all laws and regulations applicable to fiat
           10     currency monetary transactions.
           11             282.      Plaintiffs are informed and believe and thereon allege that during the Relevant
           12     Period, Defendants, and each of them, engaged in conducting, controlling, managing, supervising,
           13     directing, or owning all or part of an unlicensed money transmitting business in violation of 18
           14     U.S.C. § 1960(a).
           15             283.      To use Defendant HDR’s unlicensed money transmitting services, one creates an
           16     account by accessing the Defendant HDR’s website BitMEX.com. A user does not need to
           17     provide even the most basic identifying information such as date of birth, address, or other
           18     identifiers. All that Defendant HDR requires is a name, password, and an email address.
           19             284.      Unlike legitimate payment processors or digital currency exchangers, Defendant
           20     HDR does not require its users to validate their identity information by providing official
           21     identification documents, given that Defendant HDR does not require an identity at all to open an
           22     account and start trading with up to 100x leverage. For comparison, a legitimate U.S.
           23     cryptocurrency exchange Kraken requires email address, full name, date of birth, phone number,
           24     and physical address to open the most basic level account.
           25
           26
           27
           28
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             1

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             3
             4
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             6
             7
             8
             9
           10               285.       Thus, a user can create and fund an HDR account with nothing more than an email

           11     address, which often has no relationship to the identity of the actual user. Accounts are therefore

           12     easily opened anonymously, including by customers in the United States within the Northern

           13     District of California. Using such anonymous account, the user is able to make unlimited

           14     deposits, unlimited trades with up to 100x leverage, as well as unlimited withdrawals. Instead of

           15     performing a proper document check before allowing users to open an account on BitMEX,

           16     Defendants deliberately and knowingly use utterly ineffective IP address check, which they all

           17     well know is uniformly subverted by very simple, inexpensive and widely available software

           18     tools.

           19               286.       Moreover, high leverage provided by Defendant HDR to all users enables

           20     Defendants and all BitMEX users to launder unlimited funds from one account to another using

           21     market manipulation as alleged hereinabove. For example, one helper account may dump a large

           22     amount of cryptocurrency on the market using margin, triggering a liquidation cascade and

           23     booking a loss, when a separate, second winner account may buy the cryptocurrency at an

           24     artificial below market price caused by the liquation cascade. This way, unlimited amount of

           25     funds may be laundered from the first helper account to the second winner account virtually

           26     anonymously in violation of 18 U.S.C. § 1956(a), which is a RICO predicate offense. Plaintiffs

           27     are informed and believe and thereon allege that Defendants themselves launder funds and enable

           28     BitMEX uses to launder funds in the alleged manner by providing high levels of leverage up to
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             1
                  100x and deliberately failing to conduct KYC upon account creation. In addition, the knowing,
             2
                  willful and deliberate effective transmissions of the winnings from market manipulation from the
             3
                  first helper account to the second winner account perpetrated by Defendants on behalf of
             4
                  themselves and/or on behalf of other BitMEX users as described herein, with full knowledge of
             5
                  the nature and purpose of the funds involved in the transfer, constitutes unlicensed money
             6
                  transmitting in violation of 18 U.S.C. § 1960(a), which is also a RICO predicate offense. Finally,
             7
                  the willful and deliberate money transmission from the winner account back to the helper account
             8
                  in order to replenish it before next manipulation cycle, with full knowledge of the nature and
             9
                  purpose of the funds involved in the transfer, also constitutes unlicensed money transmitting in
           10
                  violation of 18 U.S.C. § 1960(a), which is also a RICO predicate offense. The same money
           11
                  transmission further constitutes a monetary transaction in property derived from specified
           12
                  unlawful activity in violation of 18 U.S.C. § 1957(a), interstate transportation of stolen property
           13
                  in violation of 18 U.S.C. § 2314 and money laundering in violation of 18 U.S.C. § 1956(a), which
           14
                  are also RICO predicate offenses. For example, Ex. 3, p. 4 describes how a helper account on
           15
                  BitStamp was used on May 17, 2020 to effectively transmit 80 times of the amount money spent
           16
                  from that helper account to a winner account on BitMEX. See also Ex. 7, illustrating a similar
           17
                  scheme, in which a perpetrator sold $44,000,000 over 22 separate $2,000,0000 orders of
           18
                  XBTUSD Perpetual Swaps on BitMEX on July 27, 2020 to get into a position and then used
           19
                  market orders amounting to some 1000 bitcoins on Coinbase Pro exchange to artificially move
           20
                  the .BXBT index price in a favorable direction in order to close his large BitMEX position at a
           21
                  significant profit. See also Ex. 2, pp. 2-3 describing a similar scheme that used helper accounts
           22
                  on BitStamp to artificially induce massive liquidations of traders, like Plaintiffs, on BitMEX on
           23
                  July 14, 2019, resulting in effective transmission of manipulation winnings from helper accounts
           24
                  on BitStamp to winner accounts on BitMEX. Plaintiffs are informed and believe and thereon
           25
                  allege that Defendants use this unlawful scheme on a regular basis utilizing helper accounts on
           26
                  United States based exchanges BitStamp, Kraken and Coinbase Pro and winner accounts on
           27
           28
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             1
                  BitMEX.12
             2
                         287.       At all times relevant to this complaint Defendant HDR had no anti-money
             3
                  laundering (“AML”) and/or "Know-Your-Customer” (“KYC”) processes and policies in place or
             4
                  the existing policies lacked any meaningful enforcement, as evidenced, for example, by apparent
             5
                  accepting the United States - based companies, including CMT Capital Markets Trading,
             6
                  Eastmore Group / Eastmore Management, LLC, Clerkenwell Asset Management LLC, Adaptive
             7
                  Fund I, LP and Galois Capital, Swing Trade Pros, FalconX, Cumberland DRW, Circle Partners,
             8
                  Fund3 Capital LP/Fund3 LLC, South Lake Computers, ARK Investment Management LLC,
             9
                  Coincident Capital and Leotank Capital as clients, despite claiming that BitMEX is closed to
           10
                  United States persons. As alleged hereinabove, Defendant HDR collected and continues to
           11
                  collect virtually no customer data at all. Nor did Defendant HDR ever register with FinCEN or
           12
                  perform the required AML and KYC functions.
           13
                         288.       A user can fund a Defendant HDR account in numerous different ways. One way
           14
                  involves funding a Defendant HDR account with a user's existing digital currency. A user with
           15
                  existing digital currency, such as bitcoin, could fund an HDR account directly via bitcoin
           16
                  deposits. Defendant HDR users could also use market manipulation to launder funds from one
           17
                  account to another. Plaintiffs are informed and believe and thereon allege that this served as
           18
                  another conduit for money laundering as it allowed Defendant HDR’s customers and Defendants
           19
                  themselves to withdraw funds from their HDR account and transfer them to other HDR users
           20
                  anonymously.
           21
                         289.       18 U.S.C. § 1960(a) provides: “(a) Whoever knowingly conducts, controls,
           22
                  manages, supervises, directs, or owns all or part of an unlicensed money transmitting business,
           23
                  shall be fined in accordance with this title or imprisoned not more than 5 years, or both.”
           24
                         290.        Pursuant to 18 U.S.C. § 1960(b)(1), “the term “unlicensed money transmitting
           25
                  business” means a money transmitting business which affects interstate or foreign commerce in
           26
                  12
           27       The funds are being transmitted from one exchange to another by way of arbitrage algorithms
                  that buy cryptocurrency on one platform and simultaneously sell on the other, as alleged in
           28     Paragraph 158.
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             1
                  any manner or degree” and (A) is operated without an appropriate money transmitting license in a
             2
                  State where such operation is punishable as a misdemeanor or a felony under State law, whether
             3
                  or not the defendant knew that the operation was required to be licensed or that the operation was
             4
                  so punishable; (B) fails to comply with the money transmitting business registration requirements
             5
                  under section 5330 of title 31, United States Code, or regulations prescribed under such section;
             6
                  or (C) otherwise involves the transportation or transmission of funds that are known to the
             7
                  defendant to have been derived from a criminal offense or are intended to be used to promote or
             8
                  support unlawful activity.
             9
                          291.       18 U.S.C. § 1960(a) makes it a crime to operate an unlicensed money transmitting
           10
                  business. The term money transmitting includes "transferring funds on behalf of the public by any
           11
                  and all means including but not limited to transfers within this country or to locations abroad by
           12
                  wire, check, draft, facsimile, or courier." This statute makes it a violation to conduct a "money
           13
                  transmitting business" if the business is not registered as a money transmitting business with the
           14
                  U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
           15
                  regulations pursuant to that statute. Moreover, FinCEN Ruling, FIN-2014-R002, at p. 4 provides:
           16
                          292.       In addition, should the Company begin to engage as a business in the exchange of
           17
                  virtual currency against currency of legal tender (or even against other convertible virtual
           18
                  currency), the Company would become a money transmitter under FinCEN's regulations. Under
           19
                  such circumstances, the Company would have to register with FinCEN, implement an effective,
           20
                  risk-based anti-money laundering program, and comply with the recordkeeping, reporting, and
           21
                  transaction monitoring requirements applicable to money transmitters.
           22
                          293.       FinCEN Ruling, FIN-2014-R002, at p. 4. United States Federal District Court
           23
                  decision in U.S. v. Stetkiw, No. 18-20579 (E.D. Mich. Feb. 1, 2019) relied on this Ruling as a
           24
                  basis for denying defendant’s motion to dismiss and holding that defendant’s alleged conduct of
           25
                  converting fiat money into virtual currency constituted money transmitting under 18 U.S.C.
           26
                  § 1960. Thus, Defendant HDR is money transmitter under FinCEN's regulations and California
           27
                  law.
           28
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             1
                         294.       The regulations specifically apply to foreign-based money transmitting businesses
             2
                  doing substantial business in the United States. “Several sources close to the company” have
             3
                  disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading volume—or
             4
                  about $138 billion worth—is attributable to traders located in the United States. In addition, San
             5
                  Francisco based Galois Capital also acts as liquidity provider on BitMEX generating millions of
             6
                  dollars of business for Defendants. Moreover California-based Coincident Capital actively trades
             7
                  on BitMEX generating over $50,000,000 in trading profits. Therefore, Defendants HDR and
             8
                  ABS are subject to the aforesaid federal and state money transmitter regulations due to its very
             9
                  substantial business in the United States. See 31 C.F.R. §§ 1010.100(ff)(5), 1022380(a)(2).
           10
                         295.       Defendants HDR and ABS fall under the statutory definition of the “unlicensed
           11
                  money transmitting business” under all of 18 U.S.C. § 1960(b)(1)(A), (B) and (C). Defendants’
           12
                  unlicensed money transmitting operation clearly affects interstate and foreign commerce, based at
           13
                  least on the high amounts (tens and even hundreds of millions of United States dollars) of funds
           14
                  involved in the money transmissions by Defendants.
           15
                         296.       With respect to 18 U.S.C. § 1960(b)(1)(A), Defendants HDR and ABS operate
           16
                  without an appropriate money transmitting license issued by the State of California and by any
           17
                  other State of the United States. Cal. Fin. Code § 2003(q)(3) defines “money transmission” as
           18
                  “receiving money for transmission.” Defendants HDR and ABS clearly meet this definition.
           19
                  Defendants HDR and ABS receive funds in a form of a cryptocurrency from its customers and
           20
                  then transmit cryptocurrency to a wallet address. Cal. Fin. Code § 2030(a) requires persons
           21
                  engaged in money transmission to be licensed. Finally, Cal. Fin. Code § 2152(b) provides that a
           22
                  “person that knowingly engages in an activity for which a license is required under this division
           23
                  without being licensed or exempt from licensure under this division is guilty of a felony.” Thus,
           24
                  Defendants HDR and ABS meet the definition set out in 18 U.S.C. § 1960(b)(1)(A).
           25
                         297.       With respect to 18 U.S.C. § 1960(b)(1)(B), Defendants HDR and ABS failed to
           26
                  register with the U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C.
           27
                  § 5330 and federal regulations pursuant to that statute.
           28
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             1
                            298.      With respect to 18 U.S.C. § 1960(b)(1)(C), Defendants HDR and ABS facilitated
             2
                  and continues to facilitate the transfer of funds involved in cryptocurrency market manipulation
             3
                  and money laundering, including, without limitation, transfer of winnings from market
             4
                  manipulation from the helper accounts into the winner accounts as alleged herein above. By way
             5
                  of example and not by way of limitation, Defendants, and each of them, during the Relevant
             6
                  Period, transferred proceeds from illegal price manipulation from BitMEX to other
             7
                  cryptocurrency exchanges, including, without limitation, Coinbase Pro, Kraken and BitStamp in
             8
                  order to replenish helper accounts on those exchanges. Such transfers were performed by
             9
                  Defendants, and each of them on a daily basis, including during each of the specific Manipulation
           10
                  Times alleged in Paragraph 372 below, during the Relevant Period. Those proceeds were used by
           11
                  Defendants, and each of them, as well as third party perpetrators to perpetrate further market
           12
                  manipulations as alleged hereinabove. In addition, Defendants transmitted funds between
           13
                  different exchange accounts, including, without limitation, helper accounts and winner accounts,
           14
                  by way of market manipulation as alleged hereinabove.
           15
                            299.      Thus, Defendants HDR and ABS are clearly “unlicensed money transmitting
           16
                  business[es]” under 18 U.S.C. § 1960(b)(1) and, therefore, Defendants, and each of them, while
           17
                  being employed in or associated with the continuing Enterprise as alleged above, knowingly
           18
                  conducted, controlled, managed, supervised, directed, and owned all and part of an unlicensed
           19
                  money transmitting business affecting interstate and foreign commerce in violation of 18 U.S.C.
           20
                  § 1960(a), which constitute the predicate acts of the Defendants, and each of them, racketeering
           21
                  activity under RICO.
           22
                            300.      Defendants have been recently caught red-handed doing at least $70,000,000 of
           23
                  business in New York and California without obtaining a money transmitting license.
           24
                  Specifically, as alleged in Paragraphs 115 and 116 and shown in Ex. 8, California and United
           25
                  States residents generated almost $70,000,000 in trading profits on the BitMEX platform, which
           26
                  clearly exceeds any threshold13 for Defendant HDR having been required to obtain a money
           27
           28     13
                       In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
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             1
                  transmitter license in the United States and comply with the FinCEN regulations pursuant to 18
             2
                  U.S.C. § 1960(a), which it knowingly and deliberately failed to do. This conclusively establishes
             3
                  the violation of 18 U.S.C. § 1960(a) by Defendants. Had Defendants obtained the money
             4
                  transmitter license from California, registered with FinCEN and complied with FinCEN
             5
                  regulations, as they were required by 18 U.S.C. § 1960(a) and Cal. Fin. Code § 2030(a), they
             6
                  would have been forced to institute the mandatory KYC and AML policies on the BitMEX
             7
                  platform for all traders, as they did on August 14, 2020, and file suspicious activity reports with
             8
                  FinCEN, which would have clearly prevented the rampant market manipulation, money
             9
                  laundering and other nefarious acts, which factually and proximately resulted in Plaintiffs’
           10
                  financial injuries as specifically alleged in this Complaint, from taking place on the BitMEX
           11
                  platform (as alleged in this Complaint, Plaintiffs were damaged by acts of money laundering
           12
                  involving effectively transmitting manipulation winnings from helper accounts on spot exchanges
           13
                  and winner accounts on BitMEX, which was made possible due to the fact that BitMEX accounts
           14
                  were anonymous, in violation of FinCEN regulations, see Paragraphs 6-10 above. If Defendants
           15
                  complied with FinCEN regulations, as required by 18 U.S.C. § 1960(a), this type of money
           16
                  laundering activity would not have been possible on BitMEX due to the fact that winner accounts
           17
                  would be traceable to the helper accounts, and therefore, injuries to Plaintiffs would not have
           18
                  occurred). Therefore, Plaintiffs’ injuries alleged in this Complaint were directly and proximately
           19
                  caused by Defendants operating the unlicensed money transmitting business and failing to
           20
                  comply with FinCEN regulations in violation of 18 U.S.C. § 1960(a) and Cal. Fin. Code §
           21
                  2030(a), which made BitMEX a hotbed for market manipulation and money laundering.
           22
                         301.       It should be noted that the sheer magnitude of Defendants’ unlicensed money
           23
                  transmitting operation is truly staggering. According to Defendants’ own data, Defendant HDR
           24
                  turnover averages over $3 billion per day. Thus, Defendants illegally transmitted over $3 billion
           25
           26
                  U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27     Klein, 6:17-cr-03056 (W.D. Mo. 2017), the threshold for triggering 18 U.S.C. § 1960(a) liability
                  was less than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants
           28     exceeded the legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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             1
                  per day without the required state money transmitter license and the required registration with
             2
                  FinCEN in violation of 18 U.S.C. § 1960(a).
             3
                          302.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
             4
                  them, charged their customers substantial fees for the unlicensed money transmissions generating
             5
                  substantial illegal income for Defendants.
             6
                          303.      Plaintiffs are informed and believe and thereon allege that predicate acts alleged
             7
                  herein, namely operation of an unlicensed money transmitting business in violation of 18 U.S.C.
             8
                  § 1960(a), are related by having the same or similar purposes of manipulating cryptocurrency
             9
                  markets, generating illicit income and concealing illegal activities from authorities, results,
           10
                  Defendants – participants, victims, methods of commission or are otherwise interrelated by
           11
                  distinguishing characteristics.
           12
                          304.      Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           13
                  herein, namely operation of an unlicensed money transmitting business in violation of 18 U.S.C.
           14
                  § 1960(a), are continuous as they constitute an open-ended scheme, which poses a threat of
           15
                  continuity through the long duration of the alleged misconduct, namely over two years, and the
           16
                  threat of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants
           17
                  is still ongoing.
           18
                          305.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           19
                  them, used at least a portion of the income derived from their unlicensed money transmitting
           20
                  operations in violation of 18 U.S.C. § 1960(a) to manipulate spot and derivative markets of
           21
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           22
                  monetary cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
           23
                  as alleged hereinbelow.
           24
                          306.      Plaintiffs are informed and believe and thereon allege that Defendants’, and each
           25
                  of them, alleged price manipulation schemes, including, without limitation, pumps and dumps,
           26
                  Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of them, to
           27
                  transmit money in violation of 18 U.S.C. § 1960(a) directly and proximately resulted in
           28
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             1
                  substantial monetary cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov
             2
                  and Razvan as alleged herein.
             3
                     DEFENDANTS CONSPIRED TO LAUNDER, LAUNDERED AND CONTINUE TO
             4               LAUNDER FUNDS IN VIOLATION OF 18 U.S.C. § 1956
             5            307.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-306 above as if fully
             6    set forth herein.
             7            308.      18 U.S.C. § 1956 provides that “whoever, knowing that the property involved in a
             8    financial transaction represents the proceeds of some form of unlawful activity, conducts or
             9    attempts to conduct such a financial transaction which in fact involves the proceeds of specified
           10     unlawful activity (A)(i) with the intent to promote the carrying on of specified unlawful activity;
           11     or (ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the
           12     Internal Revenue Code of 1986; or (B) knowing that the transaction is designed in whole or in
           13     part (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of
           14     the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement
           15     under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the
           16     value of the property involved in the transaction, whichever is greater, or imprisonment for not
           17     more than twenty years, or both.”
           18             309.      Plaintiffs are informed and believe and thereon allege that, during the Relevant
           19     Period, Defendants, and each of them, willfully and knowingly did combine, conspire,
           20     confederate, and agree together and with each other to knowingly conduct and attempt to conduct
           21     financial transactions affecting interstate commerce and foreign commerce, which transactions
           22     involved the proceeds of specified unlawful activity, that in, operation of an unlicensed money
           23     transmitting business in violation of 18 U.S.C. § 1960(a), as alleged hereinabove, as well as
           24     proceeds of money laundering and unlawful cryptocurrency market manipulation, as alleged
           25     hereinbelow.
           26             310.      Defendants, and each of them, willfully and knowingly did conduct and continue
           27     to conduct financial transactions affecting interstate commerce and foreign commerce, which
           28
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             1
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
             2
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a) as well as proceeds of
             3
                  unlawful cryptocurrency market manipulation.
             4
                         311.       For example, Defendants, and each of them, transferred, on multiple occasions,
             5
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
             6
                  as proceeds from illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX to
             7
                  other cryptocurrency exchanges, including, without limitation, Coinbase Pro, BitStamp and
             8
                  Kraken, with intent to employ those transferred proceeds in further unlawful activity or to launder
             9
                  those proceeds by converting them into fiat currencies or through real estate investment schemes.
           10
                  Those proceeds were in fact subsequently used by Defendants, and each of them, as well as third
           11
                  party perpetrators to perpetrate further market manipulation in violation of applicable laws.
           12
                  Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
           13
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
           14
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
           15
                  persons.
           16
                         312.       As a further example, the effective transmissions of the winnings from market
           17
                  manipulation from the first helper account on BitStamp, Kraken or Coinbase Pro to the second
           18
                  winner account on BitMEX perpetrated by Defendants as described herein constitutes money
           19
                  laundering in violation of 18 U.S.C. § 1956(a).
           20
                         313.       As yet further example, a substantial portion of the bitcoin-denominated proceeds
           21
                  of market manipulation, money laundering, operating of unlicensed money transmitting business
           22
                  and multitude of various other nefarious acts taking place on the BitMEX platform as alleged in
           23
                  this Complaint, were subsequently converted, by all Defendants, through the Defendant Unknown
           24
                  Exchange, into various fiat currencies, including United States dollars and Hong Kong dollars.
           25
                  All Defendants knew that these financial transactions were designed in whole or in part to conceal
           26
                  or disguise the nature, the location, the source, the ownership, or the control of the proceeds of the
           27
                  specified unlawful activity, namely cryptocurrency market manipulation, money laundering,
           28
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             1
                  operating unlicensed money transmitting business and multitude of various other nefarious acts
             2
                  taking place on the BitMEX platform as alleged in this Complaint.
             3
                         314.        As yet further example, a substantial portion of the bitcoin-denominated proceeds
             4
                  of market manipulation, money laundering and multitude of various other nefarious acts taking
             5
                  place on the BitMEX platform were subsequently converted, by Defendants Reed, Agata Reed,
             6
                  Barbara Reed and Trace Reed, into multiple real estate investments that they set up in Wisconsin
             7
                  and Massachusetts. For this purpose, the aforesaid Defendants employed fraudulent nominee
             8
                  shell companies Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true
             9
                  illegal nature of the funds used to acquire the corresponding real estate properties and the
           10
                  acquired real estate’s true ownership or control. All Defendants knew that the aforesaid financial
           11
                  transactions were designed in whole or in part to conceal or disguise the nature, the location, the
           12
                  source, the ownership, or the control of the proceeds of the specified unlawful activity, namely
           13
                  cryptocurrency market manipulation, money laundering, operating unlicensed money transmitting
           14
                  business and multitude of various other nefarious acts taking place on the BitMEX platform as
           15
                  alleged in this Complaint. All Defendants also knew the tainted nature of the funds in the
           16
                  Defendants’ general account (bitcoin wallet), from which the multiple real estate purchases
           17
                  alleged in this Complaint were ultimately funded.
           18
                         315.       Therefore, Defendants, and each of them, while being employed in or associated
           19
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           20
                  § 1956, which further constitute the predicate acts of the Defendants’, and each of them,
           21
                  racketeering activity.
           22
                         316.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           23
                  herein, namely money laundering in violation of 18 U.S.C. § 1956, are related by having the same
           24
                  or similar purposes of manipulating cryptocurrency markets, generating illicit income, and
           25
                  concealing illegal activities from authorities, results, Defendants – participants, victims, methods
           26
                  of commission or are otherwise interrelated by distinguishing characteristics.
           27
                         317.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           28
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             1
                  herein, namely money laundering in violation of 18 U.S.C. § 1956, are continuous as they
             2
                  constitute an open-ended scheme, which poses a threat of continuity through the long duration of
             3
                  the alleged misconduct, namely two years, and the threat of continuing criminal conduct, as the
             4
                  alleged criminal conduct perpetrated by Defendants is still ongoing.
             5
                          318.      Plaintiffs are informed and believe and thereon allege that Defendants’, and each
             6
                  of them, alleged price manipulation schemes, including, without limitation, pumps and dumps,
             7
                  Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of them, to
             8
                  launder funds between different exchange accounts controlled by Defendants or third persons in
             9
                  violation of 18 U.S.C. § 1956, directly and proximately resulted in substantial monetary
           10
                  cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as
           11
                  alleged hereinbelow.
           12
                          319.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           13
                  them, used at least a portion of the proceeds derived from their money laundering operation in
           14
                  violation of 18 U.S.C. § 1956 to manipulate spot and derivative markets of cryptocurrencies, as
           15
                  alleged herein, which directly and proximately resulted in the substantial monetary
           16
                  cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as
           17
                  alleged herein.
           18
                                 DEFENDANTS ENGAGED IN MONETARY TRANSACTIONS IN
           19                       PROPERTY DERIVED FROM SPECIFIED UNLAWFUL
           20                          ACTIVITY IN VIOLATION OF 18 U.S.C. § 1957
                          320.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-319 above as if fully
           21
                  set forth herein.
           22
                          321.      18 U.S.C. § 1957 provides that “(a) Whoever, in any of the circumstances set forth
           23
                  in subsection (d), knowingly engages or attempts to engage in a monetary transaction in
           24
                  criminally derived property of a value greater than $10,000 and is derived from specified
           25
                  unlawful activity, shall be punished as provided in subsection (b).”
           26
                          322.      Pursuant to 18 USC § 1957(f)(3), the terms “specified unlawful activity” and
           27
                  “proceeds” shall have the meaning given those terms in 18 U.S.C. § 1956.
           28
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             1
                         323.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
             2
                  Period, Defendants, and each of them, willfully and knowingly attempted to engage and engaged
             3
                  in monetary transactions affecting interstate commerce and foreign commerce, which transactions
             4
                  involved the proceeds of specified unlawful activity, that in, operation of an unlicensed money
             5
                  transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in violation of 18
             6
                  U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of unlawful
             7
                  cryptocurrency market manipulation, as alleged hereinbelow.
             8
                         324.       Defendants, and each of them, willfully and knowingly did conduct and continue
             9
                  to conduct financial transactions affecting interstate commerce and foreign commerce, which
           10
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
           11
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           12
                  violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           13
                  unlawful cryptocurrency market manipulation, as alleged herein.
           14
                         325.       For example, Defendants, and each of them, transferred, on a regular basis,
           15
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           16
                  as illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX cryptocurrency
           17
                  exchange to other cryptocurrency exchanges, including, without limitation, Coinbase Pro,
           18
                  BitStamp and Kraken, with intent to employ those transferred proceeds in further unlawful
           19
                  activity. Those proceeds were in fact subsequently used by Defendants, and each of them, as well
           20
                  as third party perpetrators, to perpetrate further market manipulation in violation of applicable
           21
                  laws. Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
           22
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
           23
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
           24
                  persons.
           25
                         326.       As a further example, the effective transmissions of the winnings from market
           26
                  manipulation from the first helper account to the second winner account perpetrated by
           27
                  Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
           28
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             1
                  with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
             2
                  violation of 18 U.S.C. § 1957. The Defendants were fully aware of the nature of the transferred
             3
                  funds and that such funds were the proceeds of specified unlawful activity within the meaning of
             4
                  18 U.S.C. § 1956.
             5
                         327.       As yet further example, Defendants, and each of them, knowingly converted
             6
                  through multiple monetary transactions, in interstate or foreign commerce, during the Relevant
             7
                  Period, on a daily basis, including during each of the specific Manipulation Times alleged in
             8
                  Paragraph 372 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts price
             9
                  manipulation, money laundering, operating unlicensed money transmitting business and other
           10
                  nefarious acts alleged in this Complaint, that took place on the BitMEX platform, into various fiat
           11
                  currencies.
           12
                         328.       Moreover, Defendants, and each of them, knowingly converted through multiple
           13
                  monetary transactions, in interstate or foreign commerce, during the Relevant Period, on or about
           14
                  July 8, 2019 and August 19, 2019, at least $2,325,000 of the fiat currency converted proceeds of
           15
                  the alleged illegal bitcoin Perpetual Swap contracts price manipulation, money laundering,
           16
                  operating unlicensed money transmitting business and other nefarious acts alleged in this
           17
                  Complaint into real estate investments in the United States, including, without limitations
           18
                  properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, Ex. 12, 13. The
           19
                  specific purpose of the financial transactions alleged herein was to launder those funds through a
           20
                  real estate investment scheme and conceal their true illegal origin as well as ownership and
           21
                  control.
           22
                         329.        Therefore, Defendants, and each of them, while being employed in or associated
           23
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           24
                  § 1957, which further constitute the predicate acts of the Defendants’, and each of them,
           25
                  racketeering activity.
           26
                         330.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           27
                  herein, namely engaging in monetary transactions in property derived from specified unlawful
           28
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             1
                  activity in violation of 18 U.S.C. § 1957, are related by having the same or similar purposes of
             2
                  manipulating cryptocurrency markets, generating illicit income, and concealing illegal activities
             3
                  from authorities, results, Defendants – participants, victims, methods of commission or are
             4
                  otherwise interrelated by distinguishing characteristics.
             5
                          331.      Plaintiffs are informed and believe and thereon allege that predicate acts alleged
             6
                  herein, namely engaging in monetary transactions in property derived from specified unlawful
             7
                  activity in violation of 18 U.S.C. § 1957, are continuous as they constitute an open-ended scheme,
             8
                  which poses a threat of continuity through the long duration of the alleged misconduct, namely
             9
                  two years, and the threat of continuing criminal conduct, as the alleged criminal conduct
           10
                  perpetrated by Defendants, and each of them, is still ongoing.
           11
                          332.      Plaintiffs are informed and believe and thereon allege that Defendants’, and each
           12
                  of them, alleged price manipulation schemes, including, without limitation, pumps and dumps,
           13
                  Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of them, to
           14
                  transfer funds derived from specified unlawful activity between different exchange accounts
           15
                  controlled by Defendants or third persons in violation of 18 U.S.C. § 1957, directly and
           16
                  proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiffs BMA,
           17
                  Kolchin, Dubinin, Dolgov and Razvan as alleged hereinbelow.
           18
                          333.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           19
                  them, used at least a portion of the proceeds from their transactions in property derived from
           20
                  specified unlawful activity in violation of 18 U.S.C. § 1957 to manipulate spot and derivative
           21
                  markets of cryptocurrencies, as alleged herein, which directly and proximately resulted in the
           22
                  substantial monetary cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov
           23
                  and Razvan as alleged herein.
           24
                                                 DEFENDANTS ENGAGED IN WIRE FRAUD
           25                                       IN VIOLATION OF 18 U.S.C. § 1343
           26             334.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-333 above as if fully

           27     set forth herein.

           28             335.      18 U.S.C. § 1343 provides that “[w]hoever, having devised or intending to devise
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             1
                  any scheme or artifice to defraud, or for obtaining money or property by means of false or
             2
                  fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means
             3
                  of wire, radio, or television communication in interstate or foreign commerce, any writings, signs,
             4
                  signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined
             5
                  under this title or imprisoned not more than 20 years, or both...”
             6
                         336.       Plaintiffs are informed and believe and thereon allege that during the Relevant
             7
                  Period, Defendants, and each of them, devised a scheme or artifice to defraud, namely a
             8
                  manipulative, fraudulent and deceptive scheme to manipulate the prices of certain cryptocurrency
             9
                  derivatives, including, without limitation, bitcoin Perpetual Swap contracts, bitcoin swaps, as well
           10
                  as the cash prices of cryptocurrencies, including, without limitation, cash bitcoin and to obtain
           11
                  money of other traders by way of injecting false information into markets in order to induce other
           12
                  traders to open highly leveraged positions on BitMEX and then cause their artificial liquidation in
           13
                  violation of 7 U.S.C. §§ 9(1), (3) and 13(a)(2). This scheme was devised and intended to
           14
                  fraudulently benefit Defendants at the expense of retail traders by inducing artificial market price
           15
                  moves and using such price moves to force liquidations of traders’ positions on the BitMEX
           16
                  platform, while simultaneously deliberately freezing BitMEX’s platform to impede retail traders’
           17
                  efforts to salvage their funds. The funds forcibly confiscated from traders as the result of the
           18
                  liquidations were deposited into the Insurance Fund maintained by Defendants.
           19
                         337.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
           20
                  Period, Defendants, and each of them, used wire signals to transmit various electronic orders to
           21
                  multiple cryptocurrency exchanges for the specific purpose of misleading traders and investors as
           22
                  to the cryptocurrency market’s natural forces of supply and demand and for manipulating prices
           23
                  of spot cryptocurrencies and cryptocurrency derivatives. Those actions further constitute wire
           24
                  fraud in violation of 18 U.S.C. § 1343.
           25
                         338.       Plaintiffs are informed and believe and thereon allege that the alleged fraudulent
           26
                  electronic wire transmissions were performed by Defendants on a daily basis, including during
           27
                  each of the specific Manipulation Times alleged in Paragraph 372 below, during the Relevant
           28
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             1
                  Period and were carried out from Defendants’ offices located in San Francisco, California and
             2
                  Milwaukee, Wisconsin, and to respective computer servers of Amazon EKS as well as computer
             3
                  serves of multiple other United States based cryptocurrency exchanges that Defendants used to
             4
                  perpetrate their manipulative and fraudulent scheme alleged hereinabove. Plaintiffs are informed
             5
                  and believe and thereon allege that each of Defendants HDR, ABS, Hayes, Delo and Reed issued
             6
                  the alleged fraudulent electronic wire transmissions on a daily basis during the Relevant Period,
             7
                  including during each of the specific Manipulation Times alleged in Paragraph 372 below.
             8
                         339.       Plaintiffs are informed and believe and thereon allege that the alleged wire
             9
                  transmissions contained, without limitation, electronic orders designed to inject false and
           10
                  misleading information about genuine supply and demand for bitcoin or bitcoin derivatives into
           11
                  the markets and to deceive other participants in the market into believing something untrue,
           12
                  namely that the visible order book accurately reflected market-based forces of supply and
           13
                  demand. These alleged wire transmissions were an illegitimate part of the supply-demand
           14
                  equation, prevented true price discovery, and caused artificial pricing in the cryptocurrency
           15
                  market. The false and misleading information injected by Defendants into the markets was
           16
                  intended to trick other market participants into reacting to an apparent change and imbalance of
           17
                  supply and demand by buying and selling bitcoin Perpetual Swap or spot bitcoin at times, prices
           18
                  and quantities that they otherwise would likely not have traded. Moreover, the alleged wire
           19
                  transmissions further contained, without limitation, electronic orders designed to induce artificial
           20
                  price moves in the cryptocurrency markets in order to force liquidations of traders’ positions on
           21
                  the BitMEX exchange for the benefit of Defendants’ Insurance Fund. In addition, the electronic
           22
                  wire transmissions included Defendants’ electronic commands to deliberately freeze servers of
           23
                  the BitMEX platform and Defendants’ electronic commands to generate the fraudulent system
           24
                  overload messages alleged hereinabove. Finally, the electronic wire transmissions included
           25
                  Defendants’ fraudulent transmissions regarding the fake hardware failure in BitMEX’s servers as
           26
                  well as the fake distributed denial-of-service attack (DDoS attack), which took place on or about
           27
                  March 13, 2020.
           28
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             1
                         340.       Plaintiffs are informed and believe and thereon allege that pumps and dumps,
             2
                  Barts, liquidation cascades and spoofing alleged hereinabove are specific examples of the conduct
             3
                  that was specifically designed by Defendants, and each of them, to mislead Plaintiffs BMA,
             4
                  Kolchin, Dubinin, Dolgov and Razvan as well as other traders on the cryptocurrencies market.
             5
                         341.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other traders
             6
                  were in fact mislead by Defendants’, and each of them, manipulative and fraudulent acts intended
             7
                  to mislead and defraud, including, without limitation, by pumps and dumps, Barts and spoofing
             8
                  perpetrated by Defendants, and each of them, and placed orders that they would not have
             9
                  otherwise placed.
           10
                         342.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, at the time of the alleged
           11
                  manipulative and fraudulent acts intended to mislead and defraud, which were perpetrated by
           12
                  Defendants, and each of them, and at the time Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
           13
                  Razvan took the trades herein alleged, were ignorant of the manipulative and fraudulent nature of
           14
                  conduct of the Defendants, and each of them, and believed that the apparent market conditions
           15
                  were in fact dictated by market forces of supply and demand and not the result of false
           16
                  information being injected into the markets by Defendants.
           17
                         343.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, at the time the alleged
           18
                  manipulative and fraudulent acts intended to mislead and defraud were made by Defendants, and
           19
                  each of them, and at the time Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan took the
           20
                  actions herein alleged, were ignorant of secret intentions of Defendants, and each of them, to
           21
                  mislead and defraud Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan and other traders and
           22
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan could not, in the exercise of reasonable
           23
                  diligence, have discovered the secret intentions of Defendants, and each of them.
           24
                         344.       Had Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan known the actual
           25
                  facts, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan would not have taken such alleged
           26
                  actions.
           27
                         345.       If Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan had known of the actual
           28
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             1
                  intention of Defendants, and each of them, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
             2
                  Razvan would not have taken the alleged trades. Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
             3
                  Razvan’s reliance on fraudulent and manipulative conduct of Defendants, and each of them, was
             4
                  justified because Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan rightfully assumed that
             5
                  the market conditions of spot bitcoin and bitcoin derivatives markets were due to the actual
             6
                  market forces of supply and demand.
             7
                         346.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
             8
                  herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are related by having the
             9
                  same or similar purposes of manipulating cryptocurrency markets, generating illicit income, and
           10
                  concealing illegal activities from authorities, results, Defendants – participants, victims, methods
           11
                  of commission or are otherwise interrelated by distinguishing characteristics.
           12
                         347.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           13
                  herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are continuous as they
           14
                  constitute an open-ended scheme, which poses a threat of continuity through the long duration of
           15
                  the alleged misconduct, namely two years, and the threat of continuing criminal conduct, as the
           16
                  alleged criminal conduct perpetrated by Defendants is still ongoing.
           17
                         348.       Plaintiffs are informed and believe and thereon allege that Defendants’
           18
                  hereinabove alleged use of the electronic wire signals to defraud Plaintiffs BMA, Kolchin,
           19
                  Dubinin, Dolgov and Razvan as well as other market participants in violation of 18 U.S.C. § 1343
           20
                  directly and proximately resulted in the substantial monetary cryptocurrency trading losses to
           21
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as alleged hereinbelow.
           22
                         349.       Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           23
                  them, used at least a portion of the proceeds derived from wire fraud in violation of 18 U.S.C.
           24
                  § 1343 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein, which
           25
                  directly and proximately resulted in the substantial monetary cryptocurrency trading losses to
           26
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as alleged herein.
           27
           28
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             1        DEFENDANTS ENGAGED IN INTERSTATE TRANSPORTATION OF STOLEN
                              FUNDS IN VIOLATION OF THE NATIONAL STOLEN
             2                        PROPERTY ACT 18 U.S.C. § 2314
             3            350.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-349 above as if fully
             4    set forth herein.
             5            351.      18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or transfers in
             6    interstate or foreign commerce any goods, wares, merchandise, securities or money, of the value
             7    of $5,000 or more, knowing the same to have been stolen, converted or taken by fraud … [s]hall
             8    be fined under this title or imprisoned not more than ten years, or both.”
             9            352.      Plaintiffs are informed and believe and thereon allege that, during the Relevant
           10     Period, Defendants, and each of them, willfully and knowingly transmitted and transferred in
           11     interstate or foreign commerce cryptocurrency, including, without limitation, bitcoin and
           12     stablecoins, knowing that the transferred cryptocurrency was converted or taken by fraud from
           13     Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other cryptocurrency traders as
           14     the result of fraudulent market manipulation as alleged hereinabove.
           15             353.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           16     them, knowingly transferred and transmitted, in interstate or foreign commerce, during the
           17     Relevant Period, on a daily basis, including during each of the specific Manipulation Times
           18     alleged in Paragraph 372 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts
           19     price manipulation from manipulation winner accounts as well as other accounts on BitMEX
           20     cryptocurrency exchange to accounts on other cryptocurrency exchanges, including, without
           21     limitation, Coinbase Pro, BitStamp and Kraken, as well as cryptocurrency off-ramp exchanges
           22     and OTC trading desks for subsequent conversion of the ill-gotten bitcoins into fiat currencies,
           23     including United States dollars and Hong Kong dollars. Moreover, Defendants, and each of
           24     them, knowingly transferred and transmitted, in interstate or foreign commerce, on or about July
           25     9, 2019, at least $900,000 of the fiat currency converted proceeds of the alleged illegal bitcoin
           26     Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to Vilas Title
           27     Service Inc., 133 E Division St, Eagle River, WI 54521, United States. Furthermore, Defendants,
           28
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             1
                  and each of them, transferred and transmitted, in interstate or foreign commerce, on or about
             2
                  August 16, 2019, at least $1,425,000 of the fiat currency converted proceeds of the alleged illegal
             3
                  bitcoin Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to
             4
                  Ligris + Associates, 399 Boylston St f7, Boston, MA 02116, United States. The specific purpose
             5
                  of the transfers of funds alleged herein was to launder those funds through a real estate
             6
                  investment scheme and conceal their true illegal origin as well as ownership and control.
             7
                         354.       Coinbase Pro and Kraken are located in California, while BitStamp is located in
             8
                  New York City, New York. The transferred proceeds were converted or taken by fraud by
             9
                  Defendants from Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other
           10
                  cryptocurrency traders as the result of the fraudulent market manipulation as alleged hereinabove.
           11
                  The Defendants were fully aware of the true nature of the transferred proceeds.
           12
                         355.       For example, the effective transmissions of the winnings from market
           13
                  manipulation from the first helper account to the second winner account perpetrated by
           14
                  Defendants as described herein constitutes a violation of 18 U.S.C. § 2314. The Defendants were
           15
                  fully aware of the nature of the transferred funds and that such funds were taken by fraud from
           16
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other cryptocurrency traders.
           17
                         356.       Therefore, Defendants, and each of them, while being employed in or associated
           18
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           19
                  § 2314, which further constitute the predicate acts of the Defendants’, and each of them,
           20
                  racketeering activity.
           21
                         357.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           22
                  herein, namely engaging in interstate transportation of stolen funds in violation of 18 U.S.C.
           23
                  § 2314, are related by having the same or similar purposes of manipulating cryptocurrency
           24
                  markets, generating illicit income and concealing illegal activities from authorities, results,
           25
                  Defendants – participants, victims, methods of commission or are otherwise interrelated by
           26
                  distinguishing characteristics.
           27
                         358.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           28
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             1
                  herein, namely engaging in interstate transportation of stolen funds in violation of 18 U.S.C.
             2
                  § 2314, are continuous as they constitute an open-ended scheme, which poses a threat of
             3
                  continuity through the long duration of the alleged misconduct, namely two years, and the threat
             4
                  of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
             5
                  ongoing.
             6
                          359.      Plaintiffs are informed and believe and thereon allege that Defendants’, and each
             7
                  of them, alleged transfer of proceeds of the alleged illegal bitcoin Perpetual Swap contracts price
             8
                  manipulation from BitMEX cryptocurrency exchange to other cryptocurrency exchanges,
             9
                  including, without limitation, Coinbase Pro, BitStamp and Kraken, in violation of 18 U.S.C.
           10
                  § 2314, enabling Defendants, and each of them, to engage in further market manipulation, directly
           11
                  and proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiffs BMA,
           12
                  Kolchin, Dubinin, Dolgov and Razvan as alleged hereinbelow.
           13
                          360.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
           14
                  them, used at least a portion of the proceeds derived from the interstate transportation of stolen
           15
                  funds in violation of 18 U.S.C. § 2314 to manipulate spot and derivative markets of
           16
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           17
                  monetary cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
           18
                  as alleged herein.
           19
                         DEFENDANTS ENGAGED IN INTERSTATE AND FOREIGN TRAVEL OR
           20              TRANSPORTATION IN AID OF RACKETEERING ENTERPRISE IN
           21                          VIOLATION OF 18 U.S.C. § 1952
                          361.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-360 above as if fully
           22
                  set forth herein.
           23
                          362.      18 U.S.C. § 1952 provides that “[w]hoever travels in interstate or foreign
           24
                  commerce or uses the mail or any facility in interstate or foreign commerce, with intent to (1)
           25
                  distribute the proceeds of any unlawful activity; … or (3) otherwise promote, manage, establish,
           26
                  carry on, or facilitate the promotion, management, establishment, or carrying on, of any unlawful
           27
                  activity, and thereafter performs or attempts to perform—(A) an act described in paragraph (1) or
           28
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             1
                  (3) shall be fined under this title, imprisoned not more than 5 years, or both.”
             2
                         363.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
             3
                  Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly traveled
             4
                  between Hong Kong, United States and Seychelles with intent to distribute the proceeds of an
             5
                  unlawful activity, namely market manipulation in violation of CEA, money laundering, operating
             6
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
             7
                  on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes, Delo and
             8
                  Reed violated 18 U.S.C. § 1952.
             9
                         364.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
           10
                  Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly traveled
           11
                  between Hong Kong, United States and Seychelles with intent to promote, manage, establish,
           12
                  carry on, or facilitate the promotion, management, establishment, or carrying on, of unlawful
           13
                  activity namely market manipulation in violation of CEA, money laundering, operating
           14
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
           15
                  on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes, Delo and
           16
                  Reed violated 18 U.S.C. § 1952.
           17
                         365.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
           18
                  Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly traveled
           19
                  between Wisconsin and Massachusetts with intent to distribute and reinvest in United States real
           20
                  estate property situated in Norwell, MA 02061 at least $1,425,000 of the proceeds of an unlawful
           21
                  activity, namely market manipulation in violation of CEA, money laundering, operating
           22
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
           23
                  on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Reed and Agata
           24
                  Reed violated 18 U.S.C. § 1952.
           25
                         366.       Plaintiffs are informed and believe and thereon allege that, during the Relevant
           26
                  Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly traveled
           27
                  between Wisconsin and Massachusetts with intent to promote, manage, establish, carry on, or
           28
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             1
                  facilitate the promotion, management, establishment, or carrying on, of unlawful activity namely
             2
                  market manipulation in violation of CEA, money laundering, operating unlicensed money
             3
                  transmitting business as well as numerous other nefarious acts that took place on the BitMEX
             4
                  platform as alleged in this Complaint. Therefore, Defendants Reed and Agata Reed violated 18
             5
                  U.S.C. § 1952.
             6
                         367.       Therefore, Defendants Hayes, Delo, Reed and Agata Reed, and each of them,
             7
                  while being employed in or associated with the continuing Enterprise as alleged above,
             8
                  committed multiple acts that violated 18 U.S.C. § 1952, which further constitute the predicate acts
             9
                  of the Defendants Hayes, Delo, Reed and Agata Reed, and each of them, racketeering activity.
           10
                         368.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           11
                  herein, namely engaging in interstate and foreign travel or transportation in aid of racketeering
           12
                  enterprise in violation of 18 U.S.C. § 1952, are related by having the same or similar purposes of
           13
                  manipulating cryptocurrency markets, generating illicit income and concealing illegal activities
           14
                  from authorities, results, Defendants – participants, victims, methods of commission or are
           15
                  otherwise interrelated by distinguishing characteristics.
           16
                         369.       Plaintiffs are informed and believe and thereon allege that predicate acts alleged
           17
                  herein, namely engaging in interstate and foreign travel or transportation in aid of racketeering
           18
                  enterprise in violation of 18 U.S.C. § 1952, are continuous as they constitute an open-ended
           19
                  scheme, which poses a threat of continuity through the long duration of the alleged misconduct,
           20
                  namely two years, and the threat of continuing criminal conduct, as the alleged criminal conduct
           21
                  perpetrated by Defendants is still ongoing.
           22
                         370.       Plaintiffs are informed and believe and thereon allege that Defendants’, and each
           23
                  of them, alleged interstate and foreign travel or transportation in aid of racketeering enterprise in
           24
                  violation of 18 U.S.C. § 1952, enabling Defendants, and each of them, to benefit from and
           25
                  continue the market manipulation in violation of CEA, money laundering, operating unlicensed
           26
                  money transmitting business as well as numerous other nefarious acts that took place on the
           27
                  BitMEX platform as alleged in this Complaint, directly and proximately resulted in substantial
           28
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             1
                  monetary cryptocurrency trading losses to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
             2
                  as alleged hereinbelow.
             3
                             SPECIFIC TIMES OF MARKET MANIPULATION BY DEFENDANTS
             4
                          371.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-370 above as if fully
             5
                  set forth herein.
             6
                          372.      Plaintiffs are informed and believe and thereon allege that Defendants themselves
             7
                  manipulated cryptocurrency prices by using their own helper accounts on United States based
             8
                  cryptocurrency exchanges Kraken, Coinbase and BitStamp to place large market orders on those
             9
                  exchanges with maximum slippage to cause large artificial moves in the .BXBT and index price
           10
                  and .BETH index price on a daily basis, including, without limitation, the following specific
           11
                  manipulation times (“Manipulation Times”):
           12
           13
                                                            From                                                         To
           14
                  1.              7AM UTC on November 14, 2018                               12AM UTC on November 15, 2018
           15
                  2.              12AM UTC on November 19, 2018                              9AM UTC on November 20, 2018
           16
                  3.              4PM UTC on November 24, 2018                               11PM UTC on November 25, 2018
           17
                  4               6AM UTC on December 24, 2018                               12AM UTC on December 25, 2018
           18
                  5.              4AM UTC on January 10, 2019                                8PM UTC on January 10, 2020
           19
                  6.              12AM UTC on April 2, 2019                                  12PM UTC on April 2, 2019
           20
                  7.              2AM UTC on May 17, 2019                                    4AM UTC on May 17, 2019
           21
                  8.              7PM UTC on June 26, 2019                                   12AM UTC on June 27, 2019
           22
                  9.              4AM UTC on July 14, 2019                                   12AM UTC on July 15, 2019
           23
                  10.             4AM UTC on September 22, 2019                              4PM UTC on September 26, 2019
           24
                  11.             12AM UTC on November 18, 2019                              12AM UTC on November 20, 2019
           25
                  12.             4AM UTC on March 12, 2020                                  4AM UTC on March 13, 2020
           26
                  13.             9PM UTC on July 27, 2020                                   2AM UTC on July 28, 2020
           27
                  14.             12AM UTC on August 2, 2020                                 6AM UTC on August 2, 2020
           28
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             1
                          373.      Additional and other facts regarding Defendants’ market manipulation activities
             2
                  are hidden from Plaintiffs at this time. Such information is uniquely within Defendants’
             3
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
             4
                  Plaintiffs what so ever, despite being served with multiple discovery requests, which Defendants
             5
                  stonewalled. Plaintiffs reserve the right to amend or supplement the above list of Manipulation
             6
                  Times after he receives discovery from Defendants.
             7
                     SPECIFIC LOCATIONS AND TIMES OF RICO OVERT ACTS OF DEFENDANTS
             8
                          374.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-373 above as if fully
             9
                  set forth herein.
           10
                          375.      RICO overt acts perpetrated by Defendants are described in the table below. All
           11
                  of those overt acts take place either on United States based cryptocurrency exchanges BitStamp,
           12
                  Coinbase Pro and Kraken or on BitMEX itself, which has the majority of cloud service providers
           13
                  (Paragraph 90), employees (Paragraph 107), engineering and software development team and the
           14
                  nerve center of operations in this District. The below table has been prepared based on
           15
                  information and belief of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan:
           16
           17     RICO
                  Overt             RICO Conduct Involved                                                 Place of Conduct
           18       Act
           19     1          Defendants transmitting electronic                        This District (BitMEX, having the majority of
                             wire signals to inject false                              cloud service providers (Paragraph 90),
           20                information as to market forces of                        employees (Paragraph 107), engineering and
                             supply and demand into                                    software development team and the nerve center
           21                cryptocurrency markets and                                of operations in this District); BitStamp, Coinbase
                             mislead traders to open unfavorable                       Pro and Kraken, all located in the United States
           22
                             trading positions to be subsequently
           23                liquidated (e.g. first leg of a Bart,
                             see paragraphs 142-144, 153, 317-
           24                330)
                  Plaintiffs entered into unfavorable trading                          This District (BitMEX, having the majority of
           25     positions by executing BUY MARKET                                    cloud service providers (Paragraph 90),
           26     orders, after being mislead by false market                          employees, engineering and software
                  forces information injected by Defendants                            development team and the nerve center of
           27                                                                          operations in this District) and Kraken, also
                                                                                       located in this District
           28
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             1    2          Defendants electronically                                 BitStamp, Coinbase Pro and Kraken, all located
                             transferring (depositing) funds to be                     in the United States
             2               used for manipulation into helper
             3               account(s)
                  3          Defendants transmitting electronic                        BitStamp, Coinbase Pro and Kraken, all located
             4               wire signals to deliberately move                         in the United States
                             BitMEX’s .BXBT index price by
             5               placing large market orders SELL
                             MARKET NN with maximum
             6
                             slippage from the helper accounts
             7               on three illiquid exchanges spot
                             used by BitMEX to calculate its
             8               .BXBT index
                  Liquidation cascade that resulted in some of                         This District (BitMEX, having the majority of
             9    Plaintiff’s damages due to liquidation of                            cloud service providers (Paragraph 90),
           10     Plaintiff’s XBTUSD Swap positions takes                              employees, engineering and software
                  place, directly and proximately caused by the                        development team and the nerve center of
           11     deliberate .BXBT index price move                                    operations in this District) and Kraken, also
                  orchestrated by Defendants                                           located in this District
           12     4          Defendants transmitting electronic                        This District (BitMEX, having the majority of
                             wire signals to capture multiplied                        cloud service providers (Paragraph 90),
           13                (due to disparity in liquidity)                           employees, engineering and software
           14                manipulation profits caused by the                        development team and the nerve center of
                             deliberate index price move using                         operations in this District)
           15                winner account(s) on BitMEX,
                             using BUY LIMIT orders
           16     5          Defendants transmitting electronic                        This District, where all three site reliability
                             wire signals to freeze BitMEX                             engineers of BitMEX, who were responsible for
           17
                             servers and accepting orders on                           the BitMEX trading platform uptime and who
           18                only one side of the market to                            personally perpetrated the server freezes, were
                             exacerbate the price moves during                         located
           19                Manipulation Times
                  6          Defendants electronically                                 This District (BitMEX, having the majority of
           20                transferring (withdrawing) funds                          cloud service providers (Paragraph 90),
                             from winner account(s) into bitcoin                       employees, engineering and software
           21
                             wallet                                                    development team and the nerve center of
           22                                                                          operations in this District)
                  7         Defendants transmitting electronic                         BitStamp, Coinbase Pro and Kraken, all located
           23               wire signals to convert proceeds of                        in the United States
                            market manipulation into fiat (legal
           24               tender) currencies
           25     8.        Defendant Reed reinvesting           Wisconsin and Massachusetts
                            converted proceeds of market
           26               manipulation and money laundering
                            into United States real estate.
           27
                         376.       A summary of alleged RICO predicates perpetrated by Defendants is provided in
           28
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             1
                  the table below, which was prepared in accordance with information and belief of Plaintiffs. All
             2
                  of those predicates also took place either on United States based cryptocurrency exchanges
             3
                  BitStamp, Coinbase Pro and Kraken and on BitMEX itself, which has the majority of cloud
             4
                  service providers, employees, engineering and software development team and the nerve center of
             5
                  operations in this District:
             6
             7    RICO Predicate      RICO                                                    Place of Conduct
                                   Overt Acts
             8    18 U.S.C. § 1960 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
             9    Unlicensed       7                              providers, employees, engineering and software development
                  Money                                           team and the nerve center of operations in this District);
           10     Transmissions                                   BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States
           11     18 U.S.C. § 1956 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Money            7, 8                           providers, employees, engineering and software development
           12
                  Laundering                                      team and the nerve center of operations in this District);
           13                                                     BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
           14     18 U.S.C. § 1957 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Money            7, 8                           providers, employees, engineering and software development
           15     Laundering                                      team and the nerve center of operations in this District);
           16                                                     BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
           17     18 U.S.C. § 1343 1, 2, 3, 4, 5,                 This District (BitMEX, having the majority of cloud service
                  Wire Fraud       6, 7                           providers, employees, engineering and software development
           18                                                     team and the nerve center of operations in this District);
                                                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           19                                                     States
           20     18 U.S.C. § 2314 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Transportation of 7                             providers, employees, engineering and software development
           21     Stolen Property                                 team and the nerve center of operations in this District);
                                                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           22                                                     States
           23
           24             377.      Additional and other facts regarding Defendants’ RICO overt acts are hidden from
           25     Plaintiffs at this time. Such information is uniquely within Defendants’ possession, custody and
           26     control. To date, Defendants provided absolutely no discovery to Plaintiffs what so ever, despite
           27     being served with multiple discovery requests, which Defendants stonewalled. Plaintiffs
           28
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             1
                  accordingly reserve the right to supplement and amend these allegations of RICO overt acts, if
             2
                  appropriate or necessary, following completion of relevant fact discovery.
             3
                         378.       A summary of certain specific times of each of the alleged RICO predicates
             4
                  perpetrated by Defendants is provided in the table below. The below table has been prepared
             5
                  based on information and belief of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan:
             6
             7    RICO Predicate             RICO                   Defendants       Dates When Each RICO Predicate
                                            Overt Acts              Involved in                 Occurred
             8                                                    RICO Predicate
             9    18 U.S.C. § 1960 2, 3, 4, 5, 6,                 HDR, ABS,      a. 7AM UTC on November 14, 2018 to
                  Unlicensed       7                              Hayes, Delo,   12AM UTC on November 15, 2018;
           10     Money                                           Reed           b. 12AM UTC on November 19, 2018 to
                                                                                 9AM UTC on November 20, 2018;
                  Transmissions                                                  c. 4PM UTC on November 24, 2018 to
           11
                                                                                 11PM UTC on November 25, 2018;
           12                                                                    d. 4AM UTC on December 24, 2018 to
                                                                                 12AM UTC on December 25, 2018;
           13                                                                    e. 4AM UTC on January 10, 2019 to 8PM
                                                                                 UTC on January 10, 2020;
           14                                                                    f. 12AM UTC on April 2, 2019 to 12PM
                                                                                 UTC on April 2, 2019;
           15                                                                    g. 2AM UTC on May 17, 2019 to 4AM
                                                                                 UTC on May 17, 2019;
           16                                                                    h. 7PM UTC on June 26, 2019 to 12AM
                                                                                 UTC on June 27, 2019;
           17                                                                    i. 4AM UTC on July 14, 2019 to 12AM
                                                                                 UTC on July 15, 2019;
           18                                                                    j. 4AM UTC on September 22, 2019 to
                                                                                 4PM UTC on September 26, 2019
           19                                                                    k. 12AM UTC on November 18, 2019 to
                                                                                 12AM UTC on November 20, 2019
           20                                                                    l. 4AM UTC on March 12, 2020 to 4AM
                                                                                 UTC on March 13, 2020;
           21                                                                    m. 9PM UTC on July 27, 2020 to 2AM
                                                                                 UTC on July 28, 2020; and
           22                                                                    n. 12AM UTC on August 2, 2020 to 6AM
                                                                                 UTC on August 2, 2020.
           23     18 U.S.C. § 1956 2, 3, 4, 5, 6,                 HDR, ABS,      a. 7AM UTC on November 14, 2018 to
                  Money            7, 8                           Hayes, Delo,   12AM UTC on November 15, 2018;
           24     Laundering                                      Reed, Grape    b. 12AM UTC on November 19, 2018 to
                                                                  Park, Mark     9AM UTC on November 20, 2018;
           25                                                     Sweep          c. 4PM UTC on November 24, 2018 to
                                                                                 11PM UTC on November 25, 2018;
           26                                                                    d. 4AM UTC on December 24, 2018 to
                                                                                 12AM UTC on December 25, 2018;
           27                                                                    e. 4AM UTC on January 10, 2019 to 8PM
                                                                                 UTC on January 10, 2020;
           28                                                                    f. 12AM UTC on April 2, 2019 to 12PM
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             1                                                                              UTC on April 2, 2019;
                                                                                            g. 2AM UTC on May 17, 2019 to 4AM
             2                                                                              UTC on May 17, 2019;
                                                                                            h. 7PM UTC on June 26, 2019 to 12AM
             3                                                                              UTC on June 27, 2019;
                                                                                            i. July 7, 2019;
             4                                                                              j. 4AM UTC on July 14, 2019 to 12AM
                                                                                            UTC on July 15, 2019;
             5                                                                              k. 4AM UTC on September 22, 2019 to
                                                                                            4PM UTC on September 26, 2019
             6                                                                              l. 12AM UTC on November 18, 2019 to
                                                                                            12AM UTC on November 20, 2019
             7                                                                              m. 4AM UTC on March 12, 2020 to 4AM
                                                                                            UTC on March 13, 2020;
             8                                                                              n. 9PM UTC on July 27, 2020 to 2AM
                                                                                            UTC on July 28, 2020; and
             9                                                                              o. 12AM UTC on August 2, 2020 to 6AM
                                                                                            UTC on August 2, 2020.
           10     18 U.S.C. § 1957 2, 3, 4, 5, 6,                 HDR, ABS,                 a. 7AM UTC on November 14, 2018 to
                  Money            7, 8                           Hayes, Delo,              12AM UTC on November 15, 2018;
           11     Laundering                                      Reed, Grape               b. 12AM UTC on November 19, 2018 to
                                                                  Park, Mark                9AM UTC on November 20, 2018;
           12                                                     Sweep                     c. 4PM UTC on November 24, 2018 to
                                                                                            11PM UTC on November 25, 2018;
           13                                                                               d. 4AM UTC on December 24, 2018 to
                                                                                            12AM UTC on December 25, 2018;
           14                                                                               e. 4AM UTC on January 10, 2019 to 8PM
                                                                                            UTC on January 10, 2020;
           15                                                                               f. 12AM UTC on April 2, 2019 to 12PM
                                                                                            UTC on April 2, 2019;
           16                                                                               g. 2AM UTC on May 17, 2019 to 4AM
                                                                                            UTC on May 17, 2019;
           17                                                                               h. 7PM UTC on June 26, 2019 to 12AM
                                                                                            UTC on June 27, 2019;
           18                                                                               i. July 7, 2019;
                                                                                            j. 4AM UTC on July 14, 2019 to 12AM
           19                                                                               UTC on July 15, 2019;
                                                                                            k. 4AM UTC on September 22, 2019 to
           20                                                                               4PM UTC on September 26, 2019
                                                                                            l. 12AM UTC on November 18, 2019 to
           21                                                                               12AM UTC on November 20, 2019
                                                                                            m. 4AM UTC on March 12, 2020 to 4AM
           22                                                                               UTC on March 13, 2020;
                                                                                            n. 9PM UTC on July 27, 2020 to 2AM
           23                                                                               UTC on July 28, 2020; and
                                                                                            o. 12AM UTC on August 2, 2020 to 6AM
           24                                                                               UTC on August 2, 2020.
                  18 U.S.C. § 1343 1, 2, 3, 4, 5,                 HDR, ABS,                 a. 7AM UTC on November 14, 2018 to
           25     Wire Fraud       6, 7                           Hayes, Delo,              12AM UTC on November 15, 2018;
                                                                  Reed                      b. 12AM UTC on November 19, 2018 to
           26                                                                               9AM UTC on November 20, 2018;
                                                                                            c. 4PM UTC on November 24, 2018 to
           27                                                                               11PM UTC on November 25, 2018;
                                                                                            d. 4AM UTC on December 24, 2018 to
           28                                                                               12AM UTC on December 25, 2018;
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             1                                                                              e. 4AM UTC on January 10, 2019 to 8PM
                                                                                            UTC on January 10, 2020;
             2                                                                              f. 12AM UTC on April 2, 2019 to 12PM
                                                                                            UTC on April 2, 2019;
             3                                                                              g. 2AM UTC on May 17, 2019 to 4AM
                                                                                            UTC on May 17, 2019;
             4                                                                              h. 7PM UTC on June 26, 2019 to 12AM
                                                                                            UTC on June 27, 2019;
             5                                                                              i. 4AM UTC on July 14, 2019 to 12AM
                                                                                            UTC on July 15, 2019;
             6                                                                              j. 4AM UTC on September 22, 2019 to
                                                                                            4PM UTC on September 26, 2019
             7                                                                              k. 12AM UTC on November 18, 2019 to
                                                                                            12AM UTC on November 20, 2019
             8                                                                              l. 4AM UTC on March 12, 2020 to 4AM
                                                                                            UTC on March 13, 2020;
             9                                                                              m. 9PM UTC on July 27, 2020 to 2AM
                                                                                            UTC on July 28, 2020; and
           10                                                                               n. 12AM UTC on August 2, 2020 to 6AM
                                                                                            UTC on August 2, 2020.
           11     18 U.S.C. § 2314 2, 3, 4, 5, 6,                 HDR, ABS,                 a. 7AM UTC on November 14, 2018 to
                  Transportation of 7                             Hayes, Delo,              12AM UTC on November 15, 2018;
           12     Stolen Property                                 Reed                      b. 12AM UTC on November 19, 2018 to
                                                                                            9AM UTC on November 20, 2018;
           13                                                                               c. 4PM UTC on November 24, 2018 to
                                                                                            11PM UTC on November 25, 2018;
           14                                                                               d. 4AM UTC on December 24, 2018 to
                                                                                            12AM UTC on December 25, 2018;
           15                                                                               e. 4AM UTC on January 10, 2019 to 8PM
                                                                                            UTC on January 10, 2020;
           16                                                                               f. 12AM UTC on April 2, 2019 to 12PM
                                                                                            UTC on April 2, 2019;
           17                                                                               g. 2AM UTC on May 17, 2019 to 4AM
                                                                                            UTC on May 17, 2019;
           18                                                                               h. 7PM UTC on June 26, 2019 to 12AM
                                                                                            UTC on June 27, 2019;
           19                                                                               i. 4AM UTC on July 14, 2019 to 12AM
                                                                                            UTC on July 15, 2019;
           20                                                                               j. 4AM UTC on September 22, 2019 to
                                                                                            4PM UTC on September 26, 2019
           21                                                                               k. 12AM UTC on November 18, 2019 to
                                                                                            12AM UTC on November 20, 2019
           22                                                                               l. 4AM UTC on March 12, 2020 to 4AM
                                                                                            UTC on March 13, 2020;
           23                                                                               m. 9PM UTC on July 27, 2020 to 2AM
                                                                                            UTC on July 28, 2020; and
           24                                                                               n. 12AM UTC on August 2, 2020 to 6AM
                                                                                            UTC on August 2, 2020.
           25
                         379.       Additional and other facts regarding Defendants’ RICO overt acts and their timing
           26
                  are hidden from Plaintiffs at this time. Such information is uniquely within Defendants’
           27
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
           28
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             1
                  Plaintiffs what so ever, despite being served with multiple discovery requests, which Defendants
             2
                  stonewalled. Plaintiffs accordingly reserve the right to supplement and amend these allegations
             3
                  of RICO overt acts and their timing, if appropriate or necessary, following completion of relevant
             4
                  fact discovery.
             5
                         380.       The individual roles of all Defendants with respect to RICO predicates are
             6
                  summarized in the below table, prepared according to information and belief of Plaintiffs BMA,
             7
                  Kolchin, Dubinin, Dolgov and Razvan:
             8
             9
                    Defendant                                                          Role of Defendant
           10
                                         Defendant HDR is a holding company. Despite being incorporated in the
           11
                                         Seychelles, Defendant HDR does not have, and never has had, any operations
           12
                                         or employees in the Seychelles. Defendant HDR operates, or has operated
           13
                                         during the Relevant Period, primarily from San Francisco office of Defendant
           14
                                         ABS and Milwaukee office of Defendant Reed. Defendant HDR was
           15
                  HDR                    responsible for, among other things, the planning of the operation of the
           16
                                         BitMEX platform to effectuate the market manipulation, including, without
           17
                                         limitation deliberate server freezes and fraudulent system overloads alleged
           18
                                         herein as well as effective transfers of market manipulation winnings from
           19
                                         helper accounts to winner accounts and performance of other illegal acts
           20
                                         conducted by the Enterprise.
           21
                                         Defendant ABS designs, develops, implements, operates and supports the
           22
                                         online derivatives trading platform BitMEX from within this District.
           23
                                         Defendant ABS was responsible for, among other things, day to day operations
           24
                  ABS                    of the BitMEX platform and effectuating the market manipulation, including,
           25
                                         without limitation deliberate server freezes and fraudulent system overloads
           26
                                         alleged herein as well as effective transfers of market manipulation winnings
           27
                                         from helper accounts to winner accounts and performance of other illegal acts
           28
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             1
                                        conducted by the Enterprise, as well as creating custom software programs and
             2
                                        scripts for performing market manipulation and implementing server freezes.
             3
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
             4
                                        or disguise the true source of funds used for acquiring the real estate properties
             5
                  Grape Park            and their true ownership and control. Defendant Reed dominates and controls
             6
                                        every aspect of business of Defendant Grape Park and funds its operations.
             7
                                        Defendant Grape Park is an alter ego of Defendant Reed.
             8
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
             9
                                        or disguise the true source of funds used for acquiring the real estate properties
           10
                  Mark Sweep            and their true ownership and control. Defendant Reed dominates and controls
           11
                                        every aspect of business of Defendant Mark Sweep and funds its operations.
           12
                                        Defendant Mark Sweep is an alter ego of Defendant Reed.
           13
                                        Defendant Unknown Exchange was responsible for knowingly, willfully and
           14
                                        deliberately laundering a substantial portion of the bitcoin-denominated
           15
                                        proceeds of market manipulation, money laundering, operating unlicensed
           16     Unknown
                                        money transmitting business and multitude of various other nefarious acts
           17     Exchange
                                        taking place on the BitMEX platform, by means of converting bitcoins into
           18
                                        various traditional (“fiat”) currencies, including United States dollars and Hong
           19
                                        Kong dollars.
           20
                                        Defendant Hayes was responsible for, among other things, conducting overall
           21
                                        planning, oversight and supervision of the affairs of the Enterprise and
           22
                                        coordination between the remaining co-conspirators, as well as controlling bank
           23
                                        accounts and financial flows within the Enterprise. In addition, Defendant
           24     Hayes
                                        Hayes gave directions to other members of the Enterprise, occupied the top
           25
                                        position in the "chain of command" of the Enterprise through which the affairs
           26
                                        of the Enterprise are conducted and was indispensable to the achievement of the
           27
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           28
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             1
                                          Defendants, and each of them, and their co-conspirators, through unlawful
             2
                                          trading practices, including market manipulation, concealing trading gains
             3
                                          obtained through unlawful practices from regulatory and tax authorities using,
             4
                                          without limitation, money laundering, generating illicit income from unlicensed
             5
                                          money transmissions, promoting and enhancing the racketeering conspiracy and
             6
                                          the activities of the Defendants, and each of them, and their co-conspirators and
             7
                                          concealing the unlawful activities of the Defendants, and each of them, and
             8
                                          their co-conspirators from scrutiny by cryptocurrency exchanges and law
             9
                                          enforcement.
           10
                                          Defendant Delo was responsible for performing liquidations of user positions to
           11
                                          rip the benefits of the market manipulation and other illegal acts conducted by
           12
                                          the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
           13
                                          addition, Defendant Delo gave directions to other members and took directions
           14
                                          from Defendant Hayes, occupied a second position in the "chain of command"
           15
                                          through which the affairs of the Enterprise are conducted, knowingly and
           16
                                          eagerly implemented decisions of Defendant Hayes and was indispensable to
           17
                                          the achievement of the Enterprise’s goals of maximizing profits and minimizing
           18
                  Delo                    trading losses for the Defendants, and each of them, and their co-conspirators,
           19
                                          through unlawful trading practices, including market manipulation, concealing
           20
                                          trading gains obtained through unlawful practices from regulatory and tax
           21
                                          authorities using, without limitation, money laundering, generating illicit
           22
                                          income from unlicensed money transmissions, promoting and enhancing the
           23
                                          racketeering conspiracy and the activities of the Defendants, and each of them,
           24
                                          and their co-conspirators and concealing the unlawful activities of the
           25
                                          Defendants, and each of them, and their co-conspirators from scrutiny by
           26
                                          cryptocurrency exchanges and law enforcement.
           27
                  Reed                    Defendant Reed was responsible for, among other things, planning and
           28
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             1
                                        initiating the deliberate server freezes and fraudulent system overloads on
             2
                                        BitMEX as alleged herein as well as effective transfers of market manipulation
             3
                                        winnings from helper accounts on United States based exchanges Kraken,
             4
                                        Coinbase and BitStamp to winner accounts on BitMEX, by placing large
             5
                                        market orders on those exchanges with maximum slippage to cause large
             6
                                        artificial moves in the .BXBT and index price and .BETH index price on a daily
             7
                                        basis and performance of other illegal acts conducted by the Enterprise, by
             8
                                        issuing electronic wire transmissions containing trading orders and other
             9
                                        computer system commands and writing, deploying and remotely executing
           10
                                        software scripts from his office located in Milwaukee, WI 53202. Defendant
           11
                                        Reed was further responsible for laundering a substantial portion of the tainted
           12
                                        proceeds of the illegal activities on the BitMEX platform from Defendants’
           13
                                        general account (bitcoin wallet) through a real estate investment scheme
           14
                                        involving multiple real estate properties in Wisconsin and Massachusetts, by
           15
                                        concealing the nature of the funds used in acquisition of said properties and the
           16
                                        true state of ownership and control thereof. In addition, Defendant Reed gave
           17
                                        directions to other members and took directions from Defendant Hayes,
           18
                                        occupied a third position in the "chain of command" through which the affairs
           19
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           20
                                        of Defendants Hayes and Delo and was indispensable to the achievement of the
           21
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           22
                                        Defendants, and each of them, and their co-conspirators, through unlawful
           23
                                        trading practices, including market manipulation, concealing trading gains
           24
                                        obtained through unlawful practices from regulatory and tax authorities using,
           25
                                        without limitation, money laundering, generating illicit income from unlicensed
           26
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           27
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           28
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             1
                                        concealing the unlawful activities of the Defendants, and each of them, and
             2
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
             3
                                        enforcement.
             4
                                        Defendant Agata Reed was responsible for laundering a substantial portion of
             5
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
             6
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
             7
                                        scheme involving real estate properties in Massachusetts, by concealing the
             8
                                        nature of the funds used in acquisition of said properties and the true state of
             9
                                        ownership and control thereof. In addition, Defendant Agata Reed gave
           10
                                        directions to other members and took directions from Defendant Reed,
           11
                                        occupied a fourth position in the "chain of command" through which the affairs
           12
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           13
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           14     Agata Reed
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           15
                                        for the Defendants, and each of them, and their co-conspirators, through
           16
                                        unlawful trading practices, including market manipulation, concealing trading
           17
                                        gains obtained through unlawful practices from regulatory and tax authorities
           18
                                        using, without limitation, money laundering, generating illicit income from
           19
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           20
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           21
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           22
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           23
                                        and law enforcement.
           24
                                        Defendant Barbara Reed was responsible for laundering a substantial portion of
           25
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           26     Barbara Reed
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           27
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           28
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             1
                                        of the funds used in acquisition of said properties and the true state of
             2
                                        ownership and control thereof.                  In addition, Defendant Barbara Reed gave
             3
                                        directions to other members and took directions from Defendant Reed,
             4
                                        occupied a fifth position in the "chain of command" through which the affairs
             5
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             6
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
             7
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
             8
                                        for the Defendants, and each of them, and their co-conspirators, through
             9
                                        unlawful trading practices, including market manipulation, concealing trading
           10
                                        gains obtained through unlawful practices from regulatory and tax authorities
           11
                                        using, without limitation, money laundering, generating illicit income from
           12
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           13
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           14
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           15
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           16
                                        and law enforcement.
           17
                                        Defendant Trace Reed was responsible for laundering a substantial portion of
           18
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           19
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           20
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           21
                                        of the funds used in acquisition of said properties and the true state of
           22
                  Trace Reed            ownership and control thereof. In addition, Defendant Trace Reed gave
           23
                                        directions to other members and took directions from Defendant Reed,
           24
                                        occupied a sixth position in the "chain of command" through which the affairs
           25
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           26
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           27
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           28
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             1
                                          for the Defendants, and each of them, and their co-conspirators, through
             2
                                          unlawful trading practices, including market manipulation, concealing trading
             3
                                          gains obtained through unlawful practices from regulatory and tax authorities
             4
                                          using, without limitation, money laundering, generating illicit income from
             5
                                          unlicensed money transmissions, promoting and enhancing the racketeering
             6
                                          conspiracy and the activities of the Defendants, and each of them, and their co-
             7
                                          conspirators and concealing the unlawful activities of the Defendants, and each
             8
                                          of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             9
                                          and law enforcement.
           10
                          381.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
           11
                  from Plaintiffs at this time. Such information is uniquely within Defendants’ possession, custody
           12
                  and control. To date, Defendants provided absolutely no discovery to Plaintiffs what so ever,
           13
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiffs
           14
                  accordingly reserve the right to supplement and amend these allegations of Defendants’ roles in
           15
                  the Enterprise, if appropriate or necessary, following completion of relevant fact discovery.
           16
                          382.       Certain specific electronic wire communications alleged herein are summarized in
           17
                  the following table, prepared based on information and belief of Plaintiffs BMA, Kolchin,
           18
                  Dubinin, Dolgov and Razvan:
           19
           20
                   Type of           Date                    From                         To                     Content or Purpose of
           21      Comm.                                                                                           Communication

           22     Wire          11/14/2018           Hayes (New                 Delo (Hong                Directions and specific
                                                     York)                      Kong)                     instructions on which specific
           23                                                                                             orders to place, software scripts
           24                                                                                             to execute and computer
                                                                                                          commands to issue and how to
           25                                                                                             otherwise manipulate bitcoin
                                                                                                          market for the benefit of
           26                                                                                             Defendants.
           27     Wire          11/14/2018           Hayes (New                 Reed                      Directions and specific
                                                     York)                      (Wisconsin)               instructions on which specific
           28
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             1                                                                                           orders to place, software scripts
                                                                                                         to execute and computer
             2                                                                                           commands to issue and how to
             3                                                                                           otherwise manipulate bitcoin
                                                                                                         market for the benefit of
             4                                                                                           Defendants.

             5    Wire          11/14/2018           Reed                       BitMEX/ABS               Trading orders (BUY MARKET
                                                     (Wisconsin)                (San Francisco)          NN) to inject false information as
             6                                                                                           to market forces of supply and
             7                                                                                           demand into cryptocurrency
                                                                                                         markets and mislead traders to
             8                                                                                           open unfavorable trading
                                                                                                         positions to be subsequently
             9                                                                                           liquidated, see Paragraphs 153-
                                                                                                         155, 164, 336-348.
           10
           11     Wire          11/14/2018           Reed                       Kraken (San              Trading orders (BUY MARKET
                                                     (Wisconsin)                Francisco)               NN) to inject false information as
           12                                                                                            to market forces of supply and
                                                                                                         demand into cryptocurrency
           13                                                                                            markets and mislead traders to
                                                                                                         open unfavorable trading
           14                                                                                            positions to be subsequently
           15                                                                                            liquidated.

           16     Wire          11/14/2018           Reed                       Bitcoin Network          Instruction for electronically
                                                     (Wisconsin)                (Cloud)                  transferring (depositing) bitcoin
           17                                                                                            funds to be used for manipulation
                                                                                                         into a helper account on Kraken,
           18                                                                                            see Paragraphs 153-155, 164,
                                                                                                         336-348.
           19
           20     Wire          11/14/2018           Reed                       Kraken (San              Electronic computer instruction
                                                     (Wisconsin)                Francisco)               to execute large market trading
           21                                                                                            order (SELL MARKET NN) on
                                                                                                         BTC/USD order book from
           22                                                                                            helper account with maximum
                                                                                                         slippage to deliberately move
           23
                                                                                                         BitMEX’s .BXBT index price.
           24
                  Wire          11/14/2018           Reed                       BitMEX/ABS               Computer instruction to execute
           25                                        (Wisconsin)                (San Francisco)          server freeze application to freeze
                                                                                                         BitMEX servers and to initiate
           26                                                                                            accepting orders on only one side
                                                                                                         of the market to exacerbate the
           27
                                                                                                         price move.
           28
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             1
                  Wire          11/14/2018           Delo (Hong                 BitMEX/ABS               Computer instruction to test and
             2                                       Kong)                      (San Francisco)          prepare liquidation engine for
                                                                                                         deployment and deploy
             3                                                                                           liquidation engine to liquidate
                                                                                                         trader accounts.
             4
                  Wire          11/14/2018           Reed                       BitMEX/ABS               Computer instruction to execute
             5
                                                     (Wisconsin)                (San Francisco)          orders to capture multiplied (due
             6                                                                                           to disparity in liquidity)
                                                                                                         manipulation profits caused by
             7                                                                                           the deliberate .BXBT index price
                                                                                                         move using winner account(s) on
             8                                                                                           BitMEX.
             9
                  Wire          11/14/2018           Delo (Hong                 BitMEX/ABS               Computer instruction to transfer
           10                                        Kong)                      (San Francisco)          trader liquidation proceeds from
                                                                                                         trader wallets into Insurance
           11                                                                                            Fund bitcoin wallet.
           12     Wire          11/14/2018           Reed                       BitMEX/ABS               Computer instruction to
                                                     (Wisconsin)                (San Francisco)          electronically transfer (withdraw)
           13                                                                                            funds from winner account(s)
           14                                                                                            into bitcoin wallet.

           15     Wire          11/14/2018           Hayes (New                 Bitcoin Network          Instruction for electronically
                                                     York)                      (Cloud)                  transferring (depositing) bitcoin
           16                                                                                            funds from bitcoin wallet to
                                                                                                         account on Coinbase exchange.
           17
                  Wire          11/14/2018           Hayes (New                 Coinbase (San            Trading orders to convert bitcoin
           18
                                                     York)                      Francisco)               proceeds of market manipulation
           19                                                                                            into United States dollars.

           20     Wire          11/14/2018           Hayes (New                 Coinbase (San            Instruction for electronically
                                                     York)                      Francisco)               transferring converted U.S. dollar
           21                                                                                            proceeds of market manipulation
                                                                                                         to bank accounts of HDR Global
           22
                                                                                                         Trading Limited, ABS Global
           23                                                                                            Trading Limited, Hayes, Delo
                                                                                                         and Reed.
           24
                  Wire          11/24/2018           Hayes (New                 Delo (Hong               Directions and specific
           25                                        York)                      Kong)                    instructions on which specific
                                                                                                         orders to place, software scripts
           26                                                                                            to execute and computer
           27                                                                                            commands to issue and how to
                                                                                                         otherwise manipulate bitcoin
           28                                                                                            market for the benefit of
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             1                                                                                           Defendants.
             2    Wire          11/24/2018           Hayes (New                 Reed                     Directions and specific
             3                                       York)                      (Wisconsin)              instructions on which specific
                                                                                                         orders to place, software scripts
             4                                                                                           to execute and computer
                                                                                                         commands to issue and how to
             5                                                                                           otherwise manipulate bitcoin
                                                                                                         market for the benefit of
             6                                                                                           Defendants.
             7
                  Wire          11/24/2018           Reed                       BitMEX/ABS               Trading orders (BUY MARKET
             8                                       (Wisconsin)                (San Francisco)          NN) to inject false information as
                                                                                                         to market forces of supply and
             9                                                                                           demand into cryptocurrency
                                                                                                         markets and mislead traders to
           10                                                                                            open unfavorable trading
           11                                                                                            positions to be subsequently
                                                                                                         liquidated, see Paragraphs 153-
           12                                                                                            155, 164, 336-348.

           13     Wire          11/24/2018           Reed                       Kraken (San              Trading orders (BUY MARKET
                                                     (Wisconsin)                Francisco)               NN) to inject false information as
           14                                                                                            to market forces of supply and
                                                                                                         demand into cryptocurrency
           15
                                                                                                         markets and mislead traders to
           16                                                                                            open unfavorable trading
                                                                                                         positions to be subsequently
           17                                                                                            liquidated, see Paragraphs 153-
                                                                                                         155, 164, 336-348.
           18
                  Wire          11/24/2018           Reed                       Bitcoin Network          Instruction for electronically
           19
                                                     (Wisconsin)                (Cloud)                  transferring (depositing) bitcoin
           20                                                                                            funds to be used for manipulation
                                                                                                         into a helper account on Kraken.
           21
                  Wire          11/24/2018           Reed                       Kraken (San              Electronic computer instruction
           22                                        (Wisconsin)                Francisco)               to execute large market trading
                                                                                                         order (SELL MARKET NN) on
           23                                                                                            BTC/USD order book from
           24                                                                                            helper account with maximum
                                                                                                         slippage to deliberately move
           25                                                                                            BitMEX’s .BXBT index price.

           26     Wire          11/25/2018           Reed                       BitMEX/ABS               Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)          server freeze application to freeze
           27                                                                                            BitMEX servers and to initiate
           28                                                                                            accepting orders on only one side
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             1                                                                                           of the market to exacerbate the
                                                                                                         price move.
             2
             3    Wire          11/25/2018           Delo (Hong                 BitMEX/ABS               Computer instruction to test and
                                                     Kong)                      (San Francisco)          prepare liquidation engine for
             4                                                                                           deployment and deploy
                                                                                                         liquidation engine to liquidate
             5                                                                                           trader accounts.
             6    Wire          11/25/2018           Reed                       BitMEX/ABS               Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)          orders to capture multiplied (due
             7
                                                                                                         to disparity in liquidity)
             8                                                                                           manipulation profits caused by
                                                                                                         the deliberate .BXBT index price
             9                                                                                           move using winner account(s) on
                                                                                                         BitMEX.
           10
                  Wire          11/25/2018           Delo (Hong                 BitMEX/ABS               Computer instruction to transfer
           11
                                                     Kong)                      (San Francisco)          trader liquidation proceeds from
           12                                                                                            trader wallets into Insurance
                                                                                                         Fund bitcoin wallet.
           13
                  Wire          11/25/2018           Reed                       BitMEX/ABS               Computer instruction to
           14                                        (Wisconsin)                (San Francisco)          electronically transfer (withdraw)
                                                                                                         funds from winner account(s)
           15                                                                                            into bitcoin wallet.
           16
                  Wire          11/25/2018           Hayes (New                 Bitcoin Network          Instruction for electronically
           17                                        York)                      (Cloud)                  transferring (depositing) bitcoin
                                                                                                         funds from bitcoin wallet to
           18                                                                                            account on Coinbase exchange.
           19     Wire          11/25/2018           Hayes (New                 Coinbase (San            Trading orders to convert bitcoin
                                                     York)                      Francisco)               proceeds of market manipulation
           20
                                                                                                         into United States dollars.
           21
                  Wire          11/25/2018           Hayes (New                 Coinbase (San            Instruction for electronically
           22                                        York)                      Francisco)               transferring converted U.S. dollar
                                                                                                         proceeds of market manipulation
           23                                                                                            to bank accounts of HDR Global
                                                                                                         Trading Limited, ABS Global
           24
                                                                                                         Trading Limited, Hayes, Delo
           25                                                                                            and Reed.

           26     Wire          5/16/2019            Reed                       BitMEX/ABS               Trading orders (BUY MARKET
                                                     (Wisconsin)                (San Francisco)          NN) to inject false information as
           27                                                                                            to market forces of supply and
                                                                                                         demand into cryptocurrency
           28
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             1                                                                                           markets and mislead traders to
                                                                                                         open unfavorable trading
             2                                                                                           positions to be subsequently
             3                                                                                           liquidated, see Paragraphs 153-
                                                                                                         155, 164, 336-348.
             4
                  Wire          5/16/2019            Reed                       BitStamp                 Trading orders (BUY MARKET
             5                                       (Wisconsin)                (Denver)                 NN) to inject false information as
                                                                                                         to market forces of supply and
             6                                                                                           demand into cryptocurrency
             7                                                                                           markets and mislead traders to
                                                                                                         open unfavorable trading
             8                                                                                           positions to be subsequently
                                                                                                         liquidated, see Paragraphs 153-
             9                                                                                           155, 164, 336-348.
           10     Wire          5/16/2019            Reed                       Bitcoin Network          Instruction for electronically
           11                                        (Wisconsin)                (Cloud)                  transferring (depositing) bitcoin
                                                                                                         funds to be used for manipulation
           12                                                                                            into a helper account on
                                                                                                         BitStamp.
           13
                  Wire          5/17/2019            Reed                       BitStamp                 Electronic computer instruction
           14                                        (Wisconsin)                (Denver)                 to execute large market trading
                                                                                                         order (SELL MARKET NN) on
           15
                                                                                                         BTC/USD order book from
           16                                                                                            helper account with maximum
                                                                                                         slippage to deliberately move
           17                                                                                            BitMEX .BXBT index price.
           18     Wire          5/17/2019            Reed                       BitMEX/ABS               Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)          server freeze application to freeze
           19
                                                                                                         BitMEX servers and to initiate
           20                                                                                            accepting orders on only one side
                                                                                                         of the market to exacerbate the
           21                                                                                            price move.

           22     Wire          5/17/2019            Delo (Hong                 BitMEX/ABS               Computer instruction to test and
                                                     Kong)                      (San Francisco)          prepare liquidation engine for
           23                                                                                            deployment and deploy
           24                                                                                            liquidation engine to liquidate
                                                                                                         trader accounts.
           25
                  Wire          5/17/2019            Reed                       BitMEX/ABS               Computer instruction to executed
           26                                        (Wisconsin)                (San Francisco)          orders to capture multiplied (due
                                                                                                         to disparity in liquidity)
           27                                                                                            manipulation profits caused by
           28                                                                                            the deliberate .BXBT index price
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             1                                                                                           move using winner account(s) on
                                                                                                         BitMEX.
             2
             3    Wire          5/17/2019            Reed                       BitMEX/ABS               Computer instruction to
                                                     (Wisconsin)                (San Francisco)          electronically transfer (withdraw)
             4                                                                                           funds from winner account(s)
                                                                                                         into bitcoin wallet.
             5
                  Wire          5/17/2019            Delo (Hong                 BitMEX/ABS               Computer instruction to transfer
             6                                       Kong)                      (San Francisco)          trader liquidation proceeds from
                                                                                                         trader wallets into Insurance
             7
                                                                                                         Fund bitcoin wallet.
             8
                  Wire          5/17/2019            Hayes (New                 Bitcoin Network          Instruction for electronically
             9                                       York)                      (Cloud)                  transferring (depositing) bitcoin
                                                                                                         funds from bitcoin wallet to
           10                                                                                            account on Coinbase exchange.
           11     Wire          5/17/2019            Hayes (New                 Coinbase (San            Trading orders to convert bitcoin
           12                                        York)                      Francisco)               proceeds of market manipulation
                                                                                                         into United States dollars.
           13
                  Wire          5/17/2019            Hayes (New                 Coinbase (San            Instruction for electronically
           14                                        York)                      Francisco)               transferring converted U.S. dollar
                                                                                                         proceeds of market manipulation
           15                                                                                            to bank accounts of HDR Global
           16                                                                                            Trading Limited, ABS Global
                                                                                                         Trading Limited, Hayes, Delo
           17                                                                                            and Reed.

           18     Wire          7/3/2019             Reed                       Coinbase (San            Electronic wire transfer
                                                     (Wisconsin)                Francisco)               instructions for transferring
           19                                                                                            $900,000 of converted proceeds
                                                                                                         of money laundering to Vilas
           20
                                                                                                         Title Service Inc., 133 E Division
           21                                                                                            St, Eagle River, WI 54521,
                                                                                                         United States.
           22
                  Wire          7/3/2019             Reed                       Vilas Title              Electronic escrow instructions for
           23                                        (Wisconsin)                Service Inc., 133        reinvesting $900,000 of
                                                                                E Division St,           converted proceeds of money
           24
                                                                                Eagle River, WI          laundering into Real Estate
           25                                                                   54521, United            Property 1.
                                                                                States
           26
                  Wire          7/3/2019             Barbara Reed               Reed                     Instructions how to conceal or
           27                                        (Wisconsin)                (Wisconsin)              disguise the nature, the location,
                                                                                                         the source, the ownership, or the
           28
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             1                                                                                           control of the proceeds of
                                                                                                         unlawful activity taking place on
             2                                                                                           BitMEX platform using real
             3                                                                                           estate investments in Wisconsin.

             4    Wire          7/3/2019             Trace L.Reed               Reed                     Instructions how to conceal or
                                                     (Wisconsin)                (Wisconsin)              disguise the nature, the location,
             5                                                                                           the source, the ownership, or the
                                                                                                         control of the proceeds of
             6                                                                                           unlawful activity taking place on
             7                                                                                           BitMEX platform using real
                                                                                                         estate investments in Wisconsin.
             8
                  Wire          7/14/2019            Reed                       BitMEX/ABS               Trading orders (BUY MARKET
             9                                       (Wisconsin)                (San Francisco)          NN) to inject false information as
                                                                                                         to market forces of supply and
           10                                                                                            demand into cryptocurrency
           11                                                                                            markets and mislead traders to
                                                                                                         open unfavorable trading
           12                                                                                            positions to be subsequently
                                                                                                         liquidated, see Paragraphs 153-
           13                                                                                            155, 164, 336-348.
           14     Wire          7/14/2019            Reed                       BitStamp                 Trading orders (BUY MARKET
                                                     (Wisconsin)                (Denver)                 NN) to inject false information as
           15
                                                                                                         to market forces of supply and
           16                                                                                            demand into cryptocurrency
                                                                                                         markets and mislead traders to
           17                                                                                            open unfavorable trading
                                                                                                         positions to be subsequently
           18                                                                                            liquidated, see Paragraphs 153-
                                                                                                         155, 164, 336-348.
           19
           20     Wire          7/14/2019            Reed                       Bitcoin Network          Instruction for electronically
                                                     (Wisconsin)                (Cloud)                  transferring (depositing) ether
           21                                                                                            funds to be used for manipulation
                                                                                                         into a helper account on
           22                                                                                            BitStamp.
           23     Wire          7/14/2019            Reed                       BitStamp                 Electronic computer instruction
           24                                        (Wisconsin)                (Denver)                 to execute large market trading
                                                                                                         order (SELL MARKET NN) on
           25                                                                                            ETH/USD order book from
                                                                                                         helper account with maximum
           26                                                                                            slippage to deliberately move
                                                                                                         BitMEX .BETH index price.
           27
           28     Wire          7/14/2019            Reed                       BitMEX/ABS               Computer instruction to execute
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             1                                       (Wisconsin)                (San Francisco)          server freeze application to freeze
                                                                                                         BitMEX servers and to initiate
             2                                                                                           accepting orders on only one side
             3                                                                                           of the market to exacerbate the
                                                                                                         price move.
             4
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS               Computer instruction to test and
             5                                       Kong)                      (San Francisco)          prepare liquidation engine for
                                                                                                         deployment and deploy
             6                                                                                           liquidation engine to liquidate
             7                                                                                           trader accounts.

             8    Wire          7/14/2019            Reed                       BitMEX/ABS               Computer instruction to executed
                                                     (Wisconsin)                (San Francisco)          orders to capture multiplied (due
             9                                                                                           to disparity in liquidity)
                                                                                                         manipulation profits caused by
           10                                                                                            the deliberate index price move
           11                                                                                            using winner account(s) on
                                                                                                         BitMEX.
           12
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS               Computer instruction to transfer
           13                                        Kong)                      (San Francisco)          trader liquidation proceeds from
                                                                                                         trader wallets into Insurance
           14                                                                                            Fund bitcoin wallet.
           15     Wire          7/14/2019            Reed                       BitMEX/ABS               Computer instruction to
           16                                        (Wisconsin)                (San Francisco)          electronically transfer (withdraw)
                                                                                                         funds from winner account(s)
           17                                                                                            into bitcoin wallet.

           18     Wire          7/14/2019            Hayes (New                 Bitcoin Network          Instruction for electronically
                                                     York)                      (Cloud)                  transferring (depositing) bitcoin
           19                                                                                            funds from bitcoin wallet to
           20                                                                                            account on Coinbase exchange.

           21     Wire          7/14/2019            Hayes (New                 Coinbase (San            Trading orders to convert bitcoin
                                                     York)                      Francisco)               proceeds of market manipulation
           22                                                                                            into United States dollars.
           23     Wire          7/14/2019            Hayes (New                 Coinbase (San            Instruction for electronically
                                                     York)                      Francisco)               transferring converted U.S. dollar
           24
                                                                                                         proceeds of market manipulation
           25                                                                                            to bank accounts of HDR Global
                                                                                                         Trading Limited, ABS Global
           26                                                                                            Trading Limited, Hayes, Delo
                                                                                                         and Reed.
           27
                  Wire          8/16/2019            Reed                       Coinbase (San            Electronic wire transfer
           28
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             1                                       (Wisconsin)                Francisco)               instructions for transferring
                                                                                                         $1,425,000 of converted proceeds
             2                                                                                           of market manipulation to Ligris
             3                                                                                           + Associates, 399 Boylston St f7,
                                                                                                         Boston, MA 02116, United
             4                                                                                           States.

             5    Wire          8/16/2019            Reed                       Ligris +                 Electronic escrow instructions for
                                                     (Wisconsin)                Associates, 399          reinvesting $1,425,000 of
             6                                                                  Boylston St f7,          converted proceeds of money
             7                                                                  Boston, MA               laundering into Real Estate
                                                                                02116, United            Property 2.
             8                                                                  States

             9    Wire          08/29/2019           Agata Reed                 Secretary of the         Order to form Grape Park LLC
                                                     (Massachusetts)            State of                 and to add an officer Agata Maria
           10                                                                   Delaware                 Reed with the purpose to conceal
           11                                                                                            or disguise the nature, the
                                                                                                         location, the source, the
           12                                                                                            ownership, or the control of the
                                                                                                         proceeds of unlawful activity
           13                                                                                            taking place on BitMEX platform
                                                                                                         using real estate investments in
           14                                                                                            Massachusetts.
           15
                  Wire          11/20/2019           Reed                       Agata Reed               Instructions to form Grape Park
           16                                        (Wisconsin)                (Massachusetts)          LLC in Massachusetts, a branch
                                                                                                         of Defendant Grape Park LLC,
           17                                                                                            with the purpose to conceal or
                                                                                                         disguise the nature, the location,
           18                                                                                            the source, the ownership, or the
                                                                                                         control of the proceeds of
           19
                                                                                                         unlawful activity taking place on
           20                                                                                            BitMEX platform using real
                                                                                                         estate investments in
           21                                                                                            Massachusetts.
           22     Wire          11/20/2019           Agata Reed                 Secretary of the         Order to form Grape Park LLC
                                                     (Massachusetts)            Commonwealth             and to add an officer Agata Maria
           23
                                                                                of Massachusetts         Reed with the purpose to conceal
           24                                                                                            or disguise the nature, the
                                                                                                         location, the source, the
           25                                                                                            ownership, or the control of the
                                                                                                         proceeds of unlawful activity
           26                                                                                            taking place on BitMEX platform
                                                                                                         using real estate investments in
           27
                                                                                                         Massachusetts.
           28
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             1
                  Wire          3/12/2020            Hayes (New                 Reed                     Direction to take BitMEX
             2                                       York)                      (Wisconsin)              platform offline to liquidate
                                                                                                         traders while avoiding tapping
             3                                                                                           into Insurance Fund.
             4    Wire          3/12/2020            Reed                       Site Reliability         Instruction to take BitMEX
                                                     (Wisconsin)                Engineers Jerry          platform offline to liquidate
             5
                                                                                Aldrich, Scott H.        traders while avoiding tapping
             6                                                                  and Armando              into Insurance Fund.
                                                                                Cerna (San
             7                                                                  Francisco)
             8            383.       Plaintiffs are informed and believe and thereon allege that the electronic wire
             9    transmission alleged in the previous Paragraph were repeated by Defendants, almost exactly,
           10     during other Manipulation Times, alleged in Paragraph 372 above.
           11             384.       Additional and other facts regarding Defendants’ fraudulent wire communications
           12     are hidden from Plaintiffs at this time. Such information is uniquely within Defendants’
           13     possession, custody and control. To date, Defendants provided absolutely no discovery to
           14     Plaintiffs what so ever, despite being served with multiple discovery requests, which Defendants
           15     stonewalled. Plaintiffs accordingly reserve the right to supplement and amend these allegations
           16     of Defendants’ fraudulent wire communications, if appropriate or necessary, following
           17     completion of relevant fact discovery.
           18         MARKET MANIPULATION EVENT ON AUGUST 2, 2020 AND DELETION OF
                                  EVIDENCE THEREOF BY DEFENDANTS
           19
           20             385.       Bitcoin suffered a price drop of $1,500 within few minutes on Sunday, August 2,

           21     2020. The sudden slide caught many traders off guard, liquidating nearly $1.4 billion worth of

           22     positions across major exchanges. The price drop triggered $144 million worth of sell

           23     liquidations or forced closure of long positions on BitMEX.

           24             386.       Shortly after the crash, on August 2, 2020, at 8:44PM EDT, a brand new account

           25     suddenly popped up on the number one spot on the BitMEX Leaderboard showing nearly

           26     $120,000,000 in profit. Plaintiffs are informed and believe and thereon allege that the aforesaid

           27     Leaderboard account was the winner account of Defendants Hayes, Delo and Reed, which was

           28     used by said Defendants to capture the manipulation winnings induced by said Defendants
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           27     placing large market orders with maximum slippage from helper accounts on United States based

           28     exchanges Kraken, Coinbase Pro and Kraken to deliberately move the .BXBT index price, which
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             1
                  resulted in the aforesaid August 2, 2020, $1,500 bitcoin price crash and the $144 million worth of
             2
                  sell liquidations of BitMEX Perpetual Swap contracts, which are priced based on the aforesaid
             3
                  .BXBT index price manipulated by Defendants.
             4
                           387.        The aforesaid evidence of the winner manipulation account on BitMEX was
             5
                  deleted by Defendants just one hour later, at 9:45PM EDT. Plaintiffs are informed and believe
             6
                  and thereon allege that the aforesaid Leaderboard account was accidentally listed on the BitMEX
             7
                  Leaderboard and then, upon discovery, immediately deleted by Defendants, who tried to cover up
             8
                  their market manipulation acts and destroy relevant evidence. Plaintiffs are informed and believe
             9
                  and thereon allege that the aforesaid amount of $120,000,000 in the winner account was
           10
                  Defendants’ profit from perpetrating the aforesaid bitcoin market manipulation event of August 2,
           11
                  2020.
           12
                           388.       Plaintiffs are informed and believe and thereon allege that the second highest
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             1
                  ranked BitMEX Leaderboard account Quick-Grove-Mind with almost $100,000,000 profit is also
             2
                  a manipulation winner account of the Defendants that was used to capture market manipulation
             3
                  profits. The multimillion-dollar profit gains in that account exactly match the known bitcoin
             4
                  market manipulation events that took place on or about September 24, 2019, November 18-19,
             5
                  2019 and March 11-12, 2020, when the .BXBT index price of bitcoin was manipulated by
             6
                  Defendants by placing large sell market orders on United States based Kraken, Coinbase Pro and
             7
                  BitStamp exchanges, the pricing data from which is used in the .BXBT index calculation, based
             8
                  on which the BitMEX Perpetual Swap contract traded by Plaintiffs is priced, in order to
             9
                  intentionally liquidate BitMEX retail traders, including Plaintiffs. Notably, this manipulation
           10
                  winner account also miraculously avoided any and all trading losses, posting only multimillion-
           11
                  dollar market manipulation gains.
           12
                         389.       Plaintiffs are informed and believe that Defendants engaged in systematic
           13
                  destruction of critical manipulation evidence, including manipulator identities, as alleged, for
           14
                  example, in CFTC Complaint, Ex. 5, p. 16, ¶ 49.
           15
                         390.       Moreover, after instituting KYC and AML check on or about August 14, 2020,
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             1
                  Defendants systematically deleted evidence of market manipulation, including manipulator
             2
                  identities and their trading records, under the pretense of users’ “right to be forgotten.”
             3
                   MORE THAN HALF OF TOP BITMEX TRADERS EARNING OVER $1B IN PROFITS
             4                     ENGAGED IN MONEY LAUNDERING
             5           391.       On or about November 5, 2020, BitMEX updated its leaderboard after supposedly
             6    completing KYC and AML verification for all users. Below is a leaderboard from August 2,
             7    2020, with traders who could not pass the KYC and AML verification marked. Spots on the
             8    leaderboard are very valuable and traders would not easily forgo being listed there. Thus, more
             9    than half of top BitMEX traders earning over $1B in profits were unable to pass KYC and AML
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           26     checks and, therefore, engaged in money laundering and other illegal acts. This is truly
           27     staggering and it proves the truly astonishing amount of money laundering that took place on
           28
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             1
                  BitMEX, as alleged herein.
             2
                          392.      Moreover, the clear manipulator account Quick-Grove-Mind with $100M
             3
                  manipulation profits listed above, whose multi million dollar profit spikes exactly match known
             4
                  market manipulation events, magically avoiding all market losses, did not pass the KYC and
             5
                  AML checks, which is another indication that this is a market manipulator.
             6
                      MARKET MANIPULATION DRAMATICALLY SUBSIDED AFTER CRIMINAL
             7                 INDICTMENTS AND ARRESTS OF DEFENDANTS
             8            393.      Shortly after Defendants were criminally indicted by the DOJ and Defendant Reed
             9    was arrested on October 1, 2020, the amount of market manipulation dropped dramatically and
           10     bitcoin steadily rallied in price from under $10,000 to over $18,500. It can be clearly seen that
           11     this bitcoin rally was caused, in a large part, by Defendants being taken down by DOJ and CFTC,
           12     as well as by private party lawsuits, and by Defendant Reed being prevented from manipulating
           13     the markets.
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                                                         COUNT I
           24      (Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
                                Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c))
           25
                          394.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-393 above as if fully
           26
                  set forth herein.
           27
                          395.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           28
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             1
                  Exchange, Hayes, Delo and Reed (the “Count I Defendants”).
             2
                         396.       During Relevant Period, Enterprise engaged in activities that affect interstate
             3
                  commerce. The Count I Defendants are employed by or associated with the Enterprise.
             4
                         397.       Allegations of specific acts constituting fraud set forth in Paragraphs 336-348, 375,
             5
                  382 above are incorporated as if fully set forth herein.
             6
                         398.       The Count I Defendants agreed to and did conduct and participate in the conduct
             7
                  of the Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose
             8
                  of intentionally defrauding Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as
             9
                  other cryptocurrency traders and misappropriating their cryptocurrency holdings as well as the
           10
                  Purposes alleged above. Specifically, Count I Defendants engaged in continuous pattern of
           11
                  racketeering activity involving, among other unlawful acts, operating an unlicensed money
           12
                  transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in violation of 18
           13
                  U.S.C. § 1956(a), monetary transactions in property derived from specified unlawful activity in
           14
                  violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate
           15
                  transportation of stolen property in violation 18 U.S.C. § 2314 and interstate and foreign travel or
           16
                  transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952. The alleged acts
           17
                  were perpetrated by Count I Defendants during Relevant Period on a daily basis, including during
           18
                  each of the Manipulation Times alleged in Paragraph 372 above, and continue to take place.
           19
                         399.       Pursuant to and in furtherance of their fraudulent scheme, Count I Defendants
           20
                  committed multiple related acts of operating an unlicensed money transmitting business in
           21
                  violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
           22
                  in monetary transactions in property derived from specified unlawful activity in violation of 18
           23
                  U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
           24
                  property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           25
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           26
                         400.       The acts of operating an unlicensed money transmitting business in violation of 18
           27
                  U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           28
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             1
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             2
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
             3
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             4
                  racketeering enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern of
             5
                  racketeering activity pursuant to 18 U.S.C. § 1961(5).
             6
                            401.       Plaintiffs are informed and believe and thereon allege that Defendants, and each of
             7
                  them, took part in directing the affairs of the alleged Enterprise by engaging in a continuing
             8
                  pattern of racketeering activity involving, among other unlawful acts, operating an unlicensed
             9
                  money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in violation
           10
                  of 18 U.S.C. § 1956(a), engaging in monetary transactions in property derived from specified
           11
                  unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343,
           12
                  interstate transportation of stolen property in violation 18 U.S.C. § 2314 and interstate and foreign
           13
                  travel or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952.
           14
                            402.       The Count I Defendants have directly and indirectly conducted and participated in
           15
                  the conduct of the enterprise’s affairs through the pattern of racketeering and activity described
           16
                  above, in violation of 18 U.S.C. § 1962(c).
           17
                            403.       Plaintiffs are informed and believe and thereon allege that Count I Defendants, and
           18
                  each of them, (1) gave or took directions; (2) occupied a position in the "chain of command"
           19
                  through which the affairs of the Enterprise are conducted; (3) knowingly implemented decisions
           20
                  of upper management; and (4) were indispensable to the achievement of the alleged Enterprise’s
           21
                  goals.
           22
                            404.       Plaintiffs are informed and believe and thereon allege that Count I Defendants, and
           23
                  each of them, conducted or participated in the conduct of the affairs of the alleged Enterprise
           24
                  engaging in a continuing pattern of racketeering activity involving, among other unlawful acts,
           25
                  operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money
           26
                  laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property
           27
                  derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in
           28
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             1
                  violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
             2
                  § 2314 and interstate and foreign travel or transportation in aid of racketeering enterprise in
             3
                  violation of 18 U.S.C. § 1952.
             4
                          405.      Plaintiffs are informed and believe and thereon allege that Defendants, and each of
             5
                  them, participated in a pattern of racketeering activity, which included at least two acts of
             6
                  racketeering activity including, without limitation, at least two acts of operating an unlicensed
             7
                  money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money
             8
                  laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions
             9
                  in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two
           10
                  acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of
           11
                  stolen property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel
           12
                  or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952. Count I
           13
                  Defendants, and each of them, committed the alleged predicate offenses as a part of conducting or
           14
                  participating in the Enterprise, and, therefore, is liable for the violation of the RICO, 18 U.S.C. §
           15
                  1964(c).
           16
                          406.      As a direct and proximate result of the Count I Defendants’, and each of them,
           17
                  conduct of or participation in the long-running Enterprise, within the meaning of 18 U.S.C. §
           18
                  1961(4), engaging in the continuing pattern of racketeering activity involving, among other
           19
                  unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
           20
                  1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           21
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           22
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           23
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           24
                  racketeering enterprise in violation of 18 U.S.C. § 1952, Plaintiffs BMA, Kolchin, Dubinin,
           25
                  Dolgov and Razvan have been domestically injured in its business and property in the amount to
           26
                  be proven at trial.
           27
                          407.      As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
           28
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             1
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
             2
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position14 that Plaintiff Dolgov
             3
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             4
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
             5
                  BitMEX platform through its commercial website interface www.bitmex.com. Plaintiff Dolgov
             6
                  is informed and believes and thereon alleges that this liquidation cascade and this loss was
             7
                  directly and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956
             8
                  and 1957 perpetrated by Defendants themselves, who acted in accordance with their individual
             9
                  roles alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12,
           10
                  375, 382 and involving placing large SELL market orders from helper account(s) on Kraken
           11
                  exchange and using winner account(s) on BitMEX to capture resulting profits, which further
           12
                  constituted an act of unlicensed effective transmissions of funds, representing market
           13
                  manipulation winnings, from helper account(s) to winner account(s), which Count I Defendants
           14
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
           15
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952
           16
                  and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           17
                         408.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           18
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           19
                  November 15, 2018, due to a liquidation cascade, when a long XBTUSD Swap position15 that
           20
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           21
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
           22
                  book of the BitMEX platform through its commercial website interface www.bitmex.com.
           23
                  14
           24        The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
                  by way of execution of BUY MARKET trading order placed prior to November 25, 2018, on the
           25     XBTUSD order book of the BitMEX platform through its commericl website interface
           26     www.bitmex.com.
                  15
                     The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 14, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  Plaintiff Dolgov is informed and believes and thereon alleges that this liquidation cascade and
             2
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
             3
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
             4
                  their individual roles alleged in Paragraph 380, according to a general scheme alleged in
             5
                  Paragraphs 6-10, 12, 375, 382 and involving placing large SELL market orders from helper
             6
                  account(s) on Kraken exchange and using winner account(s) on BitMEX to capture resulting
             7
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
             8
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
             9
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           10
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           11
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
           12
                  hereinabove.
           13
                         409.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 226
           14
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           15
                  November 14, 2018, due to a liquidation cascade, when a long XBTUSD Swap position16 that
           16
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           17
                  MARKET ALL’ trading order executed on or about November 14, 2018, on the XBTUSD order
           18
                  book of the BitMEX platform through its commercial website interface www.bitmex.com.
           19
                  Plaintiff Razvan is informed and believe and thereon alleges that this liquidation cascade and this
           20
                  loss was directly and proximately caused by an act of money laundering in violation of 18 U.S.C.
           21
                  §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with their
           22
                  individual roles alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-
           23
                  10, 12, 375, 382 and involving placing large SELL market orders from helper account(s) on
           24
                  Kraken exchange and using winner account(s) on BitMEX to capture resulting profits, which
           25
           26     16
                    The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 14, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  further constituted an act of unlicensed effective transmissions of funds, representing market
             2
                  manipulation winnings, from helper account(s) to winner account(s), which Count I Defendants
             3
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
             4
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952
             5
                  and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged hereinabove.
             6
                         410.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 21
             7
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             8
                  November 19, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
             9
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           10
                  MARKET ALL’ trading order executed on or about November 19, 2018, on the XBTUSD order
           11
                  book of the BitMEX platform through its commercial website interface www.bitmex.com.
           12
                  Plaintiff Razvan is informed and believes and thereon alleges that this liquidation cascade and
           13
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
           14
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
           15
                  their individual roles alleged in Paragraph 380, according to a general scheme alleged in
           16
                  Paragraphs 6-10, 12, 375, 382 and involving placing large SELL market orders from helper
           17
                  account(s) on Kraken exchange and using winner account(s) on BitMEX to capture resulting
           18
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
           19
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
           20
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           21
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           22
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
           23
                  hereinabove.
           24
                         411.       As yet another example, Plaintiff Dubinin sustained a domestic loss of at least 97
           25
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about
           26
                  November 15, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
           27
                  Plaintiff Dubinin directly and personally purchased and owned was liquidated by way of a ‘SELL
           28
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             1
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
             2
                  book of the Kraken platform through its commercial website interface www.kraken.com.
             3
                  Plaintiff Dubinin is informed and believes and thereon alleges that this liquidation cascade and
             4
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
             5
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
             6
                  their individual roles alleged in Paragraph 380, according to a general scheme alleged in
             7
                  Paragraphs 6-10, 12, 375, 382 and involving placing large SELL market orders from helper
             8
                  account(s) on Kraken exchange and using winner account(s) on BitMEX to capture resulting
             9
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
           10
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
           11
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           12
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           13
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
           14
                  hereinabove.
           15
                         412.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           16
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about May
           17
                  17, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           18
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           19
                  trading order executed on or about May 17, 2019, on the XBTUSD order book of the BitMEX
           20
                  platform through its commercial website interface www.bitmex.com. Plaintiff BMA is informed
           21
                  and believes and thereon alleges that this liquidation cascade and this loss was directly and
           22
                  proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and 1957
           23
                  perpetrated by Defendants themselves, who acted in accordance with their individual roles
           24
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
           25
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
           26
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
           27
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
           28
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             1
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
             2
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
             3
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
             4
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
             5
                         413.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
             6
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about June
             7
                  26, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
             8
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             9
                  trading order executed on or about June 26, 2019, on the XBTUSD order book of the Kraken
           10
                  platform through its commercial website interface www.kraken.com. Plaintiff BMA is informed
           11
                  and believes and thereon alleges that this liquidation cascade and this loss was directly and
           12
                  proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and 1957
           13
                  perpetrated by Defendants themselves, who acted in accordance with their individual roles
           14
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
           15
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
           16
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
           17
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
           18
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
           19
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           20
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
           21
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           22
                         414.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 1.18
           23
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           24
                  14, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff Kolchin
           25
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           26
                  trading order executed on or about July 14, 2019, on the XBTUSD order book of the BitMEX
           27
                  platform through its commercial website interface www.bitmex.com, Ex. 15. Plaintiff Kolchin is
           28
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             1
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
             2
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
             3
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
             4
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
             5
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
             6
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
             7
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
             8
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
             9
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           10
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
           11
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           12
                         415.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 2.81
           13
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           14
                  14, 2019, due to a liquidation cascade, when long ETHUSD Swap position that Plaintiff Kolchin
           15
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           16
                  trading order executed on or about July 14, 2019, on the ETHUSD order book of the BitMEX
           17
                  platform through its commercial website interface www.bitmex.com, Ex. 15. Plaintiff Kolchin is
           18
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
           19
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
           20
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
           21
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
           22
                  and involving placing large SELL market orders from helper account(s) on ETH order book of
           23
                  U.S. based BitStamp exchange and using winner account(s) on BitMEX to capture resulting
           24
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
           25
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
           26
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           27
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           28
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             1
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
             2
                  hereinabove.
             3
                         416.       The aforesaid amounts constitute concrete financial losses of Plaintiffs BMA,
             4
                  Kolchin, Dubinin, Dolgov and Razvan. Absent Defendants’ effective transmissions of funds
             5
                  alleged above, these losses would not have taken place.
             6
                         417.       Count I Defendants’ effective transmissions of funds, alleged above, were
             7
                  conducted by Count I Defendants through the same commercial website BitMEX.com, which was
             8
                  and is being extensively used by residents of the United States and this District. Therefore, Count
             9
                  I Defendants’ effective transmissions of funds, which injured Plaintiffs, were directly related to
           10
                  the Count I Defendants’ contacts with the United States and this District.
           11
                         418.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
           12
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           13
                  alleged in Paragraph 108, and almost all vital external service providers to BitMEX, as alleged in
           14
                  Paragraph 90, are located in this District, and because Defendant ABS, which formally employs
           15
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           16
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           17
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           18
                  Specifically, Plaintiffs are informed and believe and thereon allege that three Site Reliability
           19
                  Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within this
           20
                  District, BitMEX servers to freeze during Manipulation Times alleged in Paragraph 372 above,
           21
                  on the direction received from Defendant Reed, who was located in Wisconsin.
           22
                         419.       In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           23
                  single enterprise with extensive presence in this District (over 80 employees). Moreover, the
           24
                  alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
           25
                  by United States based Amazon EKS with offices in this District. Furthermore, the helper
           26
                  accounts that were vital for Defendants and other perpetrators to manipulate the prices of
           27
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
           28
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             1
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
             2
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which
             3
                  are located in the District. Defendants transferred funds to and from those vital United States
             4
                  based accounts in order to conduct the affairs of the Enterprise.
             5
                          420.      Therefore, Count I Defendants, and each of them, are liable, jointly and severally,
             6
                  to Plaintiffs’ under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(c) in the
             7
                  amount of triple of Plaintiffs’ losses to be proven at trial.
             8
                                                        COUNT II
             9     (Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           10              A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d))
                          421.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-420 above as if fully
           11
                  set forth herein.
           12
                          422.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           13
                  Exchange, Hayes, Delo and Reed (the “Count II Defendants”).
           14
                          423.      As set forth above, the Count II Defendants agreed and conspired to violate 18
           15
                  U.S.C. § 1962(a) (b) and (c). Specifically, Count II Defendants conspired to: (1) use or invest
           16
                  income that is derived from a pattern of racketeering activity alleged hereinabove in the interstate
           17
                  Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the Enterprise through a
           18
                  pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
           19
                  participate in the conduct of the affairs of the Enterprise through a pattern of racketeering activity
           20
                  alleged hereinabove (18 U.S.C. § 1962(c)).
           21
                          424.      The Count II Defendants have intentionally conspired and agreed to directly and
           22
                  indirectly use or invest income that is derived from a pattern of racketeering activity in an
           23
                  interstate enterprise, acquire or maintain interests in the enterprise through a pattern of
           24
                  racketeering activity alleged hereinabove, and conduct and participate in the conduct of the affairs
           25
                  of the enterprise through a pattern of racketeering activity alleged hereinabove. The Count II
           26
                  Defendants knew that their predicate acts were part of a pattern of racketeering activity alleged
           27
                  hereinabove and agreed to the commission of those acts to further the schemes described above.
           28
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             1
                  That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(a), (b) and (c), in violation of
             2
                  18 U.S.C. § 1962(d).
             3
                            425.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
             4
                  and each of them, intended to further the operation of an unlicensed money transmitting business
             5
                  in violation of 18 U.S.C. § 1960(a).
             6
                            426.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
             7
                  and each of them, intended to further the money laundering endeavor in violation of 18 U.S.C.
             8
                  § 1956.
             9
                            427.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           10
                  and each of them, intended to further the transactions in property derived from specified unlawful
           11
                  activity in violation of 18 U.S.C. § 1957.
           12
                            428.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           13
                  and each of them, intended to further the wire fraud in violation of 18 U.S.C. § 1343.
           14
                            429.    Allegations of specific acts constituting fraud set forth in Paragraphs 336-348, 375,
           15
                  382 above are incorporated as if fully set forth herein.
           16
                            430.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           17
                  and each of them, intended to further the interstate transportation of stolen property in violation of
           18
                  18 U.S.C. § 2314.
           19
                            431.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           20
                  and each of them, intended to further the interstate and foreign travel or transportation in aid of
           21
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           22
                            432.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           23
                  and each of them, have been aware of the essential nature and scope of the alleged Enterprise and
           24
                  intended to participate in it.
           25
                            433.    Plaintiffs are informed and believe and thereon allege that Count II Defendants,
           26
                  and each of them, agreed to commit, or participate in, the violation of two predicate offenses,
           27
                  namely at least two acts of operating an unlicensed money transmitting business in violation of 18
           28
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             1
                  U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least
             2
                  two acts of engaging in monetary transactions in property derived from specified unlawful
             3
                  activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C.
             4
                  § 1343, at least two acts of interstate transportation of stolen property in violation 18 U.S.C.
             5
                  § 2314 and at least two acts of interstate and foreign travel or transportation in aid of racketeering
             6
                  enterprise in violation of 18 U.S.C. § 1952.
             7
                         434.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
             8
                  the Defendants committed and caused to be committed the following acts, among others, alleged
             9
                  in this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           10
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           11
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           12
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           13
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
           14
                  4) failing to perform KYC and AML checks, as required by law; 5) failing to engage in market
           15
                  surveillance to detect manipulation and other illegal acts; 6) weaponizing deliberate server
           16
                  freezes, using fraudulent “system overload” events to accept some trading orders and reject others
           17
                  during large market moves to exacerbate price fluctuations and cause the most liquidations; and
           18
                  7) regularly manipulating price of cryptocurrencies including, without limitation, bitcoin, by
           19
                  executing large market orders on illiquid spot exchanges Kraken, Coinbase and BitStamp, in
           20
                  order to cause massive liquidations in traders’ derivatives positions on BitMEX.
           21
                         435.       As direct and proximate result of the Count II Defendants’ conspiracy, the overt
           22
                  acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiffs have
           23
                  been injured in his business and property in the amount to be proven at trial.
           24
                         436.       As a proximate result of the Count II Defendants’, and each of them, conspiracy to
           25
                  conduct or participate in the long-running Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           26
                  engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           27
                  at least two acts of operating an unlicensed money transmitting business in violation of 18 U.S.C.
           28
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             1
                  § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts
             2
                  of engaging in monetary transactions in property derived from specified unlawful activity in
             3
                  violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
             4
                  least two acts of interstate and foreign travel or transportation in aid of racketeering enterprise in
             5
                  violation of 18 U.S.C. § 1952, at least two acts of interstate transportation of stolen property in
             6
                  violation 18 U.S.C. § 2314 and at least two acts as alleged in Paragraphs 336-348, 375-378, 382
             7
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan sustained concrete and certain monetary
             8
                  cryptocurrency trading losses in the amount to be proven at trial.
             9
                         437.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
           10
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
           11
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position17 that Plaintiff Dolgov
           12
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           13
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
           14
                  BitMEX platform through its commercial website interface www.bitmex.com. Plaintiff Dolgov
           15
                  is informed and believes and thereon alleges that this liquidation cascade and this loss was
           16
                  directly and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956
           17
                  and 1957 perpetrated by Defendants themselves, who acted in accordance with their individual
           18
                  roles alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12,
           19
                  375, 382 and involving placing large SELL market orders from helper account(s) on Kraken
           20
                  exchange and using winner account(s) on BitMEX to capture resulting profits, which further
           21
                  constituted an act of unlicensed effective transmissions of funds, representing market
           22
                  manipulation winnings, from helper account(s) to winner account(s), which Count I Defendants
           23
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
           24
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952
           25
           26     17
                    The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 25, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged hereinabove.
             2
                         438.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
             3
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             4
                  November 15, 2018, due to a liquidation cascade, when XBTUSD Swap position that Plaintiff
             5
                  Dolgov directly and personally purchased and owned was liquidated or closed. Plaintiff Dolgov
             6
                  is informed and believes and thereon alleges that this liquidation cascade and this loss was
             7
                  directly and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956
             8
                  and 1957 perpetrated by Defendants themselves, who acted in accordance with their individual
             9
                  roles alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12,
           10
                  375, 382 and involving placing large SELL market orders from helper account(s) on Kraken
           11
                  exchange and using winner account(s) on BitMEX to capture resulting profits, which further
           12
                  constituted an act of unlicensed effective transmissions of funds, representing market
           13
                  manipulation winnings, from helper account(s) to winner account(s), which Count I Defendants
           14
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
           15
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952
           16
                  and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           17
                         439.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 226
           18
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           19
                  November 14, 2018, due to a liquidation cascade, when a long XBTUSD Swap position18 that
           20
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           21
                  MARKET ALL’ trading order executed on or about November 25, 2018, on the XBTUSD order
           22
                  book of the BitMEX platform through its commercial website interface www.bitmex.com.
           23
                  Plaintiff Razvan is informed and believe and thereon alleges that this liquidation cascade and this
           24
                  loss was directly and proximately caused by an act of money laundering in violation of 18 U.S.C.
           25
           26     18
                    The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 14, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with their
             2
                  individual roles alleged in P Paragraph 380, according to a general scheme alleged in Paragraphs
             3
                  6-10, 12, 375, 382 and involving placing large SELL market orders from helper account(s) on
             4
                  Kraken exchange and using winner account(s) on BitMEX to capture resulting profits, which
             5
                  further constituted an act of unlicensed effective transmissions of funds, representing market
             6
                  manipulation winnings, from helper account(s) to winner account(s), which Count I Defendants
             7
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
             8
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952
             9
                  and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           10
                         440.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 21
           11
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           12
                  November 19, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
           13
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           14
                  MARKET ALL’ trading order executed on or about November 19, 2018, on the XBTUSD order
           15
                  book of the BitMEX platform through its commercial website interface www.bitmex.com.
           16
                  Plaintiff Razvan is informed and believes and thereon alleges that this liquidation cascade and
           17
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
           18
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
           19
                  their individual roles alleged in Paragraph 380, according to a general scheme alleged in
           20
                  Paragraphs 6-10, 12, 375, 382 and involving placing large SELL market orders from helper
           21
                  account(s) on Kraken exchange and using winner account(s) on BitMEX to capture resulting
           22
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
           23
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
           24
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           25
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           26
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
           27
                  hereinabove.
           28
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             1
                         441.       As yet another example, Plaintiff Dubinin sustained a domestic loss of at least 97
             2
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about
             3
                  November 15, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
             4
                  Plaintiff Dubinin directly and personally purchased and owned was liquidated by way of a ‘SELL
             5
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
             6
                  book of the Kraken platform through its commercial website interface www.kraken.com.
             7
                  Plaintiff Dubinin is informed and believes and thereon alleges that this liquidation cascade and
             8
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
             9
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
           10
                  their individual roles alleged in Paragraph 380, according to a general scheme alleged in
           11
                  Paragraphs 6-10, 12, 375, 382 and involving placing large SELL market orders from helper
           12
                  account(s) on Kraken exchange and using winner account(s) on BitMEX to capture resulting
           13
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
           14
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
           15
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
           16
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
           17
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
           18
                  hereinabove.
           19
                         442.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           20
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about May
           21
                  17, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           22
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           23
                  trading order executed on or about May 17, 2019, on the XBTUSD order book of the BitMEX
           24
                  platform through its commercial website interface www.bitmex.com. Plaintiff BMA is informed
           25
                  and believes and thereon alleges that this liquidation cascade and this loss was directly and
           26
                  proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and 1957
           27
                  perpetrated by Defendants themselves, who acted in accordance with their individual roles
           28
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             1
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
             2
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
             3
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
             4
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
             5
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
             6
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
             7
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
             8
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
             9
                         443.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           10
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about June
           11
                  26, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           12
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           13
                  trading order executed on or about June 26, 2019, on the XBTUSD order book of the Kraken
           14
                  platform through its commercial website interface www.kraken.com. Plaintiff BMA is informed
           15
                  and believes and thereon alleges that this liquidation cascade and this loss was directly and
           16
                  proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and 1957
           17
                  perpetrated by Defendants themselves, who acted in accordance with their individual roles
           18
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
           19
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
           20
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
           21
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
           22
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
           23
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           24
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
           25
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           26
                         444.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 1.18
           27
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           28
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             1
                  14, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff Kolchin
             2
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             3
                  trading order executed on or about July 14, 2019, on the XBTUSD order book of the BitMEX
             4
                  platform through its commercial website interface www.bitmex.com. Plaintiff Kolchin is
             5
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
             6
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
             7
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
             8
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
             9
                  and involving placing large SELL market orders from helper account(s) on Kraken exchange and
           10
                  using winner account(s) on BitMEX to capture resulting profits, which further constituted an act
           11
                  of unlicensed effective transmissions of funds, representing market manipulation winnings, from
           12
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
           13
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           14
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
           15
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           16
                         445.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 2.81
           17
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           18
                  14, 2019, due to a liquidation cascade, when long ETHUSD Swap position that Plaintiff Kolchin
           19
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           20
                  trading order executed on or about July 14, 2019, on the ETHUSD order book of the BitMEX
           21
                  platform through its commercial website interface www.bitmex.com. Plaintiff Kolchin is
           22
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
           23
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
           24
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
           25
                  alleged in Paragraph 380, according to a general scheme alleged in Paragraphs 6-10, 12, 375, 382
           26
                  and involving placing large SELL market orders from helper account(s) on ETH order book of
           27
                  U.S. based BitStamp exchange and using winner account(s) on BitMEX to capture resulting
           28
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             1
                  profits, which further constituted an act of unlicensed effective transmissions of funds,
             2
                  representing market manipulation winnings, from helper account(s) to winner account(s), which
             3
                  Count I Defendants willfully and deliberately caused with full knowledge of the nature and
             4
                  purpose of the funds involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. §
             5
                  1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314, in a manner alleged
             6
                  hereinabove.
             7
                            446.       The aforesaid amounts constitute concrete financial losses of Plaintiffs. Absent
             8
                  Defendants’ effective transmissions of funds alleged above, these losses would not have taken
             9
                  place.
           10
                            447.       Count II Defendants’ effective transmissions of funds, alleged above, were
           11
                  conducted by Count II Defendants through the same commercial website BitMEX.com, which
           12
                  was and is being extensively used by residents of the United States and this District. Therefore,
           13
                  Count II Defendants’ effective transmissions of funds, which injured Plaintiffs, were directly
           14
                  related to the Count II Defendants’ contacts with the United States and this District.
           15
                            448.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
           16
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           17
                  alleged in Paragraph 108, and almost all vital external service providers to BitMEX, as alleged in
           18
                  Paragraph 90, are located in this District, and because Defendant ABS, which formally employs
           19
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           20
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           21
                  the location where the illegal acts and the resulting injuries as alleged herein took place. In
           22
                  addition, Defendant HDR as well its California alter ego Defendant ABS is a single enterprise
           23
                  with extensive presence in this District (over 70 employees). Specifically, Plaintiffs are informed
           24
                  and believe and thereon allege that three Site Reliability Engineers Jerry Aldrich, Scott H. and
           25
                  Armando Cerna personally caused, from within this District, BitMEX servers to freeze during
           26
                  Manipulation Times, alleged in Paragraph 372 above, on the direction received from Defendant
           27
                  Reed, who was located in Wisconsin. Moreover, the alleged illegal acts were all performed on
           28
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             1
                  servers and other IT infrastructure owned and operated by United States based Amazon EKS with
             2
                  offices in this District. Furthermore, the helper accounts that were vital for Defendants and other
             3
                  perpetrators to manipulate the prices of cryptocurrencies and cryptocurrency derivatives in
             4
                  violation of CEA and to launder funds in violation of 18 U.S.C. § 1956(a), as alleged in this
             5
                  Complaint, were all maintained on United States based cryptocurrency spot exchanges BitStamp,
             6
                  Kraken and Coinbase Pro, two of which are located in the District. Defendants transferred funds
             7
                  to and from those vital United States based accounts in order to conduct the affairs of the
             8
                  Enterprise.
             9
                          449.      Therefore, Count II Defendants, and each of them, are liable, jointly and severally,
           10
                  to Plaintiffs under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(d) in the
           11
                  amount of triple of Plaintiffs’ losses to be proven at trial.
           12
                                                       COUNT III
           13       (Use Of A Manipulative Or Deceptive Device Or Contrivance In Violation Of 7 U.S.C. §
           14                                             9(1))
                          450.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-449 above as if fully
           15
                  set forth herein.
           16
                          451.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           17
                  III Defendants”).
           18
                          452.      Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), makes it unlawful for “any person,
           19
                  directly or indirectly, to use or employ or attempt to use or employ, in connection with any swap,
           20
                  or a contract of sale of any commodity in interstate commerce, … any manipulative or deceptive
           21
                  device or contrivance, in contravention of such rules and regulations as the Commission shall
           22
                  promulgate.” Regulation 180.1 makes it unlawful for “any person, directly or indirectly, in
           23
                  connections with any swap, or contract of sale of any commodity in interstate commerce, … to
           24
                  intentionally or recklessly: (1) use or employ or attempt to use or employ, any manipulative
           25
                  device, scheme, or artifice to defraud;... (3) engage, or attempt to engage, in any act practice or
           26
                  course of business, which operates or would operate as a fraud or deceit upon any person....”
           27
                          453.      Count III Defendants, and each of them, intended to affect or acted recklessly with
           28
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             1
                  regards to affecting the prices of the bitcoin Perpetual Swap contracts and cash bitcoin and
             2
                  engaged in overt acts in furtherance of their intent.
             3
                         454.       By the foregoing conduct, Count III Defendants, and each of them, intentionally or
             4
                  recklessly used or employed or attempted to use or employ a manipulative device or artifice to
             5
                  defraud and engaged in or attempted to engage in any act, practice or course of business which
             6
                  operated or would operate as a fraud or deceit upon any person, in violation of Section 6(c)(1) of
             7
                  the CEA and Regulation 180.1. Allegations of specific acts constituting fraud set forth in
             8
                  Paragraphs 336-348, 375, 382 above are incorporated as if fully set forth herein.
             9
                         455.       Because the actions of Count III Defendants, and each of them, occurred within
           10
                  the scope of their employment, office, or agency with Defendant HDR, this Defendant is liable as
           11
                  a principal for their violations of Section 6(c)(1) and Regulation 180.1 pursuant to Section
           12
                  2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2 (2019).
           13
                         456.       Each and every overt action in furtherance of the attempt to manipulate prices, and
           14
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(1) of
           15
                  the CEA and Regulation 180.1.
           16
                         457.       As direct and proximate result of the Count III Defendants, and each of them, use
           17
                  of a manipulative device or artifice to defraud as alleged herein, in violation of Section 6(c)(1) of
           18
                  the CEA and Regulation 180.1, including, without limitation, pumps and dumps, Barts,
           19
                  liquidation cascades and spoofing perpetrated by Count III Defendants, Plaintiffs BMA, Kolchin,
           20
                  Dubinin, Dolgov and Razvan have been domestically injured in its business and property in the
           21
                  amount to be proven at trial. These acts were an illegitimate part of the supply-demand equation,
           22
                  prevented true price discovery, and caused artificial pricing in the cryptocurrency market.
           23
                         458.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan directly traded XBTUSD
           24
                  Swap contracts at the at the time the alleged artificial price existed due to the wrongful conduct of
           25
                  Count III Defendants and each of them.
           26
                         459.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
           27
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
           28
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             1
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position19 that Plaintiff Dolgov
             2
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             3
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
             4
                  BitMEX platform through its commercial website interface www.bitmex.com. The aforesaid
             5
                  liquidation and the associated loss took place by reason of an artificially low price that existed
             6
                  due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly
             7
                  and proximately caused by Count III Defendants’ and each of them use of manipulative or
             8
                  deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did not
             9
                  use the manipulative or deceptive device or contrivance on that day, the artificially low price
           10
                  would not have existed and the liquidation cascade would not have taken place. In connection
           11
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           12
                  with their individual roles alleged in Paragraph 380.
           13
                         460.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           14
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           15
                  November 15, 2018, due to a liquidation cascade, when a long XBTUSD Swap position20 that
           16
                  Plaintiff Dolgov directly and personally purchased and owned was liquidated by way of a ‘SELL
           17
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
           18
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
           19
                  aforesaid liquidation and the associated loss took place by reason of an artificially low price that
           20
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
           21
                  directly and proximately caused by Count III Defendants’ and each of them use of manipulative
           22
                  or deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did
           23
                  19
           24        The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
                  by way of execution of BUY MARKET trading order placed prior to November 25, 2018, on the
           25     XBTUSD order book of the BitMEX platform through its commericl website interface
           26     www.bitmex.com.
                  20
                     The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 15, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  not use the manipulative or deceptive device or contrivance on that day, the artificially low price
             2
                  would not have existed and the liquidation cascade would not have taken place. In connection
             3
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
             4
                  with their individual roles alleged in Paragraph 380.
             5
                         461.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 226
             6
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             7
                  November 14, 2018, due to a liquidation cascade, when a long XBTUSD Swap position21 that
             8
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
             9
                  MARKET ALL’ trading order executed on or about November 25, 2018, on the XBTUSD order
           10
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
           11
                  aforesaid liquidation and the associated loss took place by reason of an artificially low price that
           12
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
           13
                  directly and proximately caused by Count III Defendants’ and each of them use of manipulative
           14
                  or deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did
           15
                  not use the manipulative or deceptive device or contrivance on that day, the artificially low price
           16
                  would not have existed and the liquidation cascade would not have taken place. In connection
           17
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           18
                  with their individual roles alleged in Paragraph 380.
           19
                         462.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 21
           20
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           21
                  November 19, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
           22
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           23
                  MARKET ALL’ trading order executed on or about November 19, 2018, on the XBTUSD order
           24
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
           25
           26     21
                    The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 14, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  aforesaid liquidation and the associated loss took place by reason of an artificially low price that
             2
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
             3
                  directly and proximately caused by Count III Defendants’ and each of them use of manipulative
             4
                  or deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did
             5
                  not use the manipulative or deceptive device or contrivance on that day, the artificially low price
             6
                  would not have existed and the liquidation cascade would not have taken place. In connection
             7
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
             8
                  with their individual roles alleged in Paragraph 380.
             9
                         463.       As yet another example, Plaintiff Dubinin sustained a domestic loss of at least 97
           10
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about
           11
                  November 15, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
           12
                  Plaintiff Dubinin directly and personally purchased and owned was liquidated by way of a ‘SELL
           13
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
           14
                  book of the Kraken platform through its commercial website interface www.kraken.com. The
           15
                  aforesaid liquidation and the associated loss took place by reason of an artificially low price that
           16
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
           17
                  directly and proximately caused by Count III Defendants’ and each of them use of manipulative
           18
                  or deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did
           19
                  not use the manipulative or deceptive device or contrivance on that day, the artificially low price
           20
                  would not have existed and the liquidation cascade would not have taken place. In connection
           21
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           22
                  with their individual roles alleged in Paragraph 380.
           23
                         464.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           24
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about May
           25
                  17, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           26
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           27
                  trading order executed on or about May 17, 2019, on the XBTUSD order book of the BitMEX
           28
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             1
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
             2
                  and the associated loss took place by reason of an artificially low price that existed due to a
             3
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
             4
                  proximately caused by Count III Defendants’ and each of them use of manipulative or deceptive
             5
                  device or contrivance on that day as alleged in Paragraphs above. If Defendants did not use the
             6
                  manipulative or deceptive device or contrivance on that day, the artificially low price would not
             7
                  have existed and the liquidation cascade would not have taken place. In connection with the use
             8
                  of manipulative or deceptive device or contrivance, Defendants acted in accordance with their
             9
                  individual roles alleged in Paragraph 380.
           10
                         465.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           11
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about June
           12
                  26, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           13
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           14
                  trading order executed on or about June 26, 2019, on the XBTUSD order book of the Kraken
           15
                  platform through its commercial website interface www.kraken.com. The aforesaid liquidation
           16
                  and the associated loss took place by reason of an artificially low price that existed due to a
           17
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
           18
                  proximately caused by Count III Defendants’ and each of them use of manipulative or deceptive
           19
                  device or contrivance on that day as alleged in Paragraphs above. If Defendants did not use the
           20
                  manipulative or deceptive device or contrivance on that day, the artificially low price would not
           21
                  have existed and the liquidation cascade would not have taken place. In connection with the use
           22
                  of manipulative or deceptive device or contrivance, Defendants acted in accordance with their
           23
                  individual roles alleged in Paragraph 380.
           24
                         466.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 1.18
           25
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           26
                  14, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff Kolchin
           27
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           28
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             1
                  trading order executed on or about July 14, 2019, on the XBTUSD order book of the BitMEX
             2
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
             3
                  and the associated loss took place by reason of an artificially low price that existed due to a
             4
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
             5
                  proximately caused by Count III Defendants’ and each of them use of manipulative or deceptive
             6
                  device or contrivance on that day as alleged in Paragraphs above. If Defendants did not use the
             7
                  manipulative or deceptive device or contrivance on that day, the artificially low price would not
             8
                  have existed and the liquidation cascade would not have taken place. In connection with the use
             9
                  of manipulative or deceptive device or contrivance, Defendants acted in accordance with their
           10
                  individual roles alleged in Paragraph 380.
           11
                         467.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 2.81
           12
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           13
                  14, 2019, due to a liquidation cascade, when long ETHUSD Swap position that Plaintiff Kolchin
           14
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           15
                  trading order executed on or about July 14, 2019, on the ETHUSD order book of the BitMEX
           16
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
           17
                  and the associated loss took place by reason of an artificially low price that existed due to a
           18
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
           19
                  proximately caused by Count III Defendants’ and each of them use of manipulative or deceptive
           20
                  device or contrivance on that day as alleged in Paragraphs above. If Defendants did not use the
           21
                  manipulative or deceptive device or contrivance on that day, the artificially low price would not
           22
                  have existed and the liquidation cascade would not have taken place. In connection with the use
           23
                  of manipulative or deceptive device or contrivance, Defendants acted in accordance with their
           24
                  individual roles alleged in Paragraph 380.
           25
                         468.       The aforesaid amounts constitute concrete financial losses of Plaintiffs BMA,
           26
                  Kolchin, Dubinin, Dolgov and Razvan. Absent Defendants’ use of manipulative or deceptive
           27
                  device or contrivance alleged above, these losses would not have taken place.
           28
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             1
                         469.       Count III Defendants’ uses of manipulative or deceptive device or contrivance,
             2
                  alleged above, were conducted by Count III Defendants through the same commercial website
             3
                  BitMEX.com, which was and is being extensively used by residents of the United States and this
             4
                  District. Therefore, Count III Defendants’ uses of manipulative or deceptive device or
             5
                  contrivance, which injured Plaintiffs, were directly related to the Count III Defendants’ contacts
             6
                  with the United States and this District.
             7
                         470.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
             8
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             9
                  alleged in Paragraph 108, and almost all vital external service providers to BitMEX, as alleged in
           10
                  Paragraph 90, are located in this District, and because Defendant ABS, which formally employs
           11
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           12
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           13
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           14
                  Specifically, Plaintiffs are informed and believe and thereon allege that three Site Reliability
           15
                  Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within this
           16
                  District, BitMEX servers to freeze during Manipulation Times, alleged in Paragraph 372 above,
           17
                  on the direction received from Defendant Reed, who was located in Wisconsin. Moreover, the
           18
                  alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
           19
                  by United States based Amazon EKS with offices in this District. Specifically, Plaintiffs are
           20
                  informed and believe and thereon allege that three Site Reliability Engineers Jerry Aldrich, Scott
           21
                  H. and Armando Cerna personally caused, from within this District, BitMEX servers to freeze
           22
                  during Manipulation Times, alleged in Paragraph 372 above, on the direction received from
           23
                  Defendant Reed, who was located in Wisconsin. Furthermore, the helper accounts that were vital
           24
                  for Defendants and other perpetrators to manipulate the prices of cryptocurrencies and
           25
                  cryptocurrency derivatives in violation of CEA and to launder funds in violation of 18 U.S.C. §
           26
                  1956(a), as alleged in this Complaint, were all maintained on United States based cryptocurrency
           27
                  spot exchanges BitStamp, Kraken and Coinbase Pro, two of which are located in the District.
           28
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             1
                  Defendants transferred funds to and from those vital United States based accounts in order to
             2
                  conduct the affairs of the Enterprise.
             3
                          471.      Therefore, Count III Defendants, and each of them, are liable, jointly and
             4
                  severally, to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan under 7 U.S.C. § 25(a) in the
             5
                  amount to be proven at trial.
             6
                                                         COUNT IV
             7        (Manipulation And Attempted Manipulation Of Bitcoin Swaps And Cash Bitcoin In
                                     Violation Of 7 U.S.C. § 9(3) and 7 U.S.C. § 13(a)(2))
             8
                          472.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-471 above as if fully
             9
                  set forth herein.
           10
                          473.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           11
                  IV Defendants”).
           12
                          474.      Section 6(c)(3) of the CEA, 7 U.S.C. § 9(3), makes it unlawful for “any person,
           13
                  directly or indirectly, to manipulate or attempt to manipulate the price of any swap or of any
           14
                  commodity in interstate commerce...”
           15
                          475.      Section 9(a)(2) of the CEA, 7 U.S.C. § 13(a)(2), makes it unlawful for “[a]ny
           16
                  person to manipulate or attempt to manipulate the price of any commodity in interstate
           17
                  commerce, … or of any swap.”
           18
                          476.      Regulation 180.2 makes it “unlawful for any person, directly or indirectly, to
           19
                  manipulate or attempt to manipulate the price of any swap, or of any commodity in interstate
           20
                  commerce...”
           21
                          477.      Count IV Defendants, and each of them, possessed an ability to influence market
           22
                  prices of spot bitcoin and bitcoin derivatives, including Perpetual Swaps. Specifically, as Count
           23
                  IV Defendants, and each of them, accumulated hundreds of millions of dollars in bitcoin. With
           24
                  such a large amount of bitcoin available for trading, Count IV Defendants have had and continue
           25
                  to have the ability to move bitcoin market price and the price of Perpetual Swaps very
           26
                  substantially.
           27
                          478.      Plaintiffs are informed and believe and thereon allege that Count IV Defendants,
           28
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             1
                  and each of them, acting in furtherance of the manipulative, fraudulent and deceptive scheme to
             2
                  manipulate the prices of certain cryptocurrency derivatives, including, without limitation, bitcoin
             3
                  future contracts, bitcoin Perpetual Swaps, as well as the cash prices of cryptocurrencies,
             4
                  including, without limitation, cash bitcoin caused an artificial price of spot bitcoin and bitcoin
             5
                  derivatives. The artificial price was further caused by diminished investor confidence resulting
             6
                  from the abusive market conduct of Count IV Defendants.
             7
                           479.     Allegations of specific acts constituting fraud set forth in Paragraphs 336-348, 375,
             8
                  382 above are incorporated as if fully set forth herein. These acts were an illegitimate part of the
             9
                  supply-demand equation, prevented true price discovery, and caused artificial pricing in the
           10
                  cryptocurrency market.
           11
                           480.     Plaintiffs are informed and believe and thereon allege that Count IV Defendants,
           12
                  and each of them, caused an artificial price of spot bitcoin and bitcoin derivatives in order to
           13
                  trigger a specific price-based market event, such as a liquidation cascade or execution of stop loss
           14
                  orders of other traders.
           15
                           481.     Plaintiffs are informed and believe and thereon allege that Count IV Defendants,
           16
                  and each of them, specifically intended to cause the alleged artificial price of spot bitcoin and
           17
                  bitcoin derivatives in order to trigger a specific price-based market event, such as a liquidation
           18
                  cascade or execution of stop loss orders of other traders.
           19
                           482.     By the foregoing conduct, Count IV Defendants, and each of them, manipulated or
           20
                  attempted to manipulate the price of a swap and a price of the commodity in interstate commerce
           21
                  underlying such swap, in violation of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
           22
                  180.2.
           23
                           483.     Because the actions of Count IV Defendants, and each of them, occurred within
           24
                  the scope of their employment, office, or agency with Defendant HDR, and Defendants HDR is
           25
                  liable as a principal for their violations of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
           26
                  180.2 pursuant to Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17
           27
                  C.F.R. § 1.2 (2019).
           28
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             1
                         484.       Each and every overt action in furtherance of the attempt to manipulate prices, and
             2
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(3)
             3
                  and 9(a)(2) of the CEA and Regulation 180.2.
             4
                         485.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan traded the XBTUSD
             5
                  bitcoin swaps at the time the alleged artificial price existed due to the wrongful conduct of Count
             6
                  IV Defendants and each of them.
             7
                         486.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
             8
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
             9
                  2018, due to a liquidation cascade, when a long XBTUSD Swap position22 that Plaintiff Dolgov
           10
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           11
                  trading order executed on or about November 25, 2018, on the XBTUSD order book of the
           12
                  BitMEX platform through its commercial website interface www.bitmex.com. The aforesaid
           13
                  liquidation and the associated loss occurred by reason of an artificially low price that existed due
           14
                  to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
           15
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
           16
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
           17
                  price would not have existed and the liquidation cascade would not have taken place. In
           18
                  connection with the market manipulation, Defendants acted in accordance with their individual
           19
                  roles alleged in Paragraph 380.
           20
                         487.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           21
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           22
                  November 15, 2018, due to a liquidation cascade, when a long XBTUSD Swap position23 that
           23
                  22
           24        The long XBTUSD Swap position, position, as well as other similar positions (if any), were
                  purchased by way of execution of BUY MARKET trading order placed prior to November 25,
           25     2018, on the XBTUSD order book of the BitMEX platform through its commericl website
           26     interface www.bitmex.com.
                  23
                     The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 15, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  Plaintiff Dolgov directly and personally purchased and owned was liquidated by way of a ‘SELL
             2
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
             3
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
             4
                  aforesaid liquidation and the associated loss occurred by reason of an artificially low price that
             5
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
             6
                  directly and proximately caused by Count IV Defendants’ and each of them market manipulation
             7
                  on that day as alleged in Paragraphs above. If Defendants did not manipulate the market, the
             8
                  artificially low price would not have existed and the liquidation cascade would not have taken
             9
                  place. In connection with the market manipulation, Defendants acted in accordance with their
           10
                  individual roles alleged in Paragraph 380.
           11
                         488.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 226
           12
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           13
                  November 14, 2018, due to a liquidation cascade, when a long XBTUSD Swap position24 that
           14
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
           15
                  MARKET ALL’ trading order executed on or about November 14, 2018, on the XBTUSD order
           16
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
           17
                  aforesaid liquidation and the associated loss occurred by reason of an artificially low price that
           18
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
           19
                  directly and proximately caused by Count IV Defendants’ and each of them market manipulation
           20
                  on that day as alleged in Paragraphs above. If Defendants did not manipulate the market, the
           21
                  artificially low price would not have existed and the liquidation cascade would not have taken
           22
                  place. In connection with the market manipulation, Defendants acted in accordance with their
           23
                  individual roles alleged in Paragraph 380.
           24
                         489.       As yet another example, Plaintiff Razvan sustained a domestic loss of at least 21
           25
           26     24
                    The long XBTUSD Swap position, as well as other similar positions (if any), were purchased
           27     by way of execution of BUY MARKET trading order placed prior to November 14, 2018, on the
                  XBTUSD order book of the BitMEX platform through its commericl website interface
           28     www.bitmex.com.
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             1
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
             2
                  November 19, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
             3
                  Plaintiff Razvan directly and personally purchased and owned was liquidated by way of a ‘SELL
             4
                  MARKET ALL’ trading order executed on or about November 19, 2018, on the XBTUSD order
             5
                  book of the BitMEX platform through its commercial website interface www.bitmex.com. The
             6
                  aforesaid liquidation and the associated loss occurred by reason of an artificially low price that
             7
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
             8
                  directly and proximately caused by Count IV Defendants’ and each of them market manipulation
             9
                  on that day as alleged in Paragraphs above. If Defendants did not manipulate the market, the
           10
                  artificially low price would not have existed and the liquidation cascade would not have taken
           11
                  place. In connection with the market manipulation, Defendants acted in accordance with their
           12
                  individual roles alleged in Paragraph 380.
           13
                         490.       As yet another example, Plaintiff Dubinin sustained a domestic loss of at least 97
           14
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about
           15
                  November 15, 2018, due to a liquidation cascade, when long XBTUSD Swap position that
           16
                  Plaintiff Dubinin directly and personally purchased and owned was liquidated by way of a ‘SELL
           17
                  MARKET ALL’ trading order executed on or about November 15, 2018, on the XBTUSD order
           18
                  book of the Kraken platform through its commercial website interface www.kraken.com. The
           19
                  aforesaid liquidation and the associated loss occurred by reason of an artificially low price that
           20
                  existed due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was
           21
                  directly and proximately caused by Count IV Defendants’ and each of them market manipulation
           22
                  on that day as alleged in Paragraphs above. If Defendants did not manipulate the market, the
           23
                  artificially low price would not have existed and the liquidation cascade would not have taken
           24
                  place. In connection with the market manipulation, Defendants acted in accordance with their
           25
                  individual roles alleged in Paragraph 380.
           26
                         491.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           27
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about May
           28
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             1
                  17, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
             2
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             3
                  trading order executed on or about May 17, 2019, on the XBTUSD order book of the BitMEX
             4
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
             5
                  and the associated loss occurred by reason of an artificially low price that existed due to a
             6
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
             7
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
             8
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
             9
                  price would not have existed and the liquidation cascade would not have taken place. In
           10
                  connection with the market manipulation, Defendants acted in accordance with their individual
           11
                  roles alleged in Paragraph 380.
           12
                         492.       As yet another example, Plaintiff BMA sustained a domestic loss of at least 10
           13
                  bitcoins, on a domestic United States based cryptocurrency exchange Kraken, on or about June
           14
                  26, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff BMA
           15
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           16
                  trading order executed on or about June 26, 2019, on the XBTUSD order book of the Kraken
           17
                  platform through its commercial website interface www.kraken.com. The aforesaid liquidation
           18
                  and the associated loss occurred by reason of an artificially low price that existed due to a
           19
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
           20
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
           21
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
           22
                  price would not have existed and the liquidation cascade would not have taken place. In
           23
                  connection with the market manipulation, Defendants acted in accordance with their individual
           24
                  roles alleged in Paragraph 380.
           25
                         493.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 1.18
           26
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           27
                  14, 2019, due to a liquidation cascade, when long XBTUSD Swap position that Plaintiff Kolchin
           28
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             1
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
             2
                  trading order executed on or about July 14, 2019, on the XBTUSD order book of the BitMEX
             3
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
             4
                  and the associated loss occurred by reason of an artificially low price that existed due to a
             5
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
             6
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
             7
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
             8
                  price would not have existed and the liquidation cascade would not have taken place. In
             9
                  connection with the market manipulation, Defendants acted in accordance with their individual
           10
                  roles alleged in Paragraph 380.
           11
                         494.       As yet another example, Plaintiff Kolchin sustained a domestic loss of at least 2.81
           12
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about July
           13
                  14, 2019, due to a liquidation cascade, when long ETHUSD Swap position that Plaintiff Kolchin
           14
                  directly and personally purchased and owned was liquidated by way of a ‘SELL MARKET ALL’
           15
                  trading order executed on or about July 14, 2019, on the ETHUSD order book of the BitMEX
           16
                  platform through its commercial website interface www.bitmex.com. The aforesaid liquidation
           17
                  and the associated loss occurred by reason of an artificially low price that existed due to a
           18
                  liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly and
           19
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
           20
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
           21
                  price would not have existed and the liquidation cascade would not have taken place. In
           22
                  connection with the market manipulation, Defendants acted in accordance with their individual
           23
                  roles alleged in Paragraph 380.
           24
                         495.       As an example, Plaintiff Razvan sustained a domestic loss of at least 226 bitcoins,
           25
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 14,
           26
                  2018, when a long XBTUSD Swap position that Plaintiff Razvan directly and personally
           27
                  purchased and owned was liquidated by way of a ‘SELL MARKET ALL’ trading order executed
           28
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             1
                  on or about November 25, 2018, on the XBTUSD order book of the BitMEX platform through its
             2
                  commercial website interface www.bitmex.com. The aforesaid liquidation and the associated
             3
                  loss occurred by reason of an artificially low price that existed due to a liquidation cascade,
             4
                  which, on information and belief of Plaintiff Razvan, was directly and proximately caused by
             5
                  Count IV Defendants’ and each of them market manipulation on that day as alleged in Paragraphs
             6
                  above. If Defendants did not manipulate the market, the artificially low price would not have
             7
                  existed and the liquidation cascade would not have taken place. In connection with the market
             8
                  manipulation, Defendants acted in accordance with their individual roles alleged in Paragraph
             9
                  380.
           10
                          496.       As another example, Plaintiff Razvan sustained a domestic loss of at least 21
           11
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           12
                  November 19, 2018, when XBTUSD Perpetual Swap position that Plaintiff Razvan directly and
           13
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
           14
                  due to a liquidation cascade, which, on information and belief of Plaintiff Razvan, was directly
           15
                  and proximately caused by Count IV Defendants’ and each of them market manipulation on that
           16
                  day as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially
           17
                  low price would not have existed and the liquidation cascade would not have taken place. In
           18
                  connection with the market manipulation, Defendants acted in accordance with their individual
           19
                  roles alleged in Paragraph 380.
           20
                          497.       As a proximate result of the Count IV Defendants’, and each of them,
           21
                  manipulation or attempted to manipulation of the price of certain cryptocurrency derivatives,
           22
                  including, without limitation, bitcoin swaps, as well as the cash prices of cryptocurrencies,
           23
                  including, without limitation, cash bitcoin, which caused an artificial price of spot bitcoin and
           24
                  bitcoin derivatives, Plaintiffs sustained concrete monetary cryptocurrency Domestic Injury in the
           25
                  amount to be proven at trial.
           26
                          498.       The aforesaid amounts constitute concrete financial losses of Plaintiffs BMA,
           27
                  Kolchin, Dubinin, Dolgov and Razvan. Absent Defendants’ market manipulation alleged above,
           28
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             1
                  these losses would not have taken place.
             2
                          499.      Count IV Defendants’ market manipulation, alleged above, was conducted by
             3
                  Count IV Defendants through the same commercial website BitMEX.com, which was and is
             4
                  being extensively used by residents of the United States and this District. Therefore, Count IV
             5
                  Defendants’ market manipulation, which injured Plaintiffs, was directly related to the Count IV
             6
                  Defendants’ contacts with the United States and this District.
             7
                          500.      Because the vast majority of BitMEX personnel, as alleged in Paragraph 107,
             8
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             9
                  alleged in Paragraph 108, and almost all vital external service providers to BitMEX, as alleged in
           10
                  Paragraph 90, are located in this District, and because Defendant ABS, which formally employs
           11
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           12
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           13
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           14
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           15
                  and operated by United States based Amazon EKS with offices in this District. Furthermore, the
           16
                  helper accounts that were vital for Defendants and other perpetrators to manipulate the prices of
           17
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
           18
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
           19
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro and Defendants
           20
                  transferred funds to and from those vital United States based accounts in order to conduct the
           21
                  affairs of the Enterprise.
           22
                          501.      Therefore, Count IV Defendants, and each of them, are liable, jointly and
           23
                  severally, to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan under 7 U.S.C. § 25(a) in the
           24
                  amount to be proven at trial.
           25
                                                                      COUNT V
           26                                           (Principal Agent Liability Under CEA)

           27             502.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-501 above as if fully

           28     set forth herein.
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             1
                          503.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             2
                  V Defendants”).
             3
                          504.      Each Count V Defendant is liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §
             4
                  2(a)(1)(B), for the manipulative acts of their agents, representatives, and/or other persons acting
             5
                  for them in the scope of their employment.
             6
                          505.      Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan sustained and is entitled to
             7
                  actual damages for the violations of the CEA alleged herein.
             8
                                                       COUNT VI
             9     (Aiding and Abetting Manipulation Of Bitcoin Swaps And Cash Bitcoin In Violation Of 7
           10                                        U.S.C. § 25(a)(1))
                          506.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-505 above as if fully
           11
                  set forth herein.
           12
                          507.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           13
                  VI Defendants”).
           14
                          508.      Count VI Defendants, and each of them, knowingly aided, abetted, counseled,
           15
                  induced and/or procured the violations of the CEA by Andrianov, market manipulator under
           16
                  assumed name Quick-Grove-Mind listed on BitMEX Leaderboard as alleged above, and
           17
                  unknown third persons as alleged herein. In addition, Defendant ABS knowingly aided, abetted,
           18
                  counseled, induced and/or procured the violations of the CEA by Defendants HDR, Hayes, Delo
           19
                  and Reed. Each Count VI Defendant did so with knowledge of other Defendants’ and unknown
           20
                  third persons’ manipulation of cryptocurrency prices through manipulative trades, and
           21
                  substantially and willfully intended to assist these manipulations to cause artificial prices, during
           22
                  the Relevant Period, in violation of Sections 13 and 22(a)(1) of the CEA, 7 U.S.C. §§ 13c(a) and
           23
                  25(a)(1). For example, Defendant HDR knowingly aided and abetted Andrianov and unknown
           24
                  third persons in violation of the CEA by enabling the price manipulators to open unlimited
           25
                  number of anonymous trading accounts on HDR exchange and thereby hindering detection of
           26
                  said manipulation. Each of the Count VI Defendants HDR, Hayes, Delo, Reed was responsible
           27
                  for implementing this policy on the BitMEX exchange. Moreover, Defendant HDR knowingly
           28
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             1
                  aided and abetted Andrianov and unknown third persons in violation of the CEA by providing
             2
                  high leverage, by deliberately designing BitMEX indexes based on price data for cryptocurrencies
             3
                  from just three exchanges – BitStamp, Kraken and Coinbase Pro, all three of which have way
             4
                  lower liquidity than BitMEX and by using deliberate server freezes and fraudulent “system
             5
                  overloads” events to accept some trading orders and reject others during large market moves in
             6
                  order to exacerbate the artificial prices and increase the number of liquidations to benefit
             7
                  Defendants. Moreover, Defendant ABS knowingly aided, abetted, counseled, induced and/or
             8
                  procured the violations of the CEA by Defendants HDR, Hayes, Delo and Reed by furnishing to
             9
                  said Defendants software tools designed to cause deliberate server freezes alleged hereinabove
           10
                  using services of at least three Site Reliability Engineers: Jerry Aldrich, Scott H. and Armando
           11
                  Cerna, who created those tools and who all reside in and operate from this District.
           12
                         509.       For example, Count VI Defendants knew that BitMEX Leaderboard trader with
           13
                  assumed name Quick-Grove-Mind was clearly a notorious market manipulator, who
           14
                  misappropriated bitcoins from Plaintiffs by way of market manipulation as alleged herein. This
           15
                  market manipulator could not pass the KYC and AML checks once they were instituted by
           16
                  Defendants on or about August 14, 2020. Count VI Defendants aided the market manipulator
           17
                  under the assumed name Quick-Grove-Mind in misappropriating Plaintiffs’ property by, without
           18
                  limitation, providing the manipulator under the assumed name Quick-Grove-Mind with extremely
           19
                  high trading leverage (up to 100x), using .BXBT index price for highly liquid perpetual swap
           20
                  contracts calculated based on prices of two or three illiquid spot exchanges to enhance the ability
           21
                  of the manipulator under the assumed name Quick-Grove-Mind to cause large market price
           22
                  swings, enabling the manipulator under the assumed name Quick-Grove-Mind to avoid detection
           23
                  by providing him with the ability to open unlimited number of anonymous document check-free
           24
                  trading accounts without any KYC and AML compliance checks and without any trading and
           25
                  withdrawal limits, intentionally taking BitMEX platform offline during market manipulation
           26
                  event on March 13, 2020, weaponizing deliberate server freezes, using fraudulent “system
           27
                  overload” events to accept some trading orders and reject others during large market moves to
           28
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             1
                  exacerbate price fluctuations and cause the most liquidations and by deleting evidence of
             2
                  manipulator’s identity and manipulator’s trading records under the pretense of “right to be
             3
                  forgotten.” The alleged intentional actions of Count VI Defendants resulted at least in the alleged
             4
                  loss of 3 bitcoins by Plaintiff BMA on or about March 13, 2020.
             5
                          510.      As a proximate result of the Count VI Defendants’ actions as alleged herein,
             6
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan sustained concrete monetary
             7
                  cryptocurrency Domestic Injury in the amount to be proven at trial.
             8
                          511.      Therefore, Count VI Defendants, and each of them, are liable, jointly and
             9
                  severally, to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan under 7 U.S.C. § 25(a) in the
           10
                  amount to be proven at trial.
           11
                                                                             COUNT VII
           12                                                                (Negligence)
           13             512.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-511 above as if fully
           14     set forth herein.
           15             513.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           16     VII Defendants”).
           17             514.      California law imposes a duty to prevent purely economic loss to third parties in
           18     financial transactions. The foundational case on this subject outlines six factors for establishing a
           19     duty to protect against economic loss: “[1] the extent to which the transaction was intended to
           20     affect the plaintiff, [2] the foreseeability of harm to him, [3] the degree of certainty that the
           21     plaintiff suffered injury, [4] the closeness of the connection between the defendant’s conduct and
           22     the injury suffered, [5] the moral blame attached to the defendant’s conduct, and [6] the policy of
           23     preventing future harm.” Biakanja v. Irving, 49 Cal. 2d 647, 650 (1958).
           24             515.      Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan traded on BitMEX
           25     platform XBTUSD Bitcoin Perpetual Swaps. Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
           26     Razvan were enticed to trade on BitMEX due to Defendants’ own predatory advertising tactics.
           27     Therefore, Count VII Defendants owed a duty to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
           28
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             1
                  Razvan to maintain a functional cryptocurrency derivatives marketplace. In re Facebook, Inc.,
             2
                  IPO Securities and Derivative Litigation, 986 F. Supp. 2d 428 (S.D.N.Y. 2013) (NASDAQ owed
             3
                  investors a duty to properly process orders). Berk v. Coinbase, Case No. 18-cv-01364-VC, Dkt.
             4
                  75 (Judge Chhabria held that Coinbase owed duty to its traders to maintain a functional
             5
                  cryptocurrency trading marketplace).
             6
                         516.       Moreover, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are informed
             7
                  and believe and thereon allege that Count VII Defendants, and each of them, specifically intended
             8
                  to affect the prices of the bitcoin Perpetual Swap contracts and cash bitcoin in order to trigger
             9
                  specific market events as alleged above. For example, Count VII Defendants, and each of them,
           10
                  intended to cause the price of bitcoin Perpetual Swap contracts or cash bitcoin to reach levels that
           11
                  would trigger liquidation cascades and execution of other traders’ stop loss orders, as specifically
           12
                  alleged above. Thus, Count VII Defendants, and each of them, specifically intended to affect
           13
                  traders like Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, by causing their financial
           14
                  ruin by triggering liquidation of their positions or by causing triggering of execution of their stop
           15
                  loss orders. Moreover, Count VII Defendants, and each of them, specifically intended to
           16
                  financially benefit from the financial ruin of other traders by buying spot bitcoin and bitcoin
           17
                  derivatives at artificially below market prices or by selling spot bitcoin and bitcoin derivatives at
           18
                  artificially above market prices. In addition, Count VII Defendants, and each of them,
           19
                  specifically intended to financially benefit from the financial ruin of other traders by liquidating
           20
                  trading positions of such trades by way of inducing artificial price moves and forcibly
           21
                  confiscating their collateral for the benefit of the Insurance Fund.
           22
                         517.       Because of Count VII Defendants’, and each of them, specific intent to trigger the
           23
                  alleged market events, financial harm and even ruin to traders like Plaintiffs BMA, Kolchin,
           24
                  Dubinin, Dolgov and Razvan was completely and entirely foreseeable to Defendants, and each of
           25
                  them. In fact, it was Defendants’, and each of them, specific intent to become unjustly enriched
           26
                  by reason of financially harming or ruining traders like Plaintiffs BMA, Kolchin, Dubinin,
           27
                  Dolgov and Razvan.
           28
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             1
                         518.       By reason of Count VII Defendants’, and each of them, breach of the legal duty to
             2
                  prevent economic harm to traders like Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan,
             3
                  imposed by California law, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan sustained
             4
                  ascertainable, concrete and certain monetary trading losses in the amount to be proven at trial.
             5
                         519.       Count VII Defendants’, and each of them, conduct, namely unlawful market
             6
                  manipulation alleged above, was specifically intended to cause injury to traders like Plaintiffs
             7
                  BMA, Kolchin, Dubinin, Dolgov and Razvan.
             8
                         520.       Count VII Defendants’, and each of them, conduct was clearly fraudulent,
             9
                  unlawful and was motivated purely by personal greed. Thus, a high degree of moral blame is
           10
                  attached to the Count VII Defendants’, and each of them, intentional spot bitcoin as well as
           11
                  bitcoin derivatives market manipulation activities.
           12
                         521.       The State of California has a strong policy of preventing future harm to traders like
           13
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan from unlawful and fraudulent conduct by
           14
                  Count VII Defendants, and each of them.
           15
                         522.       Accordingly, under California law, Count VII Defendants, and each of them, owed
           16
                  a legal duty to maintain a functional cryptocurrency trading marketplace and prevent economic
           17
                  harm to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan.
           18
                         523.       Count VII Defendants, and each of them, breached this legal duty to maintain a
           19
                  functional cryptocurrency trading marketplace and prevent economic harm to Plaintiffs BMA,
           20
                  Kolchin, Dubinin, Dolgov and Razvan by recklessly or negligently manipulating the prices of
           21
                  spot bitcoin and bitcoin derivatives and thereby causing an economic injury to Plaintiffs BMA,
           22
                  Kolchin, Dubinin, Dolgov and Razvan.
           23
                         524.       As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
           24
                  and each of them, negligent market manipulation activities, Plaintiffs BMA, Kolchin, Dubinin,
           25
                  Dolgov and Razvan sustained certain and concrete monetary cryptocurrency trading losses in the
           26
                  amount to be proven at trial.
           27
                         525.       In addition, Count VII Defendants, and each of them, breached the legal duty to
           28
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             1
                  maintain a functional cryptocurrency marketplace and prevent economic harm to Plaintiffs BMA,
             2
                  Kolchin, Dubinin, Dolgov and Razvan by recklessly or negligently taking offline the BitMEX
             3
                  platform on or about March 13, 2020 in order to avoid tapping BitMEX’s Insurance Fund. It was
             4
                  foreseeable for Defendants, and each of them, that taking offline the BitMEX platform on or
             5
                  about March 13, 2020 would result in financial harm to Plaintiffs and traders like Plaintiffs,
             6
                  because trades would not be able to close their positions.
             7
                         526.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are informed and believe
             8
                  and thereon allege that Count VII Defendants failed to utilize widely available industry solutions,
             9
                  including, without limitation, CloudFlare, AWS Shield and AWS Shield Advanced to prevent the
           10
                  DDoS Attacks, including the DDoS Attack that allegedly took place on or about March 13, 2020.
           11
                         527.       Therefore Defendants, additionally or alternatively, breached the legal duty to
           12
                  Plaintiffs to maintain a functional cryptocurrency trading marketplace and prevent economic
           13
                  harm to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan by failing to utilize widely
           14
                  available industry solutions, including, without limitation, CloudFlare, AWS Shield and AWS
           15
                  Shield Advanced to prevent the DDoS Attack that allegedly took place on or about March 13,
           16
                  2020. The DDoS Attack was clearly foreseeable to Defendants and the CloudFlare, AWS Shield
           17
                  and AWS Shield Advanced tools were specifically designed to prevent it and were readily
           18
                  available to Defendants at low or no cost from CloudFlare and Amazon AWS. Therefore,
           19
                  Defendants had a clear duty to use CloudFlare, AWS Shield and AWS Shield Advanced to
           20
                  prevent the alleged DDoS Attack, which they negligently breached by failing to utilize these
           21
                  widely available services to protect Plaintiffs.
           22
                         528.       As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
           23
                  and each of them, breach of the legal duty to maintain a functional cryptocurrency marketplace,
           24
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan sustained certain and concrete monetary
           25
                  cryptocurrency trading losses in the amount to be proven at trial.
           26
                         529.       As one example, Plaintiff BMA sustained a domestic loss of at least 3 bitcoins, on
           27
                  a domestic United States based cryptocurrency exchange BitMEX, on or about March 13, 2020,
           28
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             1
                  due a liquidation, when short XBTUSD Swap position that Plaintiff BMA directly and personally
             2
                  purchased and owned was liquidated by way of a ‘BUY MARKET ALL’ trading order executed
             3
                  on or about March 13, 2020, on the XBTUSD order book of the BitMEX platform. The aforesaid
             4
                  liquidation and the associated loss occurred by reason of Plaintiff BMA’s inability to timely close
             5
                  the aforesaid short XBTUSD position due to BitMEX’s platform being taken offline by reason of
             6
                  Defendants’ negligent failure to utilize widely available industry solutions, including, without
             7
                  limitation, CloudFlare, AWS Shield and AWS Shield Advanced to prevent the DDoS Attack that
             8
                  allegedly took place on March 13, 2020. Plaintiff’s BMA inability to timely close the short
             9
                  position and the associated loss due to BitMEX platform being in offline mode, were entirely
           10
                  foreseeable to Defendants. If the BitMEX platform had not been taken offline due to the alleged
           11
                  DDoS attach and if Defendants utilized the widely available industry solutions, including, without
           12
                  limitation, CloudFlare, AWS Shield and AWS Shield Advanced to prevent the DDoS Attack that
           13
                  allegedly took place on March 13, 2020, Plaintiff’s BMA loss alleged herein would not have
           14
                  occurred.
           15
                         530.       If the DDoS Attack that Defendants alleged took place on March 13, 2020 did not
           16
                  in fact occur, the aforesaid liquidation and the associated loss occurred by reason of Plaintiff
           17
                  BMA’s inability to timely close the aforesaid short XBTUSD position due to BitMEX’s platform
           18
                  being taken offline by reason of Defendants’ negligent taking of the BitMEX platform offline on
           19
                  March 13, 2020 in order to avoid tapping Defendants’ Insurance Fund. Plaintiff’s BMA inability
           20
                  to timely close the short position and the associated loss due to BitMEX platform being in offline
           21
                  mode, were entirely foreseeable to Defendants. If the BitMEX platform had not been taken
           22
                  offline, Plaintiff’s BMA loss alleged herein would not have occurred.
           23
                         531.       Furthermore, violation of the following criminal statutes by Count VII Defendants
           24
                  constitutes negligence per se under California law:
           25
                         a.         18 U.S.C. § 1343 (wire fraud);
           26
                         b.         18 U.S.C. § 1952 (engaging in interstate and foreign travel or transportation in aid
           27
                  of racketeering enterprise);
           28
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             1
                          c.        18 U.S.C. § 1956(a) (money laundering);
             2
                          d.        18 U.S.C. § 1957(a) (engaging in monetary transactions in property derived from
             3
                  specified unlawful activity);
             4
                          e.        18 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or
             5
                  owning all or part of an unlicensed money transmitting business);
             6
                          f.        18 U.S.C. § 2314 (interstate transportation of stolen property);
             7
                          g.        18 U.S.C. § 1962(c) (conducting or participating, directly or indirectly, in the
             8
                  conduct of enterprise’s affairs through a pattern of racketeering activity);
             9
                          h.        18 U.S.C. § 1962(d) (conspiracy to conduct or participate, directly or indirectly, in
           10
                  the conduct of enterprise’s affairs through a pattern of racketeering activity);
           11
                          i.        Cal. Fin. Code § 2152(b) (engaging in unlicensed money transmitting business in
           12
                  California);
           13
                          j.        31 U.S.C. § 5318(h)(1) (failing to establish an anti-money laundering program at a
           14
                  financial institution);
           15
                          k.        31 U.S.C. § 5318(l) (failing to implement reasonable procedures to verify the
           16
                  identity of any person seeking to open an account, failing to maintain records of information used
           17
                  to verify a person’s identify, and failing to consult lists of known or suspected terrorists or
           18
                  terrorist organizations);
           19
                          l.        31 U.S.C. § 5322(a) (criminal violation of Bank Secrecy Act);
           20
                          m.        31 U.S.C. § 5322(c) (criminal violation of Bank Secrecy Act);
           21
                          n.        18 U.S.C. § 371 (conspiracy to commit offense or to defraud United States); and
           22
                          o.        Cal. Pen. Code § 496 (certain transactions in property that has been stolen or that
           23
                  has been obtained in any manner constituting theft or extortion).
           24
                          532.      As alleged in this Complaint, the violations of the criminal statutes enumerated in
           25
                  the previous Paragraph were a substantial factor in bringing about the financial harm to Plaintiffs
           26
                  as alleged herein. Moreover, the violations of the criminal statutes enumerated in the previous
           27
                  Paragraph by Count VII Defendants were not excused. Therefore, Count VII Defendants were
           28
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             1
                  negligent per se in causing alleged financial injuries to Plaintiffs.
             2
                         533.       For example, Count VII Defendants’ criminal violation of Bank Secrecy Act, 31
             3
                  U.S.C. § 5322, alleged in the DOJ Indictment, Ex. 4, allowed rampant money laundering to take
             4
                  place on the BitMEX platform, which resulted in financial injuries to Plaintiffs, as alleged in
             5
                  Paragraphs 5-10 above.
             6
                         534.       Yet furthermore, violation of the following civil statutes by Count VII Defendants
             7
                  further constitutes negligence per se under California law:
             8
                         p.         7 U.S.C. § 9(1) (using a manipulative or deceptive device or contrivance in
             9
                  connection with bitcoin Perpetual Swaps and cash bitcoin);
           10
                         q.         7 U.S.C. § 9(3) (manipulation and attempted manipulation of bitcoin Perpetual
           11
                  Swaps and cash bitcoin);
           12
                         r.         7 U.S.C. § 13(a)(2) (manipulation and attempted manipulation of bitcoin Perpetual
           13
                  Swaps and cash bitcoin).
           14
                         s.         7 U.S.C. § 6(a) (2018), or, alternatively, 7 U.S.C. § 4(b) and 17 C.F.R. § 48.3
           15
                  (2019) (offering, entering into, confirming the execution of, or otherwise dealing in, off-exchange
           16
                  commodity futures transactions);
           17
                         t.         7 U.S.C. § 6c(b) (2018), and 17 C.F.R. § 32.2 (2019) (offering, entering into,
           18
                  confirming the execution of, or transacting in off- exchange transactions in commodity options);
           19
                         u.         7 U.S.C. § 6d (2018) (acting as an unregistered FCM);
           20
                         v.         7 U.S.C. § 7b-3(1) (2018), and 17 C.F.R. § 37.3(a)(1) (2019) (operating a facility
           21
                  for the trading or processing of swaps without being registered as a SEF or as a DCM);
           22
                         w.         17 C.F.R. § 166.3 (2019) (failing to supervise); and
           23
                         x.         17 C.F.R. § 42.2 (2019) (failing to comply with applicable provisions of the Bank
           24
                  Secrecy Act).
           25
                         535.       As alleged in this Complaint, the violations of the civil statutes enumerated in the
           26
                  previous Paragraph were a substantial factor in bringing about the financial harm to Plaintiffs as
           27
                  alleged herein. Moreover, the violations of the civil statutes enumerated in the previous
           28
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             1
                  Paragraph by Count VII Defendants were not excused. Therefore, Count VII Defendants were
             2
                  negligent per se in causing financial injuries to Plaintiffs.
             3
                          536.      For example, Count VII Defendants’ failure to register as FCM in violation of 7
             4
                  U.S.C. § 6d (2018) and Count VII Defendants’ operating a facility for the trading or processing of
             5
                  swaps without being registered as a SEF or as a DCM in violation of 7 U.S.C. § 7b-3(1) (2018),
             6
                  and 17 C.F.R. § 37.3(a)(1) (2019), alleged in the CFTC Complaint, Ex. 5, allowed rampant
             7
                  market manipulation to take place on the BitMEX platform, which resulted in financial injuries to
             8
                  Plaintiffs, as alleged in Paragraphs 5-10 above. Specifically, if Count VII Defendants registered
             9
                  with CFTC as required by law, they would have been forced to implement extensive checks,
           10
                  design the index prices in the way not subject to easy manipulation and implement market
           11
                  surveillance, which would have prevented the rampant market manipulation on BitMEX, which
           12
                  resulted in financial injuries to Plaintiffs, as alleged in Paragraphs 5-10 above.
           13
                          537.      The aforesaid amount constitutes a certain and concrete financial loss of the
           14
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan factually (directly) and legally
           15
                  (proximately) caused by Count VII Defendants’, and each of them, unlawful conduct.
           16
                                                                            COUNT VIII
           17                                                                 (Fraud)
           18             538.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-537 above as if fully
           19     set forth herein.
           20             539.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           21     VIII Defendants”).
           22             540.      Pursuant to California law, “fraud may arise from conduct that is designed to
           23     mislead, and not only from verbal or written statements.” Tenet Healthsystem Desert, Inc. v. Blue
           24     Cross of California (2016) 245 Cal.App.4th 821, 839 [199 Cal.Rptr.3d 901].
           25             541.      Allegations of specific acts constituting fraud set forth in Paragraphs 336-348, 375,
           26     382 above are incorporated as if fully set forth herein.
           27             542.      Count VIII Defendants’, and each of them, market manipulation including, without
           28
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             1
                  limitation, pumps and dumps, Barts and spoofing, were the conduct that was specifically designed
             2
                  to mislead traders like Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan. For example, as
             3
                  alleged hereinabove, pumps and dumps, Barts and spoofing were perpetrated by Count VIII
             4
                  Defendants, and each of them, with the specific purpose of deceiving other market participants as
             5
                  to market-based forces of supply and demand for an asset and enticing unsuspecting traders, or
             6
                  other trading algorithms, to follow the trade and place orders that they would not have otherwise
             7
                  placed. Moreover, pumps and dumps, Barts and spoofing were intended by Count VIII
             8
                  Defendants, and each of them, to trick other market participants into reacting to an apparent
             9
                  change and imbalance of supply and demand by buying and selling bitcoin Perpetual Swaps at
           10
                  times, prices and quantities that they otherwise would likely not have traded.
           11
                         543.       Thus, pumps and dumps, Barts and spoofing were examples of the conduct that
           12
                  was specifically designed by Count VIII Defendants, and each of them, to mislead Plaintiffs
           13
                  BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other traders.
           14
                         544.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan as well as other traders
           15
                  were in fact mislead by Count VIII Defendants’, and each of them, manipulative and fraudulent
           16
                  acts intended to mislead and defraud, including, without limitation, by pumps and dumps, Barts
           17
                  and spoofing perpetrated by Count VIII Defendants, and each of them, and placed orders that they
           18
                  would not have otherwise placed.
           19
                         545.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, at the time of the alleged
           20
                  manipulative and fraudulent acts intended to mislead and defraud, which were perpetrated by
           21
                  Count VIII Defendants, and each of them, and at the time Plaintiffs BMA, Kolchin, Dubinin,
           22
                  Dolgov and Razvan took the trades herein alleged, were ignorant of the manipulative and
           23
                  fraudulent nature of conduct of the Count VIII Defendants, and each of them, and believed that
           24
                  the market conditions were in fact dictated by market forces of supply and demand.
           25
                         546.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, at the time the alleged
           26
                  manipulative and fraudulent acts intended to mislead and defraud were made by Count VIII
           27
                  Defendants, and each of them, and at the time Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
           28
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             1
                  Razvan took the actions herein alleged, was ignorant of secret intentions of Count VIII
             2
                  Defendants, and each of them, to mislead and defraud Plaintiffs BMA, Kolchin, Dubinin, Dolgov
             3
                  and Razvan and other traders and Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan could
             4
                  not, in the exercise of reasonable diligence, have discovered the secret intentions of Count VIII
             5
                  Defendants, and each of them.
             6
                          547.      Had Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan known the actual
             7
                  facts, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan would not have taken such actions.
             8
                          548.      If Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan had known of the actual
             9
                  intention of Count VIII Defendants, and each of them, Plaintiffs BMA, Kolchin, Dubinin, Dolgov
           10
                  and Razvan would not have taken the alleged trades. Plaintiffs BMA, Kolchin, Dubinin, Dolgov
           11
                  and Razvan’s reliance on fraudulent and manipulative conduct of Count VIII Defendants, and
           12
                  each of them, was justified because Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
           13
                  rightfully assumed that the market conditions of spot bitcoin and bitcoin derivatives markets were
           14
                  due to the actual market forces of supply and demand.
           15
                          549.      As a proximate result of fraud and deceit perpetrated by Count VIII Defendants,
           16
                  and each of them, and based on the facts herein alleged, Plaintiffs BMA, Kolchin, Dubinin,
           17
                  Dolgov and Razvan have been damaged in the amount to be proven at trial.
           18
                          550.      In doing the wrongful acts herein alleged, Count VIII Defendants, and each of
           19
                  them, acted with oppression, fraud, and malice, and Plaintiffs BMA, Kolchin, Dubinin, Dolgov
           20
                  and Razvan are entitled to punitive damages in the amount of $50,000,000 pursuant to Cal. Civ.
           21
                  Code § 3294.
           22
                                                                           COUNT IX
           23                                                           (Civil Conspiracy)
           24             551.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-550 above as if fully
           25     set forth herein.
           26             552.      This Count is against Defendants HDR, ABS, Hayes, Delo, Reed, Agata Reed,
           27     Barbara Reed and Trace Reed (the “Count IX Defendants”).
           28
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             1
                          553.      At some time point during the Relevant Period, Count IX Defendants, and each of
             2
                  them, knowingly and willfully conspired and agreed among themselves to defraud traders by
             3
                  perpetrating a manipulative, fraudulent and deceptive scheme to manipulate the prices of certain
             4
                  cryptocurrency derivatives, including, without limitation, bitcoin swaps, as well as the cash prices
             5
                  of cryptocurrencies, including, without limitation, cash bitcoin.
             6
                          554.      Count IX Defendants, and each of them, did the acts and things hereinabove
             7
                  alleged pursuant to, and in furtherance of, the conspiracy and hereinabove alleged agreement.
             8
                          555.      Count IX Defendants, and each of them, furthered the alleged conspiracy by
             9
                  cooperation with, or by lending aid and encouragement to, or ratification and adoption of the acts
           10
                  of other Count IX Defendants, and each of them.
           11
                          556.      Count IX Defendants, and each of them, were fully aware that the other
           12
                  Defendants, and each of them, planned to perpetrate fraud and deceit upon Plaintiffs BMA,
           13
                  Kolchin, Dubinin, Dolgov and Razvan as well as other traders.
           14
                          557.      Count IX Defendants, and each of them, agreed with the other Count IX
           15
                  Defendants, and each of them, and intended that the alleged fraud and deceit be committed upon
           16
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan and other traders.
           17
                          558.      As a proximate result of the fraud and deceit perpetrated by Count IX Defendants,
           18
                  and each of them, and according to the facts herein alleged, Plaintiffs BMA, Kolchin, Dubinin,
           19
                  Dolgov and Razvan have been damaged in the amount to be proven at trial.
           20
                          559.      In doing the wrongful acts herein alleged, Count IX Defendants, and each of them,
           21
                  acted with oppression, fraud, and malice, and Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
           22
                  Razvan are entitled to punitive damages in the amount of $50,000,000 pursuant to Cal. Civ. Code
           23
                  § 3294.
           24
                                                           COUNT X
           25          (Unfair Business Practices In Violation Of Cal. Bus. & Prof. Code §§ 17200 et seq.)
           26             560.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-559 above as if fully
           27     set forth herein.
           28
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             1
                         561.       This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             2
                  X Defendants”).
             3
                         562.       By reason of Count X Defendants’, and each of them, fraudulent, deceptive,
             4
                  unfair, and other wrongful conduct as herein alleged, said Count X Defendants, and each of them,
             5
                  have violated Cal. Bus. & Prof. Code §§ 17200 et seq. by consummating an unlawful, unfair, and
             6
                  fraudulent business practice, designed to deprive Plaintiffs BMA, Kolchin, Dubinin, Dolgov and
             7
                  Razvan of their bitcoin holdings.
             8
                         563.       Allegations of specific acts constituting fraud set forth in Paragraphs 336-348, 375,
             9
                  382 above are incorporated as if fully set forth herein.
           10
                         564.       “The ‘unlawful’ practices prohibited by Cal. Bus. & Prof. Code §§ 17200 et seq.
           11
                  are any practices forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,
           12
                  regulatory, or court-made. Watson Labs., Inc. v. Rhone-Poulenc Rorer, Inc., (C.D. Cal 2001) 178
           13
                  F.Supp.2d 1099, 1120; People v. McKale, (1979) 25 Cal.3d 626.
           14
                         565.       Count X Defendants’, and each of them, unlawful practices for purposes of Cal.
           15
                  Bus. & Prof. Code §§ 17200 et seq. include, without limitation, the hereinabove-alleged unlawful
           16
                  acts perpetrated by Defendants, and each of them, which violate the following criminal statutes:
           17
                         y.         18 U.S.C. § 1343 (wire fraud);
           18
                         z.         18 U.S.C. § 1952 (engaging in interstate and foreign travel or transportation in aid
           19
                  of racketeering enterprise);
           20
                         aa.        18 U.S.C. § 1956(a) (money laundering);
           21
                         bb.        18 U.S.C. § 1957(a) (engaging in monetary transactions in property derived from
           22
                  specified unlawful activity);
           23
                         cc.        18 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or
           24
                  owning all or part of an unlicensed money transmitting business);
           25
                         dd.        18 U.S.C. § 2314 (interstate transportation of stolen property);
           26
                         ee.        18 U.S.C. § 1962(c) (conducting or participating, directly or indirectly, in the
           27
                  conduct of enterprise’s affairs through a pattern of racketeering activity);
           28
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             1
                          ff.       18 U.S.C. § 1962(d) (conspiracy to conduct or participate, directly or indirectly, in
             2
                  the conduct of enterprise’s affairs through a pattern of racketeering activity);
             3
                          gg.       Cal. Fin. Code § 2152(b) (engaging in unlicensed money transmitting business in
             4
                  California);
             5
                          hh.       31 U.S.C. § 5318(h)(1) (failing to establish an anti-money laundering program at a
             6
                  financial institution);
             7
                          ii.       31 U.S.C. § 5318(l) (failing to implement reasonable procedures to verify the
             8
                  identity of any person seeking to open an account, failing to maintain records of information used
             9
                  to verify a person’s identify, and failing to consult lists of known or suspected terrorists or
           10
                  terrorist organizations);
           11
                          jj.       31 U.S.C. § 5322(a) (criminal violation of Bank Secrecy Act);
           12
                          kk.       31 U.S.C. § 5322(c) (criminal violation of Bank Secrecy Act);
           13
                          ll.       18 U.S.C. § 371 (conspiracy to commit offense or to defraud United States); and
           14
                          mm.       Cal. Pen. Code § 496 (certain transactions in property that has been stolen or that
           15
                  has been obtained in any manner constituting theft or extortion).
           16
                          566.      Count X Defendants’, and each of them, ‘unlawful’ practices for purposes of Cal.
           17
                  Bus. & Prof. Code §§ 17200 et seq. further include, without limitation, the hereinabove-alleged
           18
                  unlawful acts perpetrated by Count X Defendants, and each of them, that violate the following
           19
                  civil statutes:
           20
                          nn.       7 U.S.C. § 9(1) (using a manipulative or deceptive device or contrivance in
           21
                  connection with bitcoin Perpetual Swaps and cash bitcoin);
           22
                          oo.       7 U.S.C. § 9(3) (manipulation and attempted manipulation of bitcoin Perpetual
           23
                  Swaps and cash bitcoin);
           24
                          pp.       7 U.S.C. § 13(a)(2) (manipulation and attempted manipulation of bitcoin Perpetual
           25
                  Swaps and cash bitcoin).
           26
                          qq.       7 U.S.C. § 6(a) (2018), or, alternatively, 7 U.S.C. § 4(b) and 17 C.F.R. § 48.3
           27
                  (2019) (offering, entering into, confirming the execution of, or otherwise dealing in, off-exchange
           28
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             1
                  commodity futures transactions);
             2
                            rr.        7 U.S.C. § 6c(b) (2018), and 17 C.F.R. § 32.2 (2019) (offering, entering into,
             3
                  confirming the execution of, or transacting in off- exchange transactions in commodity options);
             4
                            ss.        7 U.S.C. § 6d (2018) (acting as an unregistered FCM);
             5
                            tt.        7 U.S.C. § 7b-3(1) (2018), and 17 C.F.R. § 37.3(a)(1) (2019) (operating a facility
             6
                  for the trading or processing of swaps without being registered as a SEF or as a DCM);
             7
                            uu.        17 C.F.R. § 166.3 (2019) (failing to supervise); and
             8
                            vv.        17 C.F.R. § 42.2 (2019) (failing to comply with applicable provisions of the Bank
             9
                  Secrecy Act).
           10
                            567.       Allegations of specific acts constituting fraud set forth in Paragraphs 5-10, 336-
           11
                  348, 375, 382 above are incorporated as if fully set forth herein. These acts constitute
           12
                  “fraudulent, deceptive, unfair” acts for purposes of Cal. Bus. & Prof. Code §§ 17200 et seq.
           13
                            568.       Thus, by reason of the foregoing, Count X Defendants have violated Bus. & Prof.
           14
                  Code §§ 17200 et seq. by consummating an unlawful, unfair, deceptive and fraudulent business
           15
                  practice, designed to deprive Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan of their
           16
                  bitcoin holdings.
           17
                            569.       By reason of the foregoing and as a proximate result of Count X Defendants’, and
           18
                  each of them, violation of Cal. Bus. & Prof. Code §§ 17200 et seq. as herein alleged, Plaintiffs
           19
                  BMA, Kolchin, Dubinin, Dolgov and Razvan have been damaged in the amount to be proven at
           20
                  trial.
           21
                            570.       Therefore, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are entitled to
           22
                  restitution from Count X Defendants, and each of them, in the amount to be proven at trial.
           23
                                                                COUNT XI
           24                     (Unjust Enrichment (Restitution Under California Quasi-Contract Law))
           25               571.       Plaintiffs incorporate the allegations set forth in Paragraphs 1-570 above as if fully
           26     set forth herein.
           27               572.       This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           28
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             1
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XI
             2
                  Defendants”).
             3
                         573.       As a result of the unlawful actions of c set forth hereinabove, Count XI
             4
                  Defendants, and each of them, have received a financial benefit at the expense of Plaintiffs BMA,
             5
                  Kolchin, Dubinin, Dolgov and Razvan. Said benefit has been unjustly conferred upon the Count
             6
                  XI Defendants through “mistake, fraud, coercion, or request" at the expense of Plaintiffs BMA,
             7
                  Kolchin, Dubinin, Dolgov and Razvan.
             8
                         574.       Count XI Defendants, and each of them, had knowledge of the alleged benefit.
             9
                         575.       Count XI Defendants, and each of them, voluntarily accepted and retained the
           10
                  benefit obtained.
           11
                         576.       Count XI Defendants, and each of them, deceitfully misappropriated Plaintiffs’
           12
                  goods, services, or money, to wit, Plaintiffs bitcoin deposits, without compensating Plaintiffs.
           13
                         577.       For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in
           14
                  possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA
           15
                  02061, with the aggregate market value of over $2,500,000, acquired using funds deceitfully
           16
                  misappropriated from Plaintiffs through market manipulation and laundered by Count XI
           17
                  Defendants through the Defendant Unknown Exchange and their real estate money laundering
           18
                  scheme.
           19
                         578.       The circumstances render Count XI Defendants’ retention of the benefit
           20
                  inequitable unless Count XI Defendants, and each of them, pay to Plaintiffs BMA, Kolchin,
           21
                  Dubinin, Dolgov and Razvan the value of the benefit.
           22
                         579.       Count XI Defendants, and each of them, have been unjustly enriched at the
           23
                  expense of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan.
           24
                         580.       Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are entitled to restitution
           25
                  from Count XI Defendants, under California quasi-contract theory, as a result of Count XI
           26
                  Defendants’, and each of them, unjust enrichment, including the disgorgement of all benefits
           27
                  unlawfully obtained by Count XI Defendants, and each of them, from Plaintiffs BMA, Kolchin,
           28
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             1
                  Dubinin, Dolgov and Razvan. Astiana v. Hain Celestial Group, Inc., 783 F.3d 753 (9th Cir.
             2
                  2015), wherein the Ninth Circuit stated that "[w]hen a plaintiff alleges unjust enrichment, a court
             3
                  may construe the cause of action as a quasi-contract claim seeking restitution." Astiana, 783 F.3d
             4
                  at 762 (citations omitted).
             5
                          581.      As a result of the actions of Count XI Defendants, and each of them, set forth
             6
                  hereinabove, Defendants, and each of them, became unjustly enriched, and as a result thereof,
             7
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are entitled to restitution, under the
             8
                  California quasi-contract theory, in the amount to be proven at trial, which constitutes a certain
             9
                  and concrete financial loss of the Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
           10
                  factually (directly) and legally (proximately) caused by Count XI Defendants, and each of them,
           11
                  unlawful conduct.
           12
                                                                         COUNT XII
           13                                                         (Constructive Trust)
           14             582.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-581 above as if fully
           15     set forth herein.
           16             583.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           17     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XII
           18     Defendants”).
           19             584.      By reason of the fraudulent and otherwise wrongful manner in which the Count
           20     XII Defendants, or any of them, obtained their alleged right, claim or interest in and to the
           21     property of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan, Count XII Defendants and
           22     each of them, have no legal or equitable right, claim or interest therein, but, instead, Count XII
           23     Defendants, and each of them are involuntary trustees holding said property and profits therefrom
           24     in constructive trust for Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan with the duty to
           25     convey the same to Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan forthwith.
           26
                                                                            COUNT XIII
           27                                                               (Accounting)

           28             585.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-584 above as if fully
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             1
                  set forth herein.
             2
                          586.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
             3
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XIII
             4
                  Defendants”).
             5
                          587.      As a result of the actions of Count XIII Defendants, and each of them, set forth
             6
                  hereinabove, Count XIII Defendants, and each of them, have received money, which is due to
             7
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan from Count XIII Defendants, and each of
             8
                  them, as previously alleged.
             9
                          588.      The amount of money due from Count XIII Defendants to Plaintiffs BMA,
           10
                  Kolchin, Dubinin, Dolgov and Razvan is unknown to Plaintiffs BMA, Kolchin, Dubinin, Dolgov
           11
                  and Razvan and cannot be ascertained without an accounting of the receipts and disbursements of
           12
                  Count XIII Defendants, and each of them, in connection with the alleged unlawful market
           13
                  manipulation by Count XIII Defendants.
           14
                          589.      Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan have demanded an
           15
                  accounting of the aforementioned receipts and disbursements of Count XIII Defendants, and each
           16
                  of them, in connection with the alleged unlawful market manipulation and payment of the amount
           17
                  found due, but Count XIII Defendants, and each of them, have failed and refused, and continue to
           18
                  fail and refuse, to render such an accounting and to pay such sum.
           19
                                                                            COUNT XIV
           20                                                               (Conversion)
           21             590.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-589 above as if fully
           22     set forth herein
           23             591.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           24     XIV Defendants”).
           25             592.      During the Relevant Period, Plaintiffs were and still are the owners and are entitled
           26     to the possession of the following property, namely their valuable bitcoin holdings deposited in
           27     Plaintiffs’ BitMEX and Kraken trading accounts.
           28
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             1
                          593.      At various times mentioned in this Complaint, Defendants took the above-
             2
                  mentioned property, including Plaintiffs’ valuable bitcoin holdings deposited in Plaintiffs’
             3
                  respective BitMEX and Kraken trading accounts from Plaintiffs’ possession and converted the
             4
                  same to their own use.
             5
                          594.      For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in
             6
                  possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA
             7
                  02061, with the aggregate market value of over $2,500,000, acquired using funds misappropriated
             8
                  from Plaintiff through market manipulation and laundered by Defendants through the Defendant
             9
                  Unknown Exchange and their real estate money laundering scheme.
           10
                          595.      As a proximate result of Defendants’ conversion alleged herein, Plaintiffs BMA,
           11
                  Kolchin, Dubinin, Dolgov and Razvan are entitled to damages in the amount to be proven at trial,
           12
                  which constitutes a certain and concrete financial loss of Plaintiffs BMA, Kolchin, Dubinin,
           13
                  Dolgov and Razvan factually (directly) and legally (proximately) caused by Count XIV
           14
                  Defendants, and each of them, conversion.
           15
                                                                      COUNT XV
           16                                               (Aiding and Abetting Conversion)

           17             596.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-595 above as if fully

           18     set forth herein.

           19             597.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count

           20     XV Defendants”).

           21             598.      During the Relevant Period, Plaintiffs were and still are the owners and are entitled

           22     to the possession of the following property, namely their valuable bitcoin holdings deposited in

           23     Plaintiffs’ BitMEX and Kraken trading accounts.

           24             599.      At various times mentioned in this Complaint, Defendants knowingly aided and

           25     abetted perpetrators in taking the above-mentioned property, including Plaintiffs’ valuable bitcoin

           26     holdings deposited in Plaintiffs’ respective BitMEX trading account from Plaintiffs’ possession

           27     and converting the same to their own use.

           28             600.      For example, Count XV Defendants knew that BitMEX Leaderboard trader with
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             1
                  assumed name Quick-Grove-Mind was clearly a notorious market manipulator, who converted
             2
                  bitcoin from Plaintiffs by way of market manipulation as alleged herein. This market manipulator
             3
                  could not pass the KYC and AML checks once they were instituted by Defendants on or about
             4
                  August 14, 2020. Count XV Defendants knowingly aided and abetted the market manipulator
             5
                  under the assumed name Quick-Grove-Mind in converting Plantiffs’ bitcoins by, without
             6
                  limitation, providing the manipulator under assumed name Quick-Grove-Mind with extremely
             7
                  high trading leverage (up to 100x), using .BXBT index price for highly liquid perpetual swap
             8
                  contracts calculated based on prices of two or three illiquid spot exchanges to enhance the ability
             9
                  of manipulator under assumed name Quick-Grove-Mind to cause large market price swings,
           10
                  enabling the manipulator under assumed name Quick-Grove-Mind to avoid detection by
           11
                  providing him with the ability to open unlimited number of anonymous document check-free
           12
                  trading accounts without any KYC and AML compliance checks and without any trading and
           13
                  withdrawal limits, intentionally taking BitMEX platform offline during market manipulation
           14
                  event on March 13, 2020, weaponizing deliberate server freezes, using fraudulent “system
           15
                  overload” events to accept some trading orders and reject others during large market moves to
           16
                  exacerbate price fluctuations and cause the most liquidations and by deleting evidence of
           17
                  manipulator’s identity and manipulator’s trading records under the pretense of “right to be
           18
                  forgotten.” The alleged actions of Count XVII Defendants resulted at least in the alleged loss of
           19
                  3 bitcoins by Plaintiff BMA on or about March 13, 2020.
           20
                         601.       Count XV Defendants benefited significantly from the laundering of the converted
           21
                  bitcoin, as Count XV Defendants earned fees on each transaction involving the bitcoin converted
           22
                  from Plaintiffs.
           23
                         602.       As a proximate result of Count XV Defendants’ aiding and abetting conversion
           24
                  alleged herein, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are entitled to damages in
           25
                  the amount to be proven at trial, which constitutes a certain and concrete financial loss of
           26
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan factually (directly) and legally
           27
                  (proximately) caused by Count XV Defendants, and each of them, conversion.
           28
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             1                                                            COUNT XVI
                                                                   (Aiding and Abetting Fraud)
             2
                            603.       Plaintiffs incorporate the allegations set forth in Paragraphs 1-602 above as if fully
             3
                  set forth herein.
             4
                            604.       This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
             5
                  XVI Defendants”).
             6
                            605.       During the Relevant Period, Plaintiffs were and still are the owners and are entitled
             7
                  to the possession of the following property, namely their valuable bitcoin holdings deposited in
             8
                  Plaintiffs’ BitMEX trading accounts.
             9
                            606.       At times and in the manner alleged herein, perpetrators wrongfully took possession
           10
                  of the valuable bitcoin holdings of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan by
           11
                  fraud.
           12
                            607.       At various times mentioned in this Complaint, Count XVI Defendants knowingly
           13
                  aided and abetted perpetrators in taking the above-mentioned property by fraud, including
           14
                  Plaintiffs’ valuable bitcoin holdings deposited in Plaintiffs’ respective BitMEX trading account
           15
                  from Plaintiffs’ possession.
           16
                            608.       For example, Count XVI Defendants knew that BitMEX Leaderboard trader with
           17
                  assumed name Quick-Grove-Mind was clearly a notorious market manipulator, who fraudulently
           18
                  took bitcoin from Plaintiffs by way of market manipulation as alleged herein. This market
           19
                  manipulator could not pass the KYC and AML checks once they were instituted by Defendants
           20
                  on or about August 14, 2020. Count XVI Defendants aided and abetted the market manipulator
           21
                  under the assumed name Quick-Grove-Mind in fraudulently taking Plantiffs’ bitcoins by, without
           22
                  limitation, providing the manipulator under assumed name Quick-Grove-Mind with extremely
           23
                  high trading leverage (up to 100x), using .BXBT index price for highly liquid perpetual swap
           24
                  contracts calculated based on prices of two or three illiquid spot exchanges to enhance the ability
           25
                  of manipulator under assumed name Quick-Grove-Mind to cause large market price swings,
           26
                  enabling the manipulator under assumed name Quick-Grove-Mind to avoid detection by
           27
                  providing him with the ability to open unlimited number of anonymous document check-free
           28
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             1
                  trading accounts without any KYC and AML compliance checks and without any trading and
             2
                  withdrawal limits, intentionally taking BitMEX platform offline during market manipulation
             3
                  event on March 13, 2020, weaponizing deliberate server freezes, using fraudulent “system
             4
                  overload” events to accept some trading orders and reject others during large market moves to
             5
                  exacerbate price fluctuations and cause the most liquidations and by deleting evidence of
             6
                  manipulator’s identity and manipulator’s trading records under the pretense of “right to be
             7
                  forgotten.” The alleged actions of Count XVI Defendants resulted at least in the alleged loss of 3
             8
                  bitcoins by Plaintiff BMA on or about March 13, 2020.
             9
                          609.      Count XVI Defendants benefited significantly from the laundering of the bitcoin,
           10
                  taken by fraud from Plaintiffs, as Defendants earned fees on each transaction involving the
           11
                  bitcoin converted from Plaintiffs.
           12
                          610.      As a proximate result of Count XVI Defendants’ aiding and abetting fraud as
           13
                  alleged herein, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan are entitled to damages in
           14
                  the amount to be proven at trial, which constitutes a certain and concrete financial loss of
           15
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan factually (directly) and legally
           16
                  (proximately) caused by Count XVI Defendants, and each of them, wrongful acts.
           17
                                                                     COUNT XVII
           18                                              (Violation of Cal. Pen. Code § 496)

           19             611.      Plaintiffs incorporate the allegations set forth in Paragraphs 1-610 above as if fully

           20     set forth herein.

           21             612.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count

           22     XVII Defendants”).

           23             613.      Cal. Pen. Code § 496(a) provides “Every person who buys or receives any

           24     property that has been stolen or that has been obtained in any manner constituting theft or

           25     extortion, knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or

           26     aids in concealing, selling, or withholding any property from the owner, knowing the property to

           27     be so stolen or obtained, shall be punished by imprisonment in a county jail for not more than one

           28     year, or imprisonment pursuant to subdivision (h) of Section 1170.” Cal. Pen. Code § 496(c)
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             1
                  provides that “Any person who has been injured by a violation of subdivision (a) . . . may bring
             2
                  an action for three times the amount of actual damages, if any, sustained by the plaintiff, costs of
             3
                  suit, and reasonable attorney’s fees.”
             4
                         614.       Count XVII Defendants violated Cal. Pen. Code § 496 by aiding the perpetrators
             5
                  in concealing or selling or withholding stolen property from the owners - Plaintiffs, knowing the
             6
                  property was stolen or obtained in a manner constituting theft.
             7
                         615.       Count XVII Defendants knew the property was stolen or obtained in a manner
             8
                  constituting theft, both because, among other things, Defendants were informed that market
             9
                  manipulation and money laundering are rampant on the BitMEX platform, and because of the
           10
                  suspicious volume and frequency of transactions on the BitMEX exchange as a result of the
           11
                  market manipulation and money laundering activities.
           12
                         616.       Count XVII Defendants aided the perpetrators in concealing or selling or
           13
                  withholding stolen property from the owners, knowing the property was stolen or obtained in a
           14
                  manner constituting theft, by, among other things, failing to take steps to freeze accounts on the
           15
                  BitMEX exchange through which the perpetrators were engaging in transactions involving the
           16
                  stolen bitcoin.
           17
                         617.       For example, Count XVII Defendants knew that BitMEX Leaderboard trader with
           18
                  assumed name Quick-Grove-Mind was clearly a notorious market manipulator, who stole bitcoins
           19
                  from Plaintiffs by way of market manipulation as alleged herein. This market manipulator could
           20
                  not pass the KYC and AML checks once they were instituted by Count XVII Defendants on or
           21
                  about August 14, 2020. Count XVII Defendants knowingly aided the market manipulator under
           22
                  the assumed name Quick-Grove-Mind by “conceal[ing], sell[ing], withhold[ing], or aid[ing] in
           23
                  concealing, selling, or withholding any property from the owner,” namely Plaintiffs’ bitcoins,
           24
                  “knowing the property to be so stolen or obtained.” Specific exemplary acts by Count XVII
           25
                  Defendants constituting “conceal[ing], sell[ing], withhold[ing], or aid[ing] in concealing, selling,
           26
                  or withholding” under Cal. Pen. Code § 496(a) include, without limitation, providing manipulator
           27
                  under assumed name Quick-Grove-Mind with extremely high trading leverage (up to 100x), using
           28
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             1
                  .BXBT index price for highly liquid perpetual swap contracts calculated based on prices of two or
             2
                  three illiquid spot exchanges to enhance the ability of manipulator under assumed name Quick-
             3
                  Grove-Mind to cause large market price swings, enabling manipulator under the assumed name
             4
                  Quick-Grove-Mind to avoid detection by providing him with the ability to open unlimited number
             5
                  of anonymous document check-free trading accounts without any KYC and AML compliance
             6
                  checks and without any trading and withdrawal limits, intentionally taking BitMEX platform
             7
                  offline during market manipulation event on or about March 13, 2020, weaponizing deliberate
             8
                  server freezes, using fraudulent “system overload” events to accept some trading orders and reject
             9
                  others during large market moves to exacerbate price fluctuations and cause the most liquidations
           10
                  and by deleting evidence of manipulator’s identity and manipulator’s trading records under the
           11
                  pretense of “right to be forgotten.” The alleged actions of Count XVII Defendants resulted at
           12
                  least in the alleged loss of 3 bitcoins by Plaintiff BMA on or about March 13, 2020.
           13
                         618.       As a direct and proximate result of the foregoing, Plaintiffs suffered the loss of
           14
                  property in the amount to be proven at trial. Pursuant to Cal. Pen. Code § 496(c), Plaintiffs seek
           15
                  three times the amount of actual damages sustained, costs of suit, and reasonable attorney’s fees.
           16
                                                                               PRAYER
           17
                         By reason of the foregoing, Plaintiffs BMA, Yaroslav Kolchin, Vitaly Dubinin, Dmitry
           18
                  Dolgov and Păun Gabriel-Razvan respectfully request that this Court:
           19
                         (a)        enter a judgment that Defendants, and each of them, conducted or participated in
           20
                  the conduct of enterprise’s affairs through a pattern of racketeering activity in violation of 18
           21
                  U.S.C. § 1962(c);
           22
                         (b)        enter a judgment that Defendants, and each of them, conspired to conduct or
           23
                  participate in the conduct of enterprise’s affairs through a pattern of racketeering activity in
           24
                  violation of 18 U.S.C. § 1962(d);
           25
                         (c)        enter a judgment that Defendants, and each of them, have used deceptive or
           26
                  manipulative device in connection with cryptocurrencies Perpetual Swap contracts,
           27
                  cryptocurrencies swaps and cash cryptocurrencies in violation of 7 U.S.C. § 9(1);
           28
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             1
                         (d)        enter a judgment that Defendants, and each of them, have manipulated prices of
             2
                  cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and cash cryptocurrencies in
             3
                  violation of 7 U.S.C. §§ 9(3) and 13(a)(2);
             4
                         (e)        enter a judgment that Defendants, and each of them, have aided and abetted
             5
                  manipulation of prices of cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and
             6
                  cash cryptocurrencies by the other Defendants and third persons;
             7
                         (f)        enter a judgment that Defendants, and each of them, have acted negligently;
             8
                         (g)        enter a judgment that Defendants, and each of them, have perpetrated fraud upon
             9
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan;
           10
                         (h)        enter a judgment that Defendants, and each of them, have conspired to perpetrate
           11
                  fraud upon Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan;
           12
                         (i)        enter a judgment that Defendants, and each of them, have aided and abetted fraud
           13
                  upon Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan;
           14
                         (j)        enter a judgment that Defendants, and each of them, have converted Plaintiffs
           15
                  BMA, Kolchin, Dubinin, Dolgov and Razvan’s valuable property;
           16
                         (k)        enter a judgment that Defendants, and each of them, have aided and abetted
           17
                  conversion of Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan’s valuable property;
           18
                         (l)        enter a judgment that Defendants, and each of them, have engaged in unfair
           19
                  business practices in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.;
           20
                         (m)        enter a judgment that Defendants, and each of them, have engaged in violation of
           21
                  Cal. Pen. Code § 496;
           22
                         (n)        preliminarily and permanently enjoin Defendants, and each of them, their officers,
           23
                  subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in
           24
                  active concert with them, from any further violation of Federal and California laws;
           25
                         (o)        enter a judgment that Defendants, and each of them, because unjustly enriched at
           26
                  the expense of Plaintiffs;
           27
                         (p)        impose a constructive trust over Defendants, and each of them, for the benefit of
           28
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             1
                  Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan;
             2
                         (q)        order an accounting of the alleged receipts and disbursements of Defendants, and
             3
                  each of them, in connection with the alleged unlawful market manipulation and payment of the
             4
                  amount found due to Plaintiffs;
             5
                         (r)        enter judgment that Defendants, and each of them, acted with malice, fraud and
             6
                  oppression;
             7
                         (s)        award compensatory damages to Plaintiffs and against all Defendants, and each of
             8
                  them, jointly and severally, in the amount to be proven at trial;
             9
                         (t)        award treble damages to Plaintiffs and against all Defendants, and each of them,
           10
                  jointly and severally, in the amount to be proven at trial pursuant to 18 U.S.C. § 1964(c);
           11
                         (u)        award reasonable attorney fees, costs and prejudgment interest to Plaintiffs and
           12
                  against all Defendants, and each of them, jointly and severally;
           13
                         (v)        award Plaintiffs exemplary and punitive damages, pursuant to Cal. Civ. Code §
           14
                  3294, against all Defendants, and each of them, jointly and severally, in the amount of
           15
                  $50,000,000; and
           16
                         (w)        award Plaintiffs such other relief as this Court deems just and proper.
           17
           18     Dated: November 24, 2020                                                  Respectfully submitted,

           19                                                                               By: /s/ Pavel I. Pogodin
                                                                                                   Pavel I. Pogodin
           20
                                                                                            CONSENSUS LAW
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                                                                                            Attorneys for Plaintiffs BMA LLC, Yaroslav
           26
                                                                                            Kolchin, Vitaly Dubinin, Dmitry Dolgov and
           27                                                                               Păun Gabriel-Razvan

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             1                                                DEMAND FOR JURY TRIAL
             2
                          Pursuant to Fed. R. Civ. P. 38, Plaintiffs BMA, Kolchin, Dubinin, Dolgov and Razvan
             3
                  demand trial by jury of all issues triable to a jury.
             4
             5    Dated: November 24, 2020                                                  Respectfully submitted,
             6                                                                              By: /s/ Pavel I. Pogodin
                                                                                                   Pavel I. Pogodin
             7
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           13                                                                               Attorneys for Plaintiffs BMA LLC, Yaroslav
                                                                                            Kolchin, Vitaly Dubinin, Dmitry Dolgov and
           14                                                                               Păun Gabriel-Razvan
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